Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 1 of 364 PageID #:
                                  16437




                          EXHIBIT 1
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 2 of 364 PageID #:
                                  16438



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF LOUISIANA
                                MONROE DIVISION

    STATE OF LOUISIANA, STATE OF
    MISSOURI, et al.,

                    Plaintiffs,

       v.                                            Case No. 3:22-cv-01213

    JOSEPH R. BIDEN, JR., in his official
    capacity as President of the United States, et
    al.,

                    Defendants.




              PLAINTIFFS’ PROPOSED FINDINGS OF FACT IN SUPPORT
                OF THEIR MOTION FOR PRELIMINARY INJUNCTION
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 3 of 364 PageID #:
                                  16439




                       PLAINTIFFS’ PROPOSED FINDINGS OF FACT
         Plaintiffs respectfully submit the following Proposed Findings of Fact as Exhibit 1 to their

 supplemental brief in support of a preliminary injunction. Plaintiffs incorporate by reference the

 evidence, documents, and exhibits previously filed in this case; where cited herein, they are cited

 by docket number (e.g. “Doc. 174-1, at 31” is page 31 of ECF No. 174-1). The deposition

 transcripts and exhibits to depositions are filed separately; they are cited herein as “[Witness Last

 Name] Dep. Page:Line,” e.g., “Fauci Dep. 1:3-5” is lines 3-5 of page 1 of Dr. Fauci’s deposition,

 and “Scully Dep. 10:22-11:5” is page 10, line 22 through page 11, line 5 of Brian Scully’s

 deposition. Plaintiffs are also filing the video recordings of the depositions with the Court so that

 the Court may view the testimony of the Government’s witnesses and assess the witnesses’

 credibility for itself. The Declaration of Jasimiel Jones, submitting supplemental exhibits in

 addition to the deposition and transcript and attached as Exhibit 2, is cited herein as “Jones Decl.

 Ex. __, at __” e.g., pages 1-3 of Exhibit A to the Jones Declaration is “Jones Decl. Ex. A, at 1-3.”

 Plaintiffs’ previously filed exhibits attached to the Declaration of Tammy Glenn, Doc. 10-1, are

 cited as “Glenn Decl. Ex. __, at __; Doc. 10-1, at __.” In addition, these Findings regularly refer

 to the company formerly known as Facebook, now known as Meta, which owns Facebook,

 Instagram, WhatsApp, and other platforms, as “Facebook,” consistent with common usage in

 documents.

 I.      The Campaign Of Public Threats Against Social-Media Platforms To Pressure
         Them To Censor More Speech on Social Media.
      1. Federal officials, including Defendants, have made a long series of public statements since

 at least 2018 demanding that social-media platforms increase their censorship of speech and

 speakers disfavored by these officials, and threatening adverse consequences – such as repeal or



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Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 4 of 364 PageID #:
                                  16440



 reform of Section 230 immunity under the Communications Decency Act, antitrust scrutiny or

 enforcement, increased regulation, and other measures – if the platforms do not increase

 censorship.    The private communications between government officials and social-media

 platforms addressing disinformation, misinformation, and censorship set forth herein were made

 against the backdrop of these public threats.

    2. The immunity provided by Section 230 of the Communications Decency Act is extremely

 valuable for social-media platforms, so threatening to amend or repeal that immunity is highly

 motivating to them. One commentator has aptly described Section 230 immunity as “a hidden

 subsidy worth billions of dollars,” stating: “Digital platforms enjoy a hidden subsidy worth billions

 of dollars by being exempted from any liability for most of the speech on their platforms (Section

 230).” Glenn Decl. Ex. 11, Doc. 10-1 at 140. Another commentator has observed, “imperiling

 Section 230 is a fearsome cudgel against ever untouchable companies.” Glenn Decl. Ex. 13, Doc.

 10-1 at 206.

    3. The threat of antitrust scrutiny or enforcement is also a major motivator to social-media

 platforms. For example, Facebook CEO Mark Zuckerberg has stated that the threat of antitrust

 enforcement is “an ‘existential’ threat” to his platform. Glenn Decl. Ex. 12, Doc. 10-1 at 202.

    A. Threats From Federal Elected Officials Pressuring Platforms to Censor Speech.

    4. Then-Speaker of the House Nancy Pelosi stated on April 12, 2019: “I do think that for the

 privilege of 230, there has to be a bigger sense of responsibility on it. And it is not out of the

 question that that could be removed.” Glenn Decl. Ex. 13, Doc. 10-1, at 205 (“When asked about

 Section 230, Pelosi referred to the law as a ‘gift’ to tech companies that have leaned heavily on

 the law to grow their business…. ‘It is a gift to them and I don’t think that they are treating it with

 the respect that they should, and so I think that that could be a question mark and in jeopardy… I




                                                   2
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 5 of 364 PageID #:
                                  16441



 do think that for the privilege of 230, there has to be a bigger sense of responsibility on it. And it

 is not out of the question that that could be removed.’”).

    5. Senator Richard Blumenthal stated on Nov. 17, 2020: “I have urged, in fact, a breakup of

 tech giants. Because they’ve misused their bigness and power. … And indeed Section 230 reform,

 meaningful reform, including even possible repeal in large part because their immunity is way too

 broad and victims of their harms deserve a day in court.” Glenn Decl. Ex. 16, at 1; Doc. 10-1, at

 225.

    6. Senator Mazie Hirono tweeted on Feb. 5, 2021: “Sec 230 was supposed to incentivize

 internet platforms to police harmful content by users. Instead, the law acts as a shield allowing

 them to turn a blind eye. The SAFE TECH ACT brings 230 into the modern age and makes

 platforms accountable for the harm they cause.” Glenn Decl. Ex. 55, at 1; Doc. 10-1, at 723.

    7. Defendants’ political allies have repeatedly used congressional hearings as forums to

 advance these threats of adverse legislation if social-media platforms do not increase censorship

 of speakers, speech, content, and viewpoints they disfavor. They have repeatedly used such

 hearings to berate social-media firm leaders, such as Mark Zuckerberg of Facebook, Jack Dorsey

 of Twitter, and Sundar Pichai of Google and YouTube, and to make threats of adverse legal

 consequences if censorship is not increased. Such hearings include, but are not limited to, an

 antitrust hearing before the House Judiciary Committee on July 29, 2020; a Senate Judiciary

 Committee hearing on November 17, 2020; and a House Energy and Commerce Hearing on March

 25, 2021.

    8. The March 25, 2021 Joint Hearing of the Communications and Technology Subcommittee

 with the Subcommittee on Consumer Protection and Commerce, the Joint Statement of Democratic

 Committee Chairs stated: “This hearing will continue the Committee’s work of holding online




                                                   3
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 6 of 364 PageID #:
                                  16442



 platforms accountable for the growing rise of misinformation and disinformation. ... For far too

 long, big tech has failed to acknowledge the role they’ve played in fomenting and elevating

 blatantly false information to its online audiences. Industry self-regulation has failed. We must

 begin the work of changing incentives driving social media companies to allow and even promote

 misinformation and disinformation.” Glenn Decl. Ex. 17, at 1-2; Doc. 10-1, at 228-29.

    9. At the same hearing, entitled “Disinformation Nation: Social Media’s Role in Promoting

 Extremism and Misinformation,” Representative Schakowsky stated: “[S]elf-regulation has come

 to the end of its road…. [Congress] is preparing to move forward with regulation and legislation.

 The regulation we seek … must hold platforms accountable when they are used to … spread

 misinformation…. All three of the companies that are here today run platforms that are hotbeds

 of misinformation and disinformation.” Jones Decl., Ex. A, at 1, 5. She also stated: “Self-

 regulation has not worked. They must be held accountable for allowing misinformation and

 disinformation to spread.” Id. at 7.

    10. At the same hearing, Representative Doyle stated: “despite repeated promises to tackle this

 crisis, Facebook, Google, and Twitter instead routinely make minor changes in response to the

 public relations crisis of the day. … It is now painfully clear that neither the market nor public

 pressure will force these social media companies to take the aggressive action they need to take to

 eliminate disinformation and extremism from their platforms. And therefore, it is time for

 Congress and this committee to legislate and realign these companies’ incentives. … I question

 whether existing liability protections [i.e., Section 230] should apply … That is why you are here

 today, Mr. Zuckerberg, Mr. Pichai, and Mr. Dorsey…. Your business model itself has become the

 problem.” Id. at 10-11.




                                                 4
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 7 of 364 PageID #:
                                  16443



    11. At the same hearing, Representative Rush accused the platforms of allowing

 “[m]isinformation, outlandish conspiracy theories, and incendiary content” to spread, and stated

 to the three CEOs of Google, Facebook, and Twitter: “There is only one comparison that remotely

 approaches the avarice and moral discrepancy of your companies, and that is the slavetocracy

 burden of our Nation’s shameful and inhumane and most difficult dark days in the past.” Id. at 13.

 He also stated to Jack Dorsey, “I can’t wait until we come up with legislation that will deal with

 you and your cohorts in a very, very effective way.” Id. at 14.

    12. At the same hearing, Representative Upton stated: “we are going to see some changes in

 Section 230.” Id. at 15.

    13. At the same hearing, Representative Eshoo demanded of Jack Dorsey, “why haven’t you

 banned the 12 accounts that are spewing its deadly COVID misinformation?” Id. at 17.

    14. At a hearing of the Antitrust subcommittee of the House Judiciary Committee on July 29,

 2020, Representative Cicilline said to Mark Zuckerberg: “Mr. Zuckerberg. When a television

 station runs a false political advertisement, they’re held liable for that. Why should Facebook or

 any other platform be different? … It’s hard to understand why Facebook shouldn’t be responsible

 for those business decisions. … Facebook gets away with it because you’re the only game in town.

 There’s no competition forcing you to police your own platform. Allowing this misinformation to

 spread can lead to violence. And frankly, I believe it strikes at the very heart of American

 democracy. … American democracy has always been at war against monopoly power. … These

 companies, as exist today, have monopoly power. Some need to be broken up, all need to be

 properly regulated and held accountable. … The names have changed, but the story is the same.

 Today, the men are named Zuckerberg, Pichai, Cook, and Bezos.” Jones Decl., Ex. B, at 9-11.




                                                 5
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 8 of 364 PageID #:
                                  16444



    15. On November 17, 2020, at a hearing of the Senate Judiciary Committee, Senator

 Blumenthal stated: “Now, Mr. Zuckerberg and Mr. Dorsey, you have built terrifying tools of

 persuasion and manipulation with power far exceeding the robber barons of the last Gilded Age.

 You have profited hugely by … promoting hate speech and voter suppression. … The destructive

 incendiary misinformation is still a scourge on both your platforms and on others. … [W]hat

 appears on your platform … is voter suppression and incendiary malicious misinformation. … [A]

 series of hearings on big tech is long overdue on antitrust issues … and Section 230. I have urged,

 in fact, a breakup of the tech giants because they’ve misused their bigness and power. Breaking

 off, for example, WhatsApp and Instagram [both Meta platforms]…. And indeed Section 230

 reform, meaningful reform, including even possible repeal in large part because their immunity is

 way too broad…. [F]oreign disinformation campaigns intended to interfere in our democracy….

 What we’ve seen here are fighting words and hate speech that certainly deserve no free expression

 protection. … Change is going to come, no question. Change is on the way and I intend to bring

 aggressive and targeted reform to Section 230.” Jones Decl., Ex. C, at 2-3. Soon thereafter, he

 demanded that Mark Zuckerberg (who was testifying before the committee) “commit to … robust

 contend modification playbook in this coming election, including fact-checking, labelling,

 reducting the spread of misinformation” to “tak[e] action against dangerous disinformation” and

 “malign tactics.” Id. at 4; see also, e.g., id. at 9 (Senator Coons demanding that Jack Dorsey

 explain why “you don’t have a standalone climate change misinformation policy”)

    16. On March 11, 2022, Representative Ro Khanna, the Chairman of the House Oversight and

 Reform Committee who is leading “an investigation of oil industry ‘misinformation’ and held two

 days of hearings on the oil industry, tweeted: “Facebook is preventing us from taking action on

 climate change by allowing climate misinformation to spread. Congress must step up and hold




                                                 6
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 9 of 364 PageID #:
                                  16445



 them accountable.” Jones Decl., Ex. D. He also tweeted: “Misinformation being spread on social

 media is undermining our efforts to tackle climate change. As chair of the House Oversight

 Environment Subcommittee, I will be holding a hearing to hold social media companies

 accountable.” Id.

       17. On April 20, 2022, twenty-two Democratic members of Congress sent a letter to Mark

 Zuckerberg of Facebook (n/k/a “Meta Platforms, Inc.”), demanding that Facebook increase

 censorship of “Spanish-language disinformation across its platforms” and threatening

 Congressional action if Facebook did not do so. The letter claimed that “disinformation” was a

 threat to democracy, and it made explicit threats of adverse legislative action if Facebook/Meta

 did not increase censorship: “The spread of these narratives demonstrate that Meta does not see

 the problem of Spanish-language disinformation in the United States as a critical priority for the

 health of our democracy.     The lack of Meta’s action to swiftly address Spanish-language

 misinformation globally demonstrates the need for Congress to act to ensure Spanish-speaking

 communities have fair access to trustworthy information.” Glenn Decl. Ex. 18; Doc. 10-1, at 244-

 46.

       18. Comments from two Members of the House of Representatives summarize this campaign

 of pressure and threats: “In April 2019, Louisiana Rep. Cedric Richmond warned Facebook and

 Google that they had ‘better’ restrict what he and his colleagues saw as harmful content or face

 regulation: ‘We’re going to make it swift, we’re going to make it strong, and we’re going to hold

 them very accountable.’ New York Rep. Jerrold Nadler added: ‘Let’s see what happens by just

 pressuring them.’” Glenn Decl. Ex. 14, at 2-3; Doc. 10-1, at 218-19.

       B. Public Threats from President Biden and His Aides Pressuring Platforms to Censor.




                                                 7
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 10 of 364 PageID #:
                                   16446



     19. Then-candidate and now-President Biden has led this charge. He has tripled down on these

  threats of adverse official action from his colleagues and allies in senior federal-government

  positions. His threats of adverse government action have been among the most vociferous, and

  among the most clearly linked to calls for more aggressive censorship of disfavored speakers and

  speech by social-media companies.

     20. For example, on January 17, 2020, then-candidate Biden stated, in an interview with the

  New York Times editorial board, that Section 230 of the CDA should be “revoked” because social-

  media companies like Facebook did not do enough to censor supposedly false information in the

  form of political ads criticizing him—i.e., core political speech. He stated: “The idea that it’s a

  tech company is that Section 230 should be revoked, immediately should be revoked, number one.

  For Zuckerberg and other platforms.” He also stated, “And it should be revoked. It should be

  revoked because it is not merely an internet company. It is propagating falsehoods they know to

  be false.... There is no editorial impact at all on Facebook. None. None whatsoever. It’s

  irresponsible. It’s totally irresponsible.” Glenn Decl. Ex. 19, at 27; Doc. 10-1, at 275.

     21. Candidate Biden also threatened that Facebook CEO Mark Zuckerberg should be subject

  to civil liability and even criminal prosecution for not censoring such core political speech: “He

  should be submitted to civil liability and his company to civil liability…. Whether he engaged in

  something and amounted to collusion that in fact caused harm that would in fact be equal to a

  criminal offense, that’s a different issue. That’s possible. That’s possible it could happen.” Id. In

  other words, Biden’s message—not long before he became President of the United States—was

  that if Facebook did not censor political ads against him, Zuckerberg should go to prison. These

  two threats echoed the same threats made by numerous political allies of the President since 2019,

  cited above.




                                                   8
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 11 of 364 PageID #:
                                   16447



     22. During the presidential campaign, now-Vice President Harris made similar threats against

  social-media firms to pressure them to engage in more aggressive censorship of speakers, content,

  and viewpoints she disfavors. For example, in addition to the statements cited above, she stated

  in 2019: “We will hold social media platforms responsible for the hate infiltrating their platforms,

  because they have a responsibility to help fight against this threat to our democracy. And if you

  profit off of hate—if you act as a megaphone for misinformation or cyberwarfare, if you don’t

  police your platforms—we are going to hold you accountable as a community.” Glenn Decl. Ex.

  20, at 1; Doc. 10-1, at 284.

     23. In or around June 2020, the Biden campaign published an open letter and online petition

  (ironically, on Facebook) calling for Facebook to engage in more aggressive censorship of core

  political speech and viewpoints that then-Candidate Biden disfavored. The open letter complained

  that Facebook “continues to allow Donald Trump to say anything — and to pay to ensure that his

  wild claims reach millions of voters. Super PACs and other dark money groups are following his

  example. Trump and his allies have used Facebook to spread fear and misleading information

  about voting…. We call for Facebook to proactively stem the tide of false information by no

  longer amplifying untrustworthy content and promptly fact-checking election-related material that

  goes viral. We call for Facebook to stop allowing politicians to hide behind paid misinformation

  in the hope that the truth will catch up only after Election Day. There should be a two-week pre-

  election period during which all political advertisements must be fact-checked before they are

  permitted to run on Facebook. … Anything less will render Facebook a tool of misinformation that

  corrodes our democracy.” Glenn Decl. Ex. 23, at 1; Doc. 10-1, at 299.

     24. The online petition demanded that Facebook “[p]romote real news, not fake news,”

  “[q]uickly remove viral misinformation,” and “[e]nforce voter suppression rules against




                                                   9
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 12 of 364 PageID #:
                                   16448



  everyone—even the President [Trump].” Glenn Decl. Ex. 24, at 2; Doc. 10-1, at 304. The petition

  complained that Facebook “continues to amplify misinformation and lets candidates pay to target

  and confuse voters with lies.” Id. at 304. It demanded that Facebook “promote authoritative and

  trustworthy sources of election information, rather than rants of bad actors and conspiracy

  theorists,” “promptly remove false, viral information,” and “prevent political candidates and PACs

  from using paid advertising to spread lies and misinformation – especially within two weeks of

  election day.” Id. at 305.

     25. On September 28, 2020, the Biden-Harris campaign sent a letter to Facebook accusing it

  of propagating a “storm of disinformation” by failing to censor the Trump campaign’s political

  speech, including social-media political ads. Glenn Decl. Ex. 25, at 3; Doc. 10-1, at 312. The letter

  accused Facebook of allowing “hyper-partisan” and “fantastical” speech to reach millions of

  people, and it demanded “more aggressive” censorship of Trump. Id.

     26. On December 2, 2020—during the presidential transition—Biden’s former chief of staff

  and top technical advisor, Bruce Reed, publicly stated that “it’s long past time to hold the social

  media companies accountable for what’s published on their platforms.” Glenn Decl. Ex. 26, at 1;

  Doc. 10-1, at 314-15. This comment specifically referred to the amendment or repeal of Section

  230 of the Communications Decency Act. See id. He also wrote: “Washington would be better

  off throwing out Section 230 and starting over.” Id.

     27. On July 16, 2021, President Biden stated that social-media companies are “killing people”

  by not censoring enough misinformation. Waldo Ex. 14, at 1.

     28. On January 3, 2022, an audio clip of President Biden played on Alyssa Milano’s podcast

  stated: “The unvaccinated are responsible for their own choices, but those choices had been shulled

  [sic] by dangerous misinformation on cable TV and social media. You know, these companies …




                                                   10
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 13 of 364 PageID #:
                                   16449



  are making money by ped[dling] lies and allowing misinformation that can kill their own

  customers and their own supporters. It's wrong. It's immoral. I call on the purveyors of these lies

  and misinformation to stop it. Stop it now.” Waldo Ex. 39, at 5 (Audio Tr. 4).

        29. In September of 2022, the White House convened the “United We Stand” summit at which

  the President put social media companies on notice that Section 230 protections were at risk.

  “Tech platforms currently have special legal protections under Section 230 of the Communications

  Decency Act that broadly shield them from liability. This immunity extends beyond what the First

  Amendment requires and what newspapers and other media receive. It also effectively permits

  hate-fueled content mobilizing users to violence to be amplified on large tech platforms. President

  Biden has long urged fundamental reforms to Section 230, and …he reiterates his call for Congress

  to fundamentally reform Section 230.” Jones Decl., Ex. E, at 9.

        30. President Biden also stated in the same document: “Americans deserve to know how the

  algorithms that drive large tech platforms may amplify divisions and contribute to hate-fueled

  violence, among other critical harms. Consistent with those same principles for accountability,

  President Biden supports requiring platform transparency sufficient to allow the public and

  researchers to understand how and why such decisions are made, their potential effects on users,

  and the very real dangers these decisions may pose.” Id. (emphasis added).

  II.      The White House’s Public and Private Pressure Campaign on Platforms.

           31.    Many White House officials are involved in communicating with social-media

  platforms about misinformation, disinformation, and censorship. In response to a third-party

  subpoena, Facebook/Meta identified at least the following White House officials as engaged in

  such communications: Special Assistant to the President Laura Rosenberger, White House

  Partnerships Manager Aisha Shah, White House Counsel Dana Remus, and White House officials




                                                  11
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 14 of 364 PageID #:
                                   16450



  Andy Slavitt, Rob Flaherty, and Clarke Humphrey. Doc. 84, ¶ 379. Defendants’ discovery reveals

  many others. See infra.

         32.    In response to a third-party subpoena, YouTube identified White House officials

  Benjamin Wakana and Rob Flaherty as engaged in such communications, and Defendants’

  discovery reveals others. Doc. 84, ¶ 380. Defendants’ discovery reveals others. See infra.

         33.    In response to a third-party subpoena, Twitter has disclosed the following White

  House officials as engaged in such communications: Deputy Assistant to the President and

  Director of Digital Strategy Rob Flaherty, White House Senior Advisor Andrew Slavitt, NSC

  staffer Katy E. Colas, Deputy Assistant to the President Joshua Geltzer, White House Digital

  Director Clarke Humphrey, Deputy Director of the Office of Digital Strategy Tericka Lambert,

  Press Secretary for the First Lady Michael LaRosa, NSC Director of Counterterrorism John

  Picarelli, Chief of Staff for the Office of Digital Strategy Hoor Qureshi, Director of Strategic

  Communications and Engagement Courtney Rowe, White House Associate Counsel Michael

  Posada, Associate Director for Communications Marissa Sanchez-Velasco, Deputy Director of

  Digital Strategy Christian Tom, and Strategic Director of Digital Communications Benjamin

  Wakana. Jones Decl., Ex. F, at 1. Defendants’ discovery has revealed others. See infra.

         A. Pressure in Private from Rob Flaherty, Andy Slavitt, and White House Officials.

         34.    The Biden White House’s demands for censorship began almost immediately upon

  taking office. On January 23, 2021, three days after Inauguration Day, at 1:04 a.m., Clarke

  Humphrey of the White House emailed Twitter, copying Rob Flaherty, with the subject line:

  “Flagging Hank Aaron misinfo.” Doc. 174-1, at 1. The email stated: “Hey folks – Wanted to flag

  the below tweet and am wondering if we can get moving on the process for having it removed

  ASAP.” Id. Humphrey then linked to a Tweet by anti-vaccine activist Robert F. Kennedy Jr., who




                                                12
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 15 of 364 PageID #:
                                   16451



  is also a principal target of the Virality Project and a member of the so-called “Disinformation

  Dozen.” Id. Humphrey added: “And then if we can keep an eye out for tweets that fall in this

  same ~genre that would be great.” Id.

         35.     “Flagging Hank Aaron misinfo” refers to the claim by anti-vaccine speakers that

  COVID-19 vaccines may have contributed to baseball legend Hank Aaron’s death.            See, e.g.,

  https://www.usatoday.com/story/news/factcheck/2021/01/26/fact-check-hank-aaron-death-

  unlikely-result-covid-19-vaccine/6699577002/.

         36.     Twitter responded to Humphrey within 4 minutes, at 1:08 a.m. on January 23, 2021,

  stating: “Thanks. We recently escalated this.” Doc. 174-1, at 2.

         37.     The White House’s demands for censorship continued relentlessly, and their tone

  was arrogant, demanding, and peremptory. On Saturday night, February 6, 2021, at 9:45 p.m.,

  Rob Flaherty emailed Twitter to demand the immediate removal of a parody or impostor account

  linked to Finnegan Biden, Hunter Biden’s adult daughter. Doc. 174-1, at 4. He stated: “Please

  remove this account immediately.” Id. He also stated: “I have tried using your form three times

  and it won’t work—it is also ridiculous that I need to upload my id to a form [to] prove that I am

  an authorized representative of Finnegan Biden.” Id.

         38.     Two minutes later, at 9:47 p.m., Twitter responded, “Thanks for sending this over.

  We’ll escalate for further review from here.” Id. Flaherty shot back, the same minute, “Cannot

  stress the degree to which this needs to be resolved immediately.” Id. Forty-five minutes later, at

  10:32 p.m., Twitter responded, “Update for you – account is now suspended.” Id. at 3-4.

         39.     The next day, Sunday, Feb. 7, 2021, Twitter emailed Flaherty and described steps

  he could take to “streamline the process” for the White House’s demands for Twitter censorship.

  Id. at 3. Twitter offered to enroll White House officials in Twitter’s Partner Support Portal for




                                                  13
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 16 of 364 PageID #:
                                   16452



  expedited review of flagging content for censorship, recommending that Flaherty “Designate a

  list of authorized White House staff for Twitter's Partner Support Portal.” Id. (bold in

  original). Twitter stated: “We sent over instructions about this on January 28th and also discussed

  this with Christian [Tom] during our call on February 4th. This is the same system we had in place

  for the previous two administrations for their support issues, as well as the transition and campaign

  teams. Once you assign and we enroll these authorized reporters, whenever they submit a ticket

  through the Help Center it will be prioritized automatically, without having to contact our team,

  and you won't need to add your personal information. To enroll your designated reporters to the

  Partner Support Portal, we simply need the list of @usernames (up to 10) that are registered with

  a White House email address.” Id. at 3 (italics added; underlines omitted).

         40.     Twitter noted that it had been recently bombarded with such requests for censorship

  from the White House: “we would prefer to have a streamlined process strictly with your team as

  the internal liaison. That is the most efficient and effective way to ensure we are prioritizing

  requests. In a given day last week for example, we had more than four different people within the

  White House reaching out for issues.” Id. at 3.

         41.     The next day, Monday, February 8, 2021, Facebook emailed Rob Flaherty,

  Courtney Rowe, and Clarke Humphrey of the White House to explain how it had recently

  expanded its COVID-19 censorship policies. Doc. 174-1, at 7-8. Facebook stated: “We wanted

  to make sure you saw our announcements today about running the largest worldwide campaign to

  promote authoritative COVID-19 vaccine information and expanding our efforts to remove false

  claims on Facebook and Instagram about COVID-19, COVID-19 vaccines and vaccines in general

  during the pandemic.” Id.




                                                    14
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 17 of 364 PageID #:
                                   16453



         42.     Under the heading “Combating Vaccine Misinformation,” Facebook provided a

  detailed list of expanded censorship policies: “We are expanding our efforts to remove false claims

  on Facebook and Instagram about COVID-19, COVID-19 vaccines and vaccines in general during

  the pandemic. Since December [i.e. during the Biden transition], we've removed false claims about

  COVID-19 vaccines that have been debunked by public health experts. … [W]e are expanding the

  list of false claims we will remove to include additional debunked claims about the coronavirus

  and vaccines. … Groups, Pages and accounts on Facebook and Instagram that repeatedly share

  these debunked claims may be removed altogether. We are also requiring some admins for groups

  with admins or members who have violated our COVID-19 policies to temporarily approve all

  posts within their group. …. On Instagram, in addition to surfacing authoritative results in Search,

  in the coming weeks we're making it harder to find accounts in search that discourage people from

  getting vaccinated….” Id. at 7-8 (bold in original).

         43.     This was not nearly enough for the White House. Within 19 minutes of receiving

  this email, Flaherty responded, pressing Facebook for more information about how strict the new

  policies are. Id. at 7. Quoting Facebook’s email in italics, he wrote: “This line, of course, stands

  out: that repeatedly share these debunked claims may be removed altogether. Can you share more

  about your framework here? May, of course, is very different than ‘will.’ Is there a strike policy,

  ala Youtube? Does the severity of the claims matter?” Id. at 7. He also asked for specific data on

  the application of the censorship policies: “And as far as your removal of claims, do you have data

  on the actual number of claims - related posts you've removed? Do you have a sense of how many

  are being flagged versus how many are being removed? Are there actions (downranking, etc) that

  sit before removal? How are you handling things that are dubious, but not provably false?” Id.




                                                  15
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 18 of 364 PageID #:
                                   16454



              44.   The next day, February 9, 2021, Flaherty followed up with Facebook with a demand

  for more information and an accusation (to be repeated) that Facebook’s failure to censor speech

  on its platforms causes “political violence”: “All, especially given the Journal’s reporting on your

  internal work on political violence spurred by Facebook groups, I am also curious about the new

  rules as part of the ‘overhaul.’ I am seeing that you will no longer promote civic and health related

  groups, but I am wondering if the reforms here extend further? Are there other growth vectors you

  are controlling for?” Id. at 6. Flaherty suggested an oral meeting to discuss: “Happy to put time

  on the calendar to discuss further.” Id.

              45.   Facebook responded on February 9, 2021, with a detailed answer to each of

  Flaherty’s questions about the enforcement of its new policies. Id. at 5-6. Facebook also noted

  that “We are happy to discuss these and additional questions as per your recent note.” Id. at 5.

  Among other things, Facebook reported that it would “suspend the entire Page, Group, or account”

  in case of repeat violations; that it “will begin enforcing this policy immediately,” id. at 5; that for

  vaccine-skeptical content that does not violate Facebook’s policies, Facebook will “reduce its

  distribution and add strong warning labels with more context, so fewer people see the post,” id. at

  6; and that Facebook was working to censor content that does not violate its policies in other ways

  by “prevent[ing] posts discouraging vaccines from going viral on our platforms; address[ing]

  content that experts believe dissuades people from getting the vaccine, but does not violate our

  misinformation policies, through the use of information labels; and prevent[ing] recommendations

  for Groups, Pages, and Instagram accounts that repeatedly push content discouraging vaccines,”

  id. at 6.

              46.   Facebook advised Flaherty that it was relying on advice of “public health

  authorities” to determine its censorship policies: “In consultation with leading health




                                                    16
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 19 of 364 PageID #:
                                   16455



  organizations, we continuously expand the list of false claims that we remove about COVID-19

  and vaccines during the pandemic. We remove claims public health authorities tell us have been

  debunked or are unsupported by evidence.” Id. at 6 (emphasis added).

         47.     Facebook also promised Flaherty that it would aggressively enforce the new

  censorship policies: “We will begin enforcing this policy immediately, with a particular focus on

  Pages, Groups and accounts that violate these rules, and we'll continue to expand our enforcement

  over the coming weeks.” Id. at 5.

         48.     Facebook then followed up to “see when you would like to have a meeting arranged

  to speak to our misinformation team reps about the latest updates. They also have a more detailed

  misinformation analysis prepared based on the discussions/questions from the previous meetings

  during the transition time period.” Id. at 5.

         49.     This email makes clear that Flaherty, as part of the Biden transition team, had

  already engaged in “previous meetings” and “discussions/questions” with Facebook about

  censorship of COVID-19 misinformation on its platforms during the Presidential transition period

  from November 2020 to January 2021. Id.

         50.     On February 24, 2021, Facebook emailed Rob Flaherty with the subject “Misinfo

  Themes,” stating: “Following up on your request for COVID-19 misinfo themes we are seeing.

  All the below claims violate our updated Covid and vaccine misinformation policies that we

  announced earlier this month, and we are removing these claims from our platforms,” and she

  identified “Vaccine Toxicity,” “False Claims About Side Effects of Vaccines,” “Comparing the

  Covid Vaccine to the Flu Vaccine,” and “Downplaying Severity of COVID-19.” Jones Decl. Ex.

  G, at 1-2. Flaherty responded by inquiring for details about Facebook’s actual enforcement

  practices and for a report on misinformation that was not censored: “Can you give us a sense of




                                                  17
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 20 of 364 PageID #:
                                   16456



  volume on these, and some metrics around the scale of removal for each? Can you also give us a

  sense of misinformation that might be falling outside your removal policies? Goes without saying,

  just because it’s on your list for removal hasn’t historically meant that it was removed, so I want

  to get a sense of the state of play here!” Id. at 1. Facebook promised to discuss this at an upcoming

  oral meeting: “Hope to cover a lot of that on Monday … Can definitely go into detail on content

  that doesn’t violate like below but could contribute to vaccine hesitancy.” Id.

         51.     On March 1, 2021, White House officials Rob Flaherty and Clarke Humphrey,

  along with Joshua Peck of HHS, participated in a meeting with Twitter about misinformation.

  Jones Decl., Ex. H, at 1. The same day, after the meeting, Twitter emailed these officials and

  assured the White House that it would increase censorship of “misleading information” on Twitter:

  “Thanks again for meeting with us today. As we discussed, we are building on our continued

  efforts to remove the most harmful COVID-19 misleading information from the service …. We

  have also introduced a strike system that determines when further enforcement is necessary. … As

  we said, we are committed to working with stakeholders in the public, private and non-profit

  sectors to address the reliability of covid information online and look forward to continued

  dialogue about joint efforts.” Id. at 1.

         52.     From at least May 28, 2021 to July 10, 2021, a senior Meta executive repeatedly

  copied Slavitt on his emails to Surgeon General Murthy in which he assured the Surgeon General

  and the White House that Meta was engaging in censorship of COVID-19 misinformation

  according to the White House’s demands. Doc. 71-4. Among other things, the Meta executive

  insisted that “We’ve expanded penalties for individual Facebook accounts that share

  misinformation.” Id. at 9.




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Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 21 of 364 PageID #:
                                   16457



         53.     On March 12, 2021, referring to previous oral communications with the White

  House and HHS, Facebook emailed Flaherty “[f]ollowing up on our commitment to share our

  survey data on vaccine uptake.” Doc. 174-1, at 9. Facebook provided the White House with a

  detailed report and summary on the topic, and noted that the information had evidently been

  requested by or on behalf of “White House / HHS” officials: “Hopefully, this format works for the

  various teams and audiences within the White House / HHS that may find this data valuable.” Id.

         54.     On March 15, 2021, at 3:20 a.m., Flaherty sent an email to Facebook

  acknowledging, “[g]ood insights here,” but then immediately pivoted to demand more and

  different data, linking a recent Washington Post article accusing Facebook of allowing the spread

  of information about vaccine hesitancy and QAnon, stating: “I'm more interested in the data that

  was              outlined              in             the             Washington               Post

  (https//www.washingtonpost.com/technology/202l/03/l4/facebook-vaccine-hesistancy-qanon)

  And what interventions you are testing/their effectiveness.” Id. at 9. This would become a

  standard tactic of the White House – linking to articles critical of Facebook in the press, and then

  demanding more information or actions based on those articles.

         55.     The day before, Sunday, March 14, 2021, at 11:13 p.m., Flaherty had emailed a link

  to the same article to Facebook (“https://www.washingtonpost.com/technology/2021/03/14/face

  book-vaccine-hesistancy-qanon”), copying White House COVID-19 official Andrew Slavitt, with

  no more text in the email and the subject line: “You are hiding the ball.” Id. at 12.

         56.     The next morning, Facebook responded by stating, “there is a misunderstanding on

  what this story is covering with respect to research that's happening – I will call to clear up.

  Certainly not hiding the ball.” Id. at 11-12.




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Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 22 of 364 PageID #:
                                   16458



         57.     Flaherty responded in accusatory fashion, referring to a series of at least three

  previous oral conversations in which the White House had demanded more information from

  Facebook about its censorship policies. Id. at 11. Flaherty made clear that the White House was

  seeking more aggressive action on “borderline” content—i.e., content that does not clearly violate

  Facebook’s own censorship policies but the White House demands action against anyway.

  Flaherty wrote: “I don't think this is a misunderstanding … I've been asking you guys pretty

  directly, over a series of conversations, for a clear accounting of the biggest issues you are seeing

  on your platform when it comes to vaccine hesitancy, and the degree to which borderline content-

  -as you define it-- is playing a role.” Id. at 11. Flaherty also referred to a series of meetings,

  including one-on-one meetings with Facebook (“1:1”): “I've also been asking for what actions you

  have been taking to mitigate it as part of your ‘lockdown’ - which in our first conversation, was

  said to be in response to concerns over borderline content, in our 1:1 convo you said was not out

  of any kind of concern over borderline content, and in our third conversation never even came up.”

  Id.

         58.     Flaherty followed with a series of accusations that Facebook was deceiving and

  prevaricating with the White House about its “borderline” (i.e. not violative) content: “You said

  you would commit to us that you'd level with us. I am seeing in the press that you have data on the

  impact of borderline content, and its overlap with various communities. I have asked for this point

  blank, and got, instead, an overview of how the algorithm works, with a pivot to a conversation

  about profile frames, and a 45-minute meeting that seemed to provide you with more insights than

  it provided us.” Id. He accused Facebook of being the “top driver[] of vaccine hesitancy,”

  demanded action against “borderline” content, and stated that the White House wanted to be

  directly involved in those efforts: “I am not trying to play ‘gotcha’ with you. We are gravely




                                                   20
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 23 of 364 PageID #:
                                   16459



  concerned that your service is one of the top drivers of vaccine hesitancy- period. I will also be

  the first to acknowledge that borderline content offers no easy solutions. But we want to know that

  you're trying, we want to know how we can help, and we want to know that you're not playing a

  shell game with us when we ask you what is going on. This would all be a lot easier if you would

  just be straight with us.” Id.

          59.     Facebook responded on March 15, respectfully disputing the Washington Post’s

  reporting, but then saying to Flaherty: “We obviously have work to do to gain your trust. You

  mention that you are not trying to play ‘gotcha’ with us—I appreciate the approach you are taking

  to continued discussions. We are also working to get you useful information that's on the level.

  That's my job and I take it seriously--I'll continue to do it to the best of my ability, and I'll expect

  you to hold me accountable.” Id. at 10-11.

          60.     The same day, March 15, 2021, Andrew Slavitt (who was copied on these

  exchanges between Facebook and Flaherty) weighed in, once again accusing Facebook of

  dishonesty in a series of oral meetings: “It would [be] nice to establish trust. I do feel like relative

  to others, interactions with Facebook are not straightforward and the problems are worse – like

  you are trying to meet a minimum hurdle instead of trying to solve the problem and we have to

  ask you precise questions and even then we get highly scrubbed party line answers. We have

  urgency and don't sense it from you all. 100% of the questions I asked have never been answered

  and weeks have gone by.” Id. at 10.

          61.     Slavitt then made an ominous statement threatening unspecified Executive action

  against Facebook in retaliation for Facebook’s perceived lack of cooperation with the White

  House’s demands on censorship of “borderline” (non-violative) content: “Internally we have been

  considering our options on what to do about it.” Id. at 10 (emphasis added).




                                                    21
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 24 of 364 PageID #:
                                   16460



         62.     On March 16, 2021, Facebook responded to Slavitt, again disputing the Washington

  Post’s reporting and respectfully explaining its position, but also promising to share information

  about vaccine hesitancy in “real time”: “We are absolutely invested in getting you the specific

  information needed to successfully manage the vaccine roll out.” Id. Facebook promised to

  increase information-sharing and proposed a detailed oral meeting on the topic: “But I understand

  your point regarding how we communicate, and that we need to share information with you in a

  way that prioritizes what we are seeing in as close to real time as possible. I'd like to set up a

  conversation with our research leads to walk your team through ongoing research we are currently

  conducting and our approach; and then we can prioritize sharing results as quickly as possible.”

  Id. Facebook also offered to speak to Slavitt by phone at any time. Id.

         63.     On March 19, 2021, Facebook had an oral meeting with White House officials,

  including Flaherty and Slavitt. Doc. 174-1, at 15. On Sunday, Facebook sent a follow-up summary

  of the meeting to Andrew Slavitt (“Thanks for taking the time to connect on Friday”), which noted

  that the White House (1) demanded a “Consistent Product Team [Point of Contact]” at Facebook,

  (2) demanded “Sharing Additional Data” from Facebook, (3) had asked about “Levers for Tackling

  Vaccine Hesitancy Content,” and (4) asked about censorship policies for the Meta platform

  WhatsApp. Id..

         64.     In the follow-up email, Facebook noted that, in direct response to White House

  demands, it was censoring, removing, and reducing the spread of content that did not violate its

  policies: “You also asked us about our levers for reducing virality of vaccine hesitancy content. In

  addition to policies previously discussed, these include the additional changes that were approved

  late last week and that we'll be implementing over the coming weeks. As you know, in addition to

  removing vaccine misinformation, we have been focused on reducing the virality of content




                                                  22
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 25 of 364 PageID #:
                                   16461



  discouraging vaccines that does not contain actionable misinformation. This is often-true content

  … but it can be framed as sensation, alarmist, or shocking. We'll remove these Groups, Pages, and

  Accounts when they are disproportionately promoting this sensationalized content.” Id. at 15

  (emphases added).

         65.     Facebook also provided the White House with a detailed report on its censorship

  policies on WhatsApp: “WhatsApp's approach to misinformation focuses on limiting the virality

  of messages, preventing coordinated abuse, and empowering users to seek out reliable sources of

  information both in and out of the product. Our product includes features to limit the spread of

  viral content, such as forward limits and labels, privacy settings to help users decide who can add

  them to groups, and simple ways for users to block accounts and make reports to WhatsApp if they

  encounter problematic messages. Additional limitations we placed in April 2020 on forwarding of

  messages that have been forwarded many times reduced these kinds of messages by over 70%.”

  Id.

         66.     On March 22, 2021, Flaherty responded to Facebook, demanding much more

  detailed information and action about “sensationalized” content on its platforms. Id. at 14.

  Flaherty noted that White House officials were demanding a plan from Facebook to censor non-

  violative content, i.e., “looking out for your game plan on tackling vaccine hesitancy spread on

  your platform.” Id.

         67.     In this email, Flaherty badgered Facebook with a series of detailed requests for

  information about this issue of censoring vaccine-skeptical content that does not violate

  Facebook’s content-moderation policies, such as truthful but “sensational” content: “Again, as I've

  said, what we are looking for is the universe and scale of the problem. You noted that there is a

  level below sensational stories that get down-ranked, which took the form of general skepticism.




                                                  23
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 26 of 364 PageID #:
                                   16462



  … [T]he problem does not sit in ‘microchips’-land, and … it seems plausible that the things that

  drive the most actual hesitancy sit in ‘sensational’ and ‘skeptical.’” Id.. Flaherty demanded more

  information and greater censorship of such non-violative “sensational” and “skeptical” content:

  “If you're down ranking sensational stuff—great—but I want to know how effective you've seen

  that be from a market research perspective. And then, what interventions are being taken on

  ‘skepticism?’ … [W]hat are you trying here, and again, how effective have you seen it be. And

  critically, what amount of content is falling into all of these buckets? Is there wider scale of

  skepticism than sensationalism? I assume given the Carnegie data and the studies I've seen in the

  press that you have this. … As I've said: this is not to play gotcha. It is to get a sense of what you

  are doing to manage this.” Id. (italics in original).

         68.     Flaherty also badgered Facebook for more information on Meta’s censorship

  policies on the WhatsApp platform, pushing for greater censorship there: “On whatsapp, which I

  may seem like I'm playing gotcha, but I guess I'm confused about how you're measuring reduction

  of harm. If you can't see the message, I'm genuinely curious—how do you know what kinds of

  messages you've cut down on? Assuming you've got a good mousetrap here, that's the kind of info

  we're looking for above: what interventions you've taken, and what you've found to work and not

  work? And how effective are you seeing the good information on Whatapp be? Are you doing

  cross platform campaign work to try to reduce people's exposure on whatsapp?” Id. at 14.

         69.     Flaherty concluded with an accusation of past dishonesty against Facebook and

  proposed frequent oral meetings to address the White House’s issues: “You've given us a

  commitment to honest, transparent conversations about this. We're looking for that, and hoping

  we can be partners here, even if it hasn't worked so far. I know Andy [Slavitt] is willing to get on




                                                    24
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 27 of 364 PageID #:
                                   16463



  the phone with [a Facebook official] a couple of times per week if its necessary to get all of this.”

  Id.

         70.     Flaherty’s statement that the White House is “hoping we can be partners here, even

  if it hasn’t worked so far,” reinforced Slavitt’s previous implied threat that the White House would

  take some unspecified action against Facebook if it did not cooperate with the White House’s

  demands on censorship of vaccine-hesitant content, especially non-violative content, on

  Facebook’s platforms. Id.

         71.     Facebook then agreed with Flaherty and Slavitt to schedule a meeting that

  Wednesday at 4:00 pm to discuss these issues. Id. at 13.

         72.     On April 9, 2021, Facebook sent Flaherty an email to respond to a long series of

  detailed questions from Flaherty about how the Meta platform WhatsApp was censoring COVID-

  19 misinformation. Doc. 174-1, at 17-21. All Flaherty’s questions were designed to probe and

  pressure Facebook toward more aggressive censorship. See id. Facebook began by “noting some

  of the key differences between a private messaging app like WhatsApp, and social media like

  Facebook and Instagram. Approximately 90 percent of the messages sent on WhatsApp are one-

  to-one, and the majority of group chats include fewer than ten people. WhatsApp does not promote

  content, and users do not build audiences or discover new people as they would on social media.”

  Id. at 18. Flaherty responded to this: “Very aware. [Smiley face].” In other words, the White

  House was demanding information about speech on a private messaging app used for one-to-one

  private communication, and demanding greater censorship of speech on that app—and it was “very

  aware” that it was doing so. Id.

         73.     Facebook noted that “WhatsApp seeks to control the spread of misinformation and

  inform users through deliberate, content-agnostic product interventions -- things like labeling and




                                                   25
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 28 of 364 PageID #:
                                   16464



  limiting message forwards.” Id. at 18. Facebook noted that the message-forwarding limits are

  “intended” to censor COVID misinformation, and that they actually reduced such speech by 70

  percent, and Facebook admitted that these are “somewhat blunt tools” that prevent its users from

  sending many other forms of speech as well: “The forward limits … are intended to reduce their

  spread. As mentioned in my earlier note, when WhatsApp rolled out the limitation for highly

  forwarded messages to one chat at a time in April 2020, this resulted in a 70% reduction of those

  messages globally. Of course, not all forwards are misinformation, so these are by nature

  somewhat blunt tools, but they are important ones -- and ones that many other messaging services

  don't provide.” Id.

         74.     After presenting Facebook with a series of questions (presented in bold and in red

  type in the email, see id. at 18-20), Flaherty summed up by demanding insight into Facebook’s

  internal information: “I guess I have the same question here as I do on Facebook on Instagram. Do

  you guys think you have this under control? You're obviously going to say yes to that, so I guess

  the real question is, as ever: how are you measuring success? Reduction in forwarding? Measured

  impact across Facebook properties?” Id. at 20.

         75.     Facebook responded by emphasizing that it was “reducing viral activity on our

  platform” through message-forward limits and other speech-blocking techniques as well: “On

  WhatsApp, reduction in forwards is just one of the signals that we use to measure how well we are

  doing in reducing viral activity on our platform. We also ban accounts that engage in mass

  marketing or scam behaviors - including those that seek to exploit COVID-19 misinformation. Our

  efforts in this space are more comprehensive than anything that our peers in private messaging or

  SMS do, and we are constantly innovating to stay ahead of future challenges.” Id. at 20.




                                                   26
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 29 of 364 PageID #:
                                   16465



         76.     Facebook also offered to meet with the White House “Monday or anytime next

  week” to discuss its censorship efforts, to which Flaherty responded, “Hoor should be trying to

  land a time.” Id. at 17.

         77.     Flaherty responded to Facebook’s long, detailed account of its censorship efforts

  on WhatsApp by expressing dissatisfaction with the response and demanding ever-more detailed

  information, stating that he “couldn’t care less” about Facebook’s “product safari”: “Will say I'm

  really mostly interested in what effects the interventions and products you've tested have had on

  increasing vaccine interest within hesitant communities, and which ones have shown promise.

  Really couldn't care less about products unless they're having measurable impact. And while the

  product safari has been interesting, at the end of the day, I care mostly about what actions and

  changes you're making to ensure sure you're not making our country's vaccine hesitancy problem

  worse. I definitely have what I believe to be a non-comprehensive list of products you're building

  but I still don't have a good, empirical answer on how effective you've been at reducing the spread

  of vaccine-skeptical content and misinformation to vaccine fence sitters in the now-folded

  ‘lockdown.’” Id. at 17 (emphasis added).

         78.     Flaherty then accused Facebook of being responsible for the riot at the Capitol on

  January 6, 2021, by not censoring enough speech online, and suggested that Facebook would be

  similarly responsible for COVID-related deaths if it did not engage in more online censorship here:

  “In the electoral context, you tested and deployed an algorithmic shift that promoted quality news

  and information about the election. This was reported in the New York Times and also readily

  apparent to anyone with cursory social listening tools. You only did this, however, after an election

  that you helped increase skepticism in, and an insurrection which was plotted, in large part, on




                                                   27
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 30 of 364 PageID #:
                                   16466



  your platform. And then you turned it back off. I want some assurances, based in data, that you

  are not doing the same thing again here.” Id. (emphases added).

         79.     Facebook responded by promising ever-more-detailed information to the White

  House’s demands: “Understood. I thought we were doing a better job [of] responding to this – and

  we are working to get the data that will more clearly show the universe of the Covid content that's

  highest in distribution with a clear picture of what percentage of that content is vax hesitancy

  content, and how we are addressing it. I know [a Facebook official] told Andy [Slavitt] that would

  take a bit of time to nail down and we are working on that universe of data. I will make sure we're

  more clearly responding to your questions below.” Id. at 17.

         80.     The meeting that Facebook offered with the White House on Monday, April 12 or

  thereafter occurred on Wednesday, April 14, because Flaherty emailed Facebook that day stating:

  “Since we’ve been on the phone…” Id. at 22.

         81.     In this Wednesday, April 14, 2021 email, with the subject line “tucker,” Flaherty

  noted that the White House was tracking COVID-related content in real time, and he demanded

  the censorship of currently-trending posts of content from two prominent Fox News hosts, Tucker

  Carlson and Tomi Lahren: “Since we've been on the phone – the top post about vaccines today is

  tucker Carlson saying they don't work. Yesterday was Tomi Lehren [sic] saying she won't take

  one. This is exactly why I want to know what ‘Reduction’ actually looks like – if ‘reduction’

  means ‘pumping our most vaccine hesitant audience with tucker Carlson saying it doesn't work’

  then ... I’m not sure it's reduction!” Id. at 22. Facebook responded: “Thanks—I saw the same

  thing when we hung up. Running this down now.” Id. In a separate email chain to Flaherty and

  Courtney Rowe the same day, Facebook also assured the White House, “running down the

  question on Tucker and working on getting you report by end of week.” Id. at 23.




                                                  28
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 31 of 364 PageID #:
                                   16467



         82.     Tucker Carlson has 1.2 million followers on his personal Facebook account and 3.8

  million followers on his show’s account, Jones Decl., Ex. I, at 1-2, so censoring Carlson’s content

  would affect the free-speech rights of millions of people in a single stroke.

         83.     In the meantime, Facebook was offering to cooperate closely with the White House

  to “amplify” its preferred messages. On April 13, 2021, Facebook emailed Andy Slavitt about the

  temporary halt of the Johnson & Johnson vaccine, stating: “Re the J+J [i.e., Johnson & Johnson]

  news, we're keen to amplify any messaging you want us to project about what this means for people

  – it obviously has the risk of exacerbating vaccine hesitancy, so we're keen to get ahead of the

  knock-on effect. Don't hesitate to tell me – or via your teams – how we can help to provide

  clarity/reassurance via Facebook.” Doc. 174-1, at 31-32. Facebook then forwarded the same offer

  to Courtney Rowe and Rob Flaherty of the White House digital communications team. Id. at 31.

         84.     Flaherty responded the same day, April 13, with a series of detailed requests about

  how Facebook could amplify the White House’s preferred messages, including: “Some kind of

  thing that puts the news in context if folks have seen it (like your current ‘COVID news’ panel)

  that has 3-4 pieces of info (eg: Adverse events are very rare – 6 cases out of nearly 7 million, the

  FDA and CDC are reviewing so it health care providers know how to treat any of the rare events,

  this does not affect pfzier or moderna, which vaccinate via a different mechanism)”; “CDC is

  working through an FAQ that we'd love to have amplified in whatever way possible – maybe

  through the COVID info panel”; and “[a] commitment from you guys to make sure that a favorable

  review reaches as many people as the pause, either through hard product interventions or

  algorithmic amplification.” Id. at 30-31. Flaherty also block-quoted a White-House-approved

  message on the vaccine pause for Facebook to amplify. Id. at 31.




                                                   29
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 32 of 364 PageID #:
                                   16468



         85.     Flaherty   then   concluded    by     demanding   that   Facebook    monitor    any

  “misinformation” relating to the Johnson & Johnson vaccine pause, and asking Facebook to

  provide a detailed report to the White House within 24 hours of how it was doing so: “More

  broadly: we share [Facebook’s] concern about knock-on effects and are curious to get a read from

  your CMU data about what you're seeing and with whom. Moreover, I want to make sure you

  have eyes on what might be spinning off the back end of this – that the news about J&J doesn't

  spin off misinformation. Would be great to get a 24 hour report-back on what behavior you're

  seeing.” Id. at 31 (emphasis added).

         86.     The same day, April 13, 2021, Facebook responded with a detailed report on

  misinformation on its platforms about this issue. Doc. 174-1, at 24-30. Facebook noted that there

  was an oral meeting about misinformation with the White House scheduled the next day: “I'm

  looking forward to the meeting tomorrow [i.e., Wednesday, April 14] and hoping we can spend

  some time responding to Rob's feedback from last week as well as further discussing the J&J news

  and how we can hopefully partner together.” Id. at 24.

         87.     Facebook also noted that it had recently had a telephone call with Courtney Rowe

  about how it was censoring misinformation, and had agreed to provide a detailed report on its

  relevant censorship enforcement policies: “Courtney – as we discussed, we also wanted to send

  over some examples of content we see on our platform that we remove (misinformation & harm)

  as well as content we take other actions on, but do not remove (vaccine hesitancy). I have included

  some examples at the bottom of this email and happy to setup time to talk through this more with

  you as well, if helpful.” Id. at 24. Facebook then provided a six-page report on censorship with

  explanations and screen shots of sample posts of content that it censors and does not censor. Id.

  at 24-30.




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Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 33 of 364 PageID #:
                                   16469



         88.     First, Facebook responded to Flaherty’s request for government-message-

  amplification by agreeing to cooperate with the White House on those demands. Id. at 24.

  Regarding Flaherty’s demand that Facebook monitor and report on “misinformation” related to

  the Johnson & Johnson vaccine pause, Facebook agreed to both monitor and report to the White

  House: “We will look to get you insights as soon as we have them. We are going to be watching

  to see how this plays out over the next couple of days. [A Facebook official] is joining [the call]

  tomorrow and plans to share a couple things we are seeing emerge from the CMU survey and what

  we are going to be watching over the next few days. Also, we are proactively monitoring and

  seeing what themes emerge from content on-platform and happy to share out when we have stuff

  collected.” Id. at 24-25.

         89.     Facebook then provided a detailed report to Courtney Rowe’s request for specific

  examples of posts that are censored on its platforms. First, as to “VACCINE HESITANCY”

  content, Facebook explained that this content does not violate Facebook’s content-moderation

  policies, but Facebook assured the White House that Facebook still censors such non-violative

  content by suppressing it in news feeds and algorithms. Id. at 25. Facebook admitted that such

  content is often “true” and sometimes involves core political speech or advocacy (e.g., “discussing

  choice to vaccinate in terms of personal and civil liberties”): “The following examples of content

  are those that do not violate our Misinformation and Harm policy, but may contribute to vaccine

  hesitancy or present a barrier to vaccination. This includes, for example, content that contains

  sensational or alarmist vaccine misrepresentation, disparaging others based on the choice to or to

  not vaccinate, true but shocking claims or personal anecdotes, or discussing the choice to

  vaccinate in terms of personal and civil liberties or concerns related to mistrust in institutions or

  individuals.” Id. at 25 (emphases added).




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Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 34 of 364 PageID #:
                                   16470



         90.     Facebook assured the White House that it censors such true, political, non-violative

  content through “a spectrum of levers” that includes concealing the content from other users,

  deboosting the content, and preventing sharing through “friction”: “We utilize a spectrum of levers

  for this kind of content…. Actions may include reducing the posts’ distribution, not suggesting the

  posts to users, limiting their discoverability in Search, and applying Inform Labels and/or reshare

  friction to the posts.” Id. Facebook then provided the White House with a series of sample posts,

  all of which content originated from Children’s Health Defense, the anti-vaccine organization

  headed by Robert F. Kennedy Jr. (who would soon be identified as one of the so-called

  “Disinformation Dozen”). Id. at 25-27.

         91.     Next, under the heading “Examples of Content Removed for Violating our

  Misinformation & Harm Policy,” Facebook provided the White House with “examples of posts

  we have removed for violation of our Misinformation & Harm Policy.” Id. at 27. Facebook then

  provided a list of screen shots of posts it had removed from the platform entirely, again all of which

  originated from Children’s Health Defense, Robert F. Kennedy Jr.’s group. Id. at 28-30.

         92.     As noted below, Facebook’s explanation that it was removing violative posts by

  Children’s Health Defense and censoring even its posts that did not violate Facebook’s policies

  turned out to be not nearly enough to satisfy the White House.

         93.     Separately from Flaherty’s demands about Tucker Carlson, on April 14, 2021,

  Andy Slavitt also emailed a high-level Facebook executive—Facebook’s President of Global

  Affairs, former Deputy Prime Minister of the United Kingdom Nick Clegg—with a sarcastic

  message expressing the White House’s displeasure both with Facebook’s failure to censor Tucker

  Carlson and with Facebook’s perceived failure to allow the White House to micromanage its

  censorship policies: “Number one of Facebook. Sigh. Big reveal call with FB and WH today. No




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Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 35 of 364 PageID #:
                                   16471



  progress since we spoke. Sigh.” Doc. 174-1, at 35. Clegg promptly responded to Slavitt with an

  apology and promise to immediately address the censorship of Tucker Carlson: “OK – sorry to

  hear about call today, will dig in now.” Id. The subject line of Slavitt’s email, reproduced in the

  “Re:” line of later messages, was “Tucker Carlson anti-vax message.” Id. at 34.

         94.     Late evening of the same day, April 14, 2021, at 10:51 p.m., Nick Clegg provided

  Slavitt with a detailed report about the Tucker Carlson post, explaining that Tucker Carlson’s

  content did not violate Facebook policies (due to the federal government’s own information about

  its accuracy) but assuring the White House that Facebook would censor it anyway. Id. at 34. Clegg

  denied that Carlson’s content was the top post on Facebook, but then stated, “Regardless of

  popularity, the Tucker Carlson video does not qualify for removal under our policies. Following

  the government's decision yesterday, we are allowing claims that the Johnson and Johnson vaccine

  causes blood clots…. That said, the video is being labeled with a pointer to authoritative COVID

  information, it's not being recommended to people, and it is being demoted.” Id. at 34.

         95.     Clegg also stated that Facebook was “v[ery] keen” to provide a more detailed report

  on its censorship practices in response to White House demands: “I’m v keen that we follow up as

  we'd agreed, and I can assure you the teams here are on it.” Id.

         96.     Brian Rice of Facebook then forwarded the same report on the Tucker Carlson post

  to Rob Flaherty. Id. (“Making sure you receive--”).

         97.     Less than twenty minutes later, at 11:29 p.m. on April 14, 2021, Flaherty responded

  to Rice with a sarcastic response badgering Facebook for a more detailed explanation of why it

  had not removed Tucker Carlson’s content outright, demanding greater censorship, and accusing

  Facebook of causing an “insurrection” by not censoring enough speech on its platforms: “I guess

  this is a good example of your rules in practice then – and a chance to dive in on questions as




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Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 36 of 364 PageID #:
                                   16472



  they're applied. How was this [i.e. Tucker Carlson’ post] not violative? The second half of the

  segment is raising conspiracy theories about the government hiding that all vaccines aren't

  effective. It's not about just J&J. What exactly is the rule for removal vs demoting? Moreover: you

  say reduced and demoted. What does that mean? There's 40,000 shares on the video. Who is seeing

  it now? How many? How effective is that? And we've gone a million rounds on this in other

  contexts so pardon what may seem like deja vu – but on what basis is ‘visit the covid-19

  information center for vaccine resources’ the best thing to tag to a video that says the vaccine

  doesn't work?” Doc. 174-1, at 33. Flaherty concluded ominously by reiterating his accusation

  that Facebook had caused the January 6 riot by not censoring enough speech on its platforms: “Not

  for nothing but last time we did this dance, it ended in an insurrection.” Id. at 34.

         98.     Six minutes later, at 11:35 p.m. on April 14, Flaherty followed up with another

  email accusing Facebook of providing incorrect information through CrowdTangle and demanding

  an explanation: “And sorry – if this was not one of the most popular posts about the vaccine on

  Facebook today, then what good is crowdtangle? [A Facebook official] said that Tomis [i.e., Tomi

  Lahren’s] video was the most popular yesterday based on your data, which reflected what CT [i.e.,

  CrowdTangle] was showing. Tuckers video was top on CT today. What is different about this

  video, then?” Id. at 33.

         99.     On Friday, April 16, Flaherty then sent an email expressing his displeasure with the

  timing of Facebook’s response and demanding immediate answers, snapping at Rice: “These

  questions weren’t rhetorical.” Id. at 33. Facebook apologized and promised an immediate

  response: “Hey Rob – understood and sorry for the delay. The team has been heads-down since

  our conversation to produce the report we discussed on Wednesday afternoon. We are aiming to




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Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 37 of 364 PageID #:
                                   16473



  get you something tonight ahead of the weekend.” Id. Facebook then proposed another oral

  meeting: “schedule a call to discuss. Would that work?” Id.

         100.    On Tuesday, April 21, 2021, Facebook sent an additional response to the same

  email chain, indicating that there had been a phone call with Flaherty (“thanks for catching up

  earlier”) and providing another, more detailed report on its censorship of Tucker Carlson in

  response to each of Flaherty’s queries question-by-question. Id. at 36. Facebook again reported

  that Tucker Carlson’s content had not violated its policies, stating that “we reviewed this content

  in detail and it does not violate those policies,” but reported that Facebook had been censoring it

  anyway and would continue to censor it even though no fact-check had reported it false: “The

  video received 50% demotion for seven days while in the queue to be fact checked, and will

  continue to be demoted even though it was not ultimately fact checked.” Id. (emphasis added).

  These circumstances raise a compelling inference that Facebook continued to demote Tucker

  Carlson’ content, in violation of its own policies and practices, due to the White House’s pressure.

         101.    In the same time frame, the White House was exerting similar pressure on other

  major social-media platforms. It had meetings with YouTube and Twitter about misinformation

  on April 21, 2021 as well.

         102.    On April 21, Rob Flaherty, Andy Slavitt, and Kelsey Fitzpatrick of the White

  House, along with an official at HHS, participated in a meeting with several Twitter officials. Doc.

  71-7, at 86. The meeting’s subject was “Twitter Vaccine Misinfo Briefing.” Id. The meeting

  invite noted: “White House Staff will be briefed by Twitter on vaccine misinfo. Twitter to cover

  trends seen generally around vaccine misinformation, the tangible effects seen from recent policy

  changes, what interventions are currently being implemented in addition to previous policy




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Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 38 of 364 PageID #:
                                   16474



  changes, and ways the White House (and our COVID experts) can partner in product work.” Id.

  (emphases added).

         103.    The next day, April 22, Twitter employees noted in internal communications that

  the White House officials, during this meeting, had posed “one really tough question about why

  Alex Berenson hasn’t been kicked off the platform.” Jones Decl., Ex. J, at 2-3. The Twitter

  employee noted that the White House’s questions were “pointed” and “mercifully we had

  answers.” Id. Another internal Twitter communication noted that the White House “really wanted

  to know about Alex Berenson. Andy Slavitt suggested they had seen data viz that had showed he

  was the epicenter of disinfo that radiated outwards to the persuadable public.” Id.

         104.    Later, on July 16, 2021, Twitter suspended Alex Berenson for the first time. Id.

  On August 28, 2021, Twitter permanently deplatformed Berenson. Id.

         105.    On April 21, 2021, Flaherty, Andy Slavitt, Kelsey Fitzpatrick of the White House,

  and Jessica Scruggs of HHS had a similar meeting with YouTube, to which at least six YouTube

  officials were invited. Jones Decl., Ex. K, at 1. The calendar invite stated that the purpose of the

  meeting was: “White House staff to get briefed by YouTube on general trends seen around vaccine

  misinformation. As well as, the empirical effects of YouTube’s efforts to combat misinfo, what

  interventions YouTube is currently trying, and ways the White House (and or COVID experts) can

  partner in product work.” Id.

         106.    Just after midnight on April 22, 2021, Rob Flaherty emailed a list of Google

  officials about YouTube, copying Andy Slavitt, Clarke Humphrey, and Kelsey Fitzpatrick of the

  White House. Doc. 174-1, at 39. He began by referring to the oral meeting with Google/YouTube

  officials on April 21: “Thanks again for the conversation today.” Id. Flaherty also referred to an

  earlier, “first conversation,” indicating that there had been multiple meetings with YouTube. Id.




                                                  36
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 39 of 364 PageID #:
                                   16475



         107.    Flaherty then noted that the White House had asked YouTube (like Facebook) to

  monitor and report on the speech on its platforms, stating that the White House expected a report

  from them: “We'll look out for the top trends that you've seen in terms of misinformation around

  the vaccine.” Id.

         108.    Flaherty then provided a “recap” of their oral conversation, stating that concern

  about misinformation on YouTube was “shared at the highest (and I mean highest) levels of the

  [White House]”: “To recap: … we remain concerned that Youtube is ‘funneling’ people into

  hesitance and intensifying people's hesitancy…. we want to be sure that you have a handle on

  vaccine hesitancy generally and are working toward making the problem better. This is a concern

  that is shared at the highest (and I mean highest) levels of the WH, so we'd like to continue a good-

  faith dialogue about what is going on under the hood here. I'm the on the hook for reporting out.”

  Id. (emphasis added).

         109.    Citing an article “highlighting the Youtube misinformation that is spreading

  through the Vietnamese community,” Flaherty stated: “Clearly, more work to be done here. Would

  love to get some insights from you on how you are tackling this problem across all languages.”

  Id.

         110.    Flaherty then stated, “A couple of other things it would be good to have from you

  all,” and provided a five-bullet list of detailed demands for YouTube’s internal data about the

  spread of misinformation on its platform, including: “the top trends that you're seeing in terms of

  misinformation/hesitance inducing content,” and “[a] deeper dive on reduction and its

  effectiveness,” among others. Id.

         111.    Flaherty indicated that the White House was coordinating with the Stanford Internet

  Observatory, which was then operating the Virality Project, discussed in detail below, noting in




                                                   37
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 40 of 364 PageID #:
                                   16476



  the first bullet point: “Stanford has mentioned that it's recently Vaccine Passports and J&J pause-

  related stuff, but I'm not sure if that reflects what you' re seeing.” Id. This reference raises the

  inference that the White House’s “COVID experts” (“our COVID experts”) mentioned in the

  calendar invite for the meeting, Jones Decl., Ex. K, at 1, are, in fact, “Stanford” personnel

  associated with the Virality Project, and that the White House was working with “Stanford” to

  “partner with” platforms “on product work.”

         112.    As with Facebook, many of Flaherty’s demands related to so-called “borderline”

  content, i.e., often-truthful content that does not violate platform policies but that the White House

  disfavors. See Doc. 174-1, at 39. Among other things, he praised YouTube for reducing

  distribution of such content: “I believe you said you reduced watch time by 70% on ‘borderline’

  content, which is impressive.” Id. But then, again, he followed up with a long series of demands

  for more information: “How does that track with vaccine-related content specifically…? What has

  the comparative reduction in watch time on ‘borderline’ vaccine topics been after your

  interventions? And what has the increase in watch time been on authoritative information?...

  Related to the second bullet: to what extent have your ranking interventions been effective there?

  And, perhaps more critically, to what degree is content from people who have been given a ‘strike’

  still being recommended and shown in prominent search positions? … [H]ow did you arrive on

  info-panels as the best intervention? And to what extent are people clicking through after exposure

  to vaccine-hesitant content? … What are the general vectors by which people see the ‘borderline’

  content – or really just vaccine-skeptical content? Is it largely through recommendations? Search?”

  Id. Notably, Flaherty’s “most critical[]” question implied that YouTube should be censoring more

  content from disfavored speakers, i.e., those who have been given a “strike” for previous anti-

  vaccine content. Id.




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Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 41 of 364 PageID #:
                                   16477



          113.    Flaherty emphasized that the White House wanted to make sure YouTube’s “work

  extends to the broader problem” of people viewing vaccine-hesitant content. Id. at 39-40. And he

  proposed regular meetings to push YouTube to disclose its “internal data” to the White House:

  “We've worked with a number of platform partners to track down similar information based on

  internal data, including partners of similar scale. I am feeling a bit like I don't have a full sense of

  the picture here. We speak with other platforms on a semi-regular basis. We'd love to get in this

  habit with you. Perhaps bi-weekly? Looking forward to more conversation.” Id. at 40.

          114.    On April 23, 2021, Flaherty sent Facebook an email that included a document

  entitled “Facebook COVID-19 Vaccine Misinformation Brief” prepared by an unidentified third

  party. Jones Decl., Ex. L, at 1. The “Brief” had two major headings with several bullet points

  under each: “Facebook plays a major role in the spread of COVID vaccine misinformation,” and

  “Facebook’s policy and enforcement gaps enable misinformation’s spread.” Id. The “Brief”

  recommended much more aggressive censorship of Facebook’s platforms, calling for

  “progressively severe penalties … and comprehensive enforcement for pages, accounts, and

  groups that repeatedly post COVID vaccine misinformation,” and stating that “[b]ans for COVID-

  19 misinformation should be cross-platform and enforced at the entity-level, not the account level.”

  Id. It called for Facebook to stop distributing even non-violative anti-vaccine content “in News

  Feed or in group recommendations” to “significantly reduce the reach of low-quality domains,”

  and it stated that “[v]accine misinformation monitoring and enforcement must adjust as

  disinformers evade enforcement….” Id. at 1-2. And it called for specific censorship of disfavored

  speakers: “Warning screens before linking to domains known to promote vaccine misinformation

  would dissuade users from following links to of-platform misinformation and hurt the vaccine-

  misinformation business model Facebook enables.” Id. at 2.




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Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 42 of 364 PageID #:
                                   16478



         115.    Reproducing this pro-censorship “Brief” in the text of his email to Facebook,

  Flaherty wrote: “Here’s the crux of their recs. Don’t read this as White House endorsement of

  these suggestions (or, also, as the upper bound of what our thoughts may be). But – spirit of

  transparency – this is circulating around the building and informing thinking.” Id. at 1.

         116.    On May 1, 2021, Nick Clegg of Facebook sent an email to Andy Slavitt indicating

  that the White House had recently met with Facebook to “share research work” and make more

  demands, stating: “Thanks to your team for sharing the research work with us….” Id. at 41. At

  the beginning of the email, Clegg apologized to the White House for not catching and censoring

  three pieces of vaccine content that went viral, even though the content did not violate Facebook’s

  policies, and promising to censor such non-violative content more aggressively in the future: “I

  wanted to send you a quick note on the three pieces of vaccine content that were seen by a high

  number of people before we demoted them. Although they don't violate our community standards,

  we should have demoted them before they went viral and this has exposed gaps in our operational

  and technical process.” Id. at 42.

         117.    Clegg then promised to be more vigilant and censor such non-violative content to

  prevent it from going viral in the future, and offered to report back to the White House in detail

  about its efforts to do so: “The teams have spent the last 24 hrs analysing these gaps and are making

  a number of changes starting next week, including setting up more dedicated monitoring for Covid

  vaccine content on the cusp of going viral, applying stronger demotions to a broader set of content,

  and setting up daily review and analysis so that we have a better real-time view of what is being

  seen by lots of people. I will be checking on this closely to make sure that these additional steps

  show results - the stronger demotions in particular should deliver real impact. Please let me know

  if you'd like to discuss any of this in more detail.” Id.




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Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 43 of 364 PageID #:
                                   16479



         118.    Clegg then listed in bold the demands that the White House had made in its recent

  meeting, with a detailed response to each. Id. at 42. First, the White House had demanded that

  Facebook address “Non-English mis/disinformation circulating without moderation,” and

  Facebook promised to take steps to do so. Id. (bold in original).

         119.    Second, the White House had commanded Facebook: “Do not distribute or

  amplify vaccine hesitancy, and Facebook should end group recommendations for groups

  with a history of COVID-19 or vaccine misinformation.” Id. (bold in original). Facebook

  assured the White House that it was taking strong steps to censor such content, and promised to

  increase its efforts to do so in the future: “Much of the research you shared called on us to ensure

  that our systems don't amplify vaccine hesitancy content and this is top of mind for us. In addition

  to the changes I mentioned above, we have already removed all health groups from our

  recommendation feature on Facebook, and on Instagram we filter vaccine-related accounts from

  our ‘accounts you may follow feature’. We also remove accounts that may discourage vaccination

  from search features. We currently enforce on hash tags we know are shared to promote vaccine

  hesitancy content and are working to improve our automated systems here.” Id.

         120.    Third, the White House had demanded that Facebook “Monitor[] events that host

  anti-vaccine and COVID disinformation.” Id. (bold in original). Facebook promised to monitor

  social-media “events” on its platforms more closely and take more aggressive action to censor

  them: “we are working to improve automatic detection for events hosting anti-vaccine and COVID

  content. Our viral monitoring efforts will also help us detect events that are gaining views on

  Facebook, and we do remove events coordinating in-person gatherings that involve or encourage

  people who have COVID-19 to join.” Id.




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Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 44 of 364 PageID #:
                                   16480



         121.    Fourth, the White House had demanded censorship of the so-called

  “Disinformation Dozen” in the private meeting with Facebook, raising the concern that “12

  accounts are responsible for 73% of vaccine misinformation.” Id. (bold in original). Facebook

  responded that it was scrutinizing those speakers and censoring them whenever it could, but that

  most if their content did not violate Facebook’s policies: “we continue to review accounts

  associated with the 12 individuals identified in the CCDH ‘Disinformation Dozen’ report, but

  many of those either do not violate our policies or have ceased posting violating content. Our

  ‘Dedicated Vaccine Discouraging Entity’ policy is designed to remove groups and pages that are

  dedicated to sharing vaccine discouraging content and we continue to review and enforce on these

  where we become aware of them.” Id.

         122.    Clegg then noted that he realized the White House would not be satisfied with these

  answers and was demanding greater censorship: “I realise that our position on this continues to be

  a particular concern for you.” Id. Clegg then suggested that too much censorship might be

  counterproductive and might drive vaccine hesitancy: “Among experts we have consulted, there

  is a general sense that deleting more expressions of vaccine hesitancy might be more

  counterproductive to the goal of vaccine uptake because it could prevent hesitant people from

  talking through their concerns and potentially reinforce the notion that there's a cover-up.” Id.

  Brian Rice also forwarded Nick Clegg’s email to Rob Flaherty. Id. at 41.

         B.      Public Pressure and Threats From Press Secretary Jennifer Psaki.

         123.    The White House was evidently quite unhappy with this response and the results of

  its pressure campaign behind closed doors. A few days later, the White House took its pressure

  campaign public. On May 5, 2021, Jen Psaki publicly reminded Facebook and the other platforms

  of the threat of legal consequences hanging over its head if it did not censor misinformation more




                                                 42
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 45 of 364 PageID #:
                                   16481



  aggressively. At the May 5, 2021 White House Press Briefing, Jen Psaki stated about social-media

  censorship: “The President’s view is that the major platforms have a responsibility related to the

  health and safety of all Americans to stop amplifying untrustworthy content, disinformation, and

  misinformation, especially related to COVID-19, vaccinations, and elections. And we’ve seen that

  over the past several months, broadly speaking.” Glenn Decl. Ex. 29, at 15, Doc. 10-1, at 353.

         124.    Psaki also stated that President Biden “also supports better privacy protections and

  a robust anti-trust program. So his view is that there’s more that needs to be done to ensure that

  this type of misinformation; disinformation; damaging, sometimes life-threatening information is

  not going out to the American public.” Id. She thus linked the threat of a “robust anti-trust

  program” to the White House’s demand that “more … needs to be done” by “the major platforms”

  to prevent “misinformation” and “disinformation” from “going out to the American public,” i.e.,

  its demand for censorship. Id.

         125.    The next day, May 6, 2021, Flaherty privately responded to Facebook’s most recent

  email, badgering Facebook again for more explanations about why it was not censoring more

  aggressively. Regarding Nick Clegg’s apology for not catching and censoring three viral posts

  earlier, Flaherty linked to one and noted: “For one, it's still up and seems to have gotten pretty far.

  And it's got 365k shares with four comments. We've talked about this in a different context, but

  how does something like that happen? The top post, the one from the Wisconsin news station, has

  2.1 million comments.” Doc. 174-1, at 41.

         126.    Flaherty also demanded more information about Facebook’s efforts to demote

  “borderline” content: “Won't come as a shock to you that we're particularly interested in your

  demotion efforts, which I don't think we have a good handle on (and, based on the below, it doesn't




                                                    43
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 46 of 364 PageID #:
                                   16482



  seem like you do either). Not to sound like a broken record, but how much content is being

  demoted, and how effective are you at mitigating reach, and how quickly?” Id.

          127.   Flaherty then criticized Facebook’s censorship efforts for vaccine-related posts in

  Facebook groups related to other topics: “Also, health groups: sure. But it seems more likely that

  anti-vax stuff is moving in groups that are not about health but are ... mom centric, or other spaces.

  Strikes me as the issue here is less from single-use anti-vaccine accounts and more about people

  who ... do other things and are also vaccine hesitant.” Id. (ellipses in original).

          128.   Flaherty tied this criticism to his criticism of Facebook’s failure to censor the

  “Disinformation Dozen”: “Seems like your ‘dedicated vaccine hesitancy’ policy isn't stopping the

  disinfo dozen - they're being deemed as not dedicated – so it feels like that problem likely carries

  over to groups.” Id.

          129.   On May 10, 2021, Facebook sent an email to Rob Flaherty and Courtney Rowe of

  the White House digital team, touting its efforts to promote vaccination on its platforms. Doc.

  174-1, at 46. Among other things, Facebook reported that “Since January, we've provided more

  than $30 million in ad credits to help governments, NGOs and other organizations reach people

  with COVID-19 vaccine information and other important messages.” Id.

          130.   The next day, May 11, 2021, Flaherty responded with a one-line, snarky email

  stating: “Hard to take any of this seriously when you're actively promoting anti-vaccine pages in

  search.” Id. He included a link to a news report about this topic on Twitter. Id.

          131.   The next day, May 12, 2021, Facebook responded, assuring Flaherty that it had

  censored the accounts mentioned in the news reports: “Thanks Rob - both of the accounts featured

  in the tweet have been removed from Instagram entirely…. We're looking into what happened.”

  Id. at 45.




                                                    44
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 47 of 364 PageID #:
                                   16483



         132.    Facebook then assured Flaherty it was working on processes to suppress disfavored

  speech from search results on its platforms and remove anti-vaccine accounts: “We are continuing

  to develop technology to improve the quality of search results at scale across Instagram - this is a

  continual process built on new technology to address adversarial accounts…. We also remove

  accounts that may discourage vaccination from search by developing and using this new

  technology to find accounts on Instagram that discourage vaccines, and remove these accounts

  from search altogether. We've also removed accounts that primarily discourage vaccination from

  appearing where we recommend new accounts to follow, such as accounts you may like, and

  suggested accounts.” Id.

         133.    Facebook acknowledged that its censorship efforts were not enough and promised

  the White House they would increase them: “We clearly still have work to do to [sic], but wanted

  to ensure you were aware of the authoritative resources we're pointing people to first as we

  continue investing in removing accounts from search that may discourage vaccination.” Id.

         134.    The same day, May 12, 2021, Flaherty responded sarcastically, indicating that

  promoting pro-vaccine speech was not enough for the White House, which demanded the removal

  or deboosting of anti-vaccine speech: “Sure. They're first connected to authoritative information,

  but then you, as of last night, were presenting an anti-vaccine account with less than 1000 followers

  alongside, at level, with those pinned accounts!” Id. at 45.

         135.    Flaherty then accused Facebook of not doing enough to censor anti-vaccine content

  in search results and dissembling to deceive the White House: “‘[R]emoving bad information from

  search’ is one of the easy, low-bar things you guys do to make people like me think you're taking

  action. If you're not getting that right, it raises even more questions about the higher bar stuff.”

  Id. at 45. Flaherty continued, accusing Facebook of dishonesty: “You say in your note that you




                                                   45
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 48 of 364 PageID #:
                                   16484



  remove accounts that discourage vaccination from appearing in recommendations (even though

  you're using ‘primarily’ to give yourself wiggle room). You also said you don't promote those

  accounts in search. Not sure what else there is to say.” Id.

         136.    Flaherty then compared Facebook unfavorably to other platforms to pressure them

  to suppress anti-vaccine content in search results: “Youtube, for their warts, has done pretty well

  at promoting authoritative info in search results while keeping the bad stuff off of those surfaces.

  Pinterest doesn't even show you any results other than official information when you search for

  ‘vaccines.’ I don't know why you guys can't figure this out.” Id.

         137.    On May 28, 2021, a senior executive of Meta sent an email to Slavitt and Murthy

  reporting that Facebook had expanded its censorship policies, evidently to satisfy federal officials’

  demands made at a recent oral meeting. The email stated that a “key point” was that “We’re

  expanding penalties for individual Facebook accounts that share misinformation.” Doc. 71-4, at

  9.

         C. Flaherty’s Profane Attack: “Are You Guys F**king Serious?”

         138.    At some time prior to July 15, 2021, the White House’s Facebook account

  experienced an issue that slowed its growth in followers. Doc. 174-1, at 56. On July 15, 2021,

  Facebook emailed a White House staffer and reported that “the technical issues that had been

  affecting follower growth on @potus have been resolved…. you should start to see your numbers

  trend back upwards…. Thanks for your patience as we investigated this.” Id. The White House

  staffer asked Facebook, “Could you tell me more about the technical issues affecting audience

  growth?” Id. at 55. Facebook responded, “from what we understand it was an internal technical

  issue that we can't get into, but it's now resolved and should not happen again.” Id. The White

  House staffer then simply added Rob Flaherty to the email chain without further comment. Id.




                                                   46
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 49 of 364 PageID #:
                                   16485



         139.    The same minute he was added to the email chain, 3:29 p.m. on July 15, 2021,

  Flaherty exploded at Facebook: “Are you guys fucking serious? I want an answer on what

  happened here and I want it today.” Id. at 55.

         140.    Facebook immediately raced to placate Flaherty, assuring him that the problem was

  from a “bug in our recommendation surface” that had been resolved two months earlier. Id. at 55.

  Facebook followed up with a longer explanation stating that the President’s account had been

  affected because Facebook “take[s] aggressive steps to reduce the spread of vaccine hesitancy and

  vaccine misinformation on our platforms and we deploy technology to do so. As part of our efforts

  on Instagram, we have measures to help ensure we don't recommend people follow accounts that

  promote vaccine hesitancy at scale. For two weeks in April (April 14-28) this measure was

  impacted by over-enforcement on a signal we used ….” Id. at 54. In other words, the White

  House’s Instagram account had been inadvertently swept into the net of censorship that it had

  insisted that Facebook impose on private speakers’ accounts. Evidently the White House is not

  amused when its own accounts are subject to the same treatment that it demands the platforms

  impose on thousands of ordinary Americans whose viewpoint the White House disfavors.

         D.      President Biden on Social-Media Platforms: “They’re Killing People.”

         141.    That same day, July 15, 2021, the White House held a joint press conference with

  Jen Psaki and Surgeon General Murthy. Dr. Murthy participated in the White House press

  conference with White House Press Secretary Jennifer Psaki to announce the Surgeon General’s

  Health Advisory on Misinformation. Waldo Ex. 10. Psaki announced of Dr. Murthy that “[t]oday,

  he published an advisory on health misinformation as an urgent public health crisis.” Id. at 1.




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Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 50 of 364 PageID #:
                                   16486



          142.    Among other things, Dr. Murthy stated that “Modern technology companies have

  enabled misinformation to poison our information environment with little accountability to their

  users.” Id. at 2.

          143.    Dr. Murthy announced: “we expect more from our technology companies. We’re

  asking them to operate with greater transparency and accountability. We’re asking them to monitor

  misinformation more closely. We’re asking them to consistently take action against

  misinformation super-spreaders on their platforms.” Id. at 3.

          144.    At the July 15 press conference, Dr. Murthy also demanded that the platforms do

  “much, much more” and “take aggressive action” against misinformation. Waldo Ex. 10, at 5.

          145.    Dr. Murthy also stated that platforms “have to do more to reduce the

  misinformation that’s out there ….” Id. at 6.

          146.    At the same press conference on July 15, 2021, Jennifer Psaki stated: “we are in

  regular touch with these social media platforms, and those engagements typically happen through

  members of our senior staff, but also members of our COVID-19 team.” Waldo Ex. 10, at 10.

          147.    Psaki stated: “We’ve increased disinformation research and tracking within the

  Surgeon General’s office. We’re flagging problematic posts for Facebook that spread

  disinformation.” Id. at 10.

          148.    Regarding the Administration’s “asks” to social-media platforms, Psaki stated:

  “There are also proposed changes that we have made to social media platforms, including

  Facebook, and those specifically are four key steps: One, that they measure and publicly share the

  impact of misinformation on their platform. Facebook should provide, publicly and transparently,

  data on the reach of COVID-19 — COVID vaccine misinformation. Not just engagement, but the

  reach of the misinformation and the audience that it’s reaching.” Id. at 11.




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Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 51 of 364 PageID #:
                                   16487



         149.    Psaki also stated: “Second, that we have recommended — proposed that they create

  a robust enforcement strategy that bridges their properties and provides transparency about the

  rules. So, about — I think this was a question asked before — there’s about 12 people who are

  producing 65 percent of anti-vaccine misinformation on social media platforms. All of them

  remain active on Facebook, despite some even being banned on other platforms, including

  Facebook — ones that Facebook owns.” Waldo Ex. 10, at 11.

         150.    Psaki stated: “Third, it’s important to take faster action against harmful posts. As

  you all know, information travels quite quickly on social media platforms; sometimes it’s not

  accurate. And Facebook needs to move more quickly to remove harmful, violative posts — posts

  that will be within their policies for removal often remain up for days. That’s too long. The

  information spreads too quickly.” Id. at 11.

         151.    And Psaki stated, publicly criticizing Facebook: “Finally, we have proposed they

  promote quality information sources in their feed algorithm. Facebook has repeatedly shown that

  they have the levers to promote quality information. We’ve seen them effectively do this in their

  algorithm over low-quality information and they’ve chosen not to use it in this case. And that’s

  certainly an area that would have an impact.” Waldo Ex. 10, at 11.

         152.    Psaki concluded: “So, these are certainly the proposals. We engage with them

  regularly and they certainly understand what our asks are.” Id. at 11.

         153.    The next day, July 16, 2021, President Biden stated of Facebook and other

  platforms that “they’re killing people” by failing to censor enough misinformation: “Mr. Biden

  was asked what his message was to social media platforms when it came to Covid-19

  disinformation. ‘They’re killing people,’ he said. ‘Look, the only pandemic we have is among the




                                                  49
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 52 of 364 PageID #:
                                   16488



  unvaccinated, and that — and they’re killing people.’” Glenn Decl. Ex. 33, at 1; Doc. 10-1, at

  436.

            154.   President Biden’s statement came after “weeks” of pressuring Facebook to give

  federal officials access to Facebook’s internal data: “White House officials … singled out social

  media companies for allowing false information to proliferate. That came after weeks of failed

  attempts to get Facebook to turn over information detailing what mechanisms were in place to

  combat misinformation about the vaccine, according to a person familiar with the matter.” Id.

            155.   Surgeon General Murthy had been directly involved in those meetings with

  Facebook, including “tense” meetings and a meeting where he “angrily” demanded that Facebook

  do more to censor misinformation. Id. at 437.

            156.   When the President stated, “They’re killing people,” Psaki reinforced the same

  message: “‘Our point is that there is information that is leading to people not taking the vaccine,

  and people are dying as a result,’ Jen Psaki, the White House press secretary, said before Mr. Biden

  made his comments. ‘And we have responsibility as a public health matter to raise that issue.’” Id.

  at 436.

            157.   That same day, July 16, 2021, at a White House press conference, Psaki stated that

  “we’re in regular touch with social media platforms … about areas where we have concern. …

  [W]e are … regularly making sure social media platforms are aware of the latest narratives

  dangerous to public health that we and many other Americans seeing — are seeing across all of

  social and traditional media.     And we work to engage with them to better understand the

  enforcement of social media platform policies.” Glenn Decl. Ex. 34, at 6; Doc. 10-1, at 444.

            158.   Psaki then described a “false narrative that remains active … flowing on the

  internet quite a bit, in other places as well,” and stated, “we want to know that the social media




                                                   50
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 53 of 364 PageID #:
                                   16489



  platforms are taking steps to address it. That is inaccurate, false information… And that is an

  example of the kind of information that we are flagging or raising.” Glenn Decl. Ex. 34, at 7; Doc.

  10-1, at 445.

         159.     Psaki also demanded additional “steps” “for Facebook or other platforms,”

  including “to measure and publicly share the impact of misinformation on their platform and the

  audience it’s reaching, also with the public.” Id.

         160.      She called on the platforms “to create robust enforcement strategies that bridge

  their properties and provide transparency about rules.” Id. She stated that platforms should

  coordinate on censoring disfavored speakers: “You shouldn’t be banned from one platform and

  not others if you — for providing misinformation out there.” Id.

         161.     Psaki also stated that the platforms should be “[t]aking faster action against harmful

  posts. As you all know, information travels quite quickly. If it’s up there for days and days and

  days when people see it, you know, there’s — it’s hard to put that back in a box.” Glenn Decl.

  Ex. 34, at 8; Doc. 10-1, at 446.

         162.     Psaki was asked whether the censorship Facebook was already doing, which

  included “remov[ing] 18 million pieces of COVID misinformation” and “connect[ing] more than

  2 billion people to reliable information,” was “sufficient,” and she responded, “Clearly not,

  because we’re talking about additional steps that should be taken.” Id.

         163.     “[A] few hours after Biden’s comment” that social-media platforms are “killing

  people” by not censoring misinformation, “Twitter suspended [Alex Berenson’s] account for the

  first time.” Jones Decl., Ex. J, at 3. Later, on August 28, 2021, Twitter permanently deplatformed

  Berenson. Id.




                                                   51
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 54 of 364 PageID #:
                                   16490



         164.    Four days later, July 20, 2021, the White House explicitly threatened to amend or

  repeal the liability protections of § 230 of the Communications Decency Act if social-media

  companies did not increase censorship of disfavored speakers and viewpoints. Glenn Decl. Ex.

  35; Doc. 10-1, at 474-75 - ‘They Should Be Held Accountable’: White House Reviews Platforms’

  Misinformation         Liability,      USA       TODAY        (July      20,       2021),       at

  https://www.usatoday.com/story/news/politics/2021/07/20/white-house-reviews-section-230-

  protections-covid-misinformation/8024210002/.        The White House communications director,

  Kate Bedingfield, announced that “[t]he White House is assessing whether social media platforms

  are legally liable for misinformation spread on their platforms.” Id. “We’re reviewing that, and

  certainly, they should be held accountable,” she said. Id.

         165.    The White House communications director “specified the White House is

  examining how misinformation fits into the liability protections granted by Section 230 of the

  Communications Decency Act, which shields online platforms from being responsible for what is

  posted by third parties on their sites.” Id.

         166.    Media reported that, in connection with this threat, “Relations are tense between

  the Biden administration and social media platforms, specifically Facebook, over the spread of

  misinformation online.” Id.; see also, e.g., Glenn Decl. Ex. 36; Doc. 10-1, at 477-81: White House

  says social media networks should be held accountable for spreading misinformation, CNBC.com

  (July 20, 2021), at https://www.cnbc.com/2021/07/20/white-house-social-networks-should-be-

  held-accountable-for-spreading-misinfo.html.

         167.    When “asked … whether these companies should be held liable for publishing false

  information that causes people harm, Kate Bedingfield said the administration is reviewing

  policies. That could include amending the Communications Decency Act, or Section 230 of the




                                                  52
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 55 of 364 PageID #:
                                   16491



  act. ‘We’re reviewing that and certainly they should be held accountable,’ Bedingfield said. ‘And

  I think you heard the president speak very aggressively about this. He understands that this is an

  important piece of the ecosystem.’” Id. at 478.

         168.    The same day, Tuesday, July 20, 2021, Clarke Humphrey of the White House

  communications office emailed Facebook asking for the removal of an Instagram account

  associated with Dr. Fauci, saying it “is not actually one of ours.” Fauci Ex. 57, at 1-2. Facebook

  responded one minute later, stating, “Yep, on it!” Fauci Ex. 57, at 1. The next day, Facebook

  responded again, stating, “This account has been removed. Thank you for flagging!” Id.

         E. The Social-Media Platforms Are Cowed into Collusion on Censorship.

         169.    The threats and public pressure on July 15 and 16—including the President’s

  comment, “they’re killing people”—got immediate results, as Facebook scrambled to assuage the

  White House’s wrath and accede to all its censorship demands.

         170.    After this series of public statements, responding to “White House pressure,”

  Facebook censored the accounts of the 12 specific disfavored speakers whom Psaki accused of

  spreading health misinformation. Glenn Decl. Ex. 37; Doc. 10-1, at 483-85: Facebook takes action

  against ‘disinformation dozen’ after White House pressure, CNN.com (Aug. 18, 2021), at

  https://www.cnn.com/2021/08/18/tech/facebook-disinformation-dozen/index.html.            Psaki had

  “hammered the platform in July for allowing the people identified in the report to remain on its

  platform.” Id. at 483. After they were singled out for censorship by the White House, Facebook

  “removed over three dozen Pages, groups and Facebook or Instagram accounts linked to these 12

  people, including at least one linked to each of the 12 people, for violating our policies.” Id.




                                                    53
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 56 of 364 PageID #:
                                   16492



         171.      Other platforms responded to the pressure as well, as Twitter suspended Alex

  Berenson within a few hours of President Biden’s July 16 comments and deplatformed him

  Berenson on August 28, 2021. Jones Decl., Ex. J, at 3.

         172.      On July 17, 2021, another Facebook official sent an email to Anita B. Dunn, the

  political strategist and Senior Advisor to the President in the White House, begging for assistance

  in getting back into the White House’s good graces. Doc. 174-1, at 49. The Facebook official,

  who evidently had a prior relationship with Dunn, wrote: “Would love to connect with you on the

  President's comments on Covid misinfo and our work there. Really could use your advice and

  counsel on how we get back to a good place here. … As I hope you know, we've been doing a

  significant amount of work to … fight the misinfo … Obviously, yesterday things were pretty

  heated, and I'd love to find a way to get back to pushing together on this - we are 100% on the

  same team here in fighting this and I could really use your advice.” Id. Dunn looped in Rob

  Flaherty to schedule a call. Id. at 48. Facebook then wrote: “Thanks Anita, and thanks Rob. I

  appreciate the willingness to discuss. We'd love to find a way to get things back to a productive

  conversation.”     Id.   Facebook also noted, with a similarly conciliatory tone: “We had a

  conversation with the Surgeon General's office yesterday to discuss the advisory in more detail

  and hope to continue to work to address concerns.” Id.

         173.      The next Monday, July 19, 2021, YouTube emailed Flaherty to announce “a few

  new ways in which we are making it easier for people to find authoritative information on health

  topics on YouTube.” Id. at 51-2. On July 20, 2021, Flaherty responded, linking to a Tweet of

  “borderline” content and stating, “I'm curious: Saw this tweet. [Linking the Tweet]. I think we

  had a pretty extensive back and forth about the degree to which you all are recommending anti-




                                                  54
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 57 of 364 PageID #:
                                   16493



  vaccination content. You were pretty emphatic that you are not. This seems to indicate that you

  are. What is going on here?” Id. at 51.

          174.   YouTube responded by assuring Flaherty that it “reduce[s]” the recommendation

  of anti-vaccine speech even when it does not violate YouTube’s policies: “it is important to keep

  in mind that borderline content accounts for a fraction of 1% of what is watched on YouTube in

  the United States. We use machine learning to reduce the recommendations of this type of content,

  including potentially harmful misinformation. In January 2019, we announced changes to our

  recommendations systems to limit the spread of this type of content which resulted in a 70% drop

  in watchtime on non-subscribed recommended content in the U.S. and our goal is to have views

  of nonsubscribed, recommended borderline content below 0.5%.” Id. at 51.

          175.   This was not enough for Flaherty, who demanded more information: “I see that's

  your goal - what is the actual number right now?” Id. at 50. YouTube responded that it would

  check for more information, and stated: “Per our COVID-19 medical misinformation policy, we

  will remove any content that contradicts local health authorities’ or the World Health

  Organization's (WHO) medical information about COVID-19. To date, approximately 89% of

  videos removed for violations of this policy were removed with 100 views or less. With regards to

  the specific videos you referenced, the content was not in violation of our community guidelines.”

  Id. at 50.

          176.   Flaherty responded, expressing surprise that YouTube was not censoring the

  disfavored content: “So this actually gets at a good question - the content [that the Tweet] points

  out isn't defined as ‘borderline’ and therefore isn't subject to recommendation limitations?” Id.

          177.   YouTube, like Facebook before it, assured Flaherty that it would “limit the

  visibility” and “reduce the spread” such content, even though it does not violate YouTube’s




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Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 58 of 364 PageID #:
                                   16494



  policies: “the content was not in violation of our policies and therefore not subject to removal. But

  for all content on YouTube, we apply our 4R framework we have previously described to raise

  authoritative voices while reducing visibility on borderline content. External evaluators use these

  guidelines which are then used to inform our machine learning systems that limits the spread of

  borderline content.” Id. at 50.

         178.    On October 28, 2021, the same day as a Washington Post article about Facebook

  employee Frances Haugen’s allegations about misinformation on Facebook, Rob Flaherty emailed

  Brian Rice of Facebook a hyperlink to the article. The only text in the email was the subject line,

  which stated: “not even sure what to say at this point.” Waldo Ex. 35, at 1-2; see also infra.

         179.    On November 4, 2021, Meta reported to Rowe, Flaherty, and other White House

  officials that “we updated our misinformation policies for COVID-19 vaccines to make clear that

  they apply to claims about children….” Doc. 71-3, at 15.

         180.    On November 30, 2021, Christian Tom of the White House emailed Twitter stating,

  “Would you mind looking at this video and helping us with next steps to put a label or remove it?”

  Doc. 174-1, at 65. He included a link to a Tweet of an unflattering, comedic video of First Lady

  Jill Biden reading to children, which had been clearly edited to make it sound as if she was

  profanely heckled while reading to them. Id. The subject line of the message was “Doctored video

  on Twitter of the First Lady.” Id. Twitter responded within six minutes: “Happy to escalate with

  the team for further review from here.” Id.

         181.    That evening, Twitter emailed back, stating, “Update for you - The team was able

  to create this event page for more context and details.” Id. at 64. The “event page” explained the

  context of the parody video but did not censor it; it alerted users that the video had been edited for

  “comedic” effect. See A video of first lady Jill Biden reading to children was manipulated to




                                                   56
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 59 of 364 PageID #:
                                   16495



  include      profanity,   according     to    fact-checkers,    TWITTER       (Nov.     30,    2021),

  https://twitter.com/i/events/1465769009073123330.

            182.   Christian Tom promptly emailed back, asking that Twitter actually censor the

  comedic video, not just provide an event page explaining that it was comedic: “Will you apply the

  ‘Manipulated Media’ disclaimer to the video asset itself?” Doc. 174-1, at 64.

            183.   The next morning, December 1, 2021, Tom emailed Twitter again, arguing that

  Twitter should apply a label to the video under its content-moderation policies: “Just wanted to

  follow-up here. It looks like from the rubric that this fits the first two criteria, which means it is

  ‘likely’ to be labeled:” and linking Twitter’s “manipulated media” policy. Id. at 63-4.

            184.   Twitter wrote back the same morning, explaining that the comic, parody video of

  Jill Biden was not subject to labeling under its policy because it was not likely to cause harm, but

  noting again that Twitter had created a special page to explain that the video was edited: “After

  escalating this to our team, the Tweet and video referenced will not be labeled under our synthetic

  and manipulated media policy. Although it has been significantly altered, the team has not found

  it to cause harm or impact public safety. The team was able to create this Twitter Moment (here)

  and event page for more context and details.” Id. at 63.

            185.   The same day, Christian Tom emailed back, disputing Twitter’s interpretation of

  its own content-moderation policy and looping in Michael DeRosa, the First Lady’s press

  secretary. Id. Michael DeRosa then emailed as well, disputing and demanding information about

  Twitter’s application of its own policy. Id. at 62. Tom and DeRosa continued to press Twitter for

  further explanation and action on December 9, 13, and 17. Id. at 60-61. Twitter provided another,

  more detailed explanation of its decision on December 17. Id. at 59-60. Tom emailed back the




                                                   57
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 60 of 364 PageID #:
                                   16496



  same day, again disputing Twitter’s application of its own policy and pressing Twitter again on

  the issue. Id. at 58-59. He added Rob Flaherty to the email chain for the first time. Id. at 58.

         186.    Nine minutes later, on December 17, 2021, Flaherty wrote to Twitter, angrily

  accusing Twitter of dishonestly misapplying its own policies: “New to the thread here, but this all

  reads to me like you all are bending over backwards to say that this isn't causing confusion on

  public issues. If the AP deems it confusing enough to write a fact check, and you deem it confusing

  enough to create an event for it, how on earth is it not confusing enough for it to at least have a

  label? Total Calvinball.” Id. at 58. (“Calvinball” refers to a game in the cartoon “Calvin and

  Hobbes” where the participants make up the rules of the game as they go along.)

         187.    A senior-level Twitter executive then emailed Flaherty proposing to resolve the

  matter by phone. Id. After that phone conversation, it appears that the Tweet that prompted the

  exchange      is       no   longer      available.      See    id.    at     65      (linking      to

  https://twitter.com/ArtValley818_/status/1465442266810486787?s=20, which is no longer

  available).

         F.      White House Pressure and Collusion Continue Throughout 2022.

         188.    During January 2022, Facebook reported to Rowe, Manning, Flaherty, and Slavitt

  that it has “labeled and demoted” “vaccine humor posts whose content could discourage

  vaccination.” It also reported to the White House that it “labeled and demoted” posts “suggesting

  natural immunity to COVID-19 infection is superior to immunity by the COVID-19 vaccine.”

  Doc. 71-3, at 10-11.

         189.    Twitter emailed back within an hour and offered to discuss, to which Flaherty

  responded: “Happy to talk through it but if your product is appending misinformation to our tweets

  that seems like a pretty fundamental issue.” Id.




                                                     58
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 61 of 364 PageID #:
                                   16497



            190.   Separately, Jesse Lee of the White House emailed Twitter in response to the same

  report, accusing Twitter of “calling the President a liar” and offering to talk by phone to resolve

  the complaint: “this note is factually inaccurate. This is a very technical question but you don't

  have it right, and you are in effect calling the President a liar when his tweet is actually accurate.

  I'm happy to discuss this with whoever is the right person,” and providing his cell phone number.

  Id. at 69. Twitter then reached out by phone to resolve it. Id.

            191.   On September 18, 2021, regarding a story in the Wall Street Journal about COVID-

  19 “misinformation” circulating on Facebook, Flaherty demanded that Meta provide an

  explanation “as we have long asked for, [of] how big the problem is, what solutions you’re

  implementing, and how effective they’ve been.” Doc. 71-3, at 24.

            192.   On February 1, 2022, Psaki was asked at a White House press conference whether

  the Administration was satisfied with Spotify’s decision to affix advisory warnings to Joe Rogan’s

  immensely popular podcast, which featured speakers that contradicted the Administration’s

  messaging about COVID-19 and vaccines, or whether the government “think[s] that companies

  like Spotify should go further than just, you know, putting a label on” disfavored viewpoints and

  speakers. Psaki responded by demanding that Spotify and other platforms “do[] more” to block

  disfavored speech: “[O]ur hope is that all major tech platforms … be vigilant to ensure the

  American people have access to accurate information on something as significant as COVID-19….

  So, this disclaimer – it’s a positive step. But we want every platform to continue doing more to

  call out … mis- and disinformation while also uplifting accurate information.” Glenn Decl. Ex.

  38, at 15-16; Doc. 10-1, at 501-2 (emphasis added). She stated that Spotify’s advisory warnings

  are “a good step, it’s a positive step, but there’s more that can be done.” Id. at 502 (emphasis

  added).




                                                   59
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 62 of 364 PageID #:
                                   16498



         193.    On April 25, 2022, Psaki was asked at a White House press briefing to respond to

  the news that Elon Musk would acquire Twitter, and asked “does the White House have any

  concern that this new agreement might have President Trump back on the platform?” Glenn Decl.

  Ex. 40; Doc. 10-1, at 528.

         194.    Psaki responded by reiterating the threats of adverse legal consequences to Twitter

  and other social media platforms, specifically referencing antitrust enforcement and Section 230

  repeal: “No matter who owns or runs Twitter, the President has long been concerned about the

  power of large social media platforms … [and] has long argued that tech platforms must be held

  accountable for the harms they cause. He has been a strong supporter of fundamental reforms to

  achieve that goal, including reforms to Section 230, enacting antitrust reforms, requiring more

  transparency, and more. And he’s encouraged that there’s bipartisan interest in Congress.” Id. at

  528-29.

         195.    At the same press briefing, Psaki was asked: “Are you concerned about the kind of

  purveyors of election misinformation, disinformation, health falsehoods, sort of, having more of

  an opportunity to speak there on Twitter?” She responded by specifically linking the legal threats

  to the social-media platforms’ failure to more aggressively censor free speech: “I would say our

  concerns are not new. We’ve long talked about and the President has long talked about his

  concerns about the power of social media platforms, including Twitter and others, to spread

  misinformation, disinformation; the need for these platforms to be held accountable.” Id. at 534.

         196.    Psaki was then asked a question that noted that “the Surgeon General has said that

  misinformation about COVID amounts to a public health crisis,” and then queried, “would the

  White House be interested in working with Twitter like it has in the past to continue to combat this




                                                  60
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 63 of 364 PageID #:
                                   16499



  kind of misinformation? Or are we in a different part of the pandemic where that kind of

  partnership is no longer necessary?” Id. at 549.

         197.    Psaki responded by reaffirming that senior officials within the White House and/or

  the Administration are continuing to coordinate directly with social-media platforms to censor

  disfavored speakers and content on social media, and directly linking these efforts to the repeated

  threat of adverse legal action: “we engage regularly with all social media platforms about steps

  that can be taken that has continued, and I’m sure it will continue. But there are also reforms that

  we think Congress could take and we would support taking, including reforming Section 230,

  enacting antitrust reforms, requiring more transparency. And the President is encouraged by the

  bipartisan support for — or engagement in those efforts.” Id.

         198.    On June 13, 2022, Flaherty demanded that Meta continue to produce periodic

  “COVID-19 insights reports” to track so-called “misinformation” regarding COVID-19 on Meta’s

  social-media platforms, expressing the specific concern that COVID vaccines for children under

  5 would soon be authorized. Doc. 71-3, at 6.

         199.    Meta got the message. It agreed to continue sending its censorship-tracking reports,

  and on June 22, 2022, Meta assured Flaherty that it was expanding its censorship of COVID-19

  “misinformation” to ensure that speech critical or skeptical of COVID-19 vaccines for children

  under 5 years old—a highly controversial topic—would be censored. Doc. 71-3, at 5.

         G.      Pressure to Expand the Topics of Social-Media Censorship.

         200.    Since this lawsuit was filed, Defendants have expanded their social-media

  censorship activities and pressured social-media platforms for censorship in new areas of online

  discourse, including areas such as climate change, gender, abortion, and economic policy.




                                                  61
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 64 of 364 PageID #:
                                   16500



         201.    For example, on June 14, 2022, White House National Climate Advisor Gina

  McCarthy spoke at an Axios event titled “A conversation on battling misinformation.” Jones Decl.

  Ex. M, at 1.

         202.    During the event, “McCarthy skewered Big Tech companies for ‘allowing’

  disinformation and cheered Congress for ‘taking action’ to enact more censorship last Thursday.”

  Id. at 2. “Axios political reporter Alexi McCammond asked McCarthy how so-called ‘rampant

  mis-and-disinformation around climate change online and in other platforms’ has ‘made your job

  harder?’” Id. “McCarthy responded by slamming social media companies: ‘We have to get

  tighter, we have to get better at communicating, and frankly, the tech companies have to stop

  allowing specific individuals over and over again to spread disinformation.’” Id. (emphasis

  added). “She suggested further that ‘we have to be smarter than that and we need the tech

  companies to really jump in.’” Id. at 3 (emphasis added). “McCammond responded by asking:

  ‘Isn’t misinformation and disinfo around climate a threat to public health itself?’ McCarthy

  asserted that it ‘absolutely’ is: ‘Oh, absolutely.’” Id.

         203.    Like Psaki and others, McCarthy explicitly tied these demands for censorship of

  climate-change-related speech to threats of adverse legislation: “McCarthy also praised Congress

  directly for pushing social media companies to censor Americans: ‘We do see Congress taking

  action on these issues, we do see them trying to tackle the misinformation that’s out there, trying

  to hold companies accountable.’” Id. at 4.

         204.    On June 16, 2022, the White House announced a new task force to address, among

  other things, “gendered disinformation” and “disinformation campaigns targeting women and

  LGBTQI+ individuals who are public and political figures, government and civic leaders, activists,

  and journalists.” Jones Decl., Ex. N, at 1.




                                                    62
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 65 of 364 PageID #:
                                   16501



          205.   The June 16 Memorandum decries “online harassment and abuse”—vague terms

  that, on information and belief, are deliberately adopted to sweep in constitutionally protected

  speech. Id. In particular, the Memorandum defines “online harassment and abuse” to include

  “gendered disinformation,” a deliberately broad and open-ended term. Id. § 1. The Memorandum

  announces plans to target such “gendered disinformation” directed at public officials and public

  figures, including “women and LGBTQI+ political leaders, public figures, activists, and

  journalists.” Id. The Memorandum creates a Task Force co-chaired by the Assistant to the

  President for National Security Affairs, which includes the Secretary of Defense, the Attorney

  General, and the Secretary of Homeland Security, among others. Id.

          206.   The Task Force is charged with “developing programs and policies to address …

  disinformation campaigns targeting women and LGBTQI+ individuals who are public and

  political figures, government and civic leaders, activists, and journalists in the United States and

  globally.” Id. § 4(a)(iv) (emphasis added). The Memorandum calls for the Task Force to consult

  and coordinate with “technology experts” and “industry stakeholders,” i.e., social-media firms, to

  achieve “the objectives of this memorandum,” id. § 4(b). Those “objectives,” of course, include

  suppressing so-called “disinformation campaigns” against “public and political figures.” Id.

  § 4(a)(iv).

          207.   The Memorandum again threatens social-media platforms with adverse legal

  consequences if they do not censor aggressively enough to suit federal officials: “the Task Force

  shall … submit periodic recommendations to the President on policies, regulatory actions, and

  legislation on technology sector accountability to address systemic harms to people affected by

  online harassment and abuse.” Id. § 5(c) (emphasis added).




                                                  63
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 66 of 364 PageID #:
                                   16502



         208.    Relatedly, on May 27, 2022, HHS Assistant Secretary Rachel Levine demanded

  that social-media platforms censor “misinformation” about “gender-affirming care.” Jones Decl.,

  Ex. O, at 1. In a public address to health officials, Levine “spoke about the need for government

  to ‘address health information directly’ and specified that includes encouraging Big Tech to

  combat health misinformation ‘beyond COVID-19.’” Id. Levine stated: “So I’d like to just talk

  briefly about another area of substantial misinformation that is directly impacting health equity in

  our nation, and that is the health equity of sexual and gender minorities. There is substantial

  misinformation about gender-affirming care for transgender and gender diverse individuals… The

  positive value of gender-affirming care for youth and adults is not in scientific or medical dispute

  … And we need to use our clinicians’ voice to collectively advocate for our tech companies to

  create a healthier, cleaner information environment.” Id. at 1-2.

         209.    On July 8, 2022, the President signed an Executive Order on protecting access to

  abortion. Jones Decl., Ex. P, at 1.

         210.    Section 4(b)(iv) of the order states: “The Secretary of Health and Human Services

  shall, in consultation with the Attorney General and the Chair of the FTC, consider options to

  address deceptive or fraudulent practices related to reproductive healthcare services, including

  online, and to protect access to accurate information.” Id. This is a plain reference to the online

  advertising practices of pro-life pregnancy resources centers, which the President’s political allies

  were then attacking. Jones Decl., Ex. Q, at 1-2.

         211.    On August 11, 2022, Flaherty emailed Twitter to dispute a note added by Twitter

  to one of President Biden’s tweets. Doc. 174-1, at 68. The subject line of Flaherty’s email was a

  link to a Tweet criticizing Twitter’s note: “Joe Weisenthal on Twitter: ‘Wow, this note that twitter

  added to Biden's tweet is pure gibberish. Imagine adding this, and thinking this is helpful to the




                                                   64
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 67 of 364 PageID #:
                                   16503



  public's understanding in any way.’” Id. Linking to a tweet about gas prices, Flaherty wrote:

  “Happy to connect you with some economists who can explain the basics to you guys.” Id.

  Flaherty copied Jesse Lee, Senior Advisor to the National Economic Council at the White House,

  on the email. Id.

  III.   The Pressure Campaign from Surgeon General Murthy and His Office.

         212.    Throughout 2021 and 2022, Surgeon General Vivek Murthy and his Office engaged

  in a pressure campaign in parallel with, and often overlapping with, the White House’s pressure

  campaign on social-media platforms. Surgeon General Murthy and his staff were often included

  in the same meetings and communications with White House officials and social-media platforms,

  and joined White House officials pressuring them to increase censorship in public and in private.

         A. The Surgeon General: Using the “Bully Pulpit” to Pressure Platforms.

         213.    Eric Waldo is the Senior Advisor to the Surgeon General of the United States,

  Vivek Murthy, and was formerly a Chief Engagement Officer in the Office of the Surgeon General

  (“OSG”). Waldo Dep. 11:15-12:2.

         214.    As “the engagement team leader” for OSG, Waldo was “the one in charge of

  maintaining the contacts and the relationships with representatives of social media platforms.” Id.

  at 51:11-17.

         215.    Dr. Murthy was directly involved in editing and approving the final work product

  of the Surgeon General’s Office, including the Surgeon General’s July 15, 2021 health advisory

  on misinformation and the Surgeon General’s March 3, 2022 RFI to social-media platforms. Id.

  at 14:20-22, 15:16-19, 16:9-10, 17:1-6, 187:24-188:3.

         216.    Calling for an “all-of-society approach” to misinformation was a pervasive theme

  of the Surgeon General’s communications, including the health advisory and the RFI. Id. at 19:25,




                                                  65
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 68 of 364 PageID #:
                                   16504



  26:8, 88:9, 89:13, 101:2, 117:13, 122:15, 211:22, 246:25, 251:9, 332:22. This theme echoes the

  repeated call for an “all-of-society approach” in the Virality Project’s public report. See infra.

         217.    Before the Surgeon General’s health advisory on misinformation was published on

  July 15, 2021, OSG and Waldo “did pre-rollout calls with Twitter, Facebook, [and]

  Google/YouTube.” Id. at 20:7-11.

         218.    The Surgeon General uses his “bully pulpit” to call for censorship of health

  misinformation: “Dr. Murthy continued from a communications perspective to talk about health

  misinformation using his bully pulpit.” Id. at 25:23-25.

         219.    Waldo admits that the Surgeon General is directly advocating to social-media

  platforms to take stronger actions against health “misinformation”: “[T]he Surgeon General has

  the ability … to talk to the relevant stakeholders and say we want you to be aware of this issue and

  that we think you have a role to play to improve the health outcomes, yes.” Id. 28:10-14. As part

  of this role, the Surgeon General “call[s] out social media platforms in the [health] advisory.” Id.

  at 28:18-19.

         220.    The Surgeon General’s “bully pulpit,” Waldo agrees, involves putting public

  pressure on social-media platforms: “I think the bully pulpit … is really the fact that he commands

  attention, including being able to … speak with the press, speak with the public, and … we think

  of the Surgeon General as the nation's doctor.” Id. at 29:9-15.

         221.    A goal of the Surgeon General’s use of the “bully pulpit” includes to “reduce the

  dissemination of health misinformation.” Id. at 30:5-10. This includes making “recommendations

  of specific steps the social media platforms are … called out to take to reduce the spread of

  misinformation on the platforms.” Id. at 31:3-8.




                                                   66
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 69 of 364 PageID #:
                                   16505



          222.    OSG reinforces its public “message of calling out the social media platforms to take

  steps to reduce the spread of misinformation on their platforms” through private communications

  with platforms: “[W]hat we're saying publicly, we’re also … said that privately to them as well.”

  Id. at 32:5-8, 12-14. This includes during “rollout calls.” Id. at 32:19-20.

          B. Surgeon General Works in Tandem with the White House and Virality Project.

          223.    On the day of the health misinformation advisory rollout, July 15, 2021, “Press

  Secretary … Jen Psaki had already made remarks specifically about Facebook, and then,” the next

  day, “President Biden made his remarks that social media and Facebook were killing people.” Id.

  at 33:19-25. “Facebook … was upset about how the rollout had gone.” Id. at 33:6-8. Waldo’s

  initial rollout call with Facebook, as a result, was affected by the Administration’s public attacks

  on Facebook: “I wouldn't call it the most productive call.” Id. at 34:4-6.

          224.    After this public pressure, Facebook’s senior executive, Nick Clegg, reached out to

  request “deescalat[ion]” and “work[ing] together” as a direct result of that public pressure on

  Facebook: “Then later, with our call, we had a call with Nick Clegg from Facebook, and at his

  request, and … his intentions were to sort of I think deescalate and just find ways that we could

  work together, given how Facebook … was treated in that rollout day.” Id. at 34:7-13.

          225.    In the call with Nick Clegg, Surgeon General Murthy reiterated his demand for

  Facebook to do more to censor “misinformation” on its platforms: “[O] n the call with Nick Clegg,

  the Surgeon General did … reiterate the idea that, you know, as we described in the advisory, that

  we think there's more … that Facebook and other social media companies can do, and … we

  reiterated that.” Id. at 35:7-12.

          226.    Murthy also asked Clegg and Facebook specific questions about requiring

  Facebook to share data with outside researchers about the scope and reach of misinformation on




                                                   67
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 70 of 364 PageID #:
                                   16506



  its platforms, again echoing the key recommendation of the Virality Project: “[T]he most specific

  questions were about understanding the data around the spread of misinformation and how we

  were measuring that, and … how we could have external researchers validate the spread of

  misinformation and -- and helping us as a field understand the depth of the problem.” Id. at 35:20-

  36:2.

          227.     One such “external researcher” that OSG had in mind was “Renee DiResta, from

  the Stanford Internet Observatory,” a leading organization of the Virality Project, which hosted a

  “rollout event” for the advisory featuring Dr. Murthy on the day the advisory was announced. Id.

  at 36:19-23.

          228.     Waldo admits that there was “coordination” between OSG and Renee DiResta of

  the Virality Project on the launch of the Surgeon General’s health advisory: “I know there was

  coordination with [DiResta] with respect to the launch … there was a panel, a public sort of virtual

  town hall that we hosted -- with the Sanford [sic] Internet Observatory that Dr. Murthy spoke at,

  and that was part of the launch day. So certainly there would have been coordination … with her.”

  Id. at 38:1-7.

          229.     Kyla Fullenwider is the OSG’s key “subject matter expert” who “worked on the

  advisory” and had significant substantive input on both the Surgeon General’s July 15, 2021 health

  advisory on misinformation, and the Surgeon General’s March 3, 2022 RFI to social-media

  platforms on the spread of misinformation. Id. at 39:1-4, 59:16-23. Kyla Fullenwider is not a

  direct employee of the OSG, but works for a non-profit contractor named “US Digital Response,”

  Waldo Dep. 85:13-15.

          230.     Kyla Fullenwider “did a follow-up call with Renee DiResta” about the health

  advisory. Id. at 38:25-39:4.




                                                  68
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 71 of 364 PageID #:
                                   16507



          231.     After the launch of the health advisory, Waldo and Fullenwider “did a call” with

  Renee DiResta “that was more of a brainstorm around … public-facing events that we could do to

  talk about this issue” of stopping health misinformation. Id. at 40:13-17.

          232.     Fullenwider and DiResta “most likely” discussed misinformation in these calls.

  Id. at 41:4-6.

          233.     Waldo and OSG also received a briefing from the Center for Countering Digital

  Hate about the so-called “Disinformation Dozen.” Id. at 43:1-48:1. CCDH gave “a presentation

  about the Disinformation Dozen and sort of how they were measuring … that those were the folks

  primarily responsible for a lot of misinformation online.” Id. at 47:2-5.

          234.     Rafael Campos of OSG “helped create the event with … the Stanford Internet

  Observatory for the launch,” and likely had communications with Stanford and Professor DiResta

  in the lead-up to the event. Id. at 48:12-14, 49:1-2.

          235.     The OSG anticipated that the social-media platforms would feel pressured by the

  advisory: “we didn't think they would be happy about this -- you know, the content of the

  advisory.” Id. at 54:24-55:1.

          236.     Waldo is aware of “at least one call … that the Surgeon General [Murthy] had with

  Facebook during the transition,” i.e., between President Biden’s election and his assuming office.

  Id. at 55:8-10. The call involved a “Facebook individual”: “Dr. Murthy had mentioned that he had

  been on a call with that person [from Facebook] during the transition.” Id. at 79:11-18, 56:5-6.

  Waldo identified the individual as “a data person from the Facebook team.” Id. at 56:10. The

  purpose of that call was “again, about that issue of trying to understand the reach of the mis- and

  disinformation and understanding … how far it was spreading.” Id. at 56:15-19.




                                                   69
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 72 of 364 PageID #:
                                   16508



            237.   “Data about misinformation” was “a topic of conversation” in that call, and the

  participants discussed “Facebook” being “un[]clear” or “unable to present … the depth or reach of

  the misinformation, that they didn’t have that data.” Id. at 80:1-15.

            238.   DJ Patil may have participated in that transitional call. Patil was the “chief data

  scientist in the Obama administration, and he was a special government employee at the White

  House for part of the first year” of the Biden Administration. Id. at 81:6-13. Patil was also “on

  the call with Dr. Murthy and [Waldo] and Nick Clegg … in his capacity as a White House official.”

  Id. at 81:24-82:3.

            239.   Waldo “connected [Patil] to another research data person … a Facebook data

  person.” Id. at 82:13-16.

            240.   The purpose of this follow-up was to demand more information from Facebook

  about monitoring the spread of misinformation on its platforms: “[T]he problem was we were still

  in this piece of not understanding the reach and depth … of the misinformation … on Facebook.

  And … this person was going to try to explain to [Patil] the data challenges in doing so.” Id. at

  83:4-9.

            241.   Kyla Fullenwider is the “main” or key staffer for the OSG on misinformation and

  disinformation. Id. at 58:21-24. Ann Kim is listed on the OSG’s org chart, Waldo Ex. 2, as the

  person who “[d]irects mis- and dis-information engagement,” Waldo Ex. 2, but that is solely

  “because Kyla Fullenwider reported up to Ann Kim. And since Kyla, I think, was our main subject

  matter expert or continued to do work on mis- and disinformation, maybe that was why that was

  put under Anne's list of duties.” Waldo Dep. 58:20-24. Fullenwider, therefore, is the OSG’s “main

  subject matter expert” on “mis- and disinformation,” who “directs mis- and dis-information

  engagement” for the OSG. Id. at 58:13-59:7.




                                                   70
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 73 of 364 PageID #:
                                   16509



          242.   Fullenwider works for the nonprofit U.S. Digital Response, and is not directly

  employed by the OSG, though she was acting in an official capacity on behalf of OSG. Waldo

  Ex. 3, at 32; Waldo Dep. 85:10-86:8.

          243.   U.S. Digital Response is not a government agency but a non-profit organization:

  “U.S. Digital Response (USDR) is a nonprofit, nonpartisan organization that helps governments,

  nonprofits, and public entities respond quickly to critical public needs.” About U.S. Digital

  Response,      U.S.     Digital        Response        (last   visited   Feb.     17,     2023),

  https://www.usdigitalresponse.org/about.

          244.   Ann Kim has no direct involvement in mis- and disinformation. Waldo Dep. 58:25-

  59:3. But Kyla Fullenwider “was definitely working on mis- and disinformation.” Id. at 59:6-7.

  Fullenwider “was working with Daniel [Tartakovsky] on the design of … the advisory. And then

  … Kyla was continuing to help us think about were there additional ways we might engage.” Id.

  at 59:12-15. Further, “Kyla … was the principal designer of options around follow-up with respect

  to data.” Id. at 59:16-18. And when “the Surgeon General's office put out an RFI around

  misinformation data” on March 3, 2022, “Kyla worked on that.” Id. at 59:18-22. Kyla “was the

  subject matter expert who was chiefly creating options for the Surgeon General … to consider

  how we would continue to … talk about mis- and disinformation with respect to data.” Id. at 60:6-

  10.

          245.   Kyla Fullenwider also participated in the “rollout calls” to the social-media

  platforms announcing the Surgeon General’s health advisory on misinformation. Id. at 62:24-

  63:4.

          246.   Waldo was also “on some e-mails and at least one call with Rob Flaherty” when he

  “would communicate with Facebook.” Id. at 64:9-11. This included a call with Rob Flaherty and




                                                    71
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 74 of 364 PageID #:
                                   16510



  the OSG: “[B]efore our call with Nick Clegg, … I had a call with Rob.” Id. at 65:1-2. By then,

  Flaherty had been “separately communicating with Facebook,” and he was “giving us a heads-up

  on his experiences … in communicating with … Facebook.” Id. at 65:4-9.

            247.   In August 2021, Waldo joined a call with Rob Flaherty and Brian Rice of Facebook,

  who was in charge of Facebook’s relationship with federal officials. Id. at 66:10-14, 124:24-125:2.

            248.   In that August 2021 call, “Brian Rice from Facebook had requested a call to give

  us an update on some sort of internal action they were doing. … Facebook had either found

  something or removed something and was letting us know about it.” Id. at 66:16-23.

            249.   Andy Slavitt of the White House also communicated with Nick Clegg. Id. at 67:14-

  21. When Andy Slavitt left the White House, he offered Surgeon General Murthy as a direct

  contact for Nick Clegg. Id. at 68:4-7.

            250.   In addition, “Dr. Murthy has certainly had conversations with Dr. Fauci.” Id. at

  69:21-22. Waldo claims that he does not know the nature of those conversations. Id. at 69:23-25.

  “Dr. Murthy would have directly communicated with Dr. Fauci, to my knowledge.” Id. at 70:13-

  15.

            251.   Waldo is “certain that Dr. Murthy has connected” with Dr. Francis Collins. Id. at

  71:2-9.

            252.   Waldo was involved in collecting information to respond to Plaintiffs’

  interrogatories on behalf of OSG. Id. at 73:19-74:11.

            C.     The Surgeon General Pressures Social-Media Platforms in Private.

            253.   The first meeting with social-media platforms relating to misinformation that OSG

  identified in response to interrogatories was a brief introductory call with Nick Clegg on May 25,

  2021: “On May 25, 2021, from 4:30 to 5:00 pm ET, Dr. Vivek Murthy from OSG and Andy Slavitt




                                                  72
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 75 of 364 PageID #:
                                   16511



  from the White House met remotely with Nick Clegg from Facebook. The purpose of the call was

  to introduce Dr. Murthy to Mr. Clegg.” Waldo Ex. 3, at 32; see also Waldo Dep. 78:24-79:10.

  The next meeting disclosed was the first “rollout call” relating to the advisory on July 12, 2021.

  Waldo Ex. 3, at 32. As noted below, this interrogatory response failed to disclose several previous

  meetings between Dr. Murthy and Facebook.

            254.   OSG had pre-rollout calls with Twitter and YouTube on July 12 and July 14, 2021,

  and a rollout call with Facebook the day after the rollout on July 16, 2021. Id. at 32; Waldo Dep.

  85:10-90:5.

            255.   Kyla Fullenwider handled the substantive communications with the social-media

  platforms in the rollout calls; Waldo’s role was to “connect them to our subject matter expert.”

  Waldo Dep. 86:24-25.

            256.   The July 16 call with Facebook was “the same day” that President Biden stated of

  Facebook that “They’re killing people” by not censoring enough misinformation. Id. at 90:24,

  93:3-5.

            257.   At that July 16 call, Kyla Fullenwider “was able, at a high level, to walk over the

  … recommendations section for … technology companies,” which demand greater censorship of

  misinformation. Id. at 91:14-16.

            258.   The Facebook call “was definitely a slightly awkward call” because “President

  Biden made his comment about social media companies and Facebook killing people … right

  before, or even potentially during the call,” and Waldo observed that “the Facebook team looked

  a little sad.” Id. at 92:24-93:6.

            259.   On July 23, 2021, Waldo, Dr. Murthy, and DJ Patil of the White House had a call

  with Nick Clegg and Brian Rice of Facebook. Waldo Ex. 3, at 32-33. Nick Clegg requested the




                                                   73
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 76 of 364 PageID #:
                                   16512



  meeting “to deescalate” and “reset the tone” because the “Facebook team were feeling … that they

  had been uniquely called out.” Waldo Dep. 95:4-13.

         260.    After the meeting, Nick Clegg “did share definitely over e-mail more information

  about what they were doing to reduce mis- and disinformation, COVID mis- and disinformation

  on the platform.” Id. at 96:13-17.

         261.    There was also “a follow-up e-mail sometime the next couple of weeks where …

  Nick or Brian shared … here's additional work we're doing, here's how we're responding to the

  advisory.” Id. at 97:7-11.

         262.    This follow-up email provided “a catalog of … both removal of misinformation

  and other steps to tamp down mis- and disinformation.” Id. at 97:16-22.

         263.    Waldo believes that these were “new steps that they had taken in the week or so

  since … they felt uniquely called out on July 15th and 16th.” Id. at 97:23-98:3. The email was in

  response to a request from OSG “asking for, can you let us know, like, what you're doing in

  addition” to combat misinformation, “and so this was responding to that.” Id. at 98:5-7.

         264.    On the July 23 call with Facebook, “Dr. Murthy raised the issue of wanting to have

  a better understanding of the reach of the mis- and disinformation on … the social media platform.”

  Id. at 98:19-22.

         265.    Waldo likens the problem of mis- and disinformation on social media to “eating,

  like, a piece of uranium,” and compares misinformation to “cancer.” Id. at 99:1-101:8.

         266.    The OSG’s health advisory advances the view that the spread of misinformation is

  “very harmful.” Id. at 101:24-102:7.




                                                  74
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 77 of 364 PageID #:
                                   16513



         267.    Waldo agrees that the health advisory “provides specific examples to technology

  companies what they could do more of to reduce the spread of health mis- and disinformation.”

  Id. at 104:16-18.

         268.    Waldo uses the word “poison” to describe health misinformation, as did Dr. Murthy

  in announcing the Health Advisory. Id. at 105:4; Waldo Ex. 10, at 2.

         269.    In the July 23, 2021 call with Nick Clegg, Dr. Murthy “didn’t retreat … from the

  message of the advisory, which explicitly calls for social media platforms to do more to control

  the reach of misinformation on their platforms,” and “continued … to discuss that message.”

  Waldo Dep. 107:21-108:5.

         270.    In addition, in that call, the OSG asked Facebook to report back on “what they were

  doing in response to the advisory, if they were taking any actions.” Id. at 109:2-4.

         271.    In addition, Patil was “also asking the data impact questions.” Id. at 109:24.

         272.    OSG perceived that OSG’s and the White House’s public statements criticizing

  Facebook put economic pressure on Facebook, and that Facebook was engaging with Dr. Murthy

  to “keep Dr. Murthy from saying … any other things that might be viewed as bad for their

  business.” Id. at 113:13-15.

         273.    Waldo agrees that the events of July 15 and July 16 put unique pressure on

  Facebook: “when you add the press conference remarks plus President Biden's remarks, it made it

  seem as though … there was more attention on Facebook.” Id. at 116:2-5.

         274.    The OSG’s “subject matter experts” – Kyla Fullenwider, Daniel Tartakovsky, and

  DJ Patil of the White House – believed that misinformation “was a problem across multiple

  platforms.” Id. at 116:15-16.




                                                  75
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 78 of 364 PageID #:
                                   16514



         275.       On July 30, 2022, Waldo had a meeting with Google and YouTube representatives,

  in which the representatives reported to OSG on what actions they were taking that were consistent

  with or in response to the health advisory: “The topics discussed included YouTube/Google

  following up on the announcement of the OSG Advisory to share more of the work it was doing

  around health mis- and disinformation.” Waldo Ex. 3, at 33.

         276.       When the OSG’s health advisory issued, Twitter’s policy handle publicly endorsed

  the OSG’s call for greater censorship of health misinformation: “[T]he Twitter policy handle …

  either retweeted or quote tweeted and said something like, we agree. … [W]e do need an all-society

  approach, and here's what we're doing.” Waldo Dep. 122:11-16.

         277.       On August 10, 2021, Waldo and Rob Flaherty had a call with Facebook in which

  Facebook reported back to federal officials on its actions to remove misinformation, including the

  details of “an operation [Facebook] uncovered that is related to vaccine misinformation.” Waldo

  Ex. 3, at 33 (alteration in original). According to Waldo, “Brian Rice had requested a call with me

  and Rob [Flaherty] and, during the call, flagged that Facebook … had done some sort of internal

  operation where … they discovered some misinformation pieces happening and had taken some

  corrective action.” Waldo Dep. 124:13-21.

         278.       Brian Rice was Facebook’s “main … staff level liaison” with the federal officials.

  Id. at 125:2-3.

         279.       Facebook emailed Waldo and Flaherty “a COVID report list that had … some sort

  of report from Facebook on a biweekly basis.” Id. at 126:11-16.

         280.       On September 14, 2021, Waldo had another meeting with Google/YouTube

  representatives, “to discuss a new policy we [YouTube] are working on as well as provide an

  update on our overall efforts to combat harmful COVID-19 misinformation on the platform.”




                                                    76
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 79 of 364 PageID #:
                                   16515



  Waldo Ex. 3, at 33. This was the “second update by [Google/Youtube] to [OSG] following the

  health advisory of stuff they're doing to combat harmful COVID-19 misinformation through

  YouTube.” Waldo Dep. 129:7-12.

         281.    On May 28, 2021, a few days after meeting with Andy Slavitt and Dr. Murthy for

  the first time (and almost two months before OSG issued the Health Advisory and had the related

  meetings with Waldo and others), Nick Clegg emailed Dr. Murthy and stated that, “[a]s promised,”

  he was sending a report of misinformation on Facebook. Waldo Ex. 4, at 1. Clegg also

  “highlighted a few policy updates we announced yesterday regarding repeat misinformation,”

  including “expand[ing] penalties for individual Facebook accounts that share misinformation,”

  “add[ing] more context about pages that repeatedly share false claims,” and “redesign[ing]

  notifications when they share content that a fact-checker later rates.” Id.

         282.    These “policy updates” about increasing censorship were announced on May 27,

  2021, two days after Nick Clegg’s meeting with Dr. Murthy and Andy Slavitt on May 25, 2021.

  Waldo Dep. 138:2-7.

         283.    Clegg plainly indicated that there had been prior conversations in which Slavitt and

  Dr. Murthy had demanded “defensive work” to remove misinformation: “We’re . . . committed to

  addressing the defensive work around misinformation that you’ve called on us to address.” Waldo

  Ex. 4, at 2. These prior conversations were not disclosed in OSG’s responses to interrogatories,

  which noted the first meeting with Dr. Murthy was a mere introductory meeting with Clegg on

  May 25, 2021. Waldo Ex. 3, at 32.

         284.    On June 14, 2021, Nick Clegg emailed Dr. Murthy another (“the latest”) “Facebook

  bi-weekly covid content report,” which he indicated was “as promised/discussed,” and offered




                                                   77
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 80 of 364 PageID #:
                                   16516



  “[a]s always” to “jump on a call at any point … to delve into any further details as needed.” Waldo

  Ex. 5, at 1.

          285.    The “Facebook bi-weekly covid content report,” id., contained a report of “the most

  engaged posts … with respect to both accurate and inaccurate information.” Waldo Dep. 140:8-

  10. Rob Flaherty of the White House also received these reports. Id. at 140:21-24.

          286.    Waldo admits that Facebook sending these biweekly reports to Dr. Murthy and

  Flaherty “had preexisted” and “predates the meeting” on May 25, 2021 – further indicating that

  OSG failed to disclose key meetings between Dr. Murthy and social media platforms in its

  interrogatory responses. Id. at 142:10-11.

          287.    On July 6, 2021, Waldo emailed contacts at Twitter to set up the “rollout call”

  before the health advisory and stated: “As you know, one of the issues Dr. Murthy has been

  thinking about is how to help stop the spread of health misinformation as we continue to tackle

  COVID19 and beyond. I know you and your teams are working hard and thinking deeply about

  this issue. We’d love to chat over zoom to connect and discuss what’s on the horizon for our

  teams.” Waldo Ex. 6, at 2; Waldo Dep. 145:15-146:22.

          288.    On July 6, 2021, Waldo sent an identical email to Facebook. Waldo Ex. 7, at 3-4.

  The purpose of these emails was to set up calls to announce the Surgeon General’s forthcoming

  health advisory on misinformation. Waldo Dep. 149:11-16. Because of scheduling conflicts, the

  “rollout call” with Facebook was not scheduled until July 16, the day after the advisory was

  announced and the same day President Biden stated of Facebook that “they’re killing people.” Id.

  at 149:11-17.




                                                  78
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 81 of 364 PageID #:
                                   16517



         289.    On July 6, 2021, Waldo also sent an email to YouTube with a similar statement to

  set up a rollout call with YouTube. Waldo Ex. 8, at 3. Waldo’s emails make clear that OSG’s

  message and purpose was to “stop the spread of misinformation” on social-media platforms. Id.

         290.    In these calls, “we had Kyla [Fullenwider] on the call and giving them a high-level

  update that we're going to have this advisory come out and that we want them to take a look at it.”

  Waldo Dep. 153:23-154:1.

         291.    On July 10, 2021, Nick Clegg emailed Dr. Murthy, attaching another bi-weekly

  Covid content report, and stated, “I understand ... that my team is meeting with yours next week

  to delve deeper into our [C]ovid misinformation efforts.” Waldo Ex. 9, at 1. Waldo understands

  that this refers to the July 16 rollout meeting. Waldo Dep. 155:12-18.

         292.    In the July 16, 2021 meeting with Facebook, Kyla Fullenwider went over the

  advisory, and then “asked additional questions … related to Facebook’s efforts to combat health

  misinformation,” including “some questions about, again, the research side.… [S]ome questions

  came up about CrowdTangle, if I recall correctly which was a … data port for … some ways to

  understand the Facebook, again, impact and research of the misinformation.” Id. at 157:21-159:9.

         D.      The Surgeon General’s Public Pressure Campaign.

         293.    On July 15, 2021, Dr. Murthy participated in a White House press conference with

  White House Press Secretary Jennifer Psaki to announce the Surgeon General’s Health Advisory

  on Misinformation. Waldo Ex. 10. Psaki announced of Dr. Murthy that “[t]oday, he published an

  advisory on health misinformation as an urgent public health crisis.” Id. at 1.

         294.    At the press conference, Dr. Murthy described misinformation as “one of the

  biggest obstacles that’s preventing us from ending this pandemic,” and stated: “Today, I issued a

  Surgeon General’s Advisory on the dangers of health misinformation.               Surgeon General




                                                  79
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 82 of 364 PageID #:
                                   16518



  Advisories are reserved for urgent public health threats…. [T]oday we live in a world where

  misinformation poses an imminent and insidious threat to our nation’s health.” Id. at 2. He stated

  that “misinformation takes away our freedom to make informed decisions about our health and the

  health of our loved ones.” Id. at 2.

         295.    Dr. Murthy’s definition of “misinformation” incorporates the notion that the

  definition changes over time: “Health misinformation is false, inaccurate, or misleading

  information about health, according to the best evidence at the time.” Id. at 2. Waldo agrees that

  this definition “contemplate[s] that what constitutes misinformation might change over time,” and

  that “something that we now think is misinformation may later turn out to be accurate information

  … [a]nd vice versa.” Waldo Dep. 164:17-165:7.

         296.    Dr. Murthy stated that those who question mask mandates and decline vaccination

  are following misinformation: “During the COVID 19 pandemic, health misinformation has led

  people to resist wearing masks in high-risk settings. It’s led them to turn down proven treatments

  and to choose not to get vaccinated. This has led to avoidable illnesses and death. Simply put,

  health [mis]information has cost us lives.” Waldo Ex. 10, at 2.

         297.    Dr. Murthy placed specific blame on social-media platforms for the spread of

  misinformation: “Now, health misinformation didn’t start with COVID-19. What’s different now,

  though, is the speed and scale at which health misinformation is spreading. Modern technology

  companies have enabled misinformation to poison our information environment with little

  accountability to their users. They’ve allowed people who intentionally spread misinformation —

  what we call ‘disinformation’ — to have extraordinary reach.” Id. at 2. Dr. Murthy described

  social-media companies as enabling the spread of “poison” in our “information environment.” Id.




                                                 80
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 83 of 364 PageID #:
                                   16519



         298.    He blamed the platforms’ algorithms and features for the spread as well: “They’ve

  designed product features, such as ‘Like’ buttons, that reward us for sharing emotionally charged

  content, not accurate content. And their algorithms tend to give us more of what we click on,

  pulling us deeper and deeper into a well of misinformation.” Id.

         299.     Echoing the language of the Virality Project, Dr. Murthy stated, “we need an all-

  of-society approach to fight misinformation.” Id. at 2.

         300.    Dr. Murthy announced: “we’re saying we expect more from our technology

  companies. We’re asking them to operate with greater transparency and accountability. We’re

  asking them to monitor misinformation more closely. We’re asking them to consistently take

  action against misinformation super-spreaders on their platforms.” Id. at 3. Both the call for

  “transparency and accountability” and the request for increased monitoring and greater censorship

  of “super-spreaders” mirror the Virality Project report. See infra.

         301.    Both Dr. Murthy’s public statements and his health advisory repeatedly use the

  word “accountable” and “accountability” to refer to the social-media platforms—again, echoing

  the Virality Project report. See id. at 2, 3, 5; Waldo Ex. 11, at 14, 16.

         302.    Waldo agrees that the word “accountable” carries with it the threat of

  consequences; he concedes that “accountability includes accepting the consequences for when you

  do something wrong … or inappropriate.” Waldo Dep. 171:4-8. Thus, the OSG’s repeated

  reference to holding social-media platforms “accountable” entails an implied threat of adverse

  consequences if the platforms do not censor more health misinformation. See id.

         303.    The Surgeon General’s use of the word “accountable” also echoes the repeated use

  of the word “accountable” by elected federal officials, including President Biden and his political

  allies, to threaten adverse legal consequences against social-media platforms if they do not increase




                                                    81
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 84 of 364 PageID #:
                                   16520



  censorship of disfavored speakers, speech, and viewpoints. See, e.g., Jones Decl., Ex. R (quoting

  White House Communications Director Kate Bedingfield: “We’re reviewing [amending Section

  230 of the Communications Decency Act], and certainly [the social media companies] should be

  held accountable. I think you’ve heard the president speak very aggressively about this.”).

         304.    Waldo agrees that Murthy’s comments entail that “there's an obligation … or

  certainly an imperative to do more. So … not only stop but reduce or take some sort of mitigating

  efforts so that the misinformation and disinformation is not leading to poor health results for

  people.” Waldo Dep. 172:21-173:1.

         305.    Dr. Murthy’s call for greater “transparency” is a call for platforms to engage in the

  kind of data-sharing that Dr. Murthy, Rob Flaherty, DJ Patil, and Kyla Fullenwider, among others,

  demanded in private meetings with Facebook. Id. at 174:15-23. Again, this echoes the key

  recommendation of the Virality Project.

         306.    Waldo agrees that Dr. Murthy’s call for greater “accountability” includes a demand

  to “take more proactive steps to stop the spread of misinformation.” Id. at 176:1-4.

         307.    Dr. Murthy also demanded that the platforms do “much, much more” and “take

  aggressive action” against misinformation: “We know that the dramatic increase in the speed —

  speed and scale of spreading misinformation has, in part, been enabled by these platforms. So

  that’s why in this advisory today, we are asking them to step up. We know they have taken some

  steps to address misinformation, but much, much more has to be done. And we can’t wait longer

  for them to take aggressive action because it’s costing people their lives.” Waldo Ex. 10, at 5.

         308.    Dr. Murthy also stated that platforms “have to do more to reduce the

  misinformation that’s out there so that the true voices of experts can shine through.” Id. at 6.




                                                   82
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 85 of 364 PageID #:
                                   16521



         309.    After the advisory, OSG asked Facebook, Google/YouTube, and Twitter “as a

  follow-up what actions they might have taken in response to the advisory.” Waldo Dep. 181:15-

  21.

         310.    At the same press conference on July 15, 2021, Jennifer Psaki stated: “we are in

  regular touch with these social media platforms, and those engagements typically happen through

  members of our senior staff, but also members of our COVID-19 team.” Waldo Ex. 10, at 10.

         311.    Psaki stated: “We’ve increased disinformation research and tracking within the

  Surgeon General’s office. We’re flagging problematic posts for Facebook that spread

  disinformation.” Id.

         312.    “Regarding the Administration’s “asks” to social-media platforms, Psaki stated:

  “There are also proposed changes that we have made to social media platforms, including

  Facebook, and those specifically are four key steps: One, that they measure and publicly share the

  impact of misinformation on their platform. Facebook should provide, publicly and transparently,

  data on the reach of COVID-19 — COVID vaccine misinformation. Not just engagement, but the

  reach of the misinformation and the audience that it’s reaching.” Id. at 11. Again, this echoes the

  key recommendation of the Virality Project report.        It also echoes Dr. Murthy’s call for

  “transparency” and the repeated private demands that Facebook give external researchers like

  Renee DiResta of the Virality Project access to its internal data. Waldo Dep. 191:17-21.

         313.    Psaki also stated: “Second, that we have recommended — proposed that they create

  a robust enforcement strategy that bridges their properties and provides transparency about the

  rules. So, about — I think this was a question asked before — there’s about 12 people who are

  producing 65 percent of anti-vaccine misinformation on social media platforms All of them remain




                                                  83
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 86 of 364 PageID #:
                                   16522



  active on Facebook, despite some even being banned on other platforms, including Facebook —

  ones that Facebook owns.” Waldo Ex. 10, at 11.

         314.     Psaki stated: “Third, it’s important to take faster action against harmful posts. As

  you all know, information travels quite quickly on social media platforms; sometimes it’s not

  accurate. And Facebook needs to move more quickly to remove harmful, violative posts — posts

  that will be within their policies for removal often remain up for days. That’s too long. The

  information spreads too quickly.” Id.

         315.     Waldo agrees that the Surgeon General’s advisory calls for platforms to “move

  faster” and take “more aggressive” action against supposed misinformation. Waldo Dep. 194:20-

  21.

         316.     And Psaki stated, publicly criticizing Facebook: “Finally, we have proposed they

  promote quality information sources in their feed algorithm. Facebook has repeatedly shown that

  they have the levers to promote quality information. We’ve seen them effectively do this in their

  algorithm over low-quality information and they’ve chosen not to use it in this case. And that’s

  certainly an area that would have an impact.” Waldo Ex. 10, at 11.

         317.     Psaki concluded: “So, these are certainly the proposals. We engage with them

  regularly and they certainly understand what our asks are.” Id.

         318.     On the same day, July 15, 2021, Surgeon General Murthy issued his advisory,

  “Confronting Health Misinformation: The U.S. Surgeon General’s Advisory on Building a

  Healthy Information Environment.” Waldo Ex. 11, at 1 (the “Health Advisory”); Waldo Dep.

  196:21-197:1.

         319.     The Health Advisory describes censorship of health misinformation as a “moral

  and civic imperative”: “Health misinformation is a serious threat to public health. … Limiting the




                                                   84
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 87 of 364 PageID #:
                                   16523



  spread of health misinformation is a moral and civic imperative that will require a whole-of-society

  effort.” Waldo Ex. 11, at 2. The “whole-of-society effort” echoes the language of the Virality

  Project.

         320.    The Health Advisory states: “Misinformation has caused confusion and led people

  to decline COVID-19 vaccines, reject public health measures such as masking and physical

  distancing, and use unproven treatments.” Id. at 4.

         321.    The Health Advisory specifically blames social-media platforms for the spread of

  misinformation: “In recent years, the rapidly changing information environment has made it easier

  for misinformation to spread at unprecedented speed and scale, especially on social media and

  online retail sites, as well as via search engines.”         Id. at 5.   According to the Advisory,

  “misinformation is often framed in a sensational and emotional manner that can connect viscerally,

  distort memory, align with cognitive biases, and heighten psychological responses such as anxiety.

  People can feel a sense of urgency to react to and share emotionally charged misinformation with

  others, enabling it to spread quickly and go ‘viral.’” Id.

         322.    In addition, the Advisory blames “product features” of platforms: “[P]roduct

  features built into technology platforms have contributed to the spread of misinformation. For

  example, social media platforms incentivize people to share content to get likes, comments, and

  other positive signals of engagement. These features help connect and inform people but reward

  engagement rather than accuracy, allowing emotionally charged misinformation to spread more

  easily than emotionally neutral content.” Id.

         323.    The Advisory also faults platforms’ “algorithms”: “algorithms that determine what

  users see online often prioritize content based on its popularity or similarity to previously seen




                                                   85
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 88 of 364 PageID #:
                                   16524



  content. As a result, a user exposed to misinformation once could see more and more of it over

  time, further reinforcing one’s misunderstanding.” Id.

         324.    The Health Advisory specifically called for platforms to enact “policy changes” to

  reduce the spread of misinformation: “Implement product design and policy changes on

  technology platforms to slow the spread of misinformation.” Id. at 7 (bold in original).

         325.    The Health Advisory also explicitly threatened future “legal and regulatory

  measures” to combat misinformation: “Convene federal, state, local, territorial, tribal, private,

  nonprofit, and research partners to explore the impact of health misinformation, identify best

  practices to prevent and address it, issue recommendations, and find common ground on difficult

  questions, including appropriate legal and regulatory measures that address health

  misinformation ….” Id. at 7 (bold in original, italics added).

         326.    Under the heading “What Technology Platforms Can Do,” the Health Advisory

  called for platforms to take a series of steps to increase and enable greater social-media censorship

  of “misinformation,” including the following: “[M]ake meaningful long-term investments to

  address misinformation, including product changes. Redesign recommendation algorithms to

  avoid amplifying misinformation, build in “frictions” … to reduce the sharing of misinformation,

  and make it easier for users to report misinformation. Give researchers access to useful data to

  properly analyze the spread and impact of misinformation. Strengthen the monitoring of

  misinformation. … [A]ddress misinformation in live streams, which are more difficult to moderate

  due to their temporary nature and use of audio and video. Prioritize early detection of

  misinformation ‘super-spreaders’ and repeat offenders. Impose clear consequences for accounts

  that repeatedly violate platform policies. Evaluate the effectiveness of internal policies and

  practices in addressing misinformation and be transparent with findings. Publish standardized




                                                   86
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 89 of 364 PageID #:
                                   16525



  measures of how often users are exposed to misinformation and through what channels, what kinds

  of misinformation are most prevalent, and what share of misinformation is addressed in a timely

  manner. Communicate why certain content is flagged, removed, downranked, or left alone.” Id.

  at 12.

           327.   Waldo agrees that the Advisory calls for platforms to provide “a method for users

  to flag problematic posts so that they could be reviewed for content modulation, policy violations.”

  Waldo Dep. 200:25-201:5.

           328.   Waldo agrees that “clear consequences” for repeat violators include “things like

  issuing strikes against them, suspensions … and sometimes permanent deplatforming.” Id. at

  205:6-13.

           329.   In its conclusion, the Health Advisory states: “We need institutions to recognize

  that this issue is their moral and civic responsibility, too, and that they are accountable.” Waldo

  Ex. 11, at 16. Waldo agrees that the word “accountable” is repeated in the Surgeon General’s

  remarks and the Advisory itself. Waldo Dep. 206:3-11.

           F. The Surgeon General’s Collaboration with the Virality Project.

           330.   Also on January 15, 2021, Surgeon General Murthy participated in a separate

  launch event hosted by Stanford Internet Observatory, which was then operating the Virality

  Project. Waldo Ex. 12, at 1; Waldo Dep. 206:12-207:9.

           331.   In his public comments with Stanford Internet Observatory, Dr. Murthy stated:

  “We're asking technology companies to operate with greater transparency and accountability so

  that misinformation doesn't continue to poison our sharing platforms, and we know the government

  can play an important role, too.” Waldo Ex. 12, at 8 (Audio Tr. 6). This reiterates the key words

  “poison” and “accountability.”




                                                  87
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 90 of 364 PageID #:
                                   16526



         332.    Waldo describes government’s “important role” as including “bringing

  stakeholders … together with urgency around a common vision for a healthy information

  environment … the government can help bring together stakeholders … what I would call the

  convening power of a bully pulpit.” Waldo Dep. 209:15-22. This would include bringing social-

  media platforms around to the government’s “common vision” for censorship. Id. at 209:24-210:8.

         333.    Dr. Murthy was asked, “do you believe a rapid response initiative like the Virality

  Project could be implemented at the federal level to combat health misinformation on a national

  scale from the top down?” and he answered that “having a federal organized effort to combat

  misinformation” is “a really, really interesting idea.” Waldo Ex. 12, at 10 (Audio Tr. 8).

         334.    Dr. Murthy stated: “[T]echnology companies have a really important role. They

  must step up and play to slow the spread of misinformation on their sites wh[ether] that's by either

  sharing data with people and researchers about what interventions they're making and the impact

  that's having or whether it's by changing their algorithms and making other alterations to their

  platform to identify misinformation early and slow its spread and avoid sending more information

  of misinformation to people who are consuming it.” Id. at 11 (Audio Tr. 9).

         335.    Waldo agrees that “the purpose of the data sharing is so that outside people come

  in and … assess how well they're doing with their own internal policies to combat the spread of

  misinformation.” Waldo Dep. 211:6-11.

         336.    Dr. Murthy expressly stated that he had been coordinating with Renee DiResta and

  the Virality Project and planned to continue to do so: “Well, thank you, Renee, for those kind

  words. … I do want to say thank you to you personally because you have been a leader in this

  effort long before many people recognize[d] what was happening with COVID misinformation.

  You were there looking at the data, looking at the numbers, speaking out, raising the flags, saying




                                                  88
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 91 of 364 PageID #:
                                   16527



  there's something here we've got to address and do so urgently. I have personally learned a lot from

  your work and from our conversations together, and so I just want to say thank you to you for

  everything you've done for being such a great partner for moderating our event today, and just for

  being a partner in the future, because I know we have lots and lots more that we've got to do

  together.” Waldo Ex. 12, at 12 (Audio Tr. 10).

         337.    Dr. Murthy also stated that his team had been “partnered with” the Stanford Internet

  Observatory over “many months”: “myself, my team, we're committed to working with you,

  Renee, with others … who we've been … partnered with over the last many months….” Id. at 13

  (Audio Tr. 11).

         G. The Surgeon General’s “Angry” and “Tense” Meetings With Platforms.

         338.    On July 16, 2021, the New York Times reported that President Biden publicly

  stated about Facebook, “They’re killing people” by allowing misinformation to spread on its

  platforms. Waldo Ex. 14, at 1.

         339.    The article reported that “this week, White House officials went further and singled

  out social media companies for allowing false information to proliferate. That came after weeks

  of failed attempts to get Facebook to turn over information detailing what mechanisms were in

  place to combat misinformation about the vaccine, according to a person familiar with the matter.”

  Id.

         340.    The same article reported that Jennifer Psaki stated, “We raised for them in our

  direct channels, of which every administration has always had with every social media platform,

  that we’re seeing this trend.” Id. at 2.

         341.    The article reported that there had been a series of “talks” between Surgeon General

  Murthy and Facebook “since January” of 2021—none of which were disclosed in OSG’s




                                                   89
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 92 of 364 PageID #:
                                   16528



  interrogatory responses: “Since January, senior White House officials, including the surgeon

  general, Dr. Vivek Murthy, have been in talks with the social media company to stop the spread

  of false stories about vaccination side effects and other harms.” Id. at 2. In these “talks,” federal

  officials demanded Facebook’s internal data on misinformation on its platforms: “Despite repeated

  requests by the White House, Facebook has not shared even basic data on how much vaccine

  misinformation exists and if the company’s efforts to stop its spread are working, according to the

  person familiar with the talks.” Id. at 2.

         342.    “When administration officials presented data from CrowdTangle, a content

  tracking tool owned by Facebook, that showed vaccine misinformation was soaring, company

  officials dismissed its accuracy.” Id. at 2.

         343.    In one meeting, Dr. Murthy “angrily” demanded that Facebook censor

  misinformation instead of just promoting reliable information: “In another meeting with Dr.

  Murthy, … Dr. Murthy angrily said that while the company [Facebook] promoted its efforts to

  encourage vaccination, it did not do enough to defend against bad information.” Id. at 2.

         344.    In another “tense” meeting in “late spring,” Dr. Murthy repeated similar demands:

  “In one tense meeting in the late spring, according to the person familiar with the matter, a

  Facebook official responded defensively, ‘How do you know if your efforts are working?’” Id. at

  2.

         345.    Waldo agrees that this news report “does not accurately describe … that

  introductory call between Nick Clegg, Andy Slavitt, and Dr. Murthy on May 25th of 2021,” which

  is the only meeting involving Dr. Murthy disclosed in OSG’s interrogatory responses. Waldo Dep.

  219:17-21; 222:14-23. In those responses, OSG did not disclose Dr. Murthy’s “tense” and “angry”

  meetings with Facebook during the spring of 2021.




                                                   90
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 93 of 364 PageID #:
                                   16529



         H.        The Surgeon General Leverages Public Pressure to Increase Censorship.

         346.      On July 21, 2021, five days after the July 16 meeting where “the Facebook folks

  … had sad faces,” id. at 226:15-16, Facebook emailed Waldo and Kyla Fullenwider, stating: “We

  wanted to follow up with you on a few questions you asked in the meeting focused on

  CrowdTangle, data on the online interventions, and Facebook's borderline content policies,”

  Waldo Ex. 16, at 1. This referred to the July 16 meeting with Waldo and Fullenwider. Waldo

  Dep. 227:3-8.

         347.      In the email, Facebook reported back to OSG on “interventions that the team

  mentioned, some of which specifically create frictions in how people consume information.”

  Waldo Ex. 16, at 1. These include limiting forwarded WhatsApp messages, placing “warning

  labels on fact checked content,” and creating “friction when someone goes to share these posts on

  Facebook.” Id.

         348.      Facebook also reported to OSG a series of censorship policies and actions,

  including the following: “We remove COVID-19 content that contributes to the risk of imminent

  physical harms, including numerous false claims about the COVID-19 vaccine. We permanently

  ban pages, groups, and accounts that repeatedly break our rules on COVID-19 misinformation.

  We also reduce the reach of posts, pages, groups, and accounts that share other false claims that

  do not violate our policies but may present misleading or sensationalized information about

  COVID-19 and vaccines.” Id. at 1. Evidently, OSG’s inquiry at the July 16 meeting about

  “borderline content” related to the censorship of such content. See id. Waldo agrees that

  Fullenwider asked Facebook to report back about censorship at the July 16 meeting: “The response

  indicates that it's about COVID policies including removal, banning and reducing the reach.”

  Waldo Dep. 232:9-11, 233:12-234:1.




                                                  91
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 94 of 364 PageID #:
                                   16530



         349.    On July 16, 2021, Nick Clegg emailed Dr. Murthy and stated, “Dear Vivek,

  Reaching out after what has transpired over the past few days following the publication of the

  misinformation advisory and culminating today in the President's remarks about us.” Waldo Ex.

  17, at 1-2. He then stated, “I know our teams met today to better understand the scope of what the

  White House expects of us on misinformation going forward.” Id. at 2 (emphasis added). Facebook

  understood the purpose of the meetings was to understand the White House’s expectations on

  misinformation. See id.

         350.    Clegg indicated that there had been a history of prior discussions with Dr. Murthy

  and the White House in which federal officials demanded greater censorship—both more stringent

  policies and greater enforcement—which were not disclosed in OSG’s interrogatory responses:

  “Certainly we understand (and have understood for some time) that there is disagreement on some

  of the policies governing our approach and how they are being enforced.” Id. at 2. Clegg asked

  for a meeting with Dr. Murthy, who did not immediately respond. Id. at 1-2.

         351.    On July 18, 2021, having received no response to his email requesting a meeting,

  Clegg texted Dr. Murthy stating, “I imagine you and your team are feeling a little aggrieved – as

  is the FB team, it’s not great to be accused of killing people – but as I said by email I’m keen to

  find a way to deescalate and work together collaboratively. I am available to meet/speak whenever

  suits.” Waldo Ex. 18, at 1.

         352.    On July 19, Dr. Murthy responded by email and agreed to a meeting, which was

  scheduled for July 23, 2021. Waldo Ex. 17, at 1; Waldo Dep. 241:1-14.

         353.    At the July 23, 2021 meeting, “Dr. Murthy asked Mr. Clegg about … the research

  questions about understanding the reach of the data in terms the impact of the … health




                                                  92
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 95 of 364 PageID #:
                                   16531



  misinformation. And … DJ [Patil] had some questions about also on the data side and Nick [Clegg]

  offered to connect DJ with a data person from Facebook.” Waldo Dep. 242:8-16.

         354.    Later on June 23, 2021, after the meeting between Dr. Murthy and Nick Clegg,

  Clegg sent a follow-up email to Dr. Murthy stating: “Dear Vivek, if I may, thanks again for taking

  the time to meet earlier today….. I wanted to make sure you saw the steps we took just this past

  week to adjust policies on what we are removing with respect to misinformation as well as steps

  taken to further address the ‘disinfo dozen’….” Waldo Ex. 19, at 1.

         355.    Clegg’s reference to “just this past week” refers to the one-week period between

  this July 23 email and rollout of the Advisory on July 15 and the President’s comment “They’re

  killing people” on July 16. Id.; Waldo Dep. 244:14-19.

         356.    It is evident that Dr. Murthy and federal officials pressured Facebook for specific

  censorship actions in the July 23 meeting, because the same day as the meeting, Clegg reported

  back to them a series of new censorship actions and policies. First, Clegg reported enforcement

  actions against the “Disinfo Dozen” whom Jennifer Psaki had publicly demanded censorship: “We

  removed 17 additional Pages, Groups, and Instagram accounts tied to the disinfo dozen (so a total

  of 39 Profiles, Pages, Groups, and IG accounts deleted thus far, resulting in every member of the

  disinfo dozen having had at least one such entity removed).” Waldo Ex. 19, at 1. Clegg reported

  that Facebook was secretly censoring accounts associated with the Disinfo Dozen even if they had

  not violated Facebook’s policies: “We are also continuing to make 4 other Pages and Profiles,

  which have not yet met their removal thresholds, more difficult to find on our platform.” Id.

         357.    Clegg also reported that Facebook had amended its censorship policies to make

  them more restrictive: “We also expanded the group of false claims that we remove, to keep up

  with recent trends of misinformation that we are seeing.” Id.




                                                 93
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 96 of 364 PageID #:
                                   16532



            358.   Clegg also committed to “do more” to censor misinformation in response to federal

  officials’ demands: “We hear your call for us to do more and, as I said on the call, we’re committed

  to working toward our shared goal of helping America get on top of this pandemic.” Id. Dr.

  Murthy, evidently, demanded that Facebook “do more” against misinformation on it platforms in

  the July 23 phone call. See id.

            359.   Clegg further agreed to accede to federal officials’ demands that Facebook make

  its internal data on misinformation available to federal officials and researchers like Renee DiResta

  of the Virality Project: “We will reach out directly to DJ to schedule a deeper dive on how to best

  measure Covid related content and how to proceed with respect to the question around data.” Id.

  at 1-2.

            360.   Clegg also pledged to report back to Dr. Murthy repeatedly so that federal officials

  could monitor Facebook’s “progress” on censoring misinformation: “We’d also like to begin a

  regular cadence of meetings with your team so that we can continue to update you on our progress.

  You have identified 4 specific recommendations for improvement and we want to make sure to

  keep you informed of our work on each.” Id. at 2. Clegg also promised to continue sending federal

  officials regular updated reports on the spread of misinformation on Facebook’s platforms. Id.

            361.   Clegg concluded by promising that Facebook would “strive” to meet federal

  officials’ expectations on censorship: “we will strive to do all we can to meet our shared goals.”

  Id.; see also Waldo Dep. 245:6-247:4.

            362.   Waldo agrees that Clegg’s statement “We hear your call for us to do more” in the

  July 23 email is an accurate understanding of the Surgeon General’s message from the July 15

  press conference, the Health Advisory, and the July 15 rollout at Stanford Internet Observatory:

  “Yes. I think, as we've established, the advisory and … the remarks, and the event with the Stanford




                                                    94
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 97 of 364 PageID #:
                                   16533



  Internet Observatory, Dr. Murthy is calling on … social media companies to do more to address

  the problem of health mis- and disinformation.” Waldo Dep. 251:6-12.

         363.    After the July 23 email, Waldo connected Brian Rice of Facebook with DJ Patil to

  discuss data-sharing to monitor social-media misinformation between Facebook and federal

  officials. Id. at 252:9-19.

         364.    Additionally, on the July 23 call with Nick Clegg, the OSG specifically asked

  Facebook to report back on any additional steps they were taking in response to the Health

  Advisory to increase censorship of misinformation on their platforms. Waldo Ex. 21, at 1. On

  August 6, 2021, Waldo emailed Brian Rice and Nick Clegg of Facebook and stated, “I know on

  the call with Dr. Murthy he’d mentioned seeing if you were able to send an update of any

  new/additional steps you are taking with respect to health misinformation in light of the advisory.”

  Id. Waldo noted that “we are asking all platforms for this type of update.” Id. Waldo asked for a

  report from Facebook within two weeks: “Would you be able to send something over within two

  weeks?” Id.

         365.    In the same email, Waldo connected Facebook with DJ Patil of the White House

  “on next steps for connecting on data.” Id.

         366.    Facebook responded that it was planning “additional steps” to increase censorship

  of misinformation, and promised to report back to the Surgeon General in 2 weeks: “Our teams

  have been working on additional steps—we will have something back to you within two weeks

  outlining our approach.” Id. Facebook also followed up with Patil to schedule the meeting about

  using Facebook’s internal data to monitor speech on its platforms. Id.

         367.    Waldo admits that, during the July 23 call, “we asked for an update,” and that it

  was probably Dr. Murthy who asked for it. Waldo Dep. 256:20-23.




                                                  95
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 98 of 364 PageID #:
                                   16534



           368.   Waldo does not dispute that he asked “all platforms” to provide a similar “update”

  on new or additional steps to censor misinformation in light of the Advisory, and that “all

  platforms” means “Facebook, Twitter, Instagram, and YouTube, and Google.” Id. at 257:10-

  258:9.

           369.   On July 19, 2021, a few days after the President’s “They’re killing people”

  comments, Rob Flaherty of the White House emailed Dr. Murthy to put him in touch with an

  operative for the Democratic National Committee who works on misinformation and

  disinformation issues. Waldo Ex. 22, at 3. Flaherty wrote: “Vivek – wanted to link you with Jiore

  Craig, who’s been a critical leader of the DNC’s misinfo work for a long time, but also has been

  helping us think through mis/dis on the COVID side. I thought it would be great for you both to

  connect as OSG charts out next steps.” Id. Eric Waldo followed up to schedule a Zoom meeting

  on July 22 between Ms. Craig of the DNC and key members of the OSG’s staff. Id. at 1.

           370.   On August 18, 2021, Facebook again reported back to OSG about additional

  censorship actions against misinformation “superspreaders.” Waldo Ex. 24, at 1. Facebook stated,

  “Eric and DJ – flagging this post for you and for Surgeon General Murthy. This details how we

  are approaching content from the disinfo dozen.” Id. Facebook sent the same update to Rob

  Flaherty of the White House on the same day. Id. at 2.

           371.   The post was entitled, “How We’re Taking Action Against Vaccine

  Misinformation Superspreaders.” Id. at 1. The post detailed a long list of censorship actions taken

  against the “Disinfo Dozen,” including removing over three dozen pages, groups and accounts

  linked with them; imposing additional penalties on another two dozen pages, groups, and accounts

  linked with them; applying penalties to some of their website domains so that third parties posting

  their content will be deamplified; and removing the remaining violating content. Id. at 1.




                                                  96
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 99 of 364 PageID #:
                                   16535



         372.    As Waldo acknowledges, this was the “second report that Facebook has sent [OSG]

  after that July 23rd meeting where they're reporting back about actions taken against the Disinfo

  Dozen.” Waldo Dep. 268:12-16.

         373.    On August 20, 2021—two weeks after the August 6 email in which Waldo had

  requested a report within two weeks on Facebook’s new or additional steps to remove

  misinformation in light of the Health Advisory—Nick Clegg sent a long, detailed email to Dr.

  Murthy, Waldo, and DJ Patil, detailing Facebook’s additional censorship actions taken as a result

  of the Advisory. Waldo Ex. 25, at 1-3.

         374.    In the August 20 email, Clegg noted that Dr. Murthy had “asked for an update on

  existing and new steps that Facebook is taking.” Id. at 1. Clegg noted that Facebook was taking

  new steps in response to the pressure from the White House and Surgeon General since July 15

  and 16: “In this update, we describe … further policy work to enable stronger action against

  persistent distributors of vaccine misinformation.” Id.

         375.    In a lengthy section headed “Limiting Potentially Harmful Misinformation,” Clegg

  provided five bullet points and four sub-bullet points detailing expanded efforts of censorship by

  Facebook taken in response to the Advisory. Id. at 2. These included, among others, “ expanding

  our COVID policies to further reduce the spread of potentially harmful content”; “increasing the

  strength of our demotions for COVID and vaccine-related content that third-party fact-checkers

  rate as ‘Partly False’ or ‘Missing Context’”; “making it easier to have Pages/Groups/Accounts

  demoted for sharing COVID and vaccine-related misinformation”; and “strengthening our existing

  demotion penalties for websites that are repeatedly fact-checked for COVID or vaccine

  misinformation content shared on our platform.” Id. at 2. Clegg also included a report of

  additional actions taken against the Disinfo Dozen. Id. Clegg also reporteded that Facebook




                                                  97
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 100 of 364 PageID #:
                                    16536



   “continue[s] to experiment with signals that we can use … to demote content that we predict will

   contain low quality information.” Id.

          376.    In another long section entitled “Increasing Transparency,” Clegg detailed a list of

   actions taken by Facebook to share data about the reach of misinformation on its platforms, per

   federal demands. Id. at 2-3; see also Waldo Dep. 269:20-277:8 (reviewing the content of the

   August 20 email in detail).

          377.    Waldo agrees that this email is “a report back to [OSG’s] request for report in two

   weeks related to actions they took in respect to the advisory.” Waldo Dep. 270:19-23.

          378.    Waldo responded to Clegg by stating that “we look forward to continuing to move

   forward together with urgency and solutions during these extraordinary times.” Waldo Ex. 25, at

   1. The phrase “urgency and solutions” was intended to push Facebook to increase its anti-

   misinformation efforts: “I was hoping that Facebook would continue to move. Urgency means,

   you know, that they would take this seriously, and solutions means that they would also come with

   real solutions to the problems and not just pretend to solve problems.” Waldo Dep. 277:23-278:3.

          379.    Three days later, on August 23, 2021, Rob Flaherty of the White House emailed

   Facebook, asking for a report on how they intended “to promote” the FDA’s approval of the Pfizer

   vaccine and noting that the White House “[would] appreciate a push” of the vaccine information

   using specific “suggested language from [the White House].” Waldo Ex. 27, at 2. Facebook

   responded the same day with an additional report on new steps to remove vaccine misinformation:

   “We’re … updating our misinformation policies to remove the specific claims that ‘there are no

   FDA-approved vaccines’ and ‘the Pfizer vaccine is not FDA-approved.’ We’ll also continue to

   look for claims that are no longer accurate given the approval today.” Id. at 1. Facebook forwarded




                                                   98
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 101 of 364 PageID #:
                                    16537



   this report on increasing censorship to Waldo at OSG as well. Id.; see also Waldo Dep. 280:1-

   281:24.

          380.    On September 18, 2021, Facebook sent Eric Waldo and Rob Flaherty another bi-

   weekly report, and also noted that “I’m sure you also saw yesterday’s story in the WSJ about the

   spread of COVID-19 misinformation in comments on Facebook,” which Facebook disagreed with

   and offered to discuss. Waldo Ex. 30, at 1. Flaherty responded, “Happy to talk about it, Brian.

   Would be interested to see, as we have long asked for, how big the problem is, what solutions

   you’re implementing, and how effective they’ve been.” Id. Facebook promised, “we will circle

   back over the next few days to brief.” Id.

          381.    On September 29, 2021, Google emailed Eric Waldo to “share an update we

   recently made to YouTube’s policies pertaining to vaccine-related misinformation.” Google

   reported: “We just announced that we will be introducing a new policy that prohibits content that

   includes harmful misinformation about the safety, efficacy, or ingredients for currently

   administered vaccines…” Waldo Ex. 31, at 1.

          382.    On October 19, 2021, Rob Flaherty emailed Facebook, copying several White

   House officials and Eric Waldo, and asked Facebook to “connect on what the admin’s plans are

   for the 5-11 vaccine rollout.” Waldo Ex. 32, at 1. The “5-11 vaccine rollout” refers to the approval

   of vaccines for children ages 5 to 11 years old. Waldo Dep. 298:20-23.

          383.    Flaherty requested that Facebook report on its censorship plans for claims on social

   media about the authorization of vaccines for children ages 5 to 11: “We’d like to talk about what

   we’re seeing as the biggest headwinds we’re going to face, and discuss what you all are planning

   as we move into this next phase. We remain concerned about mis- and disinformation on feed and




                                                   99
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 102 of 364 PageID #:
                                    16538



   groups, and the wide reach of hesitancy-inducing content across your platform.” Waldo Ex. 32,

   at 1.

           384.   Facebook responded, agreeing to the meeting: “we’d welcome the opportunity.

   Adding Felicia on our end to help coordinate.” Waldo Ex. 32, at 1.

           385.   Waldo states that he does not recall whether this meeting occurred or if he

   participated, but he agrees that the meeting probably occurred: “Probably.           If they added

   schedulers, usually those meetings happen.” Waldo Dep. 300:14-23.

           I. The Surgeon General and White House Hammer Facebook.

           386.   On October 28, 2021, the Washington Post ran a story based on information from

   Frances Haugen reporting that “Facebook researchers had deep knowledge of how coronavirus

   and vaccine misinformation moved through the company’s apps, according to documents

   disclosed by Facebook whistleblower Frances Haugen.” Waldo Ex. 33, at 1.

           387.   In response to the article, on October 29, Surgeon General Murthy issued a series

   of Tweets from his official Twitter account demanding that Facebook increase censorship and give

   outside researchers access to its data. Waldo Ex. 33, at 1. In the Tweet thread, Dr. Murthy stated:

   “I was deeply disappointed to read this story. Health misinformation has harmed people’s health

   and cost lives. In the Surgeon General’s Advisory on Health Misinformation, I stated clearly that

   tech platforms have a responsibility to improve our health information ecosystem. What continues

   to be lacking from Facebook and other tech companies is transparency and accountability. Only

   the companies understand the full extent of misinformation’s spread and impact – yet they have

   not yet shared this data with independent researchers and the public. Without this critical data, it

   is much harder to design the right interventions or hold the platforms accountable. … We must

   demand Facebook and the rest of the social media ecosystem take responsibility for stopping health




                                                   100
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 103 of 364 PageID #:
                                    16539



   misinformation on their platforms. The time for excuses and half measures is long past. We need

   transparency and accountability now. The health of our country is at stake.” Id. Dr. Murthy

   repeated the mantras “transparency” and “accountability,” threatening that the federal government

   would “hold the platforms accountable” for misinformation. Id.

          388.    This Tweet thread reflects Dr. Murthy’s own words, as he “made the final and

   substantial edits” to the Tweets. Waldo Dep. 303:25-304:17.

          389.    Waldo agrees that the Twitter thread demands “transparency and accountability

   around health misinformation, especially vis-à-vis the social media organizations,” and “demands

   that Facebook and the other platforms do more” to “stop[] health misinformation.” Id. at 305:6-

   22. “Lots of work went into” crafting that message, according to Waldo. Id. at 306:7-8.

          390.    On October 28, 2021, the same day as the Washington Post article, Rob Flaherty

   emailed Brian Rice of Facebook a hyperlink to the article. The only text in the email was the

   subject line, which stated: “not even sure what to say at this point.” Waldo Ex. 35, at 1-2.

          391.    Facebook responded to Flaherty by stating, “nothing in the story is inconsistent

   with what we briefed on,” and providing its account of the facts underlying the story. Id. at 1.

   Facebook then forwarded this response to Waldo and the OSG, noting that “I saw the Surgeon

   General’s reaction on Twitter,” and asking for “a longer conversation next week” about the issue.

   Id.

          392.    Waldo describes both the Surgeon General’s public Tweet threat, and Rob

   Flaherty’s private email to Facebook, as different ways of “hitting up Facebook” about the Frances

   Haugen article: “this was one of the most popular articles in all of news that week, so I'm not

   surprised that people who care a lot about this issue were certainly hitting up Facebook about it.”

   Waldo Dep. 307:13-22.




                                                   101
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 104 of 364 PageID #:
                                    16540



           393.        On October 28, 2021, Nick Clegg also emailed Dr. Murthy and asked for a meeting

   to discuss the “intense debate that’s been prompted by the documents disclosed by a former

   employee.” Waldo Ex. 36, at 2. Waldo responded on behalf of the OSG, stating that “we have

   seen the recent public reports around Facebook and misinformation. We are certainly concerned

   about what we are seeing, given our emphasis on health misinformation in our advisory and the

   ongoing conversations our teams have been having. As has been the case, you’ll continue to see

   us raising the issue of health misinformation in public and in private as a critical public health

   issue.” Id. at 1.

           394.        Regarding his reference to “in private,” Waldo admits that this refers to “closed-

   door meetings” with platforms like Facebook: “in the government, you're not always just doing a

   panel that's open press, you're meeting with stakeholders … in closed-door meetings….” Waldo

   Dep. 312:13-16. The Surgeon General’s Office was continuously pushing for action against health

   misinformation “in public and private” meetings with stakeholders: “talking about health mis- and

   disinformation was in our talking points of when we talked to stakeholders in public and private.”

   Id. at 313:8-11.

           395.        The next day, October 29, 2021, Facebook sent a long email to Rob Flaherty, Eric

   Waldo, and several other White House officials referring back to an October 25 meeting about

   vaccines for children ages 5-11. Waldo Ex. 37, at 3-4; Waldo Dep. 315:8-316:15. The email

   reported to the White House and OSG a “detailed description of [Facebook’s] plans” for the

   approval of vaccines for children. Id. at 4. The plans included immediately updating policies to

   censor claims relating to vaccination of children: “As discussed, soon as the EUA is issued, we

   will also be able to apply claims from our current misinfo policies for COVID-19 vaccines to

   include claims about child vaccinations.” Id.




                                                      102
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 105 of 364 PageID #:
                                    16541



           396.    Facebook also noted that it was relying directly on the CDC to decide what to

   censor: “We were able to make this change based on the conversation we had last week with the

   CDC…. There are several claims we will be able to remove as soon as the CDC debunks them.”

   Id.

           397.    Facebook then asked federal officials to provide a federal health authority to dictate

   what content would be censored on Facebook’s platforms: “We expect the approval of COVID

   vaccines for kids aged 5-11 will be another significant peak of new misinformation claims. Our

   policy allows us to take action against this content once those claims have been debunked and

   confirmed harmful by a public health authority. We’re committing to addressing these quickly; to

   do so effectively, we will need a channel to a health expert with whom we can discuss these claims

   in real time. Is this something we could partner on, and if so, would your team be able to connect

   us with a point person?” Id.

           398.    On November 4, 2021, Facebook followed up again to OSG and the White House

   with additional reports of censoring misinformation: “Last Friday, we updated our misinformation

   policies for COVID-19 vaccines to make clear they apply to claim about children,” identifying a

   list of specific claims. Id. at 1.

           399.    Facebook made clear that the CDC was serving as the “health expert” who was

   dictating what could be said on Facebook’s platforms “in real time”: “We’re grateful to our

   partners at the CDC for helping get these debunked in advance of the announcement, and we look

   forward to staying connected on emerging COVID misinformation trends.” Id. at 1, 3.

           J.      The Surgeon General Threatens Regulation to Increase Censorship.

           400.    On December 21, 2021, Dr. Murthy gave a podcast on the Omicron variant in which

   he again publicly threatened to hold the social-media platforms “accountable” for not censoring




                                                    103
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 106 of 364 PageID #:
                                    16542



   misinformation: “number one, we have to track down where this misinformation is coming from

   and understand how to hold platforms accountable, new technology platforms that are driving so

   much of the misinformation spread…. [B]y allowing this misinformation to proliferate on their

   sites, they're subjecting people in the United States and around the world to extraordinary harm,

   and they're doing so with little accountability at this moment and really with very little

   transparency. That can't be allowed to continue because it's putting everyone's health at risk.”

   Waldo Ex. 38, at 4 (Audio Tr. 7).

          401.     Dr. Murthy demanded “aggressive action” from the platforms to censor speech: “I

   do think that part of what they have to do, the platforms is take aggressive action against people

   who are intentionally spreading misinformation.” Id.

          402.     Waldo agrees that this message is “consistent with his previous statements as well

   as the content within the advisory itself.” Waldo Dep. 321:22-24.

          403.     As Waldo concedes, Dr. Murthy’s threat to hold platforms “accountable” and his

   demand for “aggressive action” to censor misinformation “is consistent with the messaging we’ve

   reviewed all day today of the advisory, the rollout, the public statements” by OSG. Id. at 322:22-

   24.

          404.     On January 3, 2022, Dr. Murthy participated in Alyssa Milano’s podcast. Waldo

   Ex. 39, at 1.    In the podcast, Dr. Murthy stated that the “sophistication with which this

   misinformation is spreading is truly unprecedented, and a lot of has been enabled by technology

   platforms in the social media which enable the spread, and … the platforms need to do a lot more

   is step up, to be accountable for making their spaces safer.” Id. at 3 (Audio Tr. 2). He also stated,

   “finally, I just want to come back to the technology companies for a moment here, because unless

   those platforms step up and make their spaces safer and reduce the amount of misinformation on




                                                   104
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 107 of 364 PageID #:
                                    16543



   their site, it's going to be pretty tough to get a full handle on this spread of misinformation.” Id. at

   5 (Audio Tr. 4).

          405.    Immediately after these comments, the podcast broadcast public comments by

   President Biden, stating: “Joe Biden: The unvaccinated are responsible for their own choices, but

   those choices had been shulled [sic] by dangerous misinformation on cable TV and social media.

   You know, these companies … are making money by ped[dling] lies and allowing misinformation

   that can kill their own customers and their own supporters. It's wrong. It's immoral. I call on the

   purveyors of these lies and misinformation to stop it. Stop it now.” Id.

          406.    Waldo agrees that this podcast is “aligned with … the advisory and the other public

   statements we’ve seen so far.” Waldo Dep. 327:8-10.

          407.    Dr. Murthy also called for the platforms to “go after people who are superspreaders

   of misinformation on these sites,” which Waldo agrees is “entirely consistent … with the messages

   that Dr. Murthy was sharing about health mis- and disinformation.” Id. at 329:23-330:18.

          408.    On February 14, 2021, Dr. Murthy participated in a panel discussion hosted by the

   Rockefeller Foundation. Waldo Ex. 41. Dr. Murthy stated, “what feels different in this moment

   compared to ten years ago or [twenty] years ago is this speed, scale, and sophistication with which

   this misinformation is spreading and much of it has been enabled, in fact, by technology platforms,

   and we talk to people about where they're encountering misinformation. It's off and on social media

   channels and other tech platforms. … We need certainly technology companies to step up and do

   more, to help reduce this spread of misinformation, and to be transparent with the public about

   how much misinformation is being transacted on their sites and whether their methods of

   addressing it are working or not. We do not have enough transparency on that front and that is

   hindering us in our response of misinformation.” Id. a 6-7 (Audio Tr. 9-10).




                                                    105
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 108 of 364 PageID #:
                                    16544



          409.    Waldo agrees that this is “a consistent message with what we've seen in previous

   public statements, interviews, as well as the advisory itself.” Waldo Dep. 331:23-25.

          410.    In the same panel, Dr. Murthy stated that there is a role for government to set “safety

   standards” when it comes to misinformation, which directly suggests government regulation and

   foreshadowed the OSG’s forthcoming Request for Information (RFI): “And, of course, there's a

   role for government here as well to set safety standards, to push for transparency and

   accountability, particularly from platforms.” Waldo Ex. 41, at 8 (Audio Tr. 11). Dr. Murthy then

   immediately foreshadowed the OSG’s forthcoming Request for Information (RFI) as a step toward

   government “setting safety standards”: “There are steps we are working now that we will be -- you

   know, have more to say about it in the … coming weeks and months ahead, to try to, in fact, gather

   even more information about the impact of health misinformation on health professionals of the

   public and also in the role that technology companies may be playing on that on that front.” Id.

   Less than a month later, the OSG issued a formal RFI for information about misinformation on

   social media platforms.

          411.    On March 3, 2021, the OSG issued a formal RFI in the Federal Register, seeking

   information from social-media platforms and others about the spread of misinformation on social

   media. Waldo Ex. 42 (87 Fed. Reg. 12712). The RFI is entitled, “Impact of Health Misinformation

   in the Digital Information Environment in the United States Throughout the COVID–19 Pandemic

   Request for Information (RFI).” Id. at 1.

          412.    “Kyla [Fullenwider] was the primary driver on the RFI from a content expert

   perspective.” Waldo Dep. 338:22-23. Though she was employed at U.S. Digital Response, “she

   was doing work on behalf of the Surgeon General.” Id. at 340:8-9. Kyla Fullenwider is also




                                                   106
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 109 of 364 PageID #:
                                    16545



   responsible for receiving and reviewing the responses to the RFI. Id. at 362:6-10. “Kyla was the

   subject matter expert who was guiding this RFI process.” Id. at 362:15-17.

          413.    The RFI defines “technology platforms” very broadly, indicating that the Surgeon

   General is expanding its attempts to control the spread of so-called “misinformation”:

   “Technology platforms include the following: General search engines, content sharing platforms,

   social media platforms, e-commerce platforms, crowd sourced platforms, and instant messaging

   systems.” Waldo Ex. 42, at 2; see also Waldo Dep. 341:14-342:7.

          414.    Under the heading “Information About Technology Platforms,” the RFI seeks a

   long series of detailed information about misinformation on such platforms, including

   “Information about how widespread COVID–19 misinformation is on individual technology

   platforms,” Waldo Ex. 42, at 2; “any aggregate data and analysis on the prevalence of COVID–19

   misinformation on individual platforms including exactly how many users saw or may have been

   exposed to instances of COVID–19 misinformation,” id. at 2-3; and “[a]ny aggregate data and

   analysis on how many users were exposed, were potentially exposed, or otherwise engaged with

   COVID–19 misinformation,” id. at 3.

          415.    The RFI also seeks detailed information about censorship policies and how they are

   enforced: “Information about COVID–19 misinformation policies on individual technology

   platforms,” and “[a]ny aggregate data and analysis of technology platform COVID–19

   misinformation policies including implementation of those policies and evaluations of their

   effectiveness.” Id. at 3.

          416.    The RFI also seeks detailed information about disfavored speakers on social-media

   platforms, requesting “[i]nformation about sources of COVID–19 misinformation,” including

   “[i]nformation about the major sources of COVID–19 misinformation associated with exposure.”




                                                 107
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 110 of 364 PageID #:
                                    16546



   Id. at 3. The RFI makes clear that “source” refers to speakers on platforms: “By source we mean

   both specific, public actors that are providing misinformation, as well as components of specific

   platforms that are driving exposure to information.” Id. at 3.

          417.    Especially in light of Dr. Murthy’s prior public statements about the government

   “setting safety standards” for misinformation, Waldo Ex. 41, at 8 (Audio Tr. 11), the RFI carries

   a clear implied threat of future regulation against the social-media and other technology platforms.

          418.    Contemporaneous media coverage portrayed the RFI as a “demand” for

   information from platforms. See, e.g., Waldo Ex. 44, at 1 (Brad Dress, Surgeon General Demands

   Data on COVID-19 Misinformation from Major Tech Firms, The Hill (Mar. 3, 2022, 11:24 am)).

          419.    Max Lesko, the Surgeon General’s Chief of Staff, also sent the RFI to several major

   tech platforms with a formal letter requesting that they respond. Waldo Dep. 348:20-22. He sent

   nearly identical letters to Facebook, Google, LinkedIn, Twitter, YouTube, and Microsoft. Waldo

   Exs. 46, 47, 48, 49, 50, 51. Each letter was directed to the CEO of the platform over General

   Murthy’s signature. Id.

          420.    Each letter stated, “The proliferation of health misinformation during the pandemic

   has been both extensive and dangerous. … It is clear that we must do everything we can to address

   this threat.” Id. Each letter referred to the July 15, 2021 Health Advisory, noting that “a large

   proportion of health misinformation is spread through technology platforms,” and “my Advisory

   includes a call for technology companies to join this broader effort to create a safer, healthier

   information environment.” Id. Each letter advised the social-media platforms of the RFI, and

   formally “request[ed] that your company contribute to the RFI…. Specifically, I am requesting

   responses from companies about the extent and spread of COVID-19 misinformation on their




                                                   108
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 111 of 364 PageID #:
                                    16547



   technology platforms, policies to address COVID-19 misinformation and their effectiveness, [and]

   sources of COVID-19 misinformation….” Id.

          421.    On May 3, 2022, Facebook notified the White House and OSG that it had “filed a

   response to the Surgeon General’s rfi on Covid misinformation and would be happy to discuss at

   the appropriate time.” Waldo Ex. 54, at 2. To date, the OSG has never made this or any other the

   responses to its RFI public.

          422.    Shortly after the RFI was issued, on March 11, 2022, GQ magazine published an

   interview with Dr. Murthy. Waldo Ex. 52. In this interview, Dr. Murthy stated, “we all have a

   responsibility to do everything we can to reduce the spread of misinformation… Whether you have

   one million followers on social media, or you’ve got 10 followers, we all have platforms and

   people in our lives who trust us.” Id. at 6. He called on platforms like Spotify (which was then

   being criticized for hosting Joe Rogan’s podcast) to censor health misinformation: “If you’re

   running a platform, whether it’s a Spotify or another social media platform, you’ve got to think

   about, how do I create a healthy information environment here? How do I create rules and a culture

   that promotes accurate information?” Id. He emphasized that “a platform has the ability, the

   opportunity, and the responsibility to create rules and a culture that supports the dissemination of

   accurate information and that reduces the spread of misinformation.” Id. at 7.

          423.    Echoing his prior comments about “setting safety standards” by government, Dr.

   Murthy compared censorship “rules” for misinformation to speed limits: “We have speed limits

   on the road because we know that sometimes if you drive too fast, that can have an impact on

   somebody else’s health and wellbeing. If we’re going to live together in a society, we’ve got to

   take steps and observe certain rules to help protect other people. That’s true here as well. Platforms




                                                    109
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 112 of 364 PageID #:
                                    16548



   have an opportunity to help shape that environment in their own way. We all do. That’s our

   responsibility at a time like this.” Id.

           K. The White House and Surgeon General Continue Oversight of Censorship.

           424.    On June 22, 2022, Facebook again emailed Waldo, Rob Flaherty, and other White

   House officials with an update on Facebook’s increased censorship. Waldo Ex. 53, at 1. In the

   email, Facebook stated that it “[w]anted to ensure that you were aware of our policy updates

   following the early childhood vaccine approvals. As of today, all COVID-19 vaccine related

   misinformation and harm policies on Facebook and Instagram apply to people 6 months or

   older….” Id. Facebook indicated that it had again relied on the CDC to dictate what claims people

   can post on Facebook: “We expanded these policies in coordination with the CDC and ensured

   that we also included false claims that might be connected to children….” Id.

           425.    Throughout this period, at the federal officials’ request, Facebook continued to send

   bi-weekly “Covid Insights Reports” reporting on COVID-19 related misinformation on its

   platforms to the White House and OSG. See, e.g., Waldo Ex. 54, at 2-4. In the spring of 2022,

   Facebook repeatedly asked the federal officials if it could discontinue or reduce the frequency of

   these reports, which it had been sending for over a year. Id. at 2. Finally, on June 13, 2022,

   Facebook notified the White House and OSG that “we will plan to discontinue these unless we

   hear from you that this information continues to be valuable.” Id. at 1. Rob Flaherty responded

   the same day, requesting that Facebook continue to send the reports and further asking Facebook

   to report on how it would handle misinformation for early-childhood (under age 5) vaccines: “It

   would be helpful to continue to get these as we start to ramp up under 5 vaccines. Obviously, that

   has a potential to be just as charged. Would love to get a sense of what you all are planning here.”




                                                   110
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 113 of 364 PageID #:
                                    16549



   Id. Facebook continued to send the reports as requested, including two reports on July 17, 2022,

   and promised to continue sending them. Id.

   IV.    The CDC and the Census Bureau: BOLO and Authoritative Fact-Checking.

          426.    In addition to the public and private pressure campaigns from the White House and

   the Surgeon General’s Office, the CDC and the Census Bureau have engaged in a long censorship

   campaign together, enabled by the White House’s pressure on platforms to cooperate with the

   federal government. Working closely with Census, the CDC flags supposed “misinformation” for

   censorship on platforms (sometimes using the acronym “BOLO,” “Be On the Lookout”), and

   exercises full authority to dictate what health claims will be censored on social media platforms.

          A.      The CDC’s Regular Communication with Social Media Platforms.

          427.    Carol Crawford is the division director for the division of Digital Media within the

   CDC Office of the Associate Director for Communication. Crawford Depo. 11:7-9.

          428.    According to Crawford, her “division provides leadership for CDC's web presence.

   We provide leadership for CDC's social media presence.” Id. 11:14-16. Crawford is “the director

   of that work. I determine strategy, objectives, oversee work.” Id. 11:21-22.

          429.    Before April 2022, Crawford was “the branch chief of the Digital Media Branch

   within the Division of Public Affairs, and most of the roles that our division currently performs,

   web and social media, were in that branch.” Id. 15:3-6.

          430.    Crawford is “the main person that was the CDC point of contact to talk to Facebook,

   Twitter and the platforms since our job was to lead digital media.” Id. 249:1-4.

          431.    Crawford has regular contact with social-media platforms, especially about

   COVID-19 issues: “We started regular contact with the [platforms] at the beginning of the COVID




                                                  111
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 114 of 364 PageID #:
                                    16550



   outbreak to exchange information about COVID, and most of the contact since then has been

   around COVID or other high-priority things, but mostly COVID.” Id. 16:13-17.

          432.    Crawford had only “very occasional” contacts with the platforms before COVID-

   19, id. 17:8-9; but then she and the CDC “started talking to some of them in February and March

   of 2020,” at the beginning of the pandemic. Id. 18:5-6.

          433.    At this time, CDC leaders were asking Crawford’s group if they were in contact

   with the platforms: “there were a lot of people asking staff, or other staff, are we -- were we in

   contact with the groups, and do we have any arrangements.” Id. 18:19-23.

          434.    Crawford communicated with platforms by email, phone, and in meetings and calls.

   Id. 20:1-19. She “had points of contact at several of them, and we would have meetings when we

   needed to talk. So we arranged calls.” Id. 20:17-19.

          B.      CDC’s and Census’s Pressure and Collusion With Facebook/Meta.

          435.    On February 6, 2020, Facebook emailed State Department officials, noting that

   “Facebook has taken proactive as well as reactive steps to control information and misinformation

   related to Corona virus which includes … removal of misinformation.” Crawford Ex. 2, at 4. The

   email was forwarded to Crawford, who reforwarded to her contacts at Facebook. Id. at 3.

   Facebook proposed to Crawford that “Facebook team would create a Coronavirus Page serving up

   content that exists on other organizations’ FB pages including the CDC,” and would direct users

   to “curated content from trusted sources.” Id. at 3.

          436.    On February 7, 2020, Crawford agreed to the proposals, and she also proposed that

   “There could be times we might want to address widespread myths like mask use or new issues.”

   Id. at 2. She discussed with Facebook the same day. Id. at 1.




                                                   112
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 115 of 364 PageID #:
                                    16551



          437.     On March 3, 2020, Facebook emailed Crawford and noted that Facebook intended

   to “support governments … with their response efforts on COVID-19,” including the “goal” to

   “remove misinformation.” Crawford Ex. 3, at 1.

          438.     Crawford “talked pretty regularly” with Facebook “around this time,” i.e., March

   2020. 37:7-9.

          439.     Crawford recalls having discussions of misinformation with Facebook “in the fall

   of 2020.” Crawford Dep. 38:7-8. These included discussions of how to combat “growing”

   misinformation about COVID-19: “I can recall us generally saying things to the effect of …

   misinformation is really growing, or … what do you think we could be doing to address it? That

   kind of conversation.” Id. 38:11-15.

          440.     On January 25, 2021, Facebook emailed Crawford the first of an ongoing, biweekly

   series of CrowdTangle reports, which report on “top engaged COVID and vaccine-related content

   overall across Pages and Groups.” Crawford Ex. 6, at 2. The email emphasized in bold the anti-

   vaccine content listed in the report, including “Reports of healthcare workers refusing the vaccine,”

   “Posts about alleged vaccine-related deaths,” and “News and reports of severe vaccine side

   effects.” Id. Facebook indicated that it was sending this report in response to a prior conversation

   with Crawford in which such data was requested: “I am following up on our conversation several

   weeks ago about providing more detailed reporting from our CrowdTangle team.” Id.

          441.     Crawford responded that the report “looks wonderful and much appreciated.” Id.

   at 1. She said that she “will be extending our distribution list” for the report. Id. at 1. She also

   noted, “One group we’ll be adding” to the distribution list for the CrowdTangle reports “is the

   Census group who hopefully will soon start their project with us.” Id. And she stated, “the wide

   group of those looking at misinfo will want this.” Id.




                                                   113
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 116 of 364 PageID #:
                                    16552



          442.    CrowdTangle is “a social media listening tool for Meta properties … [l]ike

   Instagram and Facebook.” Crawford Dep. 50:3-6. “[S]ocial media listening reports show themes

   … of discussion on social media channels.” Id. 52:10-12. The CrowdTangle report is “a search

   of content on social media, and a summary of the higher volume conversations.” Id. 53:8-10. It

   is “a report of the most talked about topics on social media during this time period.” Id. 54:13-15.

          443.    The CrowdTangle reports that Facebook regularly emailed to CDC were only one

   of two forms of access to CrowdTangle. Since “March or April 2020,” Facebook had also allowed

   CDC to “directly log into CrowdTangle and run our own reports or searches.” Id. 77:9-13.

          444.    According to Crawford, the CrowdTangle reports “would help us understand what

   was being discussed on social media about COVID, which helps us look for gaps in information,

   confusion about facts, things that we might need to adjust our communication materials for.” Id.

   57:24-58:3.

          445.    Crawford confirms that the CDC had privileged access to CrowdTangle from early

   2020, and government officials used the non-public “social media listening tool” to monitor and

   track private speech about COVID-19 on social media: “we had access to go in directly to

   CrowdTangle and run in reports … from early 2020. … And I mentioned that our research team

   … searched in it and looked in it to create their reports, and I believe other teams did too.” Id.

   147:12-18.

          446.    The CDC also used other “social media and listening tools” to monitor Americans’

   speech on social media: “we did searches in CrowdTangle, the same way we do searches in other

   social media and listening tools that we have to create, to understand what's being discussed in the

   environment, to update our communication material.” Id. 148:11-15.




                                                   114
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 117 of 364 PageID #:
                                    16553



           447.    The CDC’s “listening tools” included “Meltwater reports,” where “Meltwater is

   sort of like CrowdTangle but for all the platforms.” Id. 154:13-16. But CrowdTangle is superior

   to Meltwater for monitoring Facebook and Instagram because it provides privileged access to some

   online speech: “CrowdTangle can see more on the Meta properties. So it’s nicer if you’re just

   looking at Meta properties. Meltwater gives you social media at large.” Id. 154:24-155:2.

           448.    Related to the bolded categories of supposed misinformation in Facebook’s

   CrowdTangle report, Crawford claims that she does not have specific recollection about the issues,

   but she admits that “I do recall generally discussing misinformation with Facebook around this

   time.” Id. 58:11-13.

           449.    Crawford added Census Bureau officials to the distribution list for the

   CrowdTangle reports because “[t]hey were going to start working with the CDC regarding

   misinformation.” Id. 58:19-20; see also id. 61:11-12 (“At some point I recall adding Census to

   the distr[ibution]”).

           450.    From then on, Facebook regularly sent Crawford biweekly “CrowdTangle content

   insights report[s].” Crawford Ex. 7, at 1-4. With each report, Facebook would highlight in bold

   the high-engagement misinformation-related issues for the CDC from the two-week period. Id.

   In each email, Facebook would introduce these misinformation-related posts by noting something

   like, “However, posts falling into the following themes also garnered high engagement.” Id.

           451.    The CrowdTangle reports survey content that is not publicly available, such as

   “personal Group posts.” Id. at 2.

           452.    Crawford is “sure that general discussions” with Facebook addressed “that there

   was a lot of information on vaccines, which is one of the bolded words [in the CrowdTangle

   Reports], for example. I am sure that did occur.” Crawford Dep. 64:19-22.




                                                  115
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 118 of 364 PageID #:
                                    16554



          453.    On January 27, 2021, Facebook sent Crawford a recurring invite to a “Facebook

   weekly sync with CDC (CDC to invite other agencies as needed).” Crawford Ex. 36, at 1. A large

   number of Facebook and CDC officials were included on the invite, including Liz Lagone,

   Facebook’s content-moderation officer who communicated with the CDC. See Id. The agenda

   for the recurring meeting included “Misinfo collab status.”         Id.   It also included “CDC

   needs/questions.” Id.

          454.    Crawford confirms that CDC frequently had weekly meetings with Facebook:

   “There were definitely times that we were talking weekly.” Crawford Dep. 226:20-21; see also,

   e.g., Crawford Ex. 39, at 1 (recurring calendar invite for a meeting with the same agenda and

   participants on May 6, 2021).

          455.    On March 10, 2021, Crawford sent Facebook an email seeking information about

   “Themes that have been removed for misinfo.” Crawford Ex. 44, at 3. She stated, “We mentioned

   this on the call last week and you said you’d be sending something as other had asked – is that

   available yet by chance?” Id. She clarified: “You mentioned that WH and HHS had asked so you’d

   get it to us,” and responded “Yes” to Facebook’s question, “Are you looking for types of COVID-

   19 misinfo we remove?” Id.

          456.    Facebook noted, that “[w]e are setting up a meeting with WH/HHS to discuss more

   likely later this week or early next. Perhaps a CDC rep could participate….” Crawford Ex. 44, at

   2. Crawford noted, “They want to see what you guys proactively have removed that might not be

   in those [CrowdTangle] reports…. My guess is a short meeting with Lis Wilhelm[’s] vaccine

   confidence team is what is needed if FB is willing to do it.” Crawford Ex. 44, at 2.

          457.    In this exchange, CDC was “wondering if [Facebook] had info on the types of posts

   that were removed and the themes because they were worried that we could only see the live posts




                                                  116
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 119 of 364 PageID #:
                                    16555



   and so we wouldn't know if there was also confusion about other areas that had been removed.”

   Crawford Dep. 258:6-11. CDC had “asked on the meeting if they had this data, like, because we

   wanted it. And I think she said, Oh, we did something like this for the White House or HHS.” Id.

   260:6-9.

          458.    From this, Crawford understood that HHS and the White House were having similar

   meetings with Facebook: “I do think that they did have meetings with the agencies.” Id. 261:10-

   11.

          459.    On March 25, 2021, Crawford and other CDC officials met with Facebook. Ex. S,

   at 1. The day before the meeting, March 24, 2021, Facebook emailed Crawford and noted, “[a]s

   we discussed last week, we will present on COVID-19 misinformation on this session/meeting and

   have some of our team that is focused on that workstream provide a briefing on the current policies

   and approach as well as the current trends we are identifying.” Id. at 2. The official also noted

   that Facebook would have a “Misinformation Manager” and Liz Lagone, a content-moderation

   official for Facebook who “will be leading from our side on misinformation briefing for your team.

   They all work on our COVID-19 policies.” Id. at 1. Crawford responded, attaching a Powerpoint

   slide deck and stating, “This is a deck Census would like to discuss and we’d also like to fit in a

   discussion of topic types removed from Facebook.” Id. She also noted that two Census Bureau

   officials (Zack Schwartz and Jennifer Shopkorn) and two Census Bureau contractors (Sam Huxley

   and Christopher Lewitzke) would attend the meeting. Id.

          460.    The “deck Census would like to discuss” was attached to the email, id. at 3-16, and

   it contained an overview of “Misinformation Topics” including “concerns about infertility,

   misinformation about side effects, and claims about vaccines leading to deaths.” Id. at 4. “These

   topics were selected due to high volume, continued public discussion, and high-profile coverage,”




                                                  117
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 120 of 364 PageID #:
                                    16556



   according to the slide deck. Id. For each topic, the deck included sample slides and a statement

   from the CDC debunking the supposedly erroneous claim. Id. at 6-14. The slides were clearly

   designed to convince Facebook that such content should be censored. For example, with respect

   to claims of infertility, the deck provided screen shots of six specific posts on Facebook and

   Instagram, summarized similar claims, and stated: “According to CDC there is no evidence that

   fertility problems are a side effect of any vaccine, including COVID-19 vaccines.” Id. at 6-8. It

   also noted that “Several of Facebook’s fact check partners have covered this claim.” Id. at 6. The

   deck provided a similar debunking treatment for claims about other side effects from COVID

   vaccines, id. at 9-11, and claims about vaccines leading to deaths, id. at 12-14—in each case,

   providing six sample posts from real Facebook users as examples of the type of claim, and

   providing information designed to ensure that the claim would be censored. Id.

          461.    On March 30, 2021, Facebook sent Crawford an email with the subject line, “This

   week’s meeting.” Crawford Ex. 8, at 3. Crawford confirms that she was engaging in weekly

   meetings with Facebook during this time period, as well as other time periods during the COVID-

   19 pandemic: “we were meeting weekly during parts, so I imagine we were.” Crawford Dep. 68:9-

   10.

          462.    The email indicates that CDC and Facebook were repeatedly discussing

   misinformation during these weekly meetings, as Facebook stated to Crawford: “I wanted to

   surface any misinfo questions your team may have for the team that I had briefing last time. They

   are available to attend again, but also want to make sure we are answering any of your team’s

   questions.” Crawford Ex. 8, at 3.

          463.    Crawford admits that these weekly meetings involved CDC meeting with

   Facebook’s content-moderation teams: “I do recall [Facebook] bringing in people from their Trust




                                                  118
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 121 of 364 PageID #:
                                    16557



   and Safety or Misinformation teams … to talk to us about misinformation at some weekly

   meetings.” Crawford Dep. 68:24-69:3.

          464.    Crawford admits that, in these meetings with Facebook content-moderation team,

   CDC inquired about how Facebook was censoring COVID-19 misinformation: “we had asked

   questions about what they were seeing in terms of misinformation and inquired about any activities

   they were undertaking. And I believe this was an offer to sort of get back to us on any of those

   questions.” Id. 69:9-13.

          465.    In response, Crawford noted that she was also communicating with Facebook

   through an alternative channel. Crawford Ex. 8, at 2 (“I added this part in yellow to our chain on

   turn.io”). She asked Facebook if they “have thoughts on how we can meet regularly with Census?

   … am I correct that your team is going to consider how you might want to engage with the

   CDC/Census team routinely and get back to us?” Id. at 2-3. She noted to Facebook: “I know you

   all have experience with Census already.” Id. at 3.

          466.    At this time, CDC had recently executed an Interagency Agreement with the Census

   Bureau to assist the CDC in addressing misinformation: “We had entered an IAA with Census to

   help advise on misinformation.” Crawford Dep. 71:3-4. Pursuant to this agreement, the Census

   Bureau provided reports to the CDC on misinformation that the Census Bureau tracked on social

   media: “they provided reports on misinformation that they were seeing to us.” Id. 71:15-17.

   “Census did provide [CDC] with the key themes they were seeing around misinformation during

   the times that they were looking at it.” Id. 72:16-19.

          467.    An IAA is “an agreement between two agencies to conduct some kind of work

   between them.” Id. 109:23-24. Under this IAA, CDC was “only engaging” with Census “on

   COVID misinformation.” Id. 110:12-13. CDC was “learning about how [Census] operated a




                                                   119
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 122 of 364 PageID #:
                                    16558



   general misinformation team.” Id. 110:13-14. The IAA “let [CDC] partner with Census to learn

   how they handled misinformation and help us with the COVID misinformation. … They seemed

   to have more knowledge than we did.” Id. 111:3-6.

           468.    Facebook replied that “it would be great to have questions that may not have been

   answered from your team on misinfo. That team is very busy so it’s a good opportunity to di[g]

   deeper on that topic and especially if there are areas that are still unclear or the teams have concerns

   about.” Crawford Ex. 8, at 2.

           469.    Crawford responded that CDC “would like to have more info … about what is being

   done on the amplification-side,” and that CDC “is still interested in more info on how you analyze

   the data on removals, etc.” Id. at 2. She also noted that Census Bureau was “hoping to go over

   the deck they had and discuss how to engage on a more regular basis.” Id.

           470.    Following up, Crawford noted that Census would like to discuss the following

   topics: “It looks like the posts from last week’s deck about infertility and side effects have all been

   removed. Were those re-evaluated by the moderation team or taken down for another reason?”

   Id. at 1. This remark plainly indicates that, in the last week of March 2021, the Census Bureau

   was sharing “decks” of posts about COVID-19 misinformation with Facebook, which Facebook

   then “removed,” and CDC was following up to inquire whether the censorship occurred because

   those posts were “re-evaluated by [Facebook’s] moderation team” because of Census’s flagging,

   or for another reason. Crawford testified that she “cut and pasted” the Census Bureau’s inquiries

   on these points. Crawford Dep. 76:10.

           471.    Crawford also asked Facebook to give the Census Bureau direct access to log in to

   Facebook’s CrowdTangle tool: “Can we add the Census Team to CrowdTangle?” Crawford Ex.

   8, at 1. As Crawford noted, Facebook had “allowed [CDC] to directly log into CrowdTangle and




                                                     120
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 123 of 364 PageID #:
                                    16559



   run our own reports or searches,” and she was asking Facebook to let Census “log in to

   CrowdTangle” as well. Crawford Dep. 77:4-14.

          472.    In the same email, Crawford inquired of Facebook, “One of the main themes we’re

   seeing and from the CrowdTangle report is local news coverage of deaths after receiving the

   vaccine. What’s the approach for adding labels to those stories?” Crawford Ex. 8, at 1. Thus, the

   CDC inquired of Facebook what its “approach” was to censoring local news stories about vaccine-

   related deaths. Id.

          473.    Crawford asked Facebook “[h]ow should we best engage regularly going forward

   on the Census/CDC reports.” Crawford Ex. 8, at 1. Crawford notes that Census had already been

   working with Facebook to address census-related misinformation: “we generally discussed, you

   know, how we should talk about misinformation because they had already been working with

   Census, on their own Census misinformation, and I wanted to know what was best for them for

   engaging on any topics that we might want to discuss.” Crawford Dep. 77:19-24.

          474.    Facebook answered that “[w]e are working on a proposal of how to set up a sharing

   partnership on the misinform[ation] items.” Crawford Ex. 8, at 1.

          475.    Crawford also had three-way meetings with Facebook, CDC, and Census about

   misinformation: “there were meetings where Census, myself and Facebook were on calls,” in

   which they “had general conversations about what were opportunities to address misinformation.”

   Crawford Dep. 83:6-12. In those conversations, specific topics like the removal of specific posts

   discussed in Exhibit 8 “were probably discussed,” but Crawford claims she does not “have specific

   memory of it.” Id. 83:12-14.

          476.    On April 13, 2021, Facebook followed up by emailing Crawford and proposing to

   enroll CDC and Census Bureau officials in a special misinformation reporting channel to




                                                 121
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 124 of 364 PageID #:
                                    16560



   Facebook. Crawford Ex. 10, at 2. With a subject line “CV19 misinfo reporting channel,”

   Facebook wrote, “We’re working to get our COVID-19 misinfo channel up for CDC and Census

   colleagues,” and asked Crawford to confirm “if the below emails are correct for onboarding to the

   reporting channel and if there are others you’d like to include.” Id. Facebook provided nine

   emails, including five CDC officials and four Census officials or contractors, to “onboard” into

   the COVID-19 “misinfo reporting channel.” Id.

          477.    The officials who work for Reingold, including Christopher Lewitzke, “were

   contractors working with Census.” Crawford Dep. 101:10.

          478.    Crawford states that this email refers to the fact that Facebook “has a portal or

   reporting channel where you can report misinformation or threats or things from a specific log-in

   that I believe they only provide to … federal agencies.” Id. 91:23-92:2. The portal allows federal

   officials to “log onto Facebook as an administrator, and it's something that they make available to

   you as a federal agency.” Id. 95:17-19. Crawford understands that this “wasn’t something that

   was generally available” to the public but was only provided to federal officials. Id. 96:15-16.

          479.    Crawford recalls that a CDC official logged into this portal and used it to report

   “two or three posts.” Id. 92:17.

          480.    On April 23, 2021, Crawford emailed Facebook and stated that the Wyoming

   Department of Health had “mentioned … that the algorithms that Facebook and other social media

   networks are apparently using to screen out postings by sources of vaccine misinformation are also

   apparently screening out valid public health messaging, including WY Health communications.”

   Crawford Ex. 38, at 2. When she did not hear back, on April 28, she emailed Facebook again,

   “Anything you all can do to help on this?” Id. Facebook then responded and addressed the




                                                  122
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 125 of 364 PageID #:
                                    16561



   problem. Id. at 1-2. The government is not amused when government-induced censorship sweeps

   in the government’s own speech.

          481.    On May 6, 2021, Crawford emailed Facebook a table containing a list of 16 specific

   postings on Facebook and Instagram, with a link and the text of each post. Crawford Ex. 9, at 1-3.

   Crawford wrote, “As mentioned, here are two issues that we are seeing a great deal of misinfo on

   that we wanted to flag for you all … These are just some example posts. … Our census team is

   copied here, has much more info on it if needed.” Crawford Ex. 9, at 1. Crawford copied Jennifer

   Shopkorn of the Census Bureau and Christopher Lewitzke, a Census Bureau contractor, on the

   email. Id.

          482.    Crawford “flag[ged]” these posts for Facebook “[b]ecause we had had

   conversations with Facebook about ways that we could address misinformation, and … one

   suggestion … that came up in that conversation was to let them know if we were seeing major

   themes that CDC had scientific information on, or had web content that would address.” Crawford

   Dep. 87:15-21.

          483.    When Crawford would “flag” such content for Facebook and other platforms, she

   knew that they would evaluate and possibly censor the content under the content-moderation

   policies: “I do know that the platforms have a variety of ways to address misinformation. They

   might tag it as something that people should look more into. I think … that they have the ability

   to control how often some of these things show up in peoples' feeds. And I do know that removing

   them is an option that they could consider.” Id. 88:7-14.

          484.    CDC’s “goal” in flagging misinformation for possible removal from Facebook “is

   to be sure that people have credible health information so that they can make the correct health

   decisions…. There were a lot of things circulating that were not accurate information about




                                                  123
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 126 of 364 PageID #:
                                    16562



   COVID. And so we were trying to point out and make the credible information more available to

   users.” Id. 88:25-89:6.

          485.    CDC and Census used “the social [media] listening tools,” such as CrowdTangle,

   to identify misinformation that was “flagged” to Facebook for possible censorship. Id. 90:18-23.

   Regarding the table of 16 posts she “flagged” in her May 6, 2021 email, she stated, “these probably

   came from the social listening tools … that can consolidate examples. And we provided some

   examples of what we meant.” Id. 90:18-23.

          486.    On May 10, 2021, Crawford emailed Facebook with the subject line, “COVID

   BOLO Misinformation meetings.” Crawford Ex. 40, at 3. She wrote: “We would like to establish

   COVID BOLO meetings on misinformation and invite all platforms to join the meetings. We are

   aiming for our first one on Friday at noon. … Are there direct POCs on your end I should include

   on the invite? Happy to chat if better. THANKS!” Id.

          487.    On May 18, 2021, Facebook emailed Crawford noting that a Facebook official “has

   an agenda item” for the “CDC call this week.” Crawford Ex. 11, at 2. This official, according to

   Crawford, is a member of Facebook’s “Trust and Safety team, or the Misinformation team.”

   Crawford Dep. 103:9.

          488.    The Facebook official noted that Facebook’s “Content Policies … determine what

   we may remove or reduce and inform.” Crawford Ex. 11, at 2. She noted that “we currently

   remove false claims about face masks,” and wanted to discuss “whether there is still a high risk of

   harm from mask misinformation,” as well as “false claims about the efficacy of social distancing

   or the existence of COVID-19.” Id.

          489.    Crawford admits that the CDC provided “scientific information” that Facebook

   would use to decide whether to “remove” or “reduce and inform,” id., content under its policies:




                                                  124
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 127 of 364 PageID #:
                                    16563



   “What we did provide was scientific information that I did assume that they might use to do those

   things,” i.e., “remove or reduce and inform.” Crawford Dep. 105:17-19.

          490.    The next day, May 19, 2021, Facebook emailed Crawford and noted that, for the

   weekly call that week, “here are some of the COVID content items that [Facebook’s content-

   moderation official] will be flagging for you/CDC team.” Crawford Ex. 11, at 1. She then

   provided a list of twelve specific claims, including such claims as “COVID-19 has a 99.96%

   survival rate,” “COVID-19 vaccines cause bell’s palsy,” and “[p]eople who are receiving COVID-

   19 vaccines are subject to medical experiments.” Crawford Ex. 11, at 1-2.

          491.    Facebook raised these twelve claims to get CDC’s guidance on whether they

   violated Facebook’s policies: “They were wanting our feedback on whether these things were true

   or false statements that they were seeing. Did the CDC have science around this, did we have

   content on our website.” Crawford Dep. 106:10-13. CDC would respond to debunk such claims

   if it had information: “[I]f we knew, if we had something or we had science on these items, we

   would point to it or provide them an answer.” Id. 106:19-21.

          492.    In response, Crawford indicated that “Census team members” would join the call,

   and that she might not be able to address or debunk all 12 claims on the call, because “[t]here may

   be some facts we have to get back to the group on after the meeting.” Crawford Ex. 11, at 1.

          493.    On the call referred to in the email, CDC discussed with Facebook these twelve

   claims and who at CDC might be able to address their veracity. Crawford Dep. 106:23-107-3.

          494.    According to Crawford, “Sometimes in these meetings they would ask do we know

   if this is true or false, which is what they were doing [in Exhibit 11]. And then if we knew, the

   communicators knew the answer, we would provide it. If not, I would say, we would say, I'll have

   to get back to you later, we'll talk to our SMEs,” i.e. subject-matter experts. Id. 116:7-12.




                                                   125
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 128 of 364 PageID #:
                                    16564



          495.    Census Bureau officials would follow up to monitor whether Facebook was actually

   removing the content that federal officials had flagged as misinformation: “Census was at least

   periodically checking on things that they had flagged, or they had seen come up.” Id. 117:19-21.

          496.    After the meeting, on May 24, Facebook’s content-moderation official emailed

   Crawford, stating, “Thanks so much again for you and team’s help in debunking a few COVID-

   19 and vaccine misinformation claims for us.” Crawford Ex. 15, at 2. She then provided a list of

   the twelve claims with CDC’s input on each, noting “Debunked” for each claim that the CDC had

   debunked in the meeting. Id. at 2-3. Among other things, she noted that CDC “[d]ebunked” claims

   like “Face masks contain … harmful particles,” and even plainly evaluative statements like

   “People who are receiving COVID-19 vaccines are subject to medical experiments.” Id. at 2-3.

          497.    On June 2, 2021, Crawford emailed the Facebook content-moderation official back

   with further input on the claims from CDC’s subject-matter experts. Crawford Ex. 16, at 2. She

   noted several times that CDC’s “web content to debunk is in clearance,” meaning that CDC was

   preparing web content that would debunk those claims. Id.

          498.    The next day, on June 3, 2021, the Facebook content-moderation official emailed

   Crawford to clarify that “web content to debunk is in clearance” means that “we should consider

   these debunked by the CDC now,” and Crawford answered that “Yes they are debunked and we

   will also have content on it soon.” Crawford Ex. 16, at 1. As Crawford stated, “We reported to

   Facebook that they were debunked at this time.” Crawford Dep. 135:2-3.

          499.    Crawford knew that Facebook would apply its content-moderation policies to

   claims that the CDC debunked: “I knew that they had options … which is to inform people, to

   maybe reduce it in the algorithm, or to remove it…. [T]hey probably had other options, but I knew

   of at least those.” Id. 138:18-22.




                                                 126
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 129 of 364 PageID #:
                                    16565



           500.    On July 26, 2021, the same Facebook content-moderation official emailed

   Crawford, asking for CDC to debunk three more COVID-related claims. The subject line of the

   email was, “FB Misinformation Claims Help Debuning.” Crawford Ex. 17, at 1. Crawford

   understood that “Debuning” was “Debunking” misspelled. Crawford Dep. 139:1-2.

           501.    In this email, Facebook’s content moderator wrote to Crawford: “Our

   Misinformation Policy Team has identified some claims that we were hoping your team could help

   us understand if they are false and can lead to harm?” Crawford Ex. 17, at 1 (bold in original).

           502.    Facebook’s content-moderation policy called for it to remove claims that are false

   and can lead to harm. See, e.g., Crawford Ex. 26, at 4 (Facebook’s content-moderation official,

   Liz Lagone, noting that “We remove … posts on the grounds that the claim is false and that it is

   harmful,” where “harmful” includes cases where “if people believed it, it might make them less

   likely to get vaccinated.”). So it was clear that Facebook’s “Misinformation Policy Team” was

   asking CDC to advise whether these claims should be removed under Facebook’s content-

   moderation policy. Crawford admits that she understood that CDC’s guidance would “benefit”

   Facebook’s expansion and application of its censorship “policy” to these claims, acknowledging

   that Facebook was asking her about these claims “[b]ecause CDC would have credible health

   information about the claims or scientific information that would benefit their policy making.”

   Crawford Dep. 140:1-3.

           503.    The three claims included: “Spike protein in COVID-19 vaccines is

   dangerous/cytotoxic,” “Guillain-Barre Syndrome (GBS) is a possible side effect of the COVID

   vaccine,” and “Heart inflammation is a possible side effect of all COVID-19 vaccines.” Crawford

   Ex. 17, at 1.




                                                  127
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 130 of 364 PageID #:
                                    16566



           504.    Facebook also asked Crawford if “your team was aware of any global source of

   truth/database for vaccine adverse effects including possibly vaccine-related deaths.” Crawford

   Ex. 17, at 1.

           505.    Crawford responded, “Got it, let me get back to you shortly and thank you much

   for asking!” Crawford Ex. 17, at 1.

           506.    Crawford does not recall her specific response to this inquiry, but she admits that

   “generally” she referred them to the CDC’s subject-matter experts and responded to Facebook

   with the CDC’s view on the scientific questions, as she did with similar requests. Crawford Dep.

   140:16-141:4.

           507.    On July 20, 2021, Facebook emailed Crawford another biweekly “CrowdTangle

   content insights report” on COVID-19. Crawford Ex. 18, at 1. One of the misinformation-trending

   topics that Facebook flagged in bold in the email was “Door-to-Door Vaccines,” which stated

   that “The highest interaction Page posts for this topic convey concern from political opponents

   about the Biden Administration’s strategy to ramp up vaccination efforts in communities with low

   vaccination rates by going ‘door-to-door’ to educate and encourage more Americans to get

   vaccinated.” Id. The same topic, in the same time frame, was emphasized in the Virality Project

   report as a prime example of viral vaccine-related “misinformation,” when in fact it involved only

   expressions of political opinion. Scully Ex. 2, at 39, 54-55.

           508.    The same email also noted posts “expressing skepticism about vaccinating

   children.” Crawford Ex. 18, at 1. Earlier CrowdTangle reports in the same email chain had flagged

   for the CDC highly engaged content about “Vaccine Side Effects … especially for children and

   pregnant women,” “Vaccine Refusal,” and “Vaccination Lawsuits … lawsuits over compulsory

   vaccination related to employment.” Id. at 2-3 (bold in original).




                                                   128
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 131 of 364 PageID #:
                                    16567



          509.    Facebook noted that the CrowdTangle reports were confidential and not to be

   disclosed further: “As always, please do not share.” Id. at 1.

          510.    Facebook continued to send biweekly CrowdTangle reports, which flagged in bold

   high-engagement topics such as “Proof of Vaccination Requirement,” “COVID-19 and

   Unvaccinated Individuals” (addressing “concerns that the recent uptick in hospitalizations and

   deaths is being driven up by unvaccinated individuals”), and “COVID-19 Mandates,” as well as

   “allowing people to return to … religious services.” Crawford Ex. 19, at 1-3 (bolds in original).

          511.    On August 19, 2021, Facebook asked Crawford for a “VAERS Policy

   Consultation” meeting for the CDC to give Facebook guidance on how to address VAERS-related

   misinformation: “Our Health Policy folks would like to meet with your VAERS experts for a

   consultation meeting regarding VAERS and misinformation.” Crawford Ex. 20, at 1. Crawford

   responded, “I’m sure we can do this, and I’m glad you’re asking.” Crawford Ex. 20, at 1.

          512.    “VAERS” is the HHS’s Vaccine Adverse Event Reporting System, see

   https://vaers.hhs.gov/. At that time, the CDC was greatly concerned about VAERS-related

   “misinformation” on social-media, because users cited and discussed VAERS data and reports to

   raise concerns about the safety of vaccines in ways that the CDC thought misleading, as Crawford

   recounted: “the topic of VAERS was an area that was widely discussed on social media, and there

   was a lot of areas of confusion about what VAERS data was. There was myths about VAERS

   data, and there was misinformation about VAERS data. So it was always one of the things that

   rose to the top in terms of volume of discussion of people were very confused about VAERS.”

   Crawford Dep. 150:21-151:3. So it is not surprising that Crawford was “glad” Facebook was

   “asking” for a meeting in which the CDC would give Facebook guidance on how to censor

   “misinformation” about VAERS. Crawford Ex. 20, at 1.




                                                   129
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 132 of 364 PageID #:
                                    16568



           513.   Crawford also followed up with Facebook by providing written CDC-provided

   materials for Facebook to use in addressing VAERS-related “misinformation” on its platforms: “If

   of use, we just published a new video and I’ve attached some recent talking points that may also

   inform your efforts.” Crawford Ex. 20, at 1. Plainly, the “efforts” Crawford wished to “inform”

   were Facebook’s efforts to remove VAERS-related “misinformation” from its platforms.

           514.   The CDC also had a meeting with Facebook about VAERS-related misinformation:

   “We did have a session with the VAERS experts with Facebook.” Crawford Dep. 151:8-9. In the

   meeting, the CDC had “two experts for VAERS and a couple of their communication experts on

   the line with Facebook’s team,” which consisted of “their misinformation and policy type team”

   that the content-moderation official “was part of.” Id. 151:20-24. In the meeting, the CDC

   “offered the [subject-matter expert] just to answer their questions about what VAERS was and

   what it wasn't. And my recollection is [Facebook] asked a lot of questions like … who can report

   something on VAERS and things like that during the session.” Id. 152:1-6.

           515.   On September 1, 2021, Crawford emailed Facebook and stated: “BOLO for a small

   but growing area of misinfo. One of our lab alerts … was misinterpreted and was shared via social

   media.” Crawford Ex. 21, at 1. (“BOLO” stands for “Be on the lookout.” Crawford Dep. 153:21.).

   She explained what the CDC viewed was misinformation, and then stated, “I’ve attached some

   example Facebook posts and another document with the facts around the issue.” Crawford Ex.

   21, at 1.

           516.   Plainly, Crawford was flagging these posts and related posts for possible censorship

   under Facebook’s content-moderation policy. She admits that the CDC’s “BOLO” alerts were

   provided to “assist” the platforms with their enforcement decisions under their policies: “Similar

   to all the other BOLOs, we still thought it was good to point out if we had facts around something




                                                  130
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 133 of 364 PageID #:
                                    16569



   that was widely circulating as a cause of misinformation to the platforms to assist them in whatever

   they were going to do with their policy or not do.” Crawford Dep. 153:23-154:3.

          517.    When asked what she “expected [Facebook] to do once they were on the lookout”

   for the supposed misinformation that the CDC had flagged, Crawford responded: “I knew that they

   had various options. They could have just used it to inform people. They could have considered it

   in their algorithm, I believe. I did understand that potentially removing posts was something that

   they might do.” Crawford Dep. 155:15-20. So she provided the information knowing it would

   happen and wanting it to happen.

          518.    On November 2, 2021, Facebook’s content-moderation official sent Crawford and

   other CDC officials an email stating, “thanks so much for confirming the ability for the claims in

   question last week having the risk of causing vaccine refusals.” Crawford Ex. 22, at 1. Again,

   that is one of the criteria Facebook used to justify removal of content from its platforms. Crawford

   Ex. 26, at 4 (“We remove … posts on the grounds that the claim is false and that it is harmful

   because if people believed it, it might make them less likely to get vaccinated.”). The content-

   moderation official also stated, “thank you all so much for your input over the last week on our

   many questions about vaccine misinformation relative to the EUA.” Crawford Ex. 22, at 1.

   (“EUA” refers to the FDA’s “emergency use authorization to the Pfizer vaccine for children.” Id.)

          519.    The content-moderation official also stated: “I wanted to share that as a result of

   our work together, when the FDA gave emergency use authorization to the Pfizer vaccine for

   children last week, we immediately updated our policies globally to remove additional false claims

   about the COVID-19 vaccine for children (e.g. ‘the COVID vaccine is not safe for kids’).”

   Crawford Ex. 22, at 1. She also noted, “We also launched a new feature on Instagram, where

   accounts that repeatedly post content that violates our policies on COVID-19 or vaccine




                                                   131
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 134 of 364 PageID #:
                                    16570



   misinformation may now lose the ability to be tagged or mentioned or may see pop-ups asking if

   they’d like to delete certain posts that may violate our policies.” Crawford Ex. 22, at 1. Thus,

   Facebook noted that, “as a result of our work together” with the CDC, Facebook had updated its

   content-moderation policies to increase censorship of vaccine-related claims in significant ways.

   Id.

          520.      The content-moderation official went on to ask the CDC to debunk additional

   claims: “we have identified a number of additional claims we would like to get your team’s

   assessment on … Would it at all be possible to get input by Monday, November 8 th?”

   Crawford Ex. 22, at 1 (bold and underline in original). She requested, “For each of the following

   new claims, which we’ve recently identified on the platform, can you please tell us if: 1. The

   claim is false; and 2. If believed, could this contribute to vaccine refusals?” Id. (bold in

   original). Again, these are the two precise criteria that Facebook relied on to remove content from

   its platforms. Crawford Ex. 26, at 4 (“We remove … posts on the grounds that the claim is false

   and that it is harmful because if people believed it, it might make them less likely to get

   vaccinated.”).    She then included a new list of ten specific claims about the COVID-19 vaccines

   for the CDC to debunk. Crawford Ex. 22, at 1-2.

          521.      Crawford understood, again, that this request was made to “inform their policies,”

   i.e., inform Facebook’s application of its content-moderation policies to these claims: “It was still

   my interpretation that she was asking to inform their policies.” Crawford Dep. 159:7-8.

          522.      Crawford also admits that she was “happy” when the CDC’s information to

   Facebook caused “less spread of misinformation” on Facebook and other platforms, i.e., that she

   desired that outcome: “I’m happy that providing the scientific information led to less spread of

   misinformation.” Id. 161:23-25.




                                                   132
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 135 of 364 PageID #:
                                    16571



          523.    Crawford also understood that Facebook was, in fact, removing content from its

   platforms based on the CDC’s information: “I understand that she’s removing claims … that are

   not scientifically accurate.” Id. 162:21-22.

          524.    Crawford responded to Facebook, “Thank you so much for the feedback on what

   you’ve been able to do. This is very good to know.” Crawford Ex. 22, at 1. She also stated,

   regarding Facebook’s request that the CDC debunk the ten new claims, that “I’m going to work

   on this one …. I hope we can do it by Monday, I will keep you posted.” Id.

          525.    The following Monday, November 8, 2021, Crawford followed up with a response

   from the CDC addressing seven of the ten claims Facebook had asked CDC to evaluate. Crawford

   Ex. 23, at 1-2. The CDC rated six of the seven claims “False.” Id. (bold in original). Crawford

   also noted in the response email, without citing any support, that “It appears that any of these could

   potentially cause vaccine refusal.” Crawford Ex. 23, at 1. Under Facebook’s policies, a claim that

   is both false and could contribute to vaccine refusal was subject to removal. Crawford Ex. 26, at

   4 (“We remove … posts on the grounds that the claim is false and that it is harmful because if

   people believed it, it might make them less likely to get vaccinated.”).

          526.    On February 3, 2022, Facebook’s content-moderation official sent Crawford

   another email, stating that she “wanted to share updates we made as a result of our work

   together” and “ask for your assessment on a few things.” Crawford Ex. 26, at 1 (bold in

   original). She described the “updates” as follows: “On February 2 nd, we launched several updates

   to our COVID-19 Misinformation and Harm Policy based on your [i.e. CDC’s] inputs.” Id. These

   “updates” included “[r]emoving claims that COVID-19 vaccines cause heart attacks,” and

   “[t]aking steps to reduce the distribution of content that our systems predict likely violates our

   COVID-19 and vaccine misinformation policies, but has not yet been reviewed by a human; if at




                                                    133
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 136 of 364 PageID #:
                                    16572



   any point this content is confirmed to violate the policy then it will be removed from the platform.”

   Crawford Ex. 26, at 1. Crawford responded, “the update is very helpful, thank you for including

   that!” Id.

          527.    Facebook’s content-moderation official also included, under the heading “NEW:

   For CDC Input,” another request that “For each of the following new claims, can you please tell

   us if: 1. The claim is false; and 2. If believed, could this claim contribute to vaccine refusals?”

   Crawford Ex. 26, at 1 (bold and underline in original). She then provided a long, detailed list of

   claims and sub-claims about COVID-19 for CDC’s input. Id. at 2-4.

          528.    Among other things, Facebook asked the CDC to pre-refute claims based on events

   that had not occurred yet. Facebook asked Crawford to address “How FDA EUA authorization

   for children under 5 might impact our policies.” Crawford Ex. 26, at 1. Facebook noted, “We

   understand that the FDA is considering giving emergency use authorization for the COVID-19

   vaccine for children under five in the coming weeks. We are considering how our existing policies

   on COVID-19 vaccines … should apply to claims about children 6 months to 4 years once the

   vaccine is approved for use. Can you please assess for each claim whether it is false for children

   in this age range and if believed, likely to contribute to vaccine hesitancy or refusals? Please let

   us know if it is easiest to set up a time to meet and discuss each one.” Crawford Ex. 26, at 2 (italics

   in original). There followed a long, detailed list of claims about the vaccines, for which Facebook

   sought CDC’s input on their falsity as to children under 5. Id. at 2-3.

          529.    For this long list of claims, Crawford understood that Facebook would use the

   CDC’s input to “determine” Facebook’s censorship policy for such claims: “I know that they're

   using our scientific information to determine their policy.” Crawford Dep. 170:19-20.




                                                    134
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 137 of 364 PageID #:
                                    16573



          530.    Regarding Facebook’s request for CDC’s input on these many new claims,

   Crawford responded, “I will talk to the Vaccine program and see what we can do.” Crawford Ex.

   27, at 1. The next day, February 4, 2022, she followed up, stating, “I’m heading out today but do

   you have a minute to discuss this by chance? Call anytime,” and provided her phone number.

   Crawford Ex. 27, at 1. Crawford also changed the subject line of the email to state, “Have 5

   minutes to chat? [re]: Vaccine Misinformation Questions for CDC.” Id.

          C.      CDC’s and Census’s Pressure and Collusion with Google/YouTube.

          531.    On March 18, 2021, Crawford emailed contacts at Google, stating: “As I believe

   we discussed previously, CDC is now working with Census to leverage some of their infrastructure

   to help identify and address COVID vaccine mis-info.” Crawford Ex. 28, at 1. She went on, “As

   I understand it from the Census team … when they were doing this for the Census project last year,

   they meet regularly with a Google/YouTube Trust team.” Id. A “Trust team” is a content-

   moderation team. Crawford then asked, “Is it possible for us to start up regular meetings on this

   topic or maybe use our existing meeting time.” Id. The subject line of this email was “COVID

   Misinfo Project.” Id. Google and Crawford then set up a time to talk and discuss the project. Id.

          532.    Crawford states that this email refers to “the work of the IAA with Census to help

   consult and work with us on the COVID misinformation…” Crawford Dep. 175:6-8. Her

   reference to Census’s infrastructure referred to “the fact that Christopher [Lewitzke, the Census

   contractor] ran those reports and looked for misinformation on those areas for us.” Id. 175:11-13.

          533.    Crawford’s reference to Census’s previous project referred to their work on

   combating misinformation about the 2020 Census. Id. 175:18-19.




                                                  135
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 138 of 364 PageID #:
                                    16574



          534.    Crawford does not remember the specific call referenced in this email, but she

   admits that, “This was in 2021. So we had been meeting pretty regularly with Google by this

   time.” Id. 179:5-6.

          535.    On March 23, 2021, Crawford sent a calendar invite for a meeting on March 24 that

   included herself and five other CDC employees, four Census Bureau employees and contractors

   (including Zachary Schwartz, Christopher Lewitzke, and Jennifer Shopkorn), and six

   Google/YouTube officials. Jones Decl., Ex. T, at 1-2. The subject of the meeting was “COVID

   Misinformation: CDC/Census/Google.” Id. at 1. The invite stated: “CDC/Census to meet with

   Google regarding our misinformation efforts.” Id.

          536.    At the meeting, CDC and Census presented a slide deck similar to the one that

   Census prepared for the meeting with Facebook on March 25, 2021, discussed above. See id. 3-

   16. The slide deck was entitled, “COVID Vaccine Misinformation: Issue Overview.” Id. at 3. As

   with the Facebook slide decks, this one stated of “Misinformation Topics” that “[t]hese topics were

   selected due to high volume, continued public discussion, and high-profile coverage.” Id. at 4. It

   noted that these topics included “infertility, misinformation about side effects, and claims of

   vaccines leading to deaths.” Id.

          537.    For each topic, the slide deck included a description of a common claim, specific

   examples of videos on YouTube and social-media postings making the disfavored claim, and a

   putative refutation by the CDC. Id. at 6-14. For infertility, the slide deck stated that “[c]ommon

   claims about the COVID vaccine’s side effects include that it causes infertility in women and men,

   miscarriages, and stillbirth,” and it provide screen shots of specific videos on YouTube and social-

   media posts making this claim. Id. at 6-8. The deck asserted that “[a]ccording to CDC there is no

   evidence that fertility problems are a side effect of any vaccine, including COVID-19 vaccines.”




                                                   136
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 139 of 364 PageID #:
                                    16575



   Id. at 6. Regarding supposed misinformation about side effects, the deck stated, “speculation and

   misinformation about side effects after taking the COVID vaccine have been prevalent on social

   media since the first vaccines were approved,” and it provided screen shots of an example video

   on YouTube and social-media posts making such claims, along with a putative refutation by the

   CDC. Id. at 9-11. Regarding the topic “Death from Vaccines,” the slide deck stated that

   “[v]accine-hesitant groups spreading misinformation and conspiracy theories about alleged

   vaccine-related deaths erode trust in the COVID-19 vaccine and the public health system,” and it

   provided a sample video on YouTube and social-media posts linking the vaccines to deaths, along

   with a putative refutation by the CDC: “According to CDC, VAERS has not detected patterns in

   cause of death that would indicate a safety problem with COVID-19 vaccines.” Id. at 12-14. As

   with the similar Facebook slide deck, the evident purpose of this presentation was to induce

   YouTube to censor these claims on its platform.

           538.   On March 25, 2021, Kate Galatas of the CDC emailed the group attending the

   meeting and stated: “Many thanks, again, for the time yesterday. This is such important shared

   work we are doing in the mis/dis information space, and we deeply appreciate your contributions.

   Please find attached the slide deck referenced during the meeting, and we ask that you treat it close

   hold and not for further distribution. We are looking forward to our future collaboration efforts!”

   Id. at 1.

           539.   On March 29, 2021, Crawford followed up with Google, inquiring “Are you all

   open to using our regular 4pm meetings to go over things with Census or what is preferred?”

   Crawford Ex. 29, at 2. Google responded: “We would like to follow up on our discussion with

   your colleague, Cynthia, on vaccine information a few months ago. Specifically, we plan to share

   a new list of common vaccine misinformation claims and would love it if Cynthia or other vaccine




                                                   137
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 140 of 364 PageID #:
                                    16576



   experts could join.” Id. He also stated that “we can save a few minutes … to discuss potential

   next steps regarding the Census…” Id. The subject line of this email was “Follow up on mis-info

   conversation.” Id.

          540.    Crawford recalls that Census was asking for regular meetings with platforms

   specifically focused on misinformation: the statement “is in reference to discussing how to engage

   on an ongoing basis about misinformation and the Census suggestion that we have regular

   meetings with them just on that topic.” Crawford Dep. 184:14-18. The exchange was “about how

   to engage more regularly about misinformation, or … whatever Census had done with Google and

   YouTube, should we have a similar structure with CDC.” Id. 185:11-14.

          541.    Regarding the request for input on the “new list of common vaccine misinformation

   claims,” Crawford responded, “I’ve arranged for a few SMEs [subject-matter experts] to join the

   call, including Cynthia.” Crawford Ex. 29, at 2.

          542.    A few days later, on April 2, 2021, Google emailed Crawford stating, “Thanks

   again for your time this week. Attached are some of the claims we discussed for your reference.”

   Crawford Ex. 29, at 1.

          543.    Crawford’s reference to the “4pm meeting” refers to a regular biweekly meeting

   with Google, which still continues to the present day: “I still have a 4:00 p.m. meeting every other

   Monday with Google.” Crawford Dep. 180:6-7.

          544.    Crawford also has “similar regular meetings with … Meta and Twitter.” Id. 180:11-

   16. She admits that she has ongoing meetings with Google and Facebook/Meta that continue to

   the present: “we had regular meetings with Google, and we had regular meetings with Meta….

   you know, the frequency changed…. I mean, Google we meet every other week. Right now with

   Meta it's more ad hoc.” Id. 180:16-21.




                                                   138
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 141 of 364 PageID #:
                                    16577



          545.    Crawford also “had a regular meeting with Pinterest for a short period of time, and

   we had … just more ad hoc meetings on occasion with Twitter.” Id. 180:23-181:1.

          546.    Crawford states that these meetings “were mostly about things other than

   misinformation; though misinformation was discussed in the meetings.” Id. 181:22-24.

          547.    On April 12, 2021, Google/YouTube followed up with an email to Crawford,

   stating, “For tomorrow’s call, would it be possible to include Cynthia or other COVID-19

   treatment SMEs [subject-matter experts] to follow up on some additional questions?” Crawford

   Ex. 30, at 1. Crawford responded, “Can you give me an idea of what topics we’ll be covering?

   But yes, I’ll ask them to attend.” Id.

          548.    Crawford notes that it “wasn’t uncommon” for Google/YouTube to ask her to bring

   subject-matter experts to meetings to go over such topics. Crawford Dep. 188:19-22.

          549.    On May 10, 2021, Crawford emailed her Google contacts and invited them to attend

   in the BOLO meetings: “We would like to establish COVID BOLO meetings on misinformation

   and invite all platforms to join the meetings. We are aiming for our first one on Friday at noon.

   We have heard through the grapevine that [an official] at YouTube would want to join. Are there

   other POCs on your end I should include on the invite?” Crawford Ex. 40, at 1. The subject of

   the email was “COVID BOLO meetings on misinformation.” Id.

          D.      CDC’s and Census’s “BOLO Meetings.”

          550.    On May 11, 2021, Crawford followed up with an email stating, “We would like to

   invite digital platforms to attend a short ‘Be On The Lookout’ meeting on COVID. Please let us

   know if you have questions and feel free to forward this message to anyone in your organization

   that should attend.” Crawford Ex. 40, at 2. Google responded by asking that Crawford include




                                                  139
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 142 of 364 PageID #:
                                    16578



   the YouTube official in the meeting, and Crawford noted that she “was going to ask about” him at

   the 4:00pm recurring meeting. Id.

          551.    Crawford testified that she wanted to include YouTube on the BOLO meetings

   because they hosted the most content: “people from YouTube would occasionally be on our regular

   meetings, depending on what we talked about. And because YouTube has the most content, like,

   hosting, … they were a part of the BOLO meetings…” Crawford Dep. 244:21-245:1.

          552.    The Census officials “were arranging” the BOLO meetings, and “they drafted the

   slides” for the meetings. Id. 246:12-20.

          553.    Crawford ran the BOLO meetings. Id. 265:13. She “opened up the meeting,

   introduced myself, gave context for why we were doing the BOLO meeting in brief. And then I

   believe that Christopher [Lewitzke] went through the slide decks, and I occasionally piped in on

   them.” Id. 265:15-19.

          554.    The “slide decks” shown at the meetings were “similar to the table” of 16 Facebook

   posts that Crawford previously emailed to Facebook, but “they were more like this is a theme, and

   then there'd be maybe a little info about what the theme was and then maybe a couple of example

   posts. And then there would be a slide maybe with CDC links or information related to that theme.”

   Id. 266:1-6.

          555.    The first BOLO meeting was held on May 14, 2021. Jones Decl., Ex. U, at 1. The

   slide deck for that meeting was entitled “COVID Vaccine Misinformation: Hot Topics.” Id. at 2-

   10. It contained a list of five “Hot Topics” with an “ADVISORY” in red noting that platforms

   should “Be On the Lookout” for “Potential Misinformation” on each topic, and provided

   specific examples of social-media posts for each topic, “Associated Link(s) and Hashtag(s)” for

   each topic, and the CDC’s position on each topic (listed as “The Facts”). Id. at 4-8.




                                                  140
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 143 of 364 PageID #:
                                    16579



          556.    Crawford also emailed similar slide decks for BOLO meetings scheduled for May

   28 and June 18, 2021, though the latter was canceled due to the new Juneteenth holiday. Jones

   Decl., Exs. V and W. In the cover email to the May 28 slides, Crawford requested secrecy: “Please

   do not share outside your trust and safety teams.” Jones Decl., Ex. V, at 1. Just like the May 14

   BOLO slides, these slides contained lists of “Hot Topics” with an “ADVISORY” in red noting

   that platforms should “Be On the Lookout” for “Potential Misinformation” on each topic, and

   provided specific examples of social-media posts for each topic, “Associated Link(s) and

   Hashtag(s)” for each topic, and the CDC’s position on each topic (listed as “The Facts”). Jones

   Decl., Ex. V, at 4-6; id. Ex. W, at 4-6.

          557.    In conducting the BOLO meetings, Crawford described CDC’s goal as follows:

   “our goal is to be sure that credible information about COVID was out there. A lot of people seek

   information on platforms. We thought that by giving the platform scientific information it might

   help in our goals to being sure that credible information could be found.” Crawford Dep. 266:16-

   21.   Of course, the BOLO meetings did not address identifying and promoting “credible

   information,” but flagging information that the CDC thinks is not credible for potential removal.

   Crawford effectively admits this; when asked if CDC’s goal includes that “incredible information

   would not be found,” she agreed that “I did want the credible information to be found in advance

   of the uncredible information.” Id. 266:22-267:4.

          558.    Crawford believes that the third BOLO meeting was cancelled because Juneteenth

   was declared a new federal holiday, and “that is why we didn’t end up having it and we sent the

   materials out via email.” Id. 248:17-22.

          559.    On October 28, 2021, Google emailed Crawford stating, “do you have time to

   connect early next week on anticipated guidance on vaccines for [children ages] 5-11? It would




                                                 141
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 144 of 364 PageID #:
                                    16580



   be great to connect as the CDC plans communications on authoritative information for pediatric

   vaccines.” Crawford Ex. 42, at 2.

          560.    Crawford responded: “Yes, we can discuss pediatric vaccines early next week but

   let me give you some general info: ACIP is likely to vote on this on Nov 2. CDC is likely to start

   posting final information on Nov 3 (possibly late Nov 2), if that helps to know. There will be

   many updates so the changes might span over a few days. We are also looking ahead and

   misinformation and hope to have a BOLO type meeting later that week with platforms that are

   interested.” Crawford Ex. 42, at 1.       (“ACIP” is the “Advisory Council for Immunization

   Practices.” 253:21-22.)

          561.    On June 29, 2022, Google/YouTube emailed Crawford and her deputy, stating:

   “The YouTube Policy team is requesting evidence-based input on the claims below. In the past,

   the CDC has reviewed COVID information claims and commented TRUE or FALSE + add any

   additional context needed.” Crawford Ex. 43, at 1. YouTube then presented two claims, relating

   to the safety and effectiveness of administering progesterone to reverse chemical abortion. Id.

   (“CLAIM: High doses of progesterone is a safe method of reversing chemical abortion …

   CLAIM: High doses of progesterone is an effective method of reversing chemical abortion….”)

   (bold in original). Crawford responded, “I’ll check on this but I think I’ll probably end up needing

   to refer you to another agency. I’ll get back to you.” Id.

          562.    Regarding this exchange, Crawford notes that the CDC’s “focus is not solely on

   COVID. We’re focusing on other topics. I think [YouTube] thought that we might be able to help

   with this topic as well.” Crawford Dep. 256:5-8. Thus, Crawford admits that the CDC is

   continuing to engage with social-media platforms to provide information that will lead to the




                                                   142
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 145 of 364 PageID #:
                                    16581



   censorship of health-related claims on social media, and that it is willing to expand its focus to

   other health topics beyond COVID-19.

          E. CDC’s and Census’s Pressure and Collusion with Twitter.

          563.      On April 8, 2021, Twitter emailed Crawford stating, “I’m looking forward to setting

   up regular chats; my team has asked for examples of problematic content so we can examine

   trends. All examples of misinformation are helpful….” Crawford Ex. 32, at 1. The subject line

   of this email was “Request for problem accounts.” Id. Crawford responded, “Yes, we’ll get that

   to you early next week.” Id.

          564.      Crawford believes that Twitter sent this email in response to her inquiry, “Is there

   a good way that we should start engaging on misinformation?” 197:19-20.

          565.      Crawford responded on April 14, 2021, “The Census team put this spreadsheet

   together with four example areas,” which included the topics, “Vaccines aren’t FDA approved,”

   “Fraudulent cures,” “VAERS data taken out of context,” and “Infertility.” Crawford Ex. 33, at 1.

   The attachment was called, “Twitter CDC Examples 4-13-21.xlsx.” Id. The spreadsheet contained

   a “list [of] things that [Census] saw that were being stated as misinformation.” Crawford Dep.

   203:24-204:1. “Infertility” referred to “people claiming that getting the vaccines led to infertility.”

   Id. 204:17-18.

          566.      Crawford believes that Twitter “was asking for these examples in this email

   because he was wondering … what would come up in BOLO meetings, or what we would be

   discussing.” Id. 204:22-24.

          567.      On May 10, 2021, Crawford emailed Twitter, stating “We wanted to point out two

   issues we are seeing a great deal of misinfo about….” Crawford Ex. 34, at 4. She then provided




                                                    143
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 146 of 364 PageID #:
                                    16582



   a list of “sample posts” that included 12 Tweets reproduced verbatim. She stated, “Our census

   team is copied here, has much more info on it if needed.” Id.

          568.   In the same email on May 10, 2021, Crawford wrote, “Also, we are standing up a

   BOLO COVID misinformation meeting and inviting all tech platforms. We are shooting for 12pm

   EST on Friday for our first meeting. I’ll include you on the invite….” Crawford Ex. 34, at 4.

          569.   Crawford agrees that she was “sending this to [Twitter] so that he would be on the

   lookout for those things appearing on Twitter.” Crawford Dep. 208:25-209:3.

          570.   Crawford notes that “the BOLO format … was used previously,” id. 209:12-13,

   because Census had done “BOLO meetings … for their own work,” id. 209:23-24. The platforms

   had done BOLO meetings for Census “in relation to the 2020 census.” Id. 210:5-9.

          571.    Regarding the BOLO meetings, Census officials “explained” to Crawford “how

   they did it.” Id. 210: 16. “In fact, they drafted the slide deck” for the CDC BOLO meetings with

   social-media platforms. Id. 210:16-17. Census “drafted it and showed me how they thought that

   we should do it, and that … we would give examples, we would give the science, and then …

   people could follow up separately.” Id. 210:18-22.

          572.   Crawford believes that regular meetings with Twitter were not set up, but that “I

   know they participated in the BOLO meetings.” Id. 198:15-16.

          573.   Regarding the BOLO meetings, Crawford remembers that two occurred and a third

   one was scheduled but cancelled due to a holiday, and “in lieu of a meeting” she sent “a

   Powerpoint.” Id. 198:24-199:1.

          574.   Twitter responded to Crawford’s May 10, 2021 email flagging 12 specific Twitter

   posts as examples of trending misinformation, stating: “Thanks for sharing this – agree these are

   important trends to note; a quick scan shows that at least some of these have been previously




                                                 144
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 147 of 364 PageID #:
                                    16583



   reviewed and actioned.” Crawford Ex. 34, at 3. He then stated: “I will now ask the team to review

   the others.” Id.

          575.    Crawford understood that “asking the team to review the others” meant referring

   Crawford’s flagged posts and issues to Twitter’s content-moderation team for possible censorship:

   “I interpreted it as Twitter made decisions about the areas of misinformation based on whatever

   policy they had.” Crawford Dep. 211:17-19.

          576.    As with Facebook, Crawford understood that her flagging of posts would result in

   Twitter censoring at least some of these materials in different ways, including removing posts:

   “similar to Meta that they probably had multiple options. I am sure some were removed. I am sure

   some … were flagged. I see flags all the time on the Twitter posts. I am sure some were just maybe

   … maybe they weren't distributed as much on peoples' feeds.” Id. 212:10-16.

          577.    In the same email, Twitter offered to enroll CDC officials in its “Partner Support

   Portal” to provide expedited review of content flagged for censorship: “Carol, remind me: did you

   have a chance to enroll in our Partner Support Portal? In the future, that’s the best way to get a

   spreadsheet like this reviewed.” Crawford Ex. 34, at 3.

          578.    Crawford understood that Twitter’s Partner Support Portal was “similar to what I

   described for Meta. It's an offering where you log in and you can report misinformation or threats

   or problematic posted content in this portal, and it puts it in a system for review.” Crawford Dep.

   212:3-7.

          579.    On May 10, 2021, Twitter noted to Crawford, “I’d be glad to enroll you in our

   Partner Support Portal, which allows you a special, expedited reporting flow in the Twitter Help

   Center. It worked very well with Census colleagues last year.” Crawford Ex. 34, at 3.




                                                  145
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 148 of 364 PageID #:
                                    16584



          580.    Crawford responded by asking for instructions on how to enroll in the Partner

   Support Portal, and Twitter offered to enroll any Twitter accounts she identified. Crawford Ex.

   34, at 3. Crawford provided her personal Twitter account to enroll. Id.

          581.    Then, on May 24, Census Bureau contractor Christopher Lewitzke followed on the

   same email chain with Twitter, asking about “the partner support portal enrollment for CDC.”

   Crawford Ex. 34, at 2. Lewitzke indicated that they planned to report COVID misinformation to

   Twitter using existing Census accounts already enrolled in the portal, not CDC accounts, stating:

   “would there be any issues or complications stemming from flagging COVID misinformation on

   the portal using the existing census.gov accounts that have access? We’ll want to have at least

   some CDC accounts whitelisted, but that backup may be helpful short-term.” Id. He then stated:

   “Let us know any next steps we can take to make sure CDC is all set with the portal.” Id.

          582.    Crawford confirms that Census had used similar portals to report misinformation

   to platforms in the past: “I did know from discussions with them that one technique I think that

   they used was using portals … for their work to report [mis]information.” Crawford Dep. 213:16-

   19.

          583.    Twitter emailed Crawford on May 27, 2021, noting that she should be fully

   enrolled. Crawford Ex. 34, at 1. A screen shot of the portal proclaims, in very large, bolded type,

   “Report any issue to get priority service.” Id. (bold in original, font greatly reduced).

          584.    Crawford believes that she attempted to use Twitter’s Partner Support Portal “every

   now and then,” but that she never solved technical issues that prevented her from reporting

   anything. Crawford Dep. 215:9-22.

          585.    Christopher Lewitzke is “a Census contractor.” Id. 217:5-6.




                                                  146
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 149 of 364 PageID #:
                                    16585



            586.   On September 2, 2021, Crawford emailed Twitter, stating, “A quick BOLO for a

   small but growing area of misinfo.” Crawford Ex. 35, at 1. To Twitter, she claimed that “one of

   our Lab alerts … was misinterpreted and was shared via social media.” Crawford Ex. 35, at 1.

   She stated, “I’ve attached some example Twitter posts and another document with the facts around

   the issue.” Id. The subject line of the email was “BOLO: CDC lab alert & misinformation.” Id.

            587.   This report was very similar to the report Crawford provided Facebook the day

   before, September 1, 2021. Crawford Ex. 21, at 1. “The only difference is this email is going to

   Twitter.” Crawford Dep. 220:7-8.

            588.   By sending these emails to Facebook and Twitter flagging what the CDC believed

   was a misinterpretation of a CDC lab alert on social media, CDC intended to prevent the disfavored

   message from spreading on social media: “We saw this confusion about this alert brewing and

   more posts were going up with confusion, and we thought it would be a good idea to provide the

   platforms with the facts before it became something bigger.” Id. 220:13-17 (emphasis added). In

   other words, CDC wished to cause the disfavored viewpoint to be censored before it could be

   viewed or repeated by others—a quintessential prior restraint.

            589.   CDC specifically flagged this information to the platforms, knowing that they

   would evaluate it for potential censorship under their content-moderation policies: Crawford

   “knew their policy teams or their trust teams or misinfo teams … would evaluate it.” Id. 220:21-

   23. And Crawford “knew that removal was one of the options that they had, yes.” Id. 220:25-

   221:1.

            F.     CDC Endorses the States’ Theory of Standing.




                                                  147
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 150 of 364 PageID #:
                                    16586



          590.    Crawford admits that government communicators have a strong interest in tracking

   what their constituents are saying on social media: “It's helpful for communicators to know what

   is being discussed because it helps improve our communication materials.” Id. 53:10-12.

          591.    Crawford emphasized this point multiple times: “as I mentioned before, it does help

   … for communicators to know what conversations occurs on social media because it helps us

   identify gaps in knowledge, or confusion, or things that we're not communicating effectively that

   we need to adjust.” Id. 54:15-20.

          592.    CrowdTangle reports “would help us understand what was being discussed on

   social media about COVID, which helps us look for gaps in information, confusion about facts,

   things that we might need to adjust our communication materials for.” Id. 57:24-58:3.

          593.    Crawford specifically expressed the concern that, if content was censored or

   removed from social-media platforms, government communicators would not know what the

   citizens’ true concerns were: She “was wondering if they delete the info will we know those myths

   or information so we could update communication activity. So if they were deleting content would

   we know what the themes were.” Id. 75:14-18. Thus, Crawford was concerned that, if the

   platforms “were deleting content,” she might not know “what the themes were” of “myths or

   [mis]information,” which would prevent her from “updat[ing the CDC’s] communication activity”

   to address those myths and misinformation. Id. Accordingly, Crawford wanted to know, “would

   [CDC] be able to see in CrowdTangle or other reports … what kind of themes were removed so

   we would still have the full picture of areas of confusion.” Id. 75:21-76:1.

          594.    Crawford inquired of Facebook “about the data that we could get so we had a full

   picture on confusion so that we could adjust communication materials, or ways that we were

   communicating” about COVID-19. Id. 81:10-13. In other words, Crawford wanted to know about




                                                  148
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 151 of 364 PageID #:
                                    16587



   speech that was censored, as well as speech that was left up, on social-media platforms so CDC

   could get “a full picture” and “adjust communication materials” to address people’s actual

   concerns. Id.

          595.     The CDC “did searches in CrowdTangle, the same way we do searches in other

   social media and listening tools that we have to create, to understand what's being discussed in the

   environment, to update our communication material.” Id. 148:11-15.

   V.     Dr. Fauci’s Campaigns to Censor Disfavored Viewpoints on Social Media.

          596.     Dr. Fauci, cooperating frequently with NIH Director Dr. Francis Collins, engaged

   in a series of campaigns to discredit and procure the censorship of viewpoints he disfavored on

   social media, beginning at least in early 2020. Once he became Chief Medical Advisor in the

   Biden Administration in early 2021, his censorship efforts coordinated with and reinforced those

   of federal officials in the White House, the Office of the Surgeon General, the CDC, and elsewhere.

          597.     Until his recent retirement, Dr. Anthony S. Fauci was the director of the National

   Institute for Allergy and Infectious Diseases at the National Institutes of Health and the Chief

   Medical Advisor to President Biden. Fauci Dep. 10:8-16. At the time of his deposition, Dr. Fauci

   had been the director of NIAID for over 38 years. Id. at 10:25-11:1.

          A.       Dr. Fauci’s Conspiracy and Campaign to Suppress the Lab-Leak Theory.

          598.     First, in early months of 2020, Dr. Fauci worked closely with Dr. Francis Collins

   and Jeremy Farrar to orchestrate a campaign to discredit and suppress the opinion that SARS-CoV-

   2, the virus that causes COVID-19, leaked from a laboratory at the Wuhan Institute of Virology—

   an opinion that has recently been confirmed as likely true. Early in the pandemic, Dr. Fauci was

   aware that NIAID, under his direction, had funded dangerous gain-of-function research on

   coronaviruses at that laboratory, and he sought to discredit and suppress the lab-leak theory to




                                                   149
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 152 of 364 PageID #:
                                    16588



   deflect the scandal and blame associated with potential responsibility for the deaths of millions in

   the ensuing pandemic. He engaged in a campaign of deception to discredit the theory, and as a

   result of his efforts, the lab-leak theory was heavily censored on social media.

          599.    On December 30, 2011, Dr. Fauci co-authored an op-ed with Dr. Francis S. Collins

   in the Washington Post entitled A Flu Virus Risk Worth Taking. Fauci Ex. 1, Fauci Dep. 13:13-

   20.

          600.    In this op-ed, Dr. Fauci and Dr. Collins advocated for creating potentially

   dangerous viruses in laboratories, writing that “important information and insights can come from

   generating a potentially dangerous virus in a laboratory.” Fauci Ex. 1, at 1. According to Fauci

   and Collins, “[u]nderstanding the biology of … virus transmission has implications for outbreak

   prediction, prevention and treatment,” and “[i]dentifying threatening viruses can also facilitate the

   early stages of manufacturing vaccines that protect against such a virus in advance of an outbreak.”

   Id. at 2. They further argued that “identifying the molecular Achilles heel of these viruses can

   allow scientists to identify novel antiviral drug targets that could be used to prevent infection …

   or better treat those who become infected.” Id.

          601.    Dr. Fauci and Dr. Collins acknowledged the significant risks associated with such

   research, writing that “[s]afeguarding against the potential accidental release or deliberate misuse

   of laboratory pathogens is imperative.” Id. But they believed that those risks were contained,

   writing that “engineered viruses … are maintained in high-security laboratories.” They further

   state that “scientists, journal editors, and funding agencies involved are working together to ensure

   that access to specific information that could be used to create dangerous pathogens is limited to

   those with an established and legitimate need to know.” Id.




                                                   150
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 153 of 364 PageID #:
                                    16589



          602.    Thus, long before the COVID-19 pandemic, Dr. Fauci and Dr. Collins were highly

   visible, public advocates for laboratory experiments that involve “generating a potentially

   dangerous virus in a laboratory.” Id. at 1.

          603.    Such research of “generating a potentially dangerous virus in a laboratory” is

   commonly called “gain-of-function” research. Dr. Fauci testified that “[g]ain of function is a very

   potentially misleading terminology, and that was one of the reasons why several years ago outside

   groups, not the NIH … did away with the terminology ‘gain of function’ because it can often be

   very confusing and misleading.” Fauci Dep. 16:3-10. But Dr. Fauci confirms that “the NIH” did

   not “d[o] away” with that terminology, id., and Dr. Fauci’s own internal email uses the phrase

   “SARS Gain of Function” to describe the research on bat coronaviruses that was conducted by Dr.

   Shi Zhengli and others at the Wuhan Institute of Virology, partly funded by Dr. Fauci’s NIAID

   through the subgrants from the EcoHealth Alliance, discussed below, see Fauci Ex. 6, at 8.

          604.    On June 1, 2014, Dr. Fauci’s NIAID funded a grant to the EcoHealth Alliance for

   the five-year period June 1, 2014, to May 31, 2019. Fauci Ex. 2, at 2. The title of the project was

   “Understanding the Risk of Bat Coronavirus Emergence.” Id. at 1. The project’s Abstract stated,

   “This project will examine the risk of future coronavirus (CoV) emergence from wildlife using in-

   depth field investigations across the human-wildlife interface in China, molecular characterization

   of novel CoVs and host receptor binding domain genes, mathematical models of transmission and

   evolution, and in vitro and in vivo laboratory studies of host range.” Id.

          605.     The Abstract noted that one of the project’s “three specific aims” would be to

   “[t]est predictions of CoV inter-species transmission” by engaging in two forms of research to

   enhance the bat coronaviruses’ transmissibility to humans: “reverse genetics,” i.e., genetic

   manipulation of the viruses to render them more transmissible; and “virus infection experiments”




                                                   151
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 154 of 364 PageID #:
                                    16590



   using “humanized mice,” i.e., repeatedly infecting humanized mice with bat coronaviruses to

   provoke mutations that render them more infectious to human cells (a process known as “serial

   passage,” see https://en.wikipedia.org/wiki/Serial_passage). Id. at 1. Specifically, the Abstract

   stated: “Predictive models of host range (i.e.[,] emergence potential) will be tested experimentally

   using reverse genetics, pseudovirus and receptor binding assays, and virus infection experiments

   across a range of cell cultures from different species and humanized mice.”         Id. (emphases

   added).

             606.   Dr. Fauci attempted to argue that “reverse genetics” is so vague that it might not

   refer to gain-of-function research. See Fauci Dep. 23:18-20 (“I'm not really quite sure what they’re

   referring to. Reverse genetics can mean many things.”). But Dr. Fauci admits that “reverse

   genetics” means “[m]anipulation of a virus, recombination, things like that.” Id. at 23:19-21. In

   2015, in an article reporting on research performed pursuant to this grant, Dr. Ralph Baric and Dr.

   Shi Zhengli wrote that they used “reverse genetics” to “generate[] and characterize[] a chimeric

   virus” that was more infectious and more virulent in humans. Fauci Ex. 4, at 1. Dr. Fauci’s own

   internal email describes that article as addressing “SARS Gain of Function.” Fauci Ex. 6, at 8.

             607.   Dr. Fauci admits that “EcoHealth has a subaward from their original grant that goes

   to Shi Zhengli at the Wuhan Institute of Virology.” Fauci Dep. 36:4-6. He agrees that EcoHealth

   and Shi Zhengli of the Wuhan Institute of Virology “work together on research that’s directly

   funded by NIAID.” Fauci Dep. 36:7-13.

             608.   Dr. Fauci also attests that Dr. Peter Daszak likely has access to the genetic

   sequences of chimeric viruses that Shi Zhengli created during her research funded by EcoHealth

   using NIAID funds: “I don't know absolutely for sure, but I would imagine that if Peter Daszak is

   collaborating scientifically with Shi Zhengli, that it is likely, given the norms of scientific




                                                    152
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 155 of 364 PageID #:
                                    16591



   collaboration, that he would have access to data,” and “they are collaborators, since he has a

   subaward to the Wuhan Institute that I believe goes to Dr. Shi.” Fauci Dep. 37:1-13. Daszak,

   therefore, is likely in possession of genetic evidence demonstrating whether SARS-CoV-2

   originated from NIAID-funded research at the Wuhan Institute of Virology.

          609.    Dr. Fauci claimed that he had never seen this grant award before his deposition,

   and that he was only “vaguely” aware of NIAID’s funding of EcoHealth Alliance. Id. at 18:10-12

   (“I’m vaguely familiar with the fact that EcoHealth Alliance has been doing research on trying to

   understand the bat coronavirus emergence.”); id. at 19:7-8 (“I have no recollection of the initiation

   of this grant.”). Dr. Fauci admits that “NIAID has funded EcoHealth Alliance,” 20:5-6, but he

   contends that he is completely unfamiliar with this project. Id. at 20:8-9 (“[T]his is the first time

   that I have seen this piece of paper.”). But this very grant project was flagged for Dr. Fauci in an

   email from his subordinate on January 27, 2020, at the beginning of the pandemic. Fauci Ex. 5.

   Given the public and Congressional scrutiny of this particular project and its relation to the origins

   of the COVID-19 pandemic, Dr. Fauci’s testimony on these points is not credible.

          610.    Peter Daszak is listed as the “Contact PI/Project Leader” for the grant award

   “Understanding the Risk of Bat Coronavirus Emergence.” Fauci Ex. 2, at 1. The “Awardee

   Organization” is the EcoHealth Alliance. Id.

          611.    Dr. Fauci claims that he is not acquainted with Peter Daszak and does not know

   how to pronounce Daszak’s name, Fauci Dep. 20:13 (“I’m not sure”), and that he “do[es]n’t even

   remember meeting him,” id. at 21:1-2, but that he has seen a photo of himself with Daszak at a

   public event as the only evidence that they have met. Id. at 21:2-8.

          612.    In fact, Dr. Fauci has exchanged cordial emails with Daszak on a first-name basis,

   and he participated in a podcast with him on February 9, 2020, in which they both sought to




                                                    153
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 156 of 364 PageID #:
                                    16592



   discredit the lab-leak theory of COVID’s origins. Fauci Ex. 15, 16, 30. Dr. Fauci’s attempt to

   deny or downplay his acquaintance and familiarity with Daszak is not credible.

           613.    On October 17, 2014, the U.S. Government entered a “research funding pause” on

   gain-of-function research on coronaviruses, in a document entitled “U.S. Government Gain-of-

   Function Deliberative Process and Research Funding Pause on Selected Gain-of-Function

   Research Involving Influenza, MERS, and SARS Viruses.” Fauci Ex. 3, at 1 (the “GoF Pause” or

   “Pause”).

           614.    Contrary to Dr. Fauci’s testimony that the “pause” was an occasion to jettison the

   term “gain-of-function,” the Pause provided a simple and clear definition of “gain of function”

   research, defining “Gain-of-function studies” as “research that improves the ability of a pathogen

   to cause disease.” Fauci Ex. 3, at 2. The research on bat coronaviruses described in Fauci Ex. 2

   meets this simple definition.

           615.    The Pause applied to funding for all “research such as this until a new U.S.

   Government research policy could be adopted.” Fauci Dep. 27:17-19; Fauci Ex. 3, at 2-3.

           616.    The Pause provided an exception in Footnote 1, which stated: “An exception from

   the research pause may be obtained if the head of the USG funding agency determines that the

   research is urgently necessary to protect the public health or national security.” Fauci Ex. 3, at 2

   n.1.

           617.    Dr. Fauci testified that he does not recall whether NIAID ever invoked that

   exception during the years that the Pause was in place (2014-2017). Fauci Dep. 28:22-29:3. He

   testified that authorization for funding under the exception would “not usually rise up to the office

   of the director, but is handled at the level of staff and deputy.” Id. at 29:1-2. He testified that such

   approval for projects “urgently necessary to protect the public health or national security” could




                                                     154
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 157 of 364 PageID #:
                                    16593



   have come from “any of a number of people. It could have been people at the program level. It

   could have been my deputy. It could have been program managers and division directors.” Id. at

   30:16-19.

          618.     This testimony contradicts the plain language of the exception, which states that

   “the head of the USG funding agency” must “determine[] that the research is urgently necessary

   to protect the public health and national security” to allow continued funding for gain-of-function

   research on coronaviruses. Fauci Ex. 3, at 2 n.1. At all relevant times, Dr. Fauci was the “head of

   the USG funding agency,” i.e., the Director of NIAID, and he was responsible for authorizing

   funding for gain-of-function research on the ground that it was “urgently necessary to protect the

   public health or national security.”

          619.    Dr. Fauci states that he does not recall whether NIAID ever authorized continued

   funding for Peter Daszak or EcoHealth Alliance pursuant to the exception to the Pause in footnote

   1. Fauci Dep. 30:3-12.

          620.    In fact, Dr. Fauci testified that “I don’t recall” or “I do not recall” 174 times in his

   deposition, and testified that he could not recall or remember using variations on that phrase 212

   times. See Fauci Dep. 22:21-352:17-18. This contrasts sharply with his public statements about

   the very same issues that, during his deposition, he professed near-complete loss of memory. See,

   e.g., Jones Decl., Ex. X, at 1 (“I remember it very well”). It also contrasts sharply with his clear,

   specific recollection of unrelated events from the same time frame. See, e.g., Fauci Dep. 353:20-

   354:16. Dr. Fauci’s repeated claims to not remember or not recall key events and people are not

   credible.

          621.    Dr. Fauci’s chief deputy is Dr. Hugh Auchincloss, who is the Principal Deputy

   Director of NIAID. Id. at 30:20-25.




                                                    155
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 158 of 364 PageID #:
                                    16594



          622.    In December 2015, during the research “Pause” on gain-of-function funding,

   Nature Medicine published an article entitled, “A SARS-like cluster of circulating bat

   coronaviruses shows potential for human emergence.” Fauci Ex. 4, at 1. Dr. Ralph Baric of the

   University of North Carolina was listed as the corresponding author, and Dr. Shi Zhengli of the

   Wuhan Institute of Virology was listed as a co-author. Id. at 1 & n.8.

          623.    The 2015 Nature Medicine article clearly described gain-of-function research on

   bat coronaviruses. The Abstract states: “Here we examine the disease potential of a SARS-like

   virus, SHC014-CoV, which is currently circulating in Chinese horseshoe bat populations. Using

   the SARS-CoV reverse genetics system, we generated and characterized a chimeric virus

   expressing the spike of bat coronavirus SHC014 in a mouse-adapted SARS-CoV backbone.”

   Fauci Ex. 4, at 1. Notably, the article uses the same phrase as the EcoHealth grant, “reverse

   genetics,” to describe creating “a chimeric virus.” Id.

          624.    The article reports that the “chimeric virus” created from a “SARS-like” bat

   coronavirus had become highly transmissible in human tissue: it could “replicate efficiently in

   primary human airway cells and achieve in vitro titers equivalent to epidemic strains of SARS-

   CoV.” Id. It had also become more virulent: “Additionally, in vivo experiments demonstrate

   replication of the chimeric virus in mouse lung with notable pathogenesis.” Id. There were no

   available treatments for this lab-created “chimeric” virus: “Evaluation of available SARS-based

   immune-therapeutic and prophylactic modalities revealed poor efficacy; both monoclonal

   antibody and vaccine approaches failed to neutralize and protect from infection with CoVs using

   the novel spike protein.” Id.

          625.    The article noted that the authors had then “synthetically re-derived an infectious

   full-length SHC014 recombinant virus and demonstrate robust viral replication both in vitro and




                                                   156
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 159 of 364 PageID #:
                                    16595



   in vivo.” Id. The article concluded that “[o]ur work suggests a potential risk of SARS-CoV re-

   emergence from viruses currently circulating in bat populations” – and this conclusion was based

   on creating a more transmissible (to humans) and more virulent (to humans) SARS-like

   coronavirus in a lab. Id.

          626.    The article acknowledged that NIAID was the principal funder of this research, and

   that it had received funding from the EcoHealth Alliance, Daszak’s group: “Research in this

   manuscript was supported by grants from the National Institute of Allergy & Infectious Disease

   and the National Institute of Aging of the US National Institutes of Health (NIH) … and by

   USAID-EPT-PREDICT funding from EcoHealth Alliance.” Id. at 5.

          627.    The article also noted that the NIH had reviewed and approved the research under

   the GoF Pause: “Experiments with the full-length and chimeric SHC014 recombinant viruses were

   initiated and performed before the GOF research funding pause and have since been reviewed and

   approved for continued study by the NIH.” Id. “GOF” is short for “gain-of-function.”

          628.    Dr. Fauci testified that he first became aware of this Nature Medicine article “likely

   … several months” after the outbreak of the COVID-19 pandemic, and that “it was brought to my

   attention in the context of questions that were raised by members of Congress about experiments

   that were funded by the NIAID.” Fauci Dep. 31:17-20, 32:7-9. In fact, Dr. Fauci attached this

   article to a confidential midnight email to his principal deputy, Hugh Auchincloss, on January 31,

   2020, and directed Auchincloss to read it immediately and take unspecified actions on it on a

   Saturday morning. Fauci Ex. 6, at 8. Dr. Fauci’s testimony on this point is not credible.

          629.    Dr. Fauci testified that he does not believe he has ever met Dr. Ralph Baric, the

   corresponding author of the 2015 Nature Medicine article. Fauci Dep. 32:16-19 (“I know who he

   is, I doubt I’ve ever met him. I may have met him at one of the meetings where there are thousands




                                                   157
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 160 of 364 PageID #:
                                    16596



   of scientists saying hi to each other…”); see also id. at 33:25-34:1. In fact, Dr. Fauci’s official

   calendar shows a one-on-one meeting with Dr. Ralph Baric on February 11, 2020, during the

   events described herein. Fauci Ex. 17, at 1. A contemporaneous Slack message on February 18,

   2020 reports that Dr. Baric “sat in Fauci’s office talking about the outbreak and chimeras,” i.e.,

   lab-created chimeric viruses. Jones Decl., Ex. Y, at 1. And Dr. Fauci testified that Dr. Baric may

   be the source of the phrase “SARS Gain of Function” in the attachment to his midnight email to

   Hugh Auchincloss. Fauci Dep. 57:11-12. Dr. Fauci’s testimony on this point is not credible.

           630.    Dr. Fauci professed to be ignorant of the identity of Dr. Shi Zhengli, the notorious

   “Bat Woman” of the Wuhan Institute of Virology. When asked if he knows who she is, he stated,

   “I'm not a hundred percent certain. I get sometimes confused with Asian names.” Id. at 33:9-10,

   18-19. Yet Dr. Shi Zhengli, the so-called “bat woman,” is world-renowned as the researcher who

   may have caused the COVID-19 pandemic, and has been so since the beginning of the pandemic,

   see, e.g., Jones Decl., Ex. Z, at 1, and the name “Shi” is included in the title of the article that Dr.

   Fauci forwarded to Dr. Hugh Auchincloss after midnight on February 1, 2020. Fauci Ex. 6, at 8.

   Dr. Fauci’s testimony is not credible on this point.

           631.    Dr. Fauci testified that he first became aware of the outbreak of COVID-19 either

   December 31, 2019 or “the first couple days of 2022.” Fauci Dep. 34:8-11.

           632.    Dr. Fauci recounts that he first became aware of concerns that the SARS-CoV-2

   virus that causes COVID-19 “might have been genetically engineered or originated in a

   laboratory” when “[t]here was a phone call in late January of 2020, I believe, from Jeremy Farrar.

   There was one other person on the phone. I believe it was [K]ristian [Andersen], who piped me in

   on a three-way call, saying that they looked at the virus and there was some concern about the




                                                     158
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 161 of 364 PageID #:
                                    16597



   molecular configuration or makeup of the virus that made them think there was a possibility that

   there could have been a manipulation of the virus.” Id. at 34:12-35:1.

          633.    Dr. Fauci states that he does not believe that anyone ever raised the concern to him

   before that late January call, and he specifically attests that he does not recall Dr. Robert Redfield,

   then-Director of the CDC, raising the concern to him in mid-January 2020. Id. at 35:2-15. Dr.

   Fauci’s recollection conflicts with that of Dr. Redfield, who specifically recalls raising this issue

   to Dr. Fauci earlier in January 2020, and having his concerns fall on deaf ears: “Dr. Robert

   Redfield, a virologist and the director of the Centers for Disease Control and Prevention (CDC),

   had urged Fauci privately to vigorously investigate both the lab and natural hypotheses. He was

   then excluded from the ensuing discussions—learning only later that they’d even occurred. ‘Their

   goal was to have a single narrative,’ Redfield [said].” Jones Decl., Ex. AA, at 7.

          634.    “In mid-January of 2020, … Redfield expressed his concerns in separate phone

   conversations with three scientific leaders: Fauci; Jeremy Farrar, the director of the U.K.’s

   Wellcome Trust; and Tedros Adhanom Ghebreyesus, director general of the World Health

   Organization (WHO). Redfield’s message, he says, was simple: ‘We had to take the lab-leak

   hypothesis with extreme seriousness.’” Id. at 23. Dr. Fauci disputes this account and states that

   this conversation did not happen: “To my recollection, no.” Fauci Dep. 35:9-12.

          635.    On January 27, 2020, Dr. Fauci and several other senior NIAID officials received

   an email from Greg Folkers, who is his “immediate chief of staff in my office group,” id. at 38:2-

   4; the email provided “Talking Points for NIAID Director Dr. Fauci.” Fauci Ex. 5. The email

   stated that “when talking about CoV … we have on our team (Vincent and folks we fund, Peter

   Daszak, Ralph Baric, Ian Lipkin, etc.) probably the world’s experts on non-human coronaviruses.

   … EcoHealth group (Peter Daszak et al) has for years been among the biggest players in




                                                    159
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 162 of 364 PageID #:
                                    16598



   coronavirus work, also in collaboration Ralph Baric, Ian Lipkin, and others.” Id. at 1. It also

   flagged the ongoing NIAID grant to Daszak and its work with Wuhan Institute of Virology:

   “NIAID has funded Peter’s group for coronavirus work in China for the past five years through

   R01 1R01AI110964: ‘Understanding the Risk of Bat Coronavirus Emergence.’ That’s now been

   renewed.” Id. It noted that “[t]he results of the work to date include … Found SARS-related CoVs

   that can bind to human cells (published in Nature) and that cause SARS-like disease in humanized

   mouse models”—a clear reference to the 2015 Nature Medicine article. Id. Three days later, Dr.

   Fauci would attach that Nature Medicine article to a midnight email to Hugh Auchincloss. Fauci

   Ex. 6, at 8.

           636.   Like so many other things, Dr. Fauci testifies that he does not recall receiving this

   email. Fauci Dep. 40:5-6.

           637.   Dr. Fauci states that he first became aware of the concern that the virus might be

   bioengineered and lab-created in a call with Dr. Kristian Andersen of Scripps and Jeremy Farrar

   of the Wellcome Trust on January 31, 2020. Fauci Dep. 43:17-25. In that call, according to Dr.

   Fauci, “Jeremy and [K]ristian said they had looked at -- or at least [K]ristian did, possibly Jeremy

   -- and maybe one other scientist -- and said that it is possible that there may have been a

   manipulation because it was an unusual virus.” Fauci Dep. 44:3-9. A phone call was arranged for

   the next day, Saturday, February 1, 2020, to discuss the possibility. Id. at 44:15-17.

           638.   According to contemporaneous emails, Eddie Holmes and Bob Garry were

   involved in this call with Dr. Fauci and Kristian Andersen as well. Fauci Ex. 7, at 2. Eddie

   Holmes, who was then raising serious concerns that the virus had leaked from a lab, would go on

   to be the lead drafter of a key article discrediting the lab-leak theory.




                                                    160
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 163 of 364 PageID #:
                                    16599



          639.    After the January 31 call with Farrar and Andersen, in the evening of the same day,

   Dr. Fauci forwarded them an article that was skeptical of the lab-leak theory, stating that “it is of

   interest to the current discussion.” Ex. 6, at 1. Andersen responded, stating that he was not

   convinced by the article because “one has to look really closely at all the sequences to see that

   some of the features look (potentially) engineered,” and that “after discussion earlier today, Eddie

   [Holmes], Bob [Garry], Mike [Laribee], and myself all find the genome inconsistent with

   expectations from evolutionary theory.” Id. (emphasis added); see also Fauci Dep. 51:3-8.

          640.    A few hours later, shortly after midnight, at 12:29 a.m. on February 1, 2020, Dr.

   Fauci sent an email to his principal deputy, Hugh Auchincloss. Fauci Ex. 6, at 8. The subject line

   of the email said “IMPORTANT.” Id. The email stated: “Hugh: It is essential that we speak this

   AM. Keep your cell phone on. … Read this paper as well as the e-mail that I will forward to you

   now. You will have tasks today that must be done. Thanks, Tony.” Id.

          641.    The “this paper” that was attached to the email was the 2015 Nature Medicine

   article entitled “A SARS-like cluster of circulating bat coronaviruses shows potential for human

   emergence,” Fauci Ex. 4, co-authored by Dr. Ralph Baric and Dr. Shi Zhengli and funded by

   NIAID and the EcoHealth Alliance. Fauci Ex. 6, at 8; Fauci Dep. 55:23-56:25. As an attachment

   to Dr. Fauci’s email, this article was called “Baric, Shi et al – Nature Medicine – SARS Gain of

   Function.pdf.” Fauci Ex. 6, at 8.

          642.    Dr. Fauci claims that he can recall virtually nothing about sending this urgent,

   confidential email to his principal deputy in the middle of the night of the day when he found out

   that highly qualified researchers were concerned that SARS-CoV-2 might have leaked from a

   laboratory. See Fauci Dep. 55:15-63:21 (“I don’t recall … I don’t know for sure … I can’t say

   that I recall that in particular … I don’t recall. I’m not sure exactly why those words got in there




                                                   161
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 164 of 364 PageID #:
                                    16600



   … I don’t recall … I don’t recall … I don’t precisely recall … I don’t recall if I did … I might

   have, but I don’t recall. … I don’t recall. … I don’t recall … I don’t recall. … I don’t recall … I

   really don’t recall … I actually don’t recall why I forwarded it to him … I don’t recall why I did

   that … I don’t remember … I don’t recall speaking to him.”). This contrasts starkly with Dr.

   Fauci’s public claim to “remember … very well” key events of the same day. Jones Decl., Ex. X,

   at 1. Dr. Fauci’s claim to an amazing loss of memory about this urgent clandestine email to his

   confidential deputy is not credible.

          643.    Dr. Fauci admits, however, that he wanted Auchincloss to find out what coronavirus

   research NIAID was funding in China before his call later that afternoon with scientists about the

   lab-leak concerns raised by Andersen and Farrar: “And at my recollection, I brought to Hugh’s

   attention, saying, ‘We have to speak in the morning, because I want to find out what the scope of

   what it is that we are funding so I'll know what we're talking about.’” Fauci Dep. 58:1-5. In

   particular, Dr. Fauci wanted to find out what EcoHealth Alliance was doing: “this was the first that

   I had heard about specifics of what EcoHealth and what other people were doing, and I wanted my

   staff to say get me up to date. So that's what I meant by you have work to do.” Id. at 58:6-12.

          644.    Regarding the “tasks that must be done,” Dr. Fauci admits that “I wanted to be

   briefed on the scope of what our collaborations were and the kind of work that we were funding

   in China. I wanted to know what the nature of that work was.” Id. at 59:12-15.

          645.    The tone of the email and Dr. Fauci’s own testimony strongly support the inference

   that Dr. Fauci sent the email to Auchincloss because he was concerned that NIAID, under his

   leadership, was funding research in China that might have led to the creation and leak of SARS-

   CoV-2, and he wanted to know the full extent of NIAID’s exposure before his call later that day

   with scientists and funding authorities. See also Fauci Dep. 58:18-25. If it became public that




                                                   162
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 165 of 364 PageID #:
                                    16601



   NIAID had funded the creation of SARS-CoV-2, Dr. Fauci and his agency potentially faced an

   enormous crisis of public credibility and accountability.

          646.    Immediately after sending Auchincloss the 2015 Nature Medicine article, Dr. Fauci

   also forwarded Auchincloss another article about the possibility that SARS-CoV-2 had leaked

   from a lab—the Jon Cohen article that he had sent to Kristian Andersen and Jeremy Farrar earlier

   that evening. Fauci Ex. 6, at 9. This email confirms that Dr. Fauci was deeply concerned about

   the prospect that NIAID, under his watch, might have funded the creation of the virus causing the

   global pandemic.

          647.    Dr. Fauci denies that, when he sent this email to Auchincloss, he was then

   concerned that NIAID might have funded the creation of the virus that caused the COVID-19

   pandemic. When asked, “Were you concerned at that time that the work that you had funded in

   China might have led to the creation of the coronavirus?” Dr. Fauci responded: “I wasn’t

   concerned that it might have.” Fauci Dep. 59:16-19. In light of the tone and content of his emails

   at the time, and Dr. Fauci’s other testimony, this statement is plainly not credible.

          648.    According to Dr. Fauci, when he participated in the secret call with the scientists

   and funding authorities later that afternoon on Saturday, Feb. 1, 2020, he did not share with them

   that NIAID had been funding “SARS Gain of Function” research in China leading to the outbreak

   of COVID-19. Fauci Dep. 63:22 (“I don’t believe I did.”).

          649.    In fact, once again, Dr. Fauci claims that he does not recall what he said on the

   clandestine February 1, 2020 phone call. Id. at 64:17 (“I don’t recall”).

          650.    At 1:19 p.m. on Saturday, Feb. 1 – about forty minutes before the secret conference

   call to discuss the lab-leak concern – Dr. Fauci also forwarded the “Baric, Shi et al – Nature

   Medicine – SARS Gain of Function” article to Lawrence Tabak of the NIH, saying only “Here it




                                                   163
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 166 of 364 PageID #:
                                    16602



   is.” Fauci Ex. 6, at 15. Lawrence Tabak was then “the deputy director of the National Institutes

   of Health,” the principal deputy to then-NIH Director Dr. Francis Collins. Fauci Dep. 65:8-11.

          651.    Dr. Fauci testified that “I don’t recall why” he sent the 2015 Nature Medicine article

   to Lawrence Tabak, but he admits that it was likely to get it into the hands of Dr. Francis Collins,

   who was about to participate in the 2:00 p.m. secret conference call with Dr. Fauci and the other

   scientists. Id. at 66:15-17. Dr. Fauci claims that this was “to make sure everyone was aware of

   what the discussions were,” id. at 66:13-15, but that is not credible in light of his testimony that he

   did not alert any of the other scientists on the call to the concern that NIAID was funding “SARS

   Gain of Function” research in China. Id. at 63:22.

          652.    The more compelling inference is that Dr. Fauci wanted Dr. Collins to know that

   NIAID and NIH faced enormous exposure if the lab-leak theory turned out to be true or publicly

   accepted. Dr. Collins, along with Dr. Fauci, had publicly championed gain-of-function research

   since at least 2011, and NIH had jointly funded Dr. Shi Zhengli’s work at the Wuhan Institute of

   Virology through NIAID and the National Institute of Aging. Fauci Ex. 4, at 5 (referring to “grants

   from the National Institute of Allergy & Infectious Disease and the National Institute of Aging of

   the US National Institutes of Health (NIH)”).

          653.    On Saturday, Feb. 1, 2020, at 11:47 a.m., Hugh Auchincloss emailed Dr. Fauci in

   response to his 12:29 a.m. email. The subject line stated only “Continued.” Auchincloss stated:

   “The paper you sent me [i.e., the 2015 Nature Medicine article on ‘SARS Gain of Function’] says

   the experiments were performed before the gain of function pause but have since been reviewed

   and approved by NIH. Not sure what this means since Emily is sure that no Coronavirus work has

   gone through the P3 framework. She will try to determine if we have any distant ties to this work

   abroad.” Fauci Ex. 6, at 16. At 5:51 p.m., Dr. Fauci responded: “OK. Stay tuned.” Id.




                                                    164
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 167 of 364 PageID #:
                                    16603



          654.     “Emily” in Auchincloss’s email “is Emily Erbelding, the Director of the Division

   of Microbiology and Infectious Diseases at NIAID,” who “would have been the one who was

   closest to the ground in understanding what we were doing in funding China.” Fauci Dep. 70:14-

   18. The “P3 framework” refers to the special approval process required for funding of gain-of-

   function research on coronaviruses that may cause pandemics, as “P3” stands for “potential

   pandemic pathogens.” See National Institutes of Health, Office of Science Policy, Gain of

   Function      Research,   at   https://osp.od.nih.gov/policies/national-science-advisory-board-for-

   biosecurity-nsabb/gain-of-function-research/ (“Certain gain-of-function studies with the potential

   to enhance the pathogenicity or transmissibility of potential pandemic pathogens (PPPs) have

   raised biosafety and biosecurity concerns…”). Thus, Auchincloss and Dr. Fauci had evidently

   discussed the concern that NIAID had funded the creation of “potential pandemic pathogens” at

   the Wuhan Institute of Virology, and Dr. Fauci was concerned about NIAID’s “ties to this work

   abroad.” Fauci Ex. 6, at 16.

          655.     Dr. Fauci admits that this email confirms that he “wanted to be briefed as to the

   extent of our involvement with funding in China,” Fauci Dep. 71:2-4—in particular, NIAID’s

   funding of the Wuhan Institute of Virology, as a global SARS-like pandemic emerged from

   Wuhan.

          656.     Dr. Fauci also admits that he may have raised the concern with Auchincloss that

   Dr. Baric’s and Dr. Shi Zhengli’s research reflected in the 2015 Nature Medicine article may have

   been illegally funded in violation of the GoF Pause in effect from 2014 to 2017. Fauci Dep. 71:14-

   20 (“Q: Did you raise a specific concern with Hugh that the research reflected in the Baric, Shi

   Nature Medicine paper may have been inconsistent with the pause on -- gain-of-function funding

   research? A. That is possible.”).




                                                   165
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 168 of 364 PageID #:
                                    16604



           657.    On Saturday, Feb. 1, 2020, Jeremy Farrar sent an email organizing a secret

   conference call at 2:00 pm EST to a group of scientists and science-funding authorities. Fauci Ex.

   6, at 17-18. The first thing that Farrar noted in the email, in bold, was “Information and

   discussion is shared in total confidence and not to be shared until agreement on next steps.”

   Id. at 17 (bold in original).

           658.    Separately, Farrar sent just Dr. Fauci an email on the morning of Feb. 1 to ensure

   that he could join the call, stating “Could you join?” Fauci Ex. 7, at 12. In that email, Farrar listed

   the participants and stated, “My preference is to keep this a really tight group. … Obviously ask

   everyone to treat in total confidence.” Id. He also stated that the purpose of the call was “To listen

   to the work of Eddie, Bob and Kristian have done. Question it. And think through next steps.”

   Id.

           659.    Dr. Fauci described the call as an open debate about the lab-leak theory among “a

   larger group of evolutionary virologists,” Fauci Dep. 58:19-20, but in fact the call included a heavy

   representation of international government and science-funding authorities—including Dr. Fauci,

   Director of NIAID; Dr. Francis Collins, Director of NIH; Jeremy Farrar, head of the Wellcome

   Trust, the United Kingdom’s “predominant” science-funding authority; Paul Schreier, the Chief

   Operating Officer of the Wellcome Trust who is responsible for “research funding” there; and Sir

   Patrick Vallance, the chief medical advisor to the U.K. government. Fauci Ex. 6, at 18; see also

   Fauci Dep. 75:11-76:15. All these people had a strong vested interest in avoiding a major scandal

   about international science-funding practices—such as the concern that Western governments may

   have funded the creation of a deadly virus that escaped from a lab and infected millions of people.

   As funding authorities who control the distribution of massive amounts of research funding, they

   also had powerful influence over the research scientists on the call.




                                                    166
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 169 of 364 PageID #:
                                    16605



           660.    Dr. Fauci took steps to ensure that Dr. Francis Collins would be included on the

   call “since he’s the director of NIH.” Fauci Dep. 75:4-6. Dr. Fauci evidently spoke with Dr.

   Collins before the call, as he emailed Farrar before the call stating, “Jeremy: Francis will be on the

   call. He is trying to phone you.” Fauci Ex. 7, at 17. Farrar then emailed Dr. Collins stating,

   “Francis Call me on [redacted].” Fauci Ex. 7, at 19.

           661.    Like the 12:29 a.m. email to Auchincloss, Dr. Fauci repeatedly claimed that he

   could not recall virtually any details about the 2:00 p.m. secret conference call with scientists and

   funding authorities about the lab-leak theory. Fauci Dep. 63:19-67:11 (“I don’t recall bringing

   this up … I don’t recall … I don’t recall … I don’t recall when it was … I don’t recall … I don’t

   believe that Larry was, but he could have been … I don’t recall”); Fauci Dep. 73:20-74:14 (“I

   don’t recall a discussion about confidentiality or not … I may have. I don’t recall.”); Fauci Dep.

   77:13-15 (“Do you remember anything that anybody said on the call? A: No.”); Fauci Dep. 78:10-

   83:10 (“I don’t recall whether that was discussed … I don’t recall anything from that phone call

   that said that … I’m not sure if I discussed it … I have a vague recollection that there was a concern

   … It is certainly possible, but I don’t specifically remember … I don’t specifically recall.”).

           662.    This testimony to near-complete lack of memory about the call stands in stark

   contrast to Dr. Fauci’s public statements a year and a half after the call occurred, when FOIA

   releases of Dr. Fauci’s emails finally revealed to the public that this secret call had occurred. Then,

   Dr. Fauci stated, “I remember it very well.” Jones Decl., Ex. X, at 1. Dr. Fauci’s testimony about

   lack of recall is not credible.

           663.    Notwithstanding his repeated testimony that he cannot recall specifically what was

   said on the call, Dr. Fauci provided a self-justifying and innocent account of the call, describing it

   as a good-faith discussion among scientists trying to get to the truth without any preconceived




                                                    167
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 170 of 364 PageID #:
                                    16606



   biases. See, e.g., Fauci Dep. 77:16-18 (“[T]here was what appeared to me to be good faith

   discussion back and forth between people who knew each other”); Fauci Dep. 79:23-80:1 (“I think

   the general feeling among the participants on the call is that they wanted to get down to the truth

   and not wild speculation about things.”); Fauci Dep. 80:9-10 (“I don't think there was any other

   concern than sticking with the truth and sticking with data”).

          664.    Dr. Fauci thus seeks to have his cake and eat it too—he claims both to remember

   little or nothing of what was said on the call, and to clearly remember that the entire discussion

   was done in good faith and without any bias. In any event, subsequent communications and events

   make clear that Dr. Fauci’s testimony on this point is not credible, as discussed in detail below, as

   an aggressive plot to discredit the lab-leak theory commenced immediately after the call.

          665.    Almost an hour into the 2:00 pm call, at 2:56 p.m., Jeremy Farrar sent a cryptic

   email to Fauci, Collins, Vallance (all science funders) and Mike Ferguson, stating, “Can I suggest

   we shut down the call and then redial in? Just for 5-10 mins?” Dr. Fauci responded, “Yes.” Fauci

   Ex. 7, at 26. Dr. Fauci claims he cannot recall whether this occurred. Fauci Dep. 92:1-93:6.

          666.    Dr. Fauci testified that the call participants concluded that they needed more time

   to take a much closer look at the biology of the virus and genetic sequences before coming to a

   conclusion about the virus’s origins, and they planned to take more time to continue their inquiry

   afterward. See Fauci Dep. 78:3-9 (“The ten[or] of it ended that we need more time … they said

   we need some time to more carefully look at this to see if we can come to a sound conclusion

   based on further examination of the sequences.”); Fauci Dep. 80:24-25 (“The plan was to go and

   spend more time carefully looking at it.”). In fact, Eddie Holmes and Kristian Andersen began

   drafting an article concluding that the lab-leak hypothesis was baseless and rooted in animus




                                                   168
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 171 of 364 PageID #:
                                    16607



   immediately after the call ended, and Dr. Fauci received an initial draft of this article by the next

   Tuesday morning. See infra. Dr. Fauci’s testimony on this point is not credible.

          667.    Dr. Fauci testified that his next interaction with the call’s participants was when

   Kristian Andersen sent him a preprint of that article attacking the lab-leak theory. Fauci Dep.

   82:19-83:1. In fact, before the preprint, Holmes and Farrar had sent Dr. Fauci at least four drafts

   of the article to review. See infra. Dr. Fauci’s testimony is not credible on this point.

          668.    Dr. Fauci states that he cannot remember if he had further discussions with Jeremy

   Farrar, Francis Collins, and Patrick Vallance surrounding this call on Feb. 1, 2020. Fauci Dep.

   83:2-10; 85:8-23, 90:25-91:15, 92:1-21. In fact, Dr. Fauci sent Jeremy Farrar a lengthy email that

   is entirely redacted at 12:38 a.m. on Saturday, Feb. 1, 2020, Fauci Ex. 7, at 1; Farrar emailed Fauci

   on Jan. 30 stating “Tony Perfect timing – thank you. Great to catch up,” and provided Sir Patrick

   Vallance’s phone number, Fauci Ex. 7, at 4; Fauci emailed Farrar and Vallance on Jan. 30, stating

   “Thanks, Jeremy. Great chatting with you and Patrick. Will stay in close touch,” Fauci Ex. 7, at

   4; Jeremy Farrar sent Dr. Fauci an email on Friday, Jan. 31, stating “Tony Really would like to

   speak with you this evening It is 10pm now UK Can you phone me on [redacted],” Fauci Ex. 7,

   at 3; Farrar and Sir Patrick Vallance had a three-way call with Dr. Fauci on Jan. 30, 2020, Fauci

   Ex. 7, at 4; Farrar emailed Fauci and Collins after the call referring to “Conversations with you

   and Tony, and Patrick and others,” Fauci Ex. 7, at 34; among others. Dr. Fauci had extensive

   discussions with Jeremy Farrar, Francis Collins, and Patrick Vallance surrounding the 2:00 p.m.

   February 1, 2020 secret conference call, and his testimony to the contrary is not credible.

          669.    After the call, Francis Collins emailed Farrar and stated, “Hi Jeremy, I can make

   myself available at any time 24/7 for the call with Tedros. Just let me know. Thanks for your

   leadership on this critical and sensitive issue.” Fauci Ex. 7, at 34. Farrar responded, “We are




                                                   169
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 172 of 364 PageID #:
                                    16608



   altogether as you know!” Fauci then chimed it: “Thanks, Jeremy. We really appreciate what you

   are doing here.” Fauci Ex. 7, at 34. “Tedros” refers to the director of the World Health

   Organization. Fauci Dep. 95:6-7.

          670.    After the call, Dr. Fauci described the scientists as engaging in a careful

   investigation of the virus: “[K]ristian and a few of the others carefully got together and looked at

   it and examined the pros and the cons and the ups and downs, and came to the conclusion that their

   initial concern about the molecular basis of the concern was unwarranted and that what they saw

   was quite compatible and, in fact, suggestive of a natural evolution.” Fauci Dep. 81:8-15. In fact,

   Eddie Holmes and Kristian Andersen immediately began drafting an article attacking the lab-leak

   theory with no further investigation, which was sent to Dr. Fauci in less than three days. See infra.

   Dr. Fauci’s testimony on this point is not credible.

          671.    Farrar emailed Dr. Tedros of the World Health Organization and two senior WHO

   officials, along with Dr. Fauci and Dr. Collins, indicating that he had just spoken to the senior

   WHO officials and “[f]ully agree with your summary.” Fauci Ex. 8, at 1. Farrar emphasized the

   “urgency and importance” of the lab-leak question because of the “[g]athering interest evident in

   the scientific literature and in mainstream and social media to the question of the origin of this

   virus,” and thus it was “[c]ritical” to “get ahead of the science and the narrative of this” instead of

   “reacting to reports which could be very damaging.” Fauci Ex. 8, at 1. He also wrote, “I am sure

   I speak for Francis [Collins] and Tony [Fauci] when I say we are here and ready to play any

   constructive role in this,” as they “[d]o think this is an urgent matter to address.” Id.

          672.    Thus, Farrar, joined by Fauci and Collins, sent a message to the WHO that they

   wanted to “get ahead” of potentially damaging “narrative[s]” that might emerge “in mainstream

   and social media” about the origins of the virus. Id.




                                                    170
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 173 of 364 PageID #:
                                    16609



           673.   Later that day, on Feb. 2, Farrar separately emailed Fauci and Collins, stating

   “Tedros and Bernhard have apparently gone into conclave…they need to decide today in my view.

   If they do prevaricate, I would appreciate a call with you later tonight or tomorrow to think how

   we might take forward.” Fauci. Ex. 8, at 2. He also stated, “Meanwhile….” and linked to an

   online article speculating about the lab-leak origins of the virus—again indicating that Fauci,

   Farrar, and Collins were concerned about controlling online discourse about the lab-leak theory.

   Id.

           674.     The day after the conference all, Sunday, Feb. 2, Dr. Fauci, Jeremy Farrar, and Dr.

   Collins shared a series of emails (1) acknowledging that there were very serious arguments in favor

   of the lab-leak theory, and (2) repeatedly expressing concern about the lab-leak theory’s

   involvement on “social media.” The group, including Dr. Fauci, repeatedly expressed concern

   about postings about the lab-leak theory on social media. See Fauci Ex. 8.

           675.   First, after the Feb. 1 call, still on Feb. 1, Farrar sent an email to the group

   expressing concern that “[t]here will be media interest and there is already chat on

   Twitter/WeChat” about the lab-leak theory, and stating: “In order to stay ahead of the conspiracy

   theories and social media I do think there is an urgency for a body to convene” to address the lab-

   leak question. Fauci Ex. 8, at 9.

           676.   The next day, Feb. 2, Farrar then expressed concern that “these questions are being

   asked by politicians, starting in the scientific literature, [and] certainly on social and main stream

   media. If, and I stress if, this does spread further, pressure and tensions will rise. [I] fear these

   questions will get louder and more polarised and people will start to look to who to blame. … I am

   concerned if this is not done quite quickly it will be reacting to what may be lurid claims.” Fauci

   Ex. 8, at 7.




                                                    171
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 174 of 364 PageID #:
                                    16610



           677.     Another call participant then agreed that “this needs to be discussed urgently,” in

   part “because of the lurid claims on Twitter.” Fauci Ex. 8, at 6. He also noted that “if the

   evolutionary origins of the epidemic were to be discussed, I think the only people with sufficient

   information or access to samples to address it would be the teams working in Wuhan.” Id.

           678.     The same day, Farrar acknowledged “this is a very complex issue,” and again

   expressed concern about “social and main stream media”: “As discussed on the phone this

   discussion is not limited to those on this email, it is happening wider in the scientific, social and

   main stream media.” Fauci Ex. 8, at 5.

           679.     Dr. Collins then responded to Farrar and Dr. Fauci only, stating that “a confidence-

   inspiring framework … is needed, or the voices of conspiracy will quickly dominate, doing great

   potential harm to science and international harmony.” Fauci Ex. 8, at 5.

           680.     Farrar then shared notes with Fauci, Collins and Tabak (Collins’ deputy) from

   “Mike Farzan (discoverer of SARS receptor),” which stated that Farzan “is bothered by the furin

   cleavage site [a virus feature that looks bioengineered] and has a hard time explaining that as an

   event outside the lab,” and that “acquisition of the furin site would be highly compatible with the

   idea of continued passage of virus in tissue culture,” i.e., serial passage. Fauci Ex. 8, at 4. Farzan

   suggested that “a likely explanation” of the virus was serial passage of SARS-like coronaviruses

   in human cell lines, and he stated that “I am 70:30 or 60:40” in favor of laboratory origins. Fauci

   Ex. 8, at 3-4.

           681.     Farrar also shared notes from “Bob” [Garry] that he had “aligned” the new virus

   “with the 96% bat CoV sequenced at WIV [Wuhan Institute of Virology],” and viewed the lab-

   origin theory as highly likely: “I really can’t think of a plausible natural scenario … I just can’t




                                                    172
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 175 of 364 PageID #:
                                    16611



   figure out how this gets accomplished in nature. Do the alignment of the spikes at the amino acid

   level – it’s stunning.” Fauci Ex. 8, at 4.

          682.    Having shared these notes, Farrar noted, “On a spectrum if 0 is nature and 100 is

   release – I am honestly at 50! My guess is that this will remain grey, unless there is access to the

   Wuhan lab – and I suspect that is unlikely!” Fauci Ex. 8, at 3. Both Farrar and Collins expressed

   concerns that the WHO might move too slowly for their liking. Id.

          683.    Then, still on February 2, 2020, Dr. Fauci wrote to Farrar, Collins, and Lawrence

   Tabak (Dr. Collins’ principal deputy), stating: “Like all of us, I do not know how this evolved, but

   given the concerns of so many people and the threat of further distortions on social media, it is

   essential that we move quickly. Hopefully, we can get the WHO to convene.” Fauci Ex. 8, at 2

   (emphasis added).

          684.    Dr. Fauci claimed that he is completely dissociated from social media, stating: “I

   don’t do social media so I’m not familiar with them,” Fauci Dep. 98:15-16; and “You know, I'm

   so dissociated from social media. I don't have a Twitter account. I don't do Facebook. I don't do

   any of that, so I'm not familiar with that,” Fauci Dep. 99:5-8; see also, e.g., Fauci Dep. 103:12-14;

   210:3-8; 213:10-16; 241:6-9; 241:21-242:1; 301:10-11 (“I don't pay attention to things related to

   social media accounts.”); id. at 312:7-9 (“I can repeat it for the hundredth time, I really don't get

   involved in social media issues.”); id. at 356:15-16 (“I'm not a social media person.”).

          685.    In fact, Dr. Fauci’s daughter was then a software engineer at Twitter, Fauci Dep.

   99:23-100:15; Dr. Fauci has done numerous podcasts and interviews on social media, including

   with Mark Zuckerberg, Fauci Dep. 99:16-19, 101:1-6; Dr. Fauci had specifically expressed

   concern about “the threat of further distortions on social media” about the lab-leak theory in his

   contemporaneous email, Fauci Ex. 8, at 2; and Dr. Fauci’s communications staff had repeatedly




                                                   173
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 176 of 364 PageID #:
                                    16612



   emailed Twitter to try to remove postings critical of Dr. Fauci, see infra. Dr. Fauci’s professed

   ignorance of social media is not credible. His communications and conduct make clear that he is

   keenly aware and deeply concerned about what he believes are “distortions on social media.”

   Fauci Ex. 8, at 2.

          686.    Dr. Fauci also testified that “I don’t recall anything about social media” in his

   discussions with Farrar about the origins of the virus. Fauci Dep. 102:17-18. In light of the

   contemporaneous emails repeatedly raising concerns about discussions of the lab-leak theory on

   social media, this claim is not credible.

          687.    Dr. Fauci admits that he was “concerned about … there being misinformation or

   disinformation that would interfere with our trying to save the lives of people throughout the world,

   which happens when people spread false claims.”           Fauci Dep. 103:18-22.      He states that

   “misinformation and/or disinformation can lead to loss of life … and that troubles me.” Fauci

   Dep. 104:15-17. This includes the spread of misinformation and disinformation on social media,

   because “that’s part of the way information is disseminated.” Fauci Dep. 104:22-23.

          688.    After Dr. Fauci’s email about “the threat of further distortions on social media,”

   Farrar emailed back indicating that the WHO might not move quickly to address the lab-leak

   theory, and stating to Fauci and Collins: “they need to decide today in my view. If they do

   prevaricate, I would appreciate a call with you later tonight or tomorrow to think how we might

   take forward.” Fauci Ex. 8, at 2. He also stated: “Meanwhile….” and linked to an online posting

   expressing concerns about the lab-leak theory – indicating his dominant concern about online

   speech discussing the lab-leak theory. Id.

          689.    Soon thereafter, Farrar emailed Dr. Tedros of the WHO and two senior WHO

   officials, copying Fauci and Collins. Fauci Ex. 8, at 1. Farrar urged the WHO to quickly establish




                                                   174
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 177 of 364 PageID #:
                                    16613



   a working group to address the lab-leak theory, and reiterated that they should “[a]ppreciate the

   urgency and importance of this issue,” given the “[g]athering interest evident in the science

   literature and in mainstream and social media to the question of the origin of this virus,” and

   pressing them to “get ahead of … the narrative of this and not reacting to reports which could be

   very damaging.” Fauci Ex. 8, at 1.

          690.    Fauci claims that he does not believe there was any further communication between

   him and Farrar about this issue, despite Farrar’s urgent request for a follow-up call if the WHO

   did not act immediately. Fauci Ex. 8, at 2; Fauci Dep. 109:22-110:7. In light of their subsequent

   communications, this testimony is not credible.

          691.    By the early morning of February 4, 2020, Eddie Holmes had already sent a draft

   research paper attacking the lab-leak theory to Jeremy Farrar. Fauci Ex. 9, at 1. Holmes noted to

   Farrar that, in the draft, he “[d]id not mention [the virus’s] other anomalies as this will make us

   look like loons.” Fauci Ex. 9, at 1. To complete the draft between the afternoon of Saturday, Feb.

   1, and the early morning of Tuesday, Feb. 4, Holmes must have started working on it almost

   immediately after the Feb. 1 conference call.

          692.    Farrar forwarded this draft to Fauci and Collins at 2:01 a.m. on Tuesday morning,

   February 4, 2020, in an attachment called “Summary.” Fauci Ex. 10, at 3. He noted, “Please treat

   in confidence – a very rough first draft from Eddie and team – they will send on the edited, cleaner

   version later.” Id.; see also Fauci Ex. 12, at 1.

          693.    Dr. Collins responded: “I note that Eddie is now arguing against the idea that this

   is the product of intentional human engineering,” Fauci Ex. 10, at 3, a dramatic reversal of

   Holmes’s position a few days earlier that Holmes and Andersen “find the genome inconsistent

   with expectations from evolutionary theory.” Fauci Ex. 6, at 1. The paper’s conclusion was also




                                                       175
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 178 of 364 PageID #:
                                    16614



   profoundly at odds with Holmes’s statement, in the email sending the draft paper itself, that they

   would “look like loons” if the paper discussed the virus’s other “anomalies” that strongly

   suggested a lab origin. Fauci Ex. 9, at 1.

          694.    Collins also noted that Holmes had not ruled out the possibility of a lab-created

   virus through serial passage. Fauci Ex. 10, at 3. Farrar responded, stating “Eddie would be 60:40

   lab side. I remain 50:50.” Id. Eddie, however, had already drafted a paper that refuted the lab-

   leak theory, even though he evidently still believed was the better explanation. See id.

          695.    Regarding the possibility of serial passage, Dr. Fauci noted that “Serial passage in

   ACE2-transgenic mice” was a possibility for the virus’s origin, Fauci Ex. 10, at 2— notably, serial

   passage in humanized mice as was used in the 2015 Nature Medicine study. (Like so many other

   things, Dr. Fauci claims he does not recall this statement that he wrote. Fauci Dep. 115:22-116:12.)

   Collins responded, “Surely that wouldn’t be done in a BSL-2 lab?” and Farrar answered, “Wild

   West….” Fauci Ex. 10, at 2. This exchange indicates that that Fauci, Farrar, and Collins were

   concerned that the coronavirus had been created in Wuhan by serial passage through humanized

   mice in a low-security [BSL-2] lab and then escaped from that low-security lab—i.e., the precise

   concerns surrounding the NIAID-funded research at WIV. Id.; see also, e.g., Jones Decl., Ex. BB<

   at 14 (“In the above exchange, the health officials [Fauci, Farrar, and Collins] seem to be

   contemplating the possibility that the repeated passage of a coronavirus through genetically

   modified mice in an insufficiently secure lab could have resulted in the accidental emergence and

   release of SARS-CoV-2.”).

          696.    Later in the evening of the same day, Tuesday, Feb. 4, Farrar sent Fauci and Collins

   a second version of draft, entitled “Summary,” with the note “Tidied up.” Fauci Ex. 12, at 7. Dr.

   Fauci claims he does not remember receiving these drafts. Fauci Dep. 127:4-10.




                                                   176
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 179 of 364 PageID #:
                                    16615



          697.    The next day, February 5, 2020, Farrar sent Fauci and Collins a third version of the

   draft, still entitled “Summary,” with a note: “Tony and Francis The revised draft from Eddie,

   copied here.” Fauci Ex. 12, at 8.

          698.    Two days later, on February 7, 2020, Farrar sent Fauci and Collins a fourth version

   of the same draft, entitled “Summary.Feb7.pdf,” with the note in the subject line, “Revised draft.”

   Fauci Ex. 11, at 2. This draft made clear that Holmes and his co-authors planned to aggressively

   discredit the lab-leak theory. It stated in bold in the beginning “Overview” section: “Analysis of

   the virus genome sequences clearly demonstrates that the virus is not a laboratory construct

   or experimentally manipulated virus.” Fauci Ex. 11, at 3 (bold in original).

          699.    This was the fourth updated draft that Farrar sent to Fauci and Collins of the paper

   discrediting the lab-leak theory in the first week since the Feb. 1 secret conference call. The draft

   advocated that genetic evidence “clearly demonstrates” that the lab-leak theory is false. Id.

          700.    Dr. Fauci claims that he did not have any involvement in Farrar’s efforts to push

   the WHO to assemble a working group to address the lab-leak theory. Fauci Dep. 110:4-7 (“So I

   really would doubt that there was any further communication between me and the WHO about

   this. This was fundamentally Jeremy's lane, if you want to call it that.”); id. at 125:17-19 (“I didn’t

   have any direct involvement with the WHO, not to my recollection.”); id. at 131:14-15 (“This was

   mostly a Jeremy-led thing”). But in fact, Dr. Fauci sent multiple emails to Farrar urging for the

   inclusion of a long list of specific scientists in the WHO’s working group. Fauci Ex. 13, at 1-2, 6.

          701.    On Feb. 5, 2020, Farrar emailed Fauci and Collins, stating that he believed that the

   WHO would assemble a working group to address the lab-leak theory, and urging Fauci and

   Collins to provide names of scientists to participate in the group. Fauci Ex. 13, at 7. Farrar stated

   that the WHO “have asked for names to sit on that Group – please do send any names.” Id. He




                                                    177
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 180 of 364 PageID #:
                                    16616



   then stated, “We can have a call this week with a core group of that to frame the work of the Group

   including – if you could join?” Id. (emphasis added). And then he stated, “With names to be put

   forward into the Group from us and pressure on this group from your and our teams next week.”

   Id. (emphasis added). Plainly, Farrar intended, with Fauci and Collins’ assistance, to stack the

   WHO’s group with their hand-picked scientists, have an advance call “to frame the work of the

   Group,” and to put “pressure on this group from [Fauci’s and Collins’] and our teams next week,”

   id.—to influence and control the outcome of the WHO Group’s deliberations.

           702.    Fauci and Collins did not dispute this plan. On the contrary, Fauci responded by

   providing Farrar with a detailed list of eight scientists to include in the WHO’s group “in addition

   to the individuals who were on the call with us last Saturday.” Fauci Ex. 13, at 2, 6. Fauci then

   followed up to his own email with an additional scientist, stating she is “an important name for the

   coronavirus evolution working group. Please include her.” Id. at 1. Fauci’s attempts to downplay

   his involvement with the plan to create and control a WHO working group on COVID-19’s origins

   to discredit the lab-leak theory, therefore, are not credible.

           703.    Dr. Fauci testified that he, Farrar, and Collins “wanted to get them [the WHO]

   involved because we wanted to make sure that this was an open and transparent discussion,” Fauci

   Dep. 126:9-12, is not credible in light of the contemporaneous email from Farrar to Fauci and

   Collins plotting to “frame the work of the Group” and put “pressure on this group from your and

   our teams next week.” Fauci Ex. 13, at 3.

           704.    Dr. Fauci claims he does not recall any discussions about framing the work of the

   Group, or putting pressure on the Group. Fauci Dep. 137:1-21.

           705.    On February 9, 2020, Dr. Fauci participated in a joint podcast with Dr. Peter Daszak

   of the EcoHealth Alliance to discuss the outbreak of COVID-19. Fauci Ex. 15, at 1.




                                                     178
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 181 of 364 PageID #:
                                    16617



          706.       Peter Daszak was then involved in organizing a statement for the Lancet seeking to

   discredit the lab-leak theory, similar to the article then being drafted by Eddie Holmes, of which

   Dr. Fauci had received four drafts the previous week. See Jones Decl., Ex. CC, at 1. Just a few

   days later, The Lancet would publish a statement of scientists organized and co-signed by Daszak

   and Jeremy Farrar, which stated: “We stand together to strongly condemn conspiracy theories

   suggesting that COVID-19 does not have a natural origin.” Id. Thus, at that time, Daszak was

   working in parallel with Dr. Fauci, and together with Jeremy Farrar, to produce a published article

   discrediting the lab-leak theory. Id.

          707.       During the podcast, both Dr. Fauci and Daszak made comments seeking to discredit

   the lab-leak theory. Fauci Ex. 16, at 1. Fauci, when asked “Do you have any sense of where [the

   virus] probably came from?” answered, “Well I think ultimately we know that these things come

   from an animal reservoir. I heard these conspiracy theories and like all conspiracy theories … they

   [are] just conspiracy theories…. I think the things you are hearing are still in the realm of

   conspiracy theories without any scientific basis for it.” Id. Daszak was asked, “Is it your sense

   that it’s almost certain it came from an animal-to-human transmission?” and he responded: “All

   the evidence says that is what happened. … It looks to me and to most scientists like it’s a bat virus

   that got into people either in the market or in rural China and just unfortunately has the capacity

   to spread.” Id.

          708.       On February 11, 2020, Dr. Fauci had a meeting at NIAID with Dr. Ralph Baric, the

   corresponding author of the 2015 Nature Medicine article about NIAID-funded gain-of-function

   research in Wuhan that Dr. Fauci sent to Hugh Auchincloss after midnight on Feb. 1. Fauci Ex.

   17, at 1 (Dr. Fauci’s official calendar, Feb. 11, 2020, at 2:30 p.m. – “Meeting with Dr. Ralph

   Baric”). Dr. Fauci does not dispute that he met with Dr. Ralph Baric that day, but (like so many




                                                    179
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 182 of 364 PageID #:
                                    16618



   other things) he claims that he does not recall the meeting or what they discussed. Fauci Dep.

   149:9-10, 149:21-23. As noted above, given that Dr. Fauci was deeply concerned about Baric’s

   research at the time, Dr. Fauci’s testimony on this point is not credible.

          709.    On Feb. 11, 2020, Ian Lipkin wrote an email referring to the draft paper about the

   origins of COVID-19 stating that, while the paper was “well-reasoned and provides a plausible

   argument against genetic engineering,” it “does not eliminate the possibility of an inadvertent

   release following adaptation through selection in culture at the institute in Wuhan. Given the scale

   of the bat CoV research pursued there and the site emergence of the first human cases we have a

   nightmare of circumstantial evidence to assess.” Fauci Ex. 18, at 1. Dr. Fauci states that he does

   not recall this email but that “it’s entirely possible that Ian wrote this to me,” because “Ian

   communicates with me.” Fauci Dep. 153:15-17.

          710.    Dr. Fauci testified that it is “molecularly” impossible that SARS-CoV-2 originated

   from NIAID-funded research: “molecularly, that could not have happened.” Id. at 157:21-22. But

   separately, he repeatedly testified that molecular virology is not his field, so his certainty on this

   one key point is not credible. Id. at 64:8-9 (“that’s not my field, evolutionary virology”); id. at

   117:19-20 (“I’m hesitant to go there because that’s not my area of expertise”); id. at 127:12-13 (“it

   was an area that was not my area of expertise”); id. at 160:7-9 (“Did I fully understand the

   molecular virology of it? Unlikely, because I’m not an evolutionary virologist.”).

          711.    On February 17, 2020, the preprint version of the paper drafted by Eddie Holmes

   attacking the lab-leak theory was released. Fauci Ex. 19. The paper was entitled, “The Proximal

   Origins of SARS-CoV-2.” Id. at 12. Its listed authors were Kristian Andersen, Andrew Rambaut,

   Ian Lipkin, Edward Holmes, and Robert Garry. Id. All these authors, except possibly Ian Lipkin,




                                                    180
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 183 of 364 PageID #:
                                    16619



   had been participants in the secret phone conference at 2:00 p.m. on Saturday, Feb. 1, 2020. Fauci

   Dep. 161:7-10.

          712.    These authors had a financial interest in supporting NIH’s preferred narrative.

   “Garry and Andersen have both been recipients of large grants from NIH in recent years, as has

   another ‘Proximal Origin’ author, W. Ian Lipkin of Columbia University.” Jones Decl., Ex. BB.

          713.    These authors were stunningly recent converts to the theory of natural origin. On

   February 11, Ian Lipkin had sent an email about the same paper stating that “we have a nightmare

   of circumstantial evidence to assess.” Fauci Ex. 18, at 1. On February 4, Holmes had written to

   Farrar that he avoided discussing the virus’s “other anomalies as this will make us look like loons.”

   Fauci Ex. 9, at 1.

          714.    On February 2, Bob Garry had written to Farrar, “I really can’t think of a plausible

   natural scenario … I just can’t figure out how this gets accomplished in nature. Do the alignment

   of the spikes at the amino acid level – it’s stunning.” Fauci Ex. 8, at 4. On January 31, Andersen

   had written to Dr. Fauci that the virus’s “features (potentially) look engineered,” and that “after

   discussion earlier today, Eddie [Holmes], Bob [Garry], … and myself all find the genome

   inconsistent with expectations from evolutionary theory.” Fauci Ex. 6, at 1.

          715.    The preprint version of “The Proximal Origin of SARS-CoV-2” asserted a very

   different conclusion. It stated that “this analysis provides evidence that SARS-CoV-2 is not a

   laboratory construct nor a purposefully manipulated virus.” Fauci Ex. 19, at 2. It stated that

   “genomic evidence does not support the idea that SARS-CoV-2 is a laboratory construct.” Id. at

   6.

          716.    Dr. Fauci does not dispute that this preprint was sent to him. Fauci Dep. 160:3-4

   (“It is likely that this was sent to me”). Dr. Fauci admits that he reviewed the preprint when it was




                                                   181
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 184 of 364 PageID #:
                                    16620



   sent to him. Id. at 160:7 (“Did I look through it? Yes.”). And Dr. Fauci admits that he was aware

   of what their conclusion was about the lab-leak theory. Id. at 162:13-15 (“I am certain that having

   looked at it, I was aware of what their conclusion was.”).

          717.      This was the fifth version of the paper that was sent to Dr. Fauci to review, after

   four drafts sent to him on Feb. 4, 5, and 7. Id. at 160:13-16.

          718.      On March 6, 2020, Kristian Andersen emailed Dr. Fauci, Dr. Collins, and Jeremy

   Farrar, stating, “Dear Jeremy, Tony, and Francis, Thanks again for your advice and leadership as

   we have been working through the SARS-CoV-2 ‘origins’ paper. We are happy to say that the

   paper was just accepted by Nature Medicine and should be published shortly …. To keep you in

   the loop, I just wanted to share the accepted version with you, as well as a draft press release.

   We’re still waiting for proofs, so please let me know if you have any comments, suggestions, or

   questions about the paper or the press release.” Fauci Ex. 22, at 1. He also wrote: “Tony, thank

   you for your straight talk on CNN last night – it’s being noticed.” Id.

          719.      Thus, Andersen thanked Dr. Fauci, Collins, and Farrar for their “advice and

   leadership” about the paper, sent them the final draft, and asked for their input both on the draft

   and on their public messaging about the draft. Id.

          720.      This was the sixth version of the paper that was forwarded to Dr. Fauci for review

   and input. Id.

          721.      Dr. Fauci responded: “Kristian: Thanks for your note. Nice job on the paper.

   Tony.” Id.

          722.      Dr. Fauci denies that he provided “advice and leadership” in the preparation of the

   paper. Fauci Dep. 171:11-13. In light of the extensive meetings and correspondence detailed

   above, that testimony is not credible.




                                                    182
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 185 of 364 PageID #:
                                    16621



          723.    On March 17, 2020, Nature Medicine published the online version of The Proximal

   Origin of COVID-19. Fauci Ex. 24, at 3. The print version appeared in the April 2020 volume of

   the journal. Id.

          724.    The final, published version of the article makes even stronger claims attacking the

   lab-leak theory than the preprint version. In its opening, the article states: “Our analyses clearly

   show that SARS-CoV-2 is not a laboratory construct or a purposefully manipulated virus.” Fauci

   Ex 24, at 1 (emphasis added). Similarly strong language, leaving no room for doubt, occurs

   throughout the article: “the genetic data irrefutably show that SARS-CoV-2 is not derived from

   any previously used viral backbone,” id. at 1 (emphasis added). “This clearly shows that the

   SARS-CoV-2 spike protein optimized for binding to human-like ACE2 is the result of natural

   selection,” id. at 2 (emphasis added).      “[T]he evidence shows that SARS-CoV-2 is not a

   purposefully manipulated virus,” id. at 3. “[W]e do not believe that any type of laboratory-based

   scenario is plausible.” Id. at 3. “SARS-CoV-2 originated via natural selection.” Id. at 3.

          725.    Thus, between the preprint version and final version of the article, the article

   substantially beefed up its conclusion that the lab-leak theory is implausible and should be

   discredited. Dr. Fauci claims he does not “recall specific conversations” about that conclusion

   with the authors, but he admits that he is “sure” that he discussed that conclusion with them: “we

   read the preprint and, therefore, we knew what the conclusion was, and I'm sure that that

   conclusion was discussed. So I would not be surprised at all following the initial preprint that I

   discussed the conclusion of these authors that this is not a laboratory construct or a purposely

   manipulated virus.”    Fauci Dep. 181:3-10; see also id. at 181:18-22.         Based on all these

   circumstances, it is likely that Dr. Fauci encouraged the authors to express a stronger and more

   unequivocal conclusion against the lab-leak theory than reflected in the preprint.




                                                   183
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 186 of 364 PageID #:
                                    16622



          726.    Once the article “The Proximal Origin of SARS-CoV-2” was released, both Dr.

   Fauci and Dr. Collins took steps to push it into prominence. First, on March 26, 2020, Dr. Collins

   published a blog post on the article on the “NIH Director’s Blog” entitled “Genomic Study Points

   to Natural Origin of COVID-19.” Fauci Ex. 25, at 1.

          727.    Dr. Collins used strong language relying on the study to attack and discredit the

   lab-leak theory as “outrageous” and “debunk[ed]”: “Some folks are even making outrageous

   claims that the new coronavirus causing the pandemic was engineered in a lab and deliberately

   released to make people sick. A new study debunks such claims by providing scientific evidence

   that this novel coronavirus arose naturally.” Fauci Ex. 25, at 2. Dr. Collins stated that the study

   shows that “the coronavirus that causes COVID-19 almost certainly originated in nature,” and that

   “this study leaves little room to refute a natural origin for COVID-19.” Fauci Ex. 25, at 3.

          728.    In his blog post, Dr. Collins did not disclose that he and Dr. Fauci had been part of

   the group that organized the study, nor that he and Dr. Fauci had reviewed six versions of the study

   before it was published. Fauci Ex. 25.

          729.    As was evidently intended, Dr. Collins’s blog post immediately fueled media

   coverage attacking the lab-leak theory as a “conspiracy theory.” For example, the next day, March

   27, 2020, ABC News ran a story entitled, “Sorry, conspiracy theorists. Study concludes COVID-

   19 ‘is not a laboratory construct.’” Fauci Ex. 26. The article quoted Bob Garry—who on January

   31 had found “the genome inconsistent with the expectations of evolutionary theory,” Fauci Ex.

   6, at 1, and on February 1 had told Farrar that “I just can’t figure out how this gets accomplished

   in nature … it’s stunning,” Fauci Ex. 8, at 4—as stating that “[t]his study leaves little room to

   refute a natural origin for COVID-19.” Fauci Ex. 26, at 3-4.




                                                   184
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 187 of 364 PageID #:
                                    16623



          730.    Dr. Fauci testified that he could not remember any contact from Dr. Collins about

   “The Proximal Origin of SARS-CoV-2” after Dr. Collins’ blog post on March 26, 2020. Fauci

   Dep. 186:19-187:6. In light of their subsequent communications and Dr. Fauci’s actions, this

   testimony is not credible.

          731.    In fact, Dr. Collins emailed Dr. Fauci about the article on Thursday, April 16, 2020.

   Fauci Ex. 27. The email linked to a Fox News piece by Bret Baier alleging that sources were

   “increasingly confident” that SARS-CoV-2 originated in a lab, and it stated: “Wondering if there

   is something NIH can do to help put down this very destructive conspiracy, with what seems to be

   growing momentum.” Fauci Ex. 27, at 1. Dr. Collins stated, “I hoped the Nature Medicine article

   on the genomic sequence of SARS-CoV-2 [i.e., “The Proximal Origin of COVID-19] would settle

   this. … Anything more we can do?” Fauci Ex. 27, at 1.

          732.    Dr. Fauci responded to Dr. Collins at 2:45 a.m. the next day, Friday, April 17,

   stating only: “Francis: I would not do anything about this right now. It is a shiny object that will

   go away in times. Best, Tony.” Fauci Ex. 27, at 2.

          733.    Dr. Fauci testified that he did not take “any steps to increase the visibility of the

   article after this” email exchange with Dr. Collins. 191:21-22; see also 195:10-17. That testimony

   is incorrect and not credible.

          734.    In fact, that same day, Dr. Fauci took matters into his own hands to make the lab-

   leak theory “go away.” At the joint press conference on April 17, 2020, with President Trump,

   Vice President Pence, and Dr. Fauci, a reporter asked, “Mr. President, I wanted to ask Dr. Fauci:

   Could you address the suggestions or concerns that this virus was somehow manmade, possibly

   came out of a laboratory in China?” Fauci Ex. 28, at 2. Dr. Fauci responded: “There was a study

   recently that we can make available to you, where a group of highly qualified evolutionary




                                                   185
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 188 of 364 PageID #:
                                    16624



   virologists looked at the sequences there and the sequences in bats as they evolve. And the

   mutations that it took to get to the point where it is now is [pause for emphasis] totally consistent

   with a jump of a species from an animal to a human.” Id.; see also id. 199:18-25 (Dr. Fauci

   conceding that, “when you said that sentence about totally consistent, you pause and use that

   phrase, ‘totally consistent’ with emphasis” – “Right.”); see also Video of April 17, 2020 White

   House Coronavirus Task Force Briefing, at https://www.youtube.com/watch?v=brbArpX8t6I

   (exchange starting at 1:38:32 of video).

          735.    Dr. Fauci then feigned ignorance and unfamiliarity with the authors of the study:

   “the paper will be available – I don’t have the authors right now, but we can make that available

   to you.” Fauci Ex. 28, at 2. Presenting himself as unconnected with the paper, Dr. Fauci did not

   reveal (1) that he was part of a group that had launched the paper in a clandestine phone call on

   Saturday, Feb. 1; (2) that he had extensively corresponded with Jeremy Farrar about the paper and

   its conclusions; (3) that the authors of the paper had sent six versions to him, Jeremy Farrar, and

   Dr. Collins to review; (4) that he had likely urged the authors to beef up their conclusion attacking

   the lab-leak theory between the preprint and published versions of the paper; (5) that the authors

   had personally thanked him for his “advice and leadership” in drafting the paper; or (6) that Dr.

   Collins had emailed him the day before to ask him to push the paper publicly or take other steps

   to discredit the lab-leak theory.

          736.    Dr. Fauci does not dispute that he was referring to “The Proximal Origin of SARS-

   CoV-2” in his public remarks at the April 17, 2020, White House press briefing. Fauci Dep. 201:2-

   6 (“I assume it was the Nature Medicine paper…. I think it was.”).

          737.    Dr. Fauci testified that he did not make that paper available to any reporters after

   the press conference. Id. at 201:7-9 (“Not to my knowledge.). That testimony is not credible.




                                                   186
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 189 of 364 PageID #:
                                    16625



          738.    In fact, over the weekend following the press conference, Dr. Fauci personally

   responded to an inquiry from a reporter specifically asking for the study he had referred to at the

   April 17, 2020 press conference, and provided a link to “The Proximal Origin of SARS-CoV-2.”

   Fauci Ex. 29, at 1. On Sunday, April 19, a reporter emailed the White House press office asking,

   “Dr. Fauci said on Friday he would share a scientific paper with the press on the origin of the

   coronavirus. Can you please help me get a copy of that paper?” Id.

          739.    Dr. Fauci personally responded to this reporter, stating, “Bill: Here are the links to

   the scientific papers and a commentary about the scientific basis of the origins of SARS-CoV-2.”

   Fauci Ex. 29, at 1. He then provided three links. The first was a link to the online version of “The

   Proximal Origin of SARS-CoV-2.” The second and third were links to a paper and an online

   statement by Eddie Holmes, whom Dr. Fauci knew had begun secretly drafting the paper that

   became “The Proximal Origin of SARS-CoV-2” immediately after the clandestine Feb. 1

   conference call with Dr. Fauci, Jeremy Farrar, and others. Fauci Ex. 29, at 1. The second link to

   a paper authored by Holmes was “a commentary on [The Proximal Origin of SARS-CoV-2] in the

   journal Cell.” Fauci Dep. 202:25-203:1; see also id. at 203:2-16.

          740.    On April 18 and 19, 2020, Dr. Fauci exchange cordial emails with Peter Daszak of

   the EcoHealth Alliance, who steers NIAID funds to finance bat coronavirus research with Dr. Shi

   Zhengli at the Wuhan Institute of Virology. On Saturday, April 18, Daszak emailed Dr. Fauci,

   calling him “Tony,” and stating: “As the PI of the R01 grant publicly targeted by Fox News

   reporters at the Presidential press briefing last night, I just wanted to say a personal thank you …

   for standing up and stating that the scientific evidence supports a natural origin for COVID-19 …

   not a lab release from the Wuhan Institute of Virology.” Fauci Ex. 30, at 1. Daszak also wrote:

   “Once this pandemic’s over I look forward to thanking you in person and let you know how




                                                   187
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 190 of 364 PageID #:
                                    16626



   important your comments are to us all.” Id. Dr. Fauci responded on April 19: “Peter: Many thanks

   for your kind note.” Id.

          741.    Dr. Fauci’s and Dr. Collins’s efforts to orchestrate and publicize “The Proximal

   Origin of SARS-CoV-2” as a method of discrediting the lab-leak theory were highly effective.

   “The Proximal Origin of SARS-CoV-2” became one of the most widely read and most publicized

   scientific papers in history, with pervasive media coverage using it to discredit the lab-leak theory.

   “The paper has been accessed online more than 5.7 million times and has been cited by more than

   2,000 media outlets. … It became one of the best-read papers in the history of science.” Jones

   Decl., Ex. BB, at 3.

          742.    As a direct result of these efforts, speech and speakers advocating for the lab-leak

   theory of COVID-19’s origins were extensively censored on social media platforms.

          743.    Twitter took aggressive censorship action against such speech and speakers. For

   example, on September 16, 2020, Twitter suspended the account of a Chinese virologist who

   claimed coronavirus was made in a lab. Fauci Ex. 31, at 1. “Twitter has suspended the account

   of a Chinese scientist who suggested that the novel coronavirus was created in a lab … despite

   inconclusive evidence.” Fauci Ex. 31 at 2.

          744.    Facebook, likewise, took aggressive steps to censor the lab-leak theory on social

   media, even going so far as to formalize this policy as part of its official content-moderation policy.

   Fauci Ex. 32, at 3 (Facebook announcing that “we are expanding the list of false claims we will

   remove to include additional debunked claims about the coronavirus and vaccines,” including

   “COVID-19 is man-made or manufactured”). Facebook noted that “we already prohibit these

   claims in ads,” and promised “to take aggressive action against misinformation about COVID-19

   and vaccines.” Id. Facebook promised to “begin enforcing this policy immediately, with a




                                                    188
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 191 of 364 PageID #:
                                    16627



   particular focus on Pages, groups or accounts that violate these rules …. Groups, Pages, and

   accounts on Facebook that repeatedly share these debunked claims may be removed altogether.”

   Id.

          745.    Like Twitter, Facebook censored even high-profile speakers who raised questions

   about the origins of COVID-19 or advanced the lab-leak hypothesis. For example, Facebook

   censored an article by award-winning British journalist Ian Birrell who raised “the question of the

   origins of the Covid-19 virus within Wuhan” and criticized the natural-origin theory of the virus.

   Fauci Ex. 33, at 1.

          746.    Dr. Fauci claims that he is not aware of any suppression of speech about the lab-

   leak theory on social media: “I'm not aware of suppression of speech on social media to my

   knowledge…. I don't recall being aware of suppression of anything.” Fauci Dep. 208:10-14. He

   claims that this ignorance is because he does not pay any attention to anything said on social media:

   “This is not something that would be catching my attention because, you know, the social media

   and Twitter, I told you, I don't have a Twitter account. I don't tweet. I don't do Facebook. I don't

   do anything. So social media stuff, I don't really pay that much attention to.” Id. at 210:3-8. As

   noted above, Dr. Fauci’s emails and actions reflect extensive concern about what is said on social

   media, and his attempt to cast himself as someone with no knowledge of social media is not

   credible.

          747.    Further, Dr. Fauci’s emails and interrogatory responses show a close relationship

   with the CEO and founder of Meta (Facebook/Instagram), Mark Zuckerberg.

          748.    On February 27, 2020, Mark Zuckerberg emailed Dr. Fauci directly to inquire about

   the development of the COVID-19 vaccine and offer the assistance of the Chan-Zuckerberg

   foundation. Fauci Ex. 23, 1. Zuckerberg already had Dr. Fauci’s email, called Dr. Fauci by his




                                                   189
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 192 of 364 PageID #:
                                    16628



   first name “Tony,” and wrote as if he had a preexisting acquaintance with Dr. Fauci. Id. Dr. Fauci,

   likewise, responded to Zuckerberg on a first-name basis and with the familiar tone of an

   acquaintance. Fauci Ex. 23, at 2.

          749.      Dr. Fauci claims that he does not recall whether he had already met Mark

   Zuckerberg. Fauci Dep. 173:17-174:5 (“I meet thousands of people. I’m not sure I ever met him

   in person.”). But in fact, Dr. Fauci still refers to Mark Zuckerberg by his first name. Id. at 289:9-

   16.

          750.      On March 15, 2020, Mark Zuckerberg sent Dr. Fauci a lengthy email to offer close

   coordination between Dr. Fauci and Facebook on COVID-19 messaging. In the email, Zuckerberg

   thanked Dr. Fauci for his leadership, and “share[d] a few ideas of ways to help you get your

   message out.” Fauci Ex. 23, at 3. Zuckerberg made three proposals: (1) Facebook was about to

   launch a “Coronavirus Information Hub” visible at the top of the page to all Facebook users to

   “get authoritative information from reliable sources,” and Zuckerberg offered to include “a video

   from you” as a “central part of the hub,” id.; (2) Zuckerberg was “doing a series of livestreamed

   Q&As from health experts” for his 100 million followers and wanted Dr. Fauci to do one of these

   videos, id.; and (3) Zuckerberg advised Dr. Fauci that Facebook had “allocated technical resources

   and millions of dollars of ad credits for the US government to use for PSAs to get its message out

   over the platform,” and he wanted Dr. Fauci to recommend “a point person for the government

   response,” id.

          751.      Dr. Fauci responded the next day, telling “Mark” that “[y]our idea and proposal

   sound terrific,” that he “would be happy to do a video for your hub,” and that “your idea about

   PSAs is very exciting.” Fauci Ex. 23, at 4. He copied his Special Assistant to put Zuckerberg in




                                                   190
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 193 of 364 PageID #:
                                    16629



   touch with the right point person for the government to arrange specially subsidized government

   messaging about COVID-19 on Facebook. Id.

          752.    Zuckerberg replied the same day, stating “[w]e’d love to move quickly to help the

   effort and support getting these messages out.” Fauci Ex. 23, at 6.

          753.    Dr. Fauci claims that the U.S. Government did not accept Facebook’s offer of free

   ad credits to support the Government’s COVID-19 messaging. Fauci Dep. 177:22-178:4 (“I don't

   believe that there was any money that was given from the Zuckerberg to the United States

   government to do PSAs. It's possible, but it certainly didn't happen to my knowledge. I don't recall

   money being given for PSAs.”). But at the time, Dr. Fauci described the proposal as “very

   exciting” and immediately followed up on Zuckerberg’s offer. Fauci Ex. 23, at 4. Separate emails

   from Facebook to the White House corroborate these ad credits. See, e.g., Doc. 174-1, at 46. Dr.

   Fauci’s testimony on this point is not credible.

          754.    Dr. Fauci and Zuckerberg have “interacted on Facebook Zoom-type podcasts.”

   Fauci Dep. 175:17-18. Dr. Fauci did “[t]hree live stream Facebook-type Q and As” about COVID-

   19 with Zuckerberg. Fauci Dep. 177:2-4.

          755.    Dr. Fauci’s interrogatory responses reveal extensive direct communications

   between Dr. Fauci and Zuckerberg.           See Scully Ex. 12, at 33, 53-54 (identifying 13

   communications between Dr. Fauci and Zuckerberg, including emails, phone calls, virtual

   meetings, and live broadcasts, over a nine-month period in 2020).

          756.    Reviewing the foregoing facts about Dr. Fauci’s communications with Farrar,

   Eddie Holmes, and others, former Director of the CDC Robert Redfield “had a dawning

   realization. He concluded there’d been a concerted effort not just to suppress the lab-leak theory

   but to manufacture the appearance of a scientific consensus in favor of a natural origin. ‘They




                                                      191
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 194 of 364 PageID #:
                                    16630



   made a decision, almost a P.R. decision, that they were going to push one point of view only’ and

   suppress rigorous debate, said Redfield. ‘They argued they did it in defense of science, but it was

   antithetical to science.’” Jones Decl., Ex. AA.

          B.      Dr. Fauci’s Efforts to Suppress Speech on Hydroxychloroquine.

          757.    On May 22, 2020, The Lancet published an online article entitled

   “Hydroxychloroquine or chloroquine with or without a macrolide for treatment of COVID-19: a

   multinational registry analysis.” Fauci Ex. 35, at 1. The article purported to analyze 96,032

   patients to compare cohorts who did and did not receive hydroxychloroquine or chloroquine to

   treat COVID-19. Id. The study concluded that hydroxychloroquine and chloroquine were

   “associated with decreased in-hospital survival and an increased frequency of ventricular

   arrhythmias when used for COVID-19.” Id.

          758.    On May 27, 2020, Dr. Fauci publicly cited this study to claim that

   hydroxychloroquine is “not effective against coronavirus.” Fauci Ex. 34, at 1. Dr. Fauci “became

   the first Trump administration official to say definitively that hydroxychloroquine is not an

   effective treatment for the coronavirus.” Id. at 2. “‘The scientific data is really quite evident now

   about the lack of efficacy,’ Fauci … said on CNN.” Id.

          759.    Dr. Fauci’s comments were based on the May 22 Lancet study. Id. at 3 (“Fauci’s

   comments come days after the Lancet published a 96,000-patient observational study that

   concluded that hydroxychloroquine had no effect on Covid-19 and may even have caused some

   harm.”).

          760.    The Lancet article was an observational study, not a randomized trial. At the time,

   “[t]here [wa]s no data yet from randomized, controlled clinical trials of hydroxychloroquine – the




                                                     192
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 195 of 364 PageID #:
                                    16631



   gold standard for evaluating potential treatments.” Fauci Ex. 34, at 4. “But Fauci was unequivocal

   on [May 27, 2022], saying that ‘the data are clear right now.’” Id.

           761.     Just a few days later, The Lancet retracted the May 22, 2022 study. Fauci Ex. 35,

   at 1. An article reporting on the retraction noted that the study’s authors “were unable to confirm

   that the data set was accurate,” that “several concerns were raised with respect to the veracity of

   the data,” the study may have “include[ed] more cases than possible,” and that “[a] first-year

   statistics major could tell you about major flaws in the design of the analysis.” Jones Decl., Ex.

   DD, at 2-3.

           762.    Thus, Dr. Fauci’s initial dismissal of hydroxychloroquine was based on a purely

   observational study – not a randomized, controlled trial – and one that was retracted for glaring

   errors just days later.

           763.    Dr. Fauci testified that he did not recall that The Lancet study he cited to discredit

   the efficacy of hydroxychloroquine had been retracted. Fauci Dep. 223:7 (“I don’t recall it being

   retracted.”).

           764.    Dr. Fauci stepped up his public campaign to discredit hydroxychloroquine by

   insisting that its effectiveness could only be judged by undergoing rigorous, randomized, double-

   blind, placebo-based studies, notwithstanding his previous reliance on the less-than-rigorous

   observational study in The Lancet that was subsequently retracted. On July 31, 2020, Dr. Fauci

   testified before the House Select Subcommittee on Coronavirus Crisis, during which he stated:

   “The point that I think is important, because we all want to keep an open mind, any and all of the

   randomized placebo-controlled trials, which is the gold standard of determining if something is

   effective, none of them had shown any efficacy by hydroxychloroquine. Having said that, I will

   state, when I do see a randomized placebo-controlled trial that looks at any aspect of




                                                    193
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 196 of 364 PageID #:
                                    16632



   hydroxychloroquine, either early study, middle study, or late, if that randomized placebo-

   controlled trial shows efficacy, I would be the first one to admit it and to promote it. But I have

   not seen yet a randomized placebo-controlled trial that’s done that. And in fact, every randomized

   placebo-controlled trial that has looked at it, has shown no efficacy. So, I just have to go with the

   data. I don’t have any horse in the game one way or the other, I just look at the data.” See

   https://www.youtube.com/watch?v=RkNC5OQD2UE.

          765.    Despite his insistence before a congressional committee that randomized, placebo-

   controlled trials were the determining factor for his opinion regarding the effectiveness of

   hydroxychloroquine in the treatment of COVID-19, Dr. Fauci quietly admitted that such rigorous

   studies are not actually required to determine the efficacy of a therapeutic drug. Dr. Fauci was

   asked, “Do you recall saying in connection with the discussion of hydroxychloroquine that a

   randomized double blind placebo based study is the gold standard?” Fauci Dep. 244:8-11. He

   replied, “That is the gold standard for everything. It isn’t always needed, but for the most part, it’s

   the gold standard.” Id. at 244:12-14 (emphasis added).

          766.    Dr. Fauci’s sudden reversal concerning the critical standards for scientific studies

   to determine the effectiveness of hydroxychloroquine demonstrated a lack of candor to the House

   Select Subcommittee on Coronavirus Crisis. Indeed, Dr. Fauci misled the Committee when he

   failed to disclose that randomized, double-blind, placebo-based studies are not always needed and

   that he previously relied on the observational, i.e., non-randomized, non-double-blind, non-

   placebo-based study in The Lancet to form an opinion about that drug’s efficacy in the first place.

   Dr. Fauci lacks credibility on this point.

          767.    Despite mounting evidence against his position, Dr. Fauci testified that his opinion

   against hydroxychloroquine was based on other studies as well as the retracted article in The




                                                    194
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 197 of 364 PageID #:
                                    16633



   Lancet, but he could not identify any of those studies. Fauci Dep. 223:12-18 (“I don’t recall

   specifically what those studies are now.”).

          768.    Dr. Fauci did not retreat from his hard public stance against hydroxychloroquine.

   On July 26, 2020, a group called “America’s Frontline Doctors” held a press conference at the

   U.S. Capitol criticizing the government’s response to the COVID-19 pandemic and touting the

   benefits of hydroxychloroquine in treating the coronavirus. Fauci Ex. 38, at 5.

          769.    Dr. Fauci responded to this event with highly visible public statements condemning

   the use of hydroxychloroquine. For example, he stated on “Good Morning America,” that “[t]he

   overwhelming prevailing clinical trials that have looked at the efficacy of hydroxychloroquine

   have indicated that it is not effective in coronavirus disease.” Fauci Ex. 36, at 5. Dr. Fauci made

   these comments in direct response to the public claims of America’s Frontline Doctors. Fauci

   Dep. 227:7-228:13. He also stated on MSNBC’s “Andrea Mitchell Reports” that the video of the

   press conference by America’s Frontline Doctors constituted “a video out there from a bunch of

   people spouting something that isn’t true.” Fauci Ex. 37, at 3.

          770.    Dr. Fauci also stated that “the cumulative data on trials, clinical trials that were

   valid, namely clinical trials that were randomized and controlled in a proper way, … showed

   consistently that Hydroxychloroquine is not effective in the treatment of coronavirus disease or

   COVID-19.” Fauci Ex. 37, at 3. But two months earlier, he had said “the data are clear right now”

   when no such studies existed. Fauci Ex. 34, at 4.

          771.      Social-media platforms reacted by aggressively censoring the video of America’s

   Frontline Doctors. Facebook removed the video when it was “the top-performing Facebook post

   in the world,” and “had accumulated over 17 million views by the time of its censorship by

   Facebook.” Fauci Ex. 38, at 3, 4. Further, “Facebook’s decision to censor the livestream was




                                                  195
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 198 of 364 PageID #:
                                    16634



   quickly followed by YouTube, the Google-owned video-sharing platform.” Id. at 6. “The video

   had 80,000 views on YouTube prior to its removal.” Id. “Following Facebook and YouTube’s

   removal of the video, Twitter followed suit….” Id.; see also Fauci Ex. 36, at 3 (noting that “Twitter

   … removed the video, saying it was ‘in violation of our COVID-19 misinformation policy’”).

          772.    Dr. Fauci professed to be unaware of whether 17 million views of a video on

   Facebook are a large number of views: “I don't know what 17 million views means. What's the

   denominator? Is 17 million a large amount? Is it a small amount? I don't go on social media, so I

   don't know what 17 million views means.” Fauci Dep. 236:7-11. It is common sense that 17

   million views are a large number of views. Dr. Fauci’s testimony on this point is not credible.

          773.    Dr. Fauci does not deny that he or his staff at NIAID may have communicated with

   Facebook regarding the censorship of the America’s Frontline Doctors video. Instead, he claims

   that he does not recall whether they communicated with Facebook about it, and that it is possible

   that they did so. Fauci Dep. 238:2-5 (“I don't recall anybody communicating with them about that.

   Could have been, but I don't recall anybody -- I don't recall anybody communicating with the social

   media people.”); see also id. at 238:6-10. He also does not deny that other federal officials may

   do so, but he claims that “I don’t recall any of that” and “it just doesn’t ring a bell to me right

   now.” Id. at 238:21-239:7. He claims he doesn’t “pay attention” to whether his staff or other

   federal officials communicate with social-media platforms about censorship because “I have a

   really important day job that I work at.” Id. at 238:19-20.

          774.    Nevertheless, regarding the decision by YouTube and Twitter to follow Facebook

   in censoring the video, Dr. Fauci admits that “Yes, I knew of that.” Id. at 239:8-13.




                                                   196
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 199 of 364 PageID #:
                                    16635



          775.    A few days later, on August 1, 2020, the web host provider for America’s Frontline

   Doctors shut down their website. Id. at 242:14-243:8; Fauci Ex. 39. Dr. Fauci testifies that he

   does not recall this occurrence. Fauci Dep. 243:13-18.

          776.    On November 18, 2022, a meta-analysis of 449 studies on the efficacy of

   hydroxychloroquine considered “449 HCQ COVID-19 studies, 351 peer reviewed, 371 comparing

   treatment and control groups.” Fauci Ex. 40, at 1. The meta-analysis concluded that “[l]ate

   treatment and high dosages may be harmful, while early treatment consistently shows positive

   results.” Id. It also noted that “[n]egative evaluations” of hydroxychloroquine “typically ignore

   treatment delay.” Id. And it noted that “HCQ/CQ was adopted for early treatment in all or part of

   41 countries.” Id.

          C.      Dr. Fauci’s “Devastating Takedown” of the Great Barrington Declaration.

          777.    Dr. Fauci recommended Dr. Clifford Lane of NIAID to participate in a WHO

   mission to China in February 2020. Fauci Dep. 139:15.

          778.    On April 3, 2020, the NIH Record wrote a report on Lane’s trip entitled “NIAID’s

   Lane Discusses WHO COVID-19 Mission to China. Fauci Ex. 20, at 1. Lane praised China’s

   response to the pandemic, especially their reliance on lockdowns and “extreme … social

   distancing”: “The Chinese were managing this in a very structured, organized way,’ he explained.

   ‘When we got there, the outbreak was already coming under control in China. The measures they

   put in place appeared to be working…. It demonstrated their successful response…. From what I

   saw in China, we may have to go to as extreme a degree of social distancing to help bring our

   outbreak under control.” Id. at 5-6.

          779.    Dr. Fauci discussed this conclusion with Lane when he returned from China: “Dr.

   Lane was very impressed about how from a clinical public health standpoint, the Chinese were




                                                 197
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 200 of 364 PageID #:
                                    16636



   handling the isolation, the contact tracing, the building of facilities to take care of people, and that's

   what I believed he meant when he said were managing this in a very structured, organized way.”

   Fauci Dep. 165:4-11.

           780.    Dr. Fauci admits that Lane “did discuss with me that the Chinese had a very

   organized way of trying to contain the spread in Wuhan and elsewhere. … he mentioned that they

   had a very organized, well-regimented way of handling the outbreak.” Id. at 166:1-7.

           781.    Dr. Fauci came to agree with Dr. Lane’s rosy assessment of China’s draconian

   response to the outbreak: “Dr. Lane is a very astute clinician, and I have every reason to believe

   that his evaluation of the situation was accurate and correct.” Id. at 166:24-167:1.

           782.    On Feb. 22, 2020, Dr. Lane sent an email stating, “China has demonstrated that this

   infection can be controlled, albeit at great cost.” Fauci Ex. 21, at 1.

           783.    On October 4, 2020, Plaintiffs Dr. Jay Bhattacharya of Stanford and Dr. Martin

   Kulldorff of Harvard, along with Dr. Sunetra Gupta of Oxford, published online the “Great

   Barrington Declaration,” which was one-page treatise opposing reliance on lockdowns and

   advocating for an approach to COVID-19 called “focused protection.” Fauci Ex. 41.

           784.    The Great Barrington Declaration criticized the social-distancing and lockdown

   approaches to the pandemic endorsed by government experts such as Dr. Fauci and Cliff Lane:

   “As infectious disease epidemiologists and public health scientists we have grave concerns about

   the damaging physical and mental health impacts of the prevailing COVID-19 policies, and

   recommend an approach we call Focused Protection.” Id. It was very critical of such government

   policies: “Current lockdown policies are producing devastating effects on short and long-term

   public health. The results (to name a few) include lower childhood vaccination rates, worsening

   cardiovascular disease outcomes, fewer cancer screenings and deteriorating mental health –




                                                      198
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 201 of 364 PageID #:
                                    16637



   leading to greater excess mortality in years to come, with the working class and younger members

   of society carrying the heaviest burden. Keeping students out of school is a grave injustice.

   Keeping these measures in place until a vaccine is available will cause irreparable damage, with

   the underprivileged disproportionately harmed.” Id. It called for an end to lockdowns: “The most

   compassionate approach that balances the risks and benefits of reaching herd immunity, is to allow

   those who are at minimal risk of death to live their lives normally to build up immunity to the virus

   through natural infection, while better protecting those who are at highest risk. We call this

   Focused Protection.” Id.

          785.    The Declaration called for an end of government-imposed lockdowns and an

   immediate return to normal life for those who are low-risk: “Those who are not vulnerable should

   immediately be allowed to resume life as normal. Simple hygiene measures, such as hand washing

   and staying home when sick should be practiced by everyone to reduce the herd immunity

   threshold. Schools and universities should be open for in-person teaching. Extracurricular

   activities, such as sports, should be resumed. Young low-risk adults should work normally, rather

   than from home. Restaurants and other businesses should open. Arts, music, sport and other

   cultural activities should resume. People who are more at risk may participate if they wish, while

   society as a whole enjoys the protection conferred upon the vulnerable by those who have built up

   herd immunity.” Id.

          786.    The Declaration was thus highly critical of the lockdown policies defended by Dr.

   Fauci and Dr. Cliff Lane of NIAID since Dr. Lane’s trip to China at the beginning of the pandemic.

   The Declaration was “going against the global political consensus, which holds that lockdowns

   are key to minimising mortality to Covid-19.” Fauci Ex. 48, at 3. After it was posted online, it

   rapidly gathered signatures from doctors and scientists, as well as members of the public.




                                                   199
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 202 of 364 PageID #:
                                    16638



          787.    Four days later, on October 4, 2020, Dr. Francis Collins emailed Dr. Fauci and Cliff

   Lane, citing the Great Barrington Declaration. Fauci Ex. 42, at 1. Dr. Collins stated: “Hi Tony

   and Cliff, See https://gbdeclaration.org. This proposal from the three fringe epidemiologists who

   met with the Secretary seems to be getting a lot of attention – and even a co-signature from Nobel

   Prize winner Mike Leavitt at Stanford. There needs to be a quick and devastating published take

   down of its premises. I don’t see anything like that on line yet – is it underway? Francis.” Id.

          788.    This email seeking Dr. Fauci’s assistance in a “quick and devastating … take down”

   of the Great Barrington Declaration” is strikingly similar to Dr. Collins’ email to Dr. Fauci on

   April 16, 2020, asking Dr. Fauci’s “help [to] put down this very destructive conspiracy,” i.e., the

   lab-leak hypothesis. Fauci Ex. 27, at 1. In both cases, Dr. Collins sought Dr. Fauci’s aid in

   discrediting and silencing an online narrative that federal officials disfavored, and in both cases,

   Dr. Fauci promptly and effectively complied.

          789.    Dr. Collins’ question to Dr. Fauci in the email, “Is it underway?” implies that Dr.

   Collins expected Dr. Fauci to be already working on a “quick and devastating … take down” of

   the Declaration, or to be aware of others working on one. Fauci Ex. 42, at 1. Dr. Fauci denies that

   Dr. Collins had any reason to think that Dr. Fauci might be working on a refutation of the Great

   Barrington Declaration, because “[t]his is not something I would be involved in,” because “I have

   a very important day job that is running a $6.4 billion institute.” Fauci Dep. 260:11-20. Given

   Dr. Fauci’s immediately subsequent attempts to refute and discredit the Great Barrington

   Declaration, this testimony is not credible.

          790.    The same day as Dr. Collins’ email, October 8, 2020, Dr. Fauci wrote back to Dr.

   Collins, stating “Francis: I am pasting in below a piece from Wired that debunks this theory. Best,

   Tony.” Fauci Ex. 43, at 1. Dr. Fauci followed up the same day with an email to Dr. Collins linking




                                                   200
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 203 of 364 PageID #:
                                    16639



   to an article by Gregg Gonsalves which Dr. Fauci called “[a]nother refutation of the herd immunity

   approach.” Fauci Ex. 44, at 1.

          791.    Dr. Fauci has known Gregg Gonsalves for decades, since the 1980s. Fauci Dep.

   265:16-19.    Dr. Fauci does not deny that he may have contacted Gregg Gonsalves before

   Gonsalves wrote this piece attacking the Great Barrington Declaration, but claims he does not

   recall. Id. at 268:8-19 (“I don’t recall. I might have.”).

          792.    Dr. Fauci and Dr. Collins followed up with a series of public media statements

   attacking the Great Barrington Declaration. On October 14, 2020, the Washington Post ran a story

   entitled, “Proposal to hasten herd immunity to the coronavirus grabs White House attention but

   appalls top scientists.” Fauci Ex. 45, at 1. In the article, Dr. Collins described the Great Barrington

   Declaration and its authors as “fringe” and “dangerous”: “This is a fringe component of

   epidemiology. This is not mainstream science. It’s dangerous.” Id. at 3.

          793.    Dr. Fauci consulted with Dr. Collins before he told the Washington Post that the

   Great Barrington Declaration represented a “fringe” and “dangerous” idea. Fauci Dep. 272:4-7.

          794.    Dr. Fauci endorsed these comments in an email to Dr. Collins on October 13, 2020,

   stating, “[w]hat you said was entirely correct.” Fauci Ex. 46, at 1.

          795.    Dr. Fauci admits that Dr. Collins could have been concerned about the spread of

   the ideas in the Declaration on social media when he called it “fringe” and “dangerous.” Fauci

   Dep. 274:19-20.

          796.    The next day, October 15, 2020, Dr. Fauci echoed Dr. Collins’ comments, calling

   the Declaration “nonsense” and “dangerous.” Fauci Ex. 47, at 1. Describing the proposal as

   “letting infections rip as it were,” Dr. Fauci stated: “Quite frankly that is nonsense, and anybody




                                                    201
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 204 of 364 PageID #:
                                    16640



   who knows anything about epidemiology will tell that that is nonsense and very dangerous.” Id.

   at 3.

           797.    Dr. Fauci testified that “it’s possible that” he coordinated with Dr. Collins on their

   public statements attacking the Great Barrington Declaration. Fauci Dep. 279:23-24.

           798.    Dr. Fauci also testified of himself and Dr. Collins that “that’s not our style to be

   coordinating things.” Id. at 279:22-23. In light of the extensive coordination with Dr. Collins

   about the lab-leak theory, and the coordination about the Great Barrington Declaration, that

   testimony is not credible.

           799.    Shortly after Dr. Collins’ email to Dr. Fauci seeking a “quick and devastating …

   take down” of the Great Barrington Declaration, the Declaration and its authors, Drs. Bhattacharya

   and Kulldorff, experienced extensive censorship on social media. See infra. In October 2020,

   Google deboosted the search results for the Declaration, so that “most users in English-speaking

   countries, when they google ‘Great Barrington Declaration,’ will not be directed to the declaration

   itself but to articles that are critical of the declaration.” Fauci Ex. 48, at 4.

           800.    In the same time, “[c]ensorship of the declaration … also spread to Reddit. The two

   most popular subreddits for discussion of the coronavirus – r/COVID-19 and r/coronavirus – have

   both removed links to the Great Barrington Declaration. The moderators of r/coronavirus, a forum

   with 2.3million members, have declared it to be ‘spam’.” Fauci Ex. 48, at 4-5.

           801.    In October 2020, YouTube updated its terms of service regarding medical

   “misinformation,” reporting “COVID-19 medical misinformation policy updated to prohibit

   content about vaccines contradicting consensus from health authorities.” Fauci Ex. 49, at 3.

   “Health authorities” include federal officials like Dr. Fauci and Dr. Collins. See id. This October

   2020 update specifically stated that claims which are “not allowed on YouTube” include “[c]laims




                                                      202
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 205 of 364 PageID #:
                                    16641



   that achieving herd immunity through natural infection is safer than vaccinating the population,”

   which is listed on the same footing as “[c]laims that COVID-19 vaccines contain a microchip or

   tracking device.” Fauci Ex. 50, at 3-4.

          802.    Pursuant to this censorship policy of YouTube, the authors of the Great Barrington

   Declaration had content removed from YouTube, including a video of a roundtable discussion with

   Governor Ron DeSantis of Florida. See infra.

          803.    Facebook, likewise, adopted censorship policies against the Great Barrington

   Declaration.   Meta’s policy on “Misinformation about vaccines” states that: “We remove

   misinformation primarily about vaccines when public health authorities conclude that the

   information is false and likely to directly contribute to imminent vaccine refusals.” Fauci Ex. 51,

   at 4 (emphasis added).

          804.    Facebook/Meta views Dr. Fauci as a “public health authority” who may dictate

   what people may post about COVID-19 on its platforms (Facebook and Instagram, among others),

   because Mark Zuckerberg and Dr. Fauci were collaborating on multiple public appearances and

   videos for Facebook. See supra; Scully Ex. 12, at 33, 53-54 (identifying 13 communications

   between Dr. Fauci and Zuckerberg, including emails, phone calls, virtual meetings, and live

   broadcasts, over a nine-month period in 2020). Indeed, in his March 15, 2020 email to Dr. Fauci,

   Mark Zuckerberg described Dr. Fauci as an “expert[],” a “health expert[]” and “reliable source[]”

   for “authoritative information” about fighting COVID-19. Fauci Ex. 23, at 3.

          805.    Dr. Fauci claims that he would not have paid any attention to the Great Barrington

   Declaration because he is too busy and important to pay attention to such matters: “this is not

   something that I would have been paying a lot of attention to. I was knee deep in trying to do

   things like develop a vaccine that wound up saving the lives of millions of people. That's what I




                                                  203
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 206 of 364 PageID #:
                                    16642



   was doing at the time.” Fauci Dep. 256:13-17. Given Dr. Fauci’s direct involvement in publicly

   attacking the Great Barrington Declaration and collecting sources for Dr. Collins to “take [it]

   down,” this statement is not credible. In fact, on November 1, 2020, Greg Folkers, Dr. Fauci’s

   staffer at NIAID, sent Dr. Fauci a list of articles attacking the Great Barrington Declaration—

   including one co-authored by Gregg Gonsalves—with the statement “As discussed. I have

   highlighted the three I found the most useful.” Fauci Ex. 52, at 1. The list of articles were all

   harshly critical of the Declaration—using phrases like “dangerous,” “false promise,” “ethical

   nightmare,” and “could kill millions.” Id. Thus, four weeks after the Declaration was published,

   Dr. Fauci and his staffers were still “discuss[ing]” and looking up articles on ways to attack it. Id.

          806.    Dr. Kulldorff points out that, regardless of disagreements over the policy,

   describing the Declaration as “fringe” and “nonsense” is fundamentally dishonest, as the

   Declaration reflects principles of pandemic preparedness that were widely accepted before

   COVID-19: “the Great Barrington Declaration is merely a restatement of the principles of public

   health. Lockdown … is a ‘terrible experiment’ that throws those principles ‘out of the window’ by

   focusing solely on one disease at the expense of all other health problems. ‘Most countries in

   Europe had a pandemic-preparedness plan that did not recommend lockdowns, but instead

   proposed a risk-based strategy to protect those at high risk, which is actually the same as the

   focused protection we put forward in the Great Barrington Declaration. What we are proposing is,

   therefore, nothing revolutionary’, [Kulldorff] said.” Fauci Ex. 48, at 6.

          807.    Regarding the censorship of the Great Barrington Declaration on social media, Dr.

   Fauci repeatedly testified that he was oblivious to it: “I don’t pay much attention to what goes on

   in social media … it is highly unlikely that … I paid any attention to this thing of Google censoring

   the Great Barrington Declaration … I would not have paid much attention to it.” Fauci Dep.




                                                    204
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 207 of 364 PageID #:
                                    16643



   281:15-282:2, 283:7-10. In light of his contemporaneous statements and emails, this statement is

   not credible.

          808.     Like so many other topics, Dr. Fauci repeatedly testified that he could not recall

   virtually anything about his involvement in seeking to squelch the Great Barrington Declaration.

   He testified at least 33 times that he could not recall his involvement in this matter. See Fauci Dep.

   251:11, 252:20, 255:6, 255:9, 256:3, 257:5, 258:12, 263:1, 263:15, 263:21, 264:17, 264:20,

   264:22, 265:2, 265:6, 268:10, 268:18, 270:24, 282:19-20, 284:22-23, 290:13, 290:21, 291:13,

   291:16, 292:15, 292:24, 293:15, 293:24, 295:9, 295:25, 296:21, 297:2-3, 297:14. For the reasons

   discussed above, these claims to almost total loss of memory are not credible.

          D.       NIAID Flags Social-Media Accounts for Censorship Under Dr. Fauci.

          809.     As noted above, Dr. Fauci testified that he is not aware of any NIAID or NIH staff

   contacting social media platforms to ask them to remove content. In fact, NIAID and NIH staff—

   including staffers in Dr. Fauci’s senior circle—sent several messages to social-media platforms

   asking them to remove content lampooning or criticizing Dr. Fauci. Dr. Fauci’s testimony to the

   contrary is not credible.

          810.     On March 14, 2020, a Twitter employee reached out to CDC officials, including

   Carol Crawford, and asked if a particular account associated with Dr. Fauci is “real or not.” Fauci

   Ex. 53, at 2. Scott Prince of NIH responded, “Fake/Impostor handle. PLEASE REMOVE!!!” Id.

   Twitter responded that it would take action promptly and “circle back ASAP.” Id. An HHS

   official then asked if Twitter could pre-block similar parody accounts: “Is there anything else that

   you can also do to block other variations of [Dr. Fauci’s] name from impersonation so we don’t

   have this happen again?” Id. at 1. Twitter replied: “We’ll freeze this @handle and some other

   variations so no one can hop on them.” Id.




                                                    205
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 208 of 364 PageID #:
                                    16644



          811.    Likewise, on April 21, 2020, Judith Lavelle of NIAID emailed Facebook, copying

   Scott Prince of NIH and Jennifer Routh of Dr. Fauci’s communications team, and stated: “We

   wanted to flag a few more fake Dr. Fauci accounts on FB and IG for you. I have also reported

   them from @niaid and my personal FB account.” Fauci Ex. 55, at 3. She listed eight accounts

   that she considered fake. One of these was called “Dr.FauciTheHero,” and she stated, “I think this

   one may be fine as a fan page but could use a reminder to be a bit more clear,” id. at 4—thus noting

   that she was seeking the censorship only of speech about Dr. Fauci that the government disfavors,

   while “a fan page” was fine.

          812.    Both Jennifer Routh and Judith Lavelle are members of Dr. Fauci’s

   communications staff. Fauci Dep. 308:14-21.

          813.    The fact that Lavelle stated they were flagging “a few more” accounts indicates that

   NIAID’s flagging social-media accounts for censorship was not an isolated incident but an ongoing

   practice. Fauci Ex. 55, at 3.

          814.    Lavell then followed up flagging yet another account, saying “Apologies one

   more,” and adding Greg Folkers of Dr. Fauci’s personal staff to the email chain reporting these

   accounts to Facebook for censorship. Fauci Ex. 55, at 3.

          815.    The same day, Facebook responded, “Flagged this for the fake accounts team and

   they have confirmed that all but two accounts were removed for impersonation of Dr. Fauci. I

   guess two of the accounts are fan accounts.” Fauci Ex. 55, at 3.

          816.    The Facebook employee then added, “Also want to intro you all to [two more

   Facebook employees] who have been working hard to manage any fake accounts for NIH across

   the board. She can work with you directly if anything like this comes up.” Fauci Ex. 55, at 2.

   Lavelle responded that “our team will be sure to reach out if we identify any more impersonations,”




                                                   206
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 209 of 364 PageID #:
                                    16645



   id., and Facebook answered that Lavelle of NIAID should “feel [free] to flag to us the various

   imposter accounts,” Fauci Ex. 55, at 1. Again, this response indicates an ongoing and widespread

   practice of NIH reporting supposedly “fake” accounts for censorship. Id.

          817.    Dr. Fauci testifies that he does not remember for certain, but he “likely” asked his

   communications staff to do something about these impersonation or parody accounts. Fauci Dep.

   302:6-10 (“I vaguely remember somebody mentioning something about an imposter account. …

   And I likely would have said, ‘Well, how can they do that?’”).            He also agrees that his

   communications staff would do so on their own. Id. at 301:1-4 (“I have a communication staff

   that I'm sure, if they found out it was a false and misleading account, that they would want it to be

   removed.”); see also id. at 301:23-25; 304:19-21.

          818.    Dr. Fauci believes it is “totally appropriate” for his communications staff to contact

   social-media platforms and seek the removal of such accounts. Id. at 312:19-21; see also id. at

   310:14-16.

          819.    He thinks so because “impersonating me is a bad thing.” Id. at 303:20; see also id.

   at 304:11-13; 309:23-310:1 (“fake accounts are bad things, I believe”); 311:20-21. Dr. Fauci

   specifically believes that removing accounts associated with him is “a good thing” because “those

   accounts are bad.” Id. at 329:12-16.

          820.    Dr. Fauci does not know whether some of the so-called “fake accounts,” which he

   calls “bad things,” that his staff flagged for censorship may actually be parody accounts. Id. at

   311:7-9.

          821.    Moreover, it was not just NIAID staff, but also White House staff, who flagged

   content about Dr. Fauci for removal from social-media platforms. As noted above on Tuesday,

   July 20, 2021, Clarke Humphrey of the White House communications office emailed Facebook




                                                   207
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 210 of 364 PageID #:
                                    16646



   asking for the removal of an Instagram account associated with Dr. Fauci, saying it “is not actually

   one of ours.” Fauci Ex. 57, at 1-2. Facebook responded one minute later, stating, “Yep, on it!”

   Fauci Ex. 57, at 1. Courtney Billet, Dr. Fauci’s communications director at NIAID, then weighed

   in, asking Facebook to disclose whether “there’s a federal email address attached to whomever set

   this account up,” so that she could ascertain whether the account was set up by “some federal

   employee outside our official comms offices.” Fauci Ex. 57, at 1. The next day, Facebook

   responded, stating, “This account has been removed. Thank you for flagging!” Fauci Ex. 57, at

   1.

          822.    NIAID’s communications with social-media platforms were not limited to flagging

   impostor or parody accounts. On October 30, 2020, for example, a NIAID staffer wrote an email

   connecting Google/YouTube with Jennifer Routh of NIAID’s “Office of Communications and

   Government Relations,” so that NIAID and the “Google team” could “connect on vaccine

   communications – specifically misinformation….” Fauci Ex. 56, at 2. Routh then added Courtney

   Billet (“director of the Office of Communications and Government Relations at NIAID”) and two

   other senior NIAID officials to the communications chain with YouTube. Fauci Ex. 56, at 1.

          823.    Likewise, in response to a third-party subpoena, Twitter has disclosed that Dina

   Perry, a Public Affairs Specialist for NIAID, communicates or has communicated with Twitter

   about misinformation and censorship. Jones Decl., Ex. F, at 1.

          824.    NIAID did not disclose Dina Perry in response to interrogatories seeking the

   identities of NIAID officials who communicate with social-media platforms about misinformation,

   disinformation, and censorship. Scully Ex. 12, at 17-18.

          825.    Dr. Fauci testified that he has never “contacted a social media company and asked

   them to remove misinformation from one of their platforms.” Fauci Dep. 151:21-24 (“No, I have




                                                   208
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 211 of 364 PageID #:
                                    16647



   not.”). He also testified that no one on his staff at NIAID has “ever reached out to a social media

   platform to ask them to take content down or to block content in any way. Id. at 152:7-15 (“To

   my knowledge, no.”). In light of the repeated attempts of Dr. Fauci’s staff to have content related

   to Dr. Fauci removed from social media, Dr. Fauci’s testimony on this point is not credible.

          E.      CDC and NIH Procure the Censorship of Speech on Ivermectin.

          826.    On September 13, 2021, Facebook emailed Carol Crawford of the CDC to ask the

   CDC to identify whether the claim that “Ivermectin is effective in treating COVID” is “false, and

   if believed, could contribute to people refusing the vaccine or self-medicating,” which were the

   qualifications for censoring that claim on Facebook’s platforms. Fauci Ex. 58, at 2. Facebook

   noted that it was currently rating this claim as “not false,” i.e., Facebook was not censoring the

   claim that Ivermectin is effective in treating COVID-19, because there was “no consensus” of its

   efficacy for treatment. Id. at 3.

          827.    The next day, the CDC responded, advising Facebook that the claim that

   “Ivermectin is effective in treating COVID” is “NOT ACCURATE” (bold and italics in original)

   and thus should be censored on Facebook’s platforms. Fauci Ex. 58, at 1. To support this claim,

   the CDC cited NIH’s “Ivermectin | COVID-19 Treatment Guidelines.” Id. Thus, the CDC cited

   the NIH’s treatment guidelines for Ivermectin as authority to urge Facebook to censor claims about

   using Ivermectin to treat COVID-19. Id. CDC also cited NIH to call for the censorship of two

   related claims about Ivermectin, and noted that “[t]hese responses are based on the independent

   advice of … NIH,” which had “opined that there are not data that indicate ivermectin is effective

   in the ways described above.” Id.

          F.      Dr. Fauci’s Double Standard on Acceptable Speech: Mask Mandates.




                                                  209
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 212 of 364 PageID #:
                                    16648



          828.     “Sylvia Burwell is the former Secretary of the Department of Health and Human

   Services [under President Obama] and the current president of American University.” Fauci Dep.

   313:9-11. “Sylvia has, over the past couple of years, asked [Dr. Fauci] advice about personal

   safety during the COVID-19 pandemic.” Id. at 313:17-19.

          829.     On February 4, 2020, Sylvia Burwell wrote Dr. Fauci an email stating that she was

   traveling and wondering if she should wear a mask in the airport. Fauci Dep. 313:21-314:5; see

   also Jones Decl., Ex. EE, at 1. Dr. Fauci responded, stating: “Masks are really for infected people

   to prevent them from spreading infection to people who are not infected, rather than protecting

   uninfected people from acquiring infection. The typical mask you buy in the drugstore is not really

   effective in keeping out virus, which is small enough to pass through material. … I do not

   recommend that you wear a mask….” Fauci Dep. 314:9-19; see also Jones Decl., Ex. EE, at 1.

          830.     Dr. Fauci agrees that he “made several statements that are similar to that at that

   time frame.” Fauci Dep. 315:12-14.

          831.     He states that, at that time, there were “no studies” on the efficacy of masking to

   stop the spread of COVID-19. Id. at 316:8-13.

          832.     In fact, on March 31, 2020, Dr. Fauci forwarded studies showing that masking is

   ineffective. Fauci Dep. 318:24-319:7.

          833.     Dr. Fauci’s position on masking dramatically changed by April 3, 2020, when he

   became an advocate for universal mask mandates. Id. at 317:14-20.

          834.     Dr. Fauci states that his position on masking changed in part because “[e]vidence

   began accumulating that masks actually work in preventing acquisition and transmission.” Fauci

   Dep. 317:5-6.




                                                   210
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 213 of 364 PageID #:
                                    16649



           835.    Dr. Fauci was asked to identify any studies that were done between February 2020

   and April 3, 2020, that supported his change of position on the efficacy of masking, and he could

   not identify any. Id. at 318:8-10.

           836.    Dr. Fauci was asked if there were any “placebo-based, double-blind, randomized

   studies of the efficacy of masking that were done between February and April 2020,” and he could

   not identify any. Id. at 322:1-5. In fact, it is obvious that there were none.

           837.    Dr. Fauci’s position on masking, therefore, directly contradicts his insistence on

   randomized, double-blind, placebo-based clinical trials for alternative COVID-19 treatments like

   hydroxychloroquine and ivermectin. At best, Dr. Fauci’s dramatic change in position on masking

   was based on observational studies—the same kind of studies that he dismissed, in the very same

   time frame, as inadequate to support the use of hydroxychloroquine to treat COVID-19. At worst,

   it was based on no evidence at all—and Dr. Fauci identified none.

           838.    Dr. Fauci believes it can be dangerous to give ordinary people access to scientific

   information: “If information is clearly inadequate and statistically not sound, there can be a danger

   in people who don't have the ability or the experience of being able to understand that it's a flawed

   study.” Id. at 323:5-9.

           839.    Dr. Fauci believes that it is “disturbing” when “unwitting” people believe what he

   thinks is misinformation: “I think honest debate is important, but when it goes beyond debate and

   leads people who are unwitting about these things to do things that are clearly detrimental to their

   life and their safety, I find that disturbing.” Id. at 358:13-17.

           G.      Dr. Fauci and the White House Cause the Censorship of Alex Berenson.

           840.    Alex Berenson is a former New York Times science reporter and prominent critic

   of government messaging about COVID-19 vaccines who was deplatformed from Twitter on




                                                     211
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 214 of 364 PageID #:
                                    16650



   August 28, 2021, after months of pressure from White House and federal officials. Fauci Ex. 59,

   at 4.

           841.   As Berenson notes: “On July 16, 2021, President Biden complained publicly that

   social media companies were ‘killing people’ by encouraging vaccine hesitancy. A few hours

   after Biden’s comment, Twitter suspended by account for the first time.” Fauci Ex. 59, at 4.

           842.   Dr. Fauci, who was then Chief Medical Advisor to President Biden, played a key

   role in procuring the censorship of Alex Berenson. Shortly before President Biden’s comments,

   Dr. Fauci engaged in public attacks on Alex Berenson in attempt to discredit him and silence his

   government-skeptical opinions.

           843.   On July 11, 2021, appearing on CNN’s “State of the Union,” Dr. Fauci described

   Alex Berenson’s comments on vaccine skepticism as “horrifying.” Fauci Ex. 60, at 1. Responding

   to applause for a speech given by Berenson at a conference, Dr. Fauci stated: “It’s horrifying. I

   mean, they are cheering about someone saying that it’s a good thing for people not to try and save

   their lives.” Id. In response to Berenson’s views, Dr. Fauci stated, “it’s almost frightening to say,

   … we don’t want you to do something to save your life.” Id. Dr. Fauci also stated, “I don’t think

   that anybody who is thinking clearly can get that.” Id.

           844.   Dr. Fauci’s public comments as the President’s Chief Medical Advisor specifically

   criticizing Alex Berenson were made at a time when other White House officials like Andrew

   Slavitt were privately pressuring Twitter to deplatform Berenson since April 21, 2020. See, e.g.,

   Fauci Ex, 58, at 7 (internal Twitter communications on April 22, 2020, indicating that White House

   officials “had one really tough question about why Alex Berenson hasn’t been kicked off from the

   platform,” and “yes, they really wanted to know about Alex Berenson. Andy Slavitt suggested




                                                   212
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 215 of 364 PageID #:
                                    16651



   they had seen data vis that had showed he was the epicenter of disinfo that radiated outwards to

   the persuadable public.”).

          845.    Dr. Fauci does not deny that he may have discussed Alex Berenson with other

   White House or federal officials, but claims he does not recall whether he did so. Fauci Dep.

   343:16-23.

          846.    Dr. Fauci believes that misinformation and disinformation “contribute to the

   deaths” of people: “misinformation and disinformation, particularly that encourages people to

   avoid lifesaving interventions, can certainly result in the unnecessary death of people whose lives

   would have been saved. So when misinformation and disinformation leads people to avoid a

   lifesaving intervention, that is equivalent to contributing to the death of that person.” Id. at 345:8-

   15. “I do feel strongly that misinformation and disinformation, when it leads to people avoiding

   lifesaving interventions, can be deadly. Id. at 346:1-3.

          847.    Dr. Fauci also believes that misinformation and disinformation on social media are

   “contrary to public health” and “the enemy of public health”: “If social media is propagating

   disinformation that leads to the death of people by encouraging them to avoid lifesaving

   interventions, I believe that's contrary to public health.” Id. at 346:5-7, 346:10-13.

          848.    Dr. Fauci admits that it is “certainly possible” that he discussed the view that

   “disinformation or misinformation on social media platforms are killing people” with others in the

   federal government, but claims he cannot remember whether he did so. Id. at 345:3-25.

          849.    Dr. Fauci testified that the first time he heard of Alex Berenson was when Berenson

   publicly claimed that the White House demanded that Twitter deplatform him in 2022: “it's the

   person who says that the White House demanded Twitter ban me months before the company did

   so. I had never heard of who Alex Berenson was before this … I don't even know who he is.” Id.




                                                    213
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 216 of 364 PageID #:
                                    16652



   at 335:1-7. In light of Dr. Fauci’s public attacks on Alex Berenson in 2021, this testimony is not

   credible.

          850.    Former FDA Commissioner Scott Gottlieb also emailed Twitter to pressure them

   to remove Alex Berenson’s content, invoking Dr. Fauci in his email. Sending Twitter a link to a

   post by Berenson entitled “The Arrogance of Dr. Fauci,” Gottlieb wrote: “This is why Tony needs

   a security detail,” Fauci Ex. 62, at 1—thus implying that Berenson’s criticism of Dr. Fauci was

   endangering Dr. Fauci’s life.

          851.    Dr. Fauci does not deny that he may have discussed this issue with Gottlieb before

   Gottlieb sent this email to Twitter, but he claims he does not recall whether he did so. Fauci Dep.

   349:7-19, 352:12-18.

          852.    After testifying over 200 times during his deposition that he could not remember or

   could not recall events related to the case, Dr. Fauci was shown an email chain between him and

   Dr. Ezekial Emanuel from May 2, 2020 that had no direct connection to issues in the case. Fauci

   Ex 63. Unlike his convenient lack of memory as to case-related communications, Dr. Fauci was

   immediately able to provide a detailed, specific account of the context and communications with

   Dr. Emanuel relating to that email chain. Fauci Dep. 353:20-354:16.

   VI.    The FBI’s Censorship Campaign of Pressure and Deception.

          853.    In parallel with the censorship of health “misinformation” and related issues

   achieved by the White House, the CDC, Surgeon General Murthy, Dr. Fauci, and others, see supra

   Parts I-V, federal national-security and law-enforcement agencies flex their considerable muscle

   to pressure and induce social-media platforms to censor disfavored speech and viewpoints about

   elections and other topics. The FBI’s Foreign Influence Task Force (FITF) and the Cybersecurity

   and Infrastructure Security Agency’s (CISA) “Mis, Dis, and Malinformation Team” play key roles




                                                  214
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 217 of 364 PageID #:
                                    16653



   in this efforts – in cooperation with non-profit agencies working in close collaboration with the

   government, such as the CISA-funded “Center for Internet Security” and the formidable

   censorship cartel calling itself the “Election Integrity Partnership” and the “Virality Project.”

          854.    Elvis Chan is the Assistant Special Agent in Charge of the Cyber Branch for the

   San Francisco Division of the Federal Bureau of Investigation. Chan Dep. 8:11-13.

          855.    In this role, Chan is “one of the primary people” who communicates with social-

   media platforms about disinformation on behalf of the FBI. Id. 105:3-4 (“I would say I’m one of

   the primary people with pass-through information” for platforms). There are many other points of

   contact between the FBI and social-media platforms, however. Id. 105:3-7 (“[W]e have agents on

   the different cyber squads and our private sector engagement squad who also relay information to

   the companies.”).

          856.    Chan graduated from the Naval Postgraduate School in 2021 with an M.A. in

   Homeland Security Studies. Id. 10:16-17. In connection with his master’s degree, Chan authored

   a publicly available thesis entitled, “Fighting Bears and Trolls: An Analysis of Social Media

   Companies and U.S. Government Efforts to Combat Russian Influence Campaigns During the

   2020 U.S. Elections.” Id. 11:3-16; Chan Ex. 1, at 1. This thesis overtly relied only on publicly

   available documents, but it also reflected Chan’s personal knowledge and experience of working

   with social-media platforms during the 2020 elections. See id.

          857.    Chan’s thesis discussed “hack-and-dump activity,” also known as “hack-and-leak”

   operations, as well as “Russian malign influence … on the social media platforms and on fake

   news websites that the Russians have created.” Chan Dep. 13:7-21.

          858.    Chan’s thesis relied on research performed by persons and entities comprising the

   Election Integrity Partnership, including Graphika, id. 145:1-6; and Renee DiResta of the Stanford




                                                    215
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 218 of 364 PageID #:
                                    16654



   Internet Observatory, id. 51:20-52:7, 85:4-12. Chan communicated directly with DiResta “about

   Russian disinformation,” and had “[a] lot of conversations about Russian disinformation” with

   DiResta. Id. 52:5-7, 52:24-25.

          859.   Chan also knows Alex Stamos, the head of the Stanford Internet Observatory, from

   the time when Stamos participated on behalf of Facebook in the USG-Industry meetings. Id. 54:2-

   19. Chan and Stamos were involved in meetings about “malign-foreign-influence activities” on

   Facebook while Stamos was the chief security officer for Facebook. Id. Chan has also discussed

   “protecting platforms from hacking” with Stamos. Id. 55:12-13. And Chan’s “colleagues at FBI

   headquarters regularly meet with researchers much more frequently than I do.” Id. 57:15-18.

          860.   According to Chan, the FBI engages in “information sharing” with social-media

   platforms about content posted on their platforms, which includes both “strategic-level

   information” and “tactical information.” Id. 16:16-19.

          A. FBI’s and CISA’s Regular “USG-Industry” Disinformation Meetings

          861.   The FBI participates in a CISA-organized “industry working group” with

   Facebook, Twitter, and Google/YouTube, as well other social-media platforms. Id. 18:21-24. The

   social-media platforms that participate are Facebook, Microsoft, Google, Twitter, Yahoo! (a.k.a.

   Verizon Media), Wikimedia Foundation, and Reddit. Id. 23:24-24:3. On the U.S. Government

   side, the meetings are attended by representatives of CISA, the Department of Homeland

   Security’s Intelligence & Analysis division (“I&A”), the Office of the Director of National

   Intelligence (ODNI), the FBI’s Foreign Influence Task Force (FITF), and Elvis Chan on behalf of

   FBI-San Francisco when he is available. Id. 24:9-19; see also Chan Ex. 6, at 37. Chan later

   confirmed that “DOJ National Security Division” attends these “USG-Industry” meetings as well.

   Chan Dep. 171:6-8.




                                                 216
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 219 of 364 PageID #:
                                    16655



          862.    Chan participates in the meetings because most social-media platforms are

   headquartered in San Francisco, and “FBI field offices are responsible for maintaining day-to-day

   relationships with the companies that are headquartered in their area of responsibility.” Id. 24:21-

   25:4. As a result, Chan serves as a frequent conduit for communication between federal officials,

   especially FBI officials but also others, and social-media platforms. See id.

          863.    Matt Masterson attended, and Brian Scully attends, the USG-Industry meetings on

   behalf of CISA. They are “regular attendees” and “one of them is usually emceeing the meeting.”

   Id. 25:15-18. “For the 2020 election cycle, Mr. Masterson was … primarily the facilitator. Ahead

   of the 2022 midterm elections, Mr. Scully has been the primary facilitator.” Id. 26:19-22.

          864.    Chan also “participate[s] in the preparation meetings” for the USG-Industry

   meetings. Id. 27:24-25.

          865.    At these CISA-led “USG-Industry” meetings, “the disinformation content was

   shared by the social media companies. They would provide a strategic overview of the type of

   disinformation they were seeing on their respective platforms,” and the FBI “provided strategic

   unclassified overviews of the activities that we saw [Russian actors] doing.” Id. 156:9-157:1.

          866.    The “USG-Industry” meetings “are continuing” at the time of Chan’s deposition on

   November 23, 2022, and Chan assumes that they will continue through the 2024 election cycle.

   Chan Dep. 284:23-285:6. Online “disinformation” continues to be discussed between the federal

   agencies and the social-media platforms at these meetings. Chan Dep. 285:7-286:16.

          B. The FBI’s Regular Bilateral Meetings with Social-Media Platforms.

          867.    The USG-Industry group meetings are not the only censorship-related meetings

   between the FBI and social-media platforms. Chan also “hosted … bilateral meetings between

   each of the companies I mentioned”—i.e., Meta/Facebook, Twitter, Google/YouTube,




                                                   217
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 220 of 364 PageID #:
                                    16656



   Yahoo!/Verizon Media, Microsoft/LinkedIn, Wikimedia Foundation, and Reddit, see id. 23:24-

   24:3—“and the Foreign Influence Task Force.” Id. 39:4-8.

          868.    During these bilateral meetings, the FBI’s FITF would also “bring in field offices

   that had cyber investigations” of “state-sponsored actors that the FBI was investigating that we

   believe were capable of hack-and-dump campaigns” during the 2020 election cycle. Id. 39:10-16.

   In other words, in the bilateral meetings, the FBI repeatedly raised the concern about the possibility

   of “hack and dump” operations during the 2020 election cycle during FITF’s bilateral meetings

   with each of at least seven major social-media platforms. Id.

          869.    These bilateral meetings between FBI and social-media platforms are continuing—

   they occurred during the 2020 election cycle, and they continued during the 2022 election cycle.

   Id. 39:18-40:1. “They occur at roughly a quarterly cadence,” but “the cadence increase[s] as

   elections get close,” so that the meetings “become monthly as the election nears and then weekly

   very close to the elections.” Id. 40:2-20. These meetings will continue quarterly, monthly, and

   then weekly leading up to the 2024 election as well. Id. 41:5-15. The meetings also occurred “[o]n

   a quarterly cadence” during the 2018 election cycle. Id. 42:18-24.

          870.    The companies with which FITF conducts these regular bilateral meetings include

   “Facebook, Google, Twitter, Yahoo!, Reddit, and LinkedIn,” as well as “Apple and Wikimedia

   Foundation.” Id. 41:24-42:7. Apple was “added because they are a cloud infrastructure company;

   and we believe that tactical information, specifically indicates that we shared with them related to

   foreign-state-sponsored actors, might pop up on … any screening they do on iCloud.” Id. 42:12-

   17.

          871.    In these meetings, FBI officials meet with senior social-media platform officials in

   the “trust and safety or site integrity” role, i.e., those in charge of enforcing terms of service and




                                                    218
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 221 of 364 PageID #:
                                    16657



   content-moderation policies for the platforms. Id. 43:5-44:1. In other words, the FBI meets with

   the officials responsible for censoring speakers and content on the platforms—those “directly

   involved in the enforcement of terms of service for these various platforms,” which “includes …

   content modulation of content on the platforms.” Id. 49:19-50:2.

          872.    The FBI’s “quarterly meetings” with social media platforms to “probe” questions

   about censorship of disinformation began as early as “in the 2017 time frame.” Id. 87:24-88:14,

   89:19-20.

          873.    A large number of FBI officials attend each regular bilateral meeting about

   disinformation with each of those seven social-media platforms. In addition to Chan and Laura

   Dehmlow, who is the head of FBI’s Foreign Influence Task Force (FITF), “between three to ten”

   FITF officials attend each meeting, as well as “one field office comprised of two representatives”

   from each of “one to three field offices.” Id. 109:21-22, 110:7-14. Frequently the number of FBI

   agents attending each meeting “could be as high as a dozen.” Id. 110:17-18.

          874.    Likewise, large numbers of officials from the social-media platforms attend these

   regular bilateral meetings with the FBI about disinformation. “[A] similar amount” of people

   attend each meeting from the platforms, and “for the three larger companies – specifically

   Google/YouTube, Facebook, and Twitter – it would be equal numbers or higher numbers than the

   FBI.” Id. 110:21-25.

          875.    In addition to all these meetings, on February 4, 2019, there was a meeting between

   Facebook, Google, Microsoft, and Twitter and the FBI’s FITF, ODNI, and CISA to discuss

   election issues. Elvis Chan attended, as did Director Krebs, Matt Masterson, and possibly Brian

   Scully of CISA. Representatives of the social-media companies at the meeting included those




                                                  219
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 222 of 364 PageID #:
                                    16658



   from the “trust and safety” or content-modulation teams, and “the social media companies were

   focused on discussing disinformation.” Id. 151:9-154:6.

          876.    Discovery obtained from LinkedIn contains 121 pages of emails between Elvis

   Chan and other FBI officials and LinkedIn officials setting up numerous meetings to discuss

   disinformation issues during the 2020 and 2022 election cycles. Chan Ex. 2. Chan confirms that

   he has a similar set of communications setting up a similar series of meetings with each of “six or

   seven other social-media platforms as well”—he has “similar types of correspondence” with the

   others, including Facebook, Twitter, Google/YouTube, etc. Chan. Dep. 288:4-17.

          877.    These emails confirm that Chan and the other FBI officials regularly met with

   senior officials at social-media platforms with responsibility for content moderation. See Chan

   Ex. 2, at 3; Chan Dep. 292:7-293:8. The FBI meets with “director level and … their direct reports”

   from the “trust and safety and site integrity” teams. Chan Dep. 293:4-8.

          878.    The FBI communicates with social-media platforms using two alternative,

   encrypted channels—the self-deleting messaging app Signal, and the encrypted messaging service

   Teleporter. Chan Dep. 295:7-296:9.

          879.    For each election cycle, during the days immediately preceding and through

   election day, the FBI maintains a command center around the clock to receive and forward reports

   of “disinformation” and “misinformation,” and the FBI requests that the platforms have people

   available to receive and process those reports at all times: “FBI headquarters, they just ran 24 hours

   a day for their command post, I believe from Friday to Tuesday. FBI San Francisco ran from, I

   believe, 8:00 o'clock in the morning to perhaps 10:00 o'clock at night every day except the election,

   when we ran until midnight.” Chan Dep. 301:14-20. In advance of the elections, the FBI “ask[ed]




                                                    220
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 223 of 364 PageID #:
                                    16659



   the companies when they intended to have personnel on what days monitoring their platform for

   any threats that they saw.” Chan Dep. 301:21-24.

          C.     The FBI’s Deceptive Information Censors the Hunter Biden Laptop Story.

          880.   Elvis Chan, other FBI officials, and other federal officials repeatedly warned

   industry participants to be alert for “hack and dump” or “hack and leak” operations prior to the

   2020 election, even though they had no investigative basis to issue such warnings. These warnings

   provided the justification for the platforms to censor the Hunter Biden laptop story that the New

   York Post broke on October 14, 2020. See id. at 232:1-234:3. These “hack and leak” or “hack and

   dump” warnings were issued many times, both in the “USG-Industry” meetings and in the FBI’s

   bilateral meetings with social-media platforms.

          881.   Hack and leak operations were discussed at the USG-Industry meetings. Id. 172:3-

   5. At the USG-Industry meetings, Elvis Chan and other FBI officials “warned the social media

   companies about the potential for a 2016-style DNC hack-and-dump operation.” Id. 172:23-173:1.

          882.   During these meetings, Chan “warned the companies about a potential for hack-

   and-dump operations from the Russians and the Iranians on more than one occasion.” Id. 175:10-

   13. Laura Dehmlow, the head of FITF, also “mentioned the possibility of hack-and-dump

   operations.” Id. 175:17-20.

          883.   The prospect of hack-and-leak operations was also repeatedly raised “[a]t the FBI-

   led meetings with FITF and the social-media companies.” Id. 177:24-25. It was also raised at the

   “CISA-hosted USG-industry” meetings. Id. 178:1-6, 180:24-25. “[T]he risk of hack-and-leak

   operations were raised at both sets of meetings, both at CISA-organized USG-industry meetings

   and the FITF-organized direct meetings between the FBI and social media platforms.” Id. 181:6-

   11. Chan himself raised the warnings “regularly” at the bilateral FITF-platform meetings. Id.




                                                 221
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 224 of 364 PageID #:
                                    16660



   185:16-18. Laura Dehmlow raised the warning at the USG-Industry meetings “that the FBI is

   concerned about the potential for hack-and-leak or hack-and-dump operations from foreign state-

   sponsored actors.” Id. 187:1-4. And Chan himself “recollect[s] mentioning the potential for hack-

   and-dump operations during the CISA-hosted USG-industry meetings.”             Id. 189:4-7. Chan

   confirms that he raised these concerns “to the social media platforms on multiple occasions in two

   sets of meetings in 2020,” including “the USG-industry meetings organized by CISA” and “the

   FITF organized meetings with the individual social media platforms.” Id. 204:2-12.

          884.    In the same time frame in 2020, as federal officials were repeatedly raising these

   concerns about hack-and-leak operations, some social media platforms updated their policies to

   provide that posting hacked materials would violate their policies and could result in censorship:

   “some social media companies adjusted or updated their terms of service or their community

   standards to say that they would not post any hacked materials.” Id. 205:6-9. According to Chan,

   the “impetus” for these more restrictive censorship policies was the repeated concern raised by

   Chan, the FBI, and federal national-security officials about the risk of “a 2016-style hack-and-leak

   operation: “the impetus was in case there was a 2016-style hack-and-leak operation.” Id. 205:14-

   21. The FBI’s repeated warnings, therefore, induced social-media platforms to adopt more

   restrictive censorship policies on hacked materials, see id., which would then be used to censor the

   Hunter Biden laptop story.

          885.    Chan denies that the FBI urged the platforms to change their terms of service to

   address hacked materials, but he admits that the FBI repeatedly inquired of the social-media

   platforms whether their policies would allow for or require the censorship of hacked materials.

   The FBI “wanted to know if they had changed their terms of service or modified it, and we wanted

   to know what they had changed,” and thus the platforms “advise[d]” the FBI that “they had




                                                   222
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 225 of 364 PageID #:
                                    16661



   changed” their policies “to reflect the ability to pull down content that results from hack

   operations.” Id. 206:5-13.

          886.    Again, Chan testified that, in meeting with platforms like Facebook, the FBI

   “asked, ‘If you receive a whole -- if you see a trove of potentially hacked materials, what are you

   going to do about it?’ Which would be our way of asking them how their terms of service would

   handle a situation like that.” Chan Dep. 247:25-248:4. The FBI “ask[ed] how they would handle

   it if potentially hacked materials appeared.” Chan Dep. 248:5-8. Chan believes they asked that

   question of Twitter, Facebook, and YouTube, and the social-media platforms responded, as he

   “remember[s] the social media companies having terms-of-service policies to handle this sort of

   situation.” Chan Dep. 248:14-16. Both Facebook and Twitter, for example, “said that they would

   remove hacked materials if they were able to validate that it was hacked.” Chan Dep. 252:24-

   253:4. These conversations happened “ahead of the 2020 elections.” Chan Dep. 253:6-7.

          887.    The FBI asked the platforms how their policies would handle a hack-and-leak

   operation at the same time as repeatedly warning them about such operations—thus effectively

   inducing them to adopt such policies. Chan Dep. 248:23-249:2.

          888.    The FBI inquired about the platforms’ hacked-materials policies because

   “internally we wanted to know what actions that we would need to take, whether we would need

   to take a legal remedy such as like a seizure warrant” to remove supposedly hacked materials.

   Chan Dep. 249:17-20.

          889.    Chan was not the only FBI official to ask the platforms about their censorship

   policies for hacked materials. Instead, this question was posed repeatedly by multiple FBI

   officials: “I would say we take turns asking. When I say ‘we,’ I mean either myself or the members

   of the Foreign Influence Task Force …. Wherever it seemed like an organic follow-up question,




                                                  223
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 226 of 364 PageID #:
                                    16662



   we would ask ‘How would your terms of service apply to this situation or that situation?’” Chan

   Dep. 250:14-20.

          890.    When asked, “did anyone within the FBI discuss or suggest with you that you

   should raise the prospect of Russian hack-and-leak operations with social media platforms in

   2020?” Chan repeatedly responded with a stock answer, “I do not recollect.” Id. 189:14-23; 189:8-

   191:21, 203:13-15 (“I cannot recollect.” … “I do not recollect.” … “I do not recollect.” … “I don’t

   recollect.” … “I don’t recollect.” … “I do not recollect.”).

          891.    These responses are not credible because they are stock responses, and it is facially

   implausible that Chan does not recall whether other federal officials discussed warning platforms

   about “hack-and-leak” operations during 2020, especially after the fiasco of censorship of the

   Hunter Biden laptop story. These “I do not recollect” responses also contradict Chan’s testimony

   later in the deposition that he “regularly” communicated with FITF and FBI’s cyber division about

   the possibility of a hack-and-leak operation: “I believe that we internally discussed the potential

   for hack-and-leak operations, and so I regularly was in communication with the cyber division of

   the FBI as well as with the Foreign Influence Task Force to see if they had heard of anything that

   I had not heard of. So I would say that the people that I communicate with, everyone was vigilant,

   but no one -- I believe that in general people at the FBI were concerned about the potential for

   hack-and-leak operations, but that we had not seen any investigations that led in that direction or

   that would lead us in that direction.” Id. 206:23-207:10. He specifically admitted that he recalls

   discussing hack-and-leak operations with FITF officials “Ms. Dehmlow, Mr. Olson, Mr. Cone,

   and Mr. Giannini.” Id. 207:19-23. It is not credible that the only aspect of his internal discussions

   with the FBI about hack-and-leak operations that he does not recall is whether someone from the

   FBI suggested or directed him to raise the issue with social-media platforms.




                                                   224
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 227 of 364 PageID #:
                                    16663



          892.    Further, as revealed on the video of Chan’s deposition, his demeanor in answering

   questions on this point changes and becomes evasive. Chan’s demeanor when testifying on this

   point undermines his credibility.

          893.    The FBI and other federal officials had no specific investigative basis for these

   repeated warnings about possible “hack-and-dump” operations. As Chan admits, “[t]hrough our

   investigations, we did not see any similar competing intrusions to what had happened in 2016. So

   although from our standpoint we had not seen anything, we specifically, in an abundance of

   caution, warned the companies in case they saw something that we did not.” Id. 174:7-13. As

   Chan admits, “we were not aware of any hack-and-leak operations that were forthcoming or

   impending” when he and other federal officials warned about the “risk of hack-and-leak

   operations, especially before the general election.” Id. 192:19-24.

          894.    Matt Masterson and Brian Scully of CISA also raised the concern about the threat

   of hack-and-leak operations in the 2020 election cycle to the social-media platforms during the

   “USG-Industry” meetings that occurred quarterly, then monthly, then weekly leading up to the

   2020 election. Id. 212:3-22.

          895.    Yoel Roth, then-Head of Site Integrity at Twitter, provided a formal declaration to

   the Federal Election Commission containing a contemporaneous account of the discussion of the

   threat of “hack-and-leak operations” at the meetings between the FBI, other federal law-

   enforcement and national-security agencies, and the social-media platforms. His declaration

   states: “Since 2018, I have had regular meetings with the Office of the Director of National

   Intelligence, the Department of Homeland Security, the FBI, and industry peers regarding election

   security. During these weekly meetings, the federal law enforcement agencies communicated that

   they expected ‘hack-and-leak operations’ by state actors [i.e., Russians or other foreign




                                                  225
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 228 of 364 PageID #:
                                    16664



   governments] might occur in the period shortly before the 2020 presidential election, likely in

   October. I was told in these meetings that the intelligence community expected that individuals

   associated with political campaigns would be subject to hacking attacks and that material obtained

   through those hacking attacks would likely be disseminated over social media platforms, including

   Twitter. These expectations of hack-and-leak operations were discussed throughout 2020. I also

   learned in these meetings that there were rumors that a hack-and-leak operation would involve

   Hunter Biden.” Chan. Ex. 8, ¶¶ 10-11, at 2-3 (emphasis added). Yoel Roth executed this

   declaration on December 17, 2020, shortly after the events described, and submitted it to the

   Federal Election Commission in a formal enforcement proceeding, so it has the force of a statement

   under oath. Id. at 4.

          896.    Chan’s account of these meetings largely matches Roth’s account, see, e.g., Chan

   Dep. 218:5-220:15, but there are two key discrepancies between Roth’s and Chan’s accounts.

   First, Roth recounts that the FBI and national-security officials communicated to Twitter that they

   “expected” that there would be one or more hack-and-leak operations by Russia or other “state

   actors.” Id. at 2. Chan testified that he believed they used words like “concern” instead of

   “expected.” Chan. Dep. 220:20-24, 224:5-17, 226:5-12, 227:3-6. Second, Roth specifically

   recalls that federal officials told him that “there were rumors that a hack-and-leak operation would

   involve Hunter Biden.” Chan Ex. 8, ¶ 11, at 3. Chan testified that “in my recollection, Hunter

   Biden was not referred to in any of the CISA USG-Industry meetings.” Chan Dep. 213:8-10; see

   also id. 227:24-228:1, 228:21-23, 229:9-11 229:15-20.

          897.    On these points, Roth’s declaration is more credible than Chan’s testimony, for at

   least four reasons. First, Roth’s declaration was executed much closer in time to the events

   described—just two months later—while Chan’s testimony occurred over two years later. Indeed,




                                                   226
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 229 of 364 PageID #:
                                    16665



   as noted above, Chan himself admitted that he “could not recollect” key details about the federal

   officials’ course of conduct in warning social-media platforms about a supposed “hack and dump”

   operation, so there is no reason to think that Chan’s recollection is more reliable on these similarly

   specific details.

           898.    Second, Roth had no incentive to color or shade his account of communications

   from federal officials when he submitted this Declaration to the FEC, while Chan has strong

   incentives to shade his testimony on these points to deemphasize the FBI’s involvement in

   censoring the Hunter Biden laptop story. Indeed, if the FBI and other federal officials warned

   social-media platforms about a hack-and-leak operation involving Hunter Biden—when the FBI

   had received Hunter Biden’s laptop from the Delaware repair-shop owner and thus knew that it

   was not hacked, see Doc. 106-3, at 5-11 —that raises a compelling inference that the FBI

   deliberately gave misleading information to social-media platforms to induce them to wrongfully

   censor the Hunter Biden laptop story.

           899.    Third, Chan’s testimony on a closely related point—whether Chan was instructed

   by an FBI official to warn social-media platforms about “hack and leak” operations—is not

   credible. Chan’s minor disagreements with Roth’s account are not credible for similar reasons.

   For example, Chan claims to have extremely specific recollection of the FBI’s word-choice in

   meetings that occurred over two years earlier—disputing that the FBI used the word “expected,”

   id. 220:20-24, 223:12-22, 224:5-17, 226:5-12, 227:3-6, and affirmatively asserting with

   confidence that “Hunter Biden” was never mentioned, id. 213:8-10, 227:24-228:1, 228:21-23,

   229:9-11 229:15-20—while at the same time claiming that he could not recollect whether he

   discussed the same issues with the FBI internally at all, Id. 189:14-23; 189:8-191:21, 203:13-15.




                                                    227
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 230 of 364 PageID #:
                                    16666



          900.     Fourth, Chan’s demeanor while testifying by videotape on this point is evasive

   and undermines his credibility.

          901.    Two additional points support the credibility of Roth’s account over Chan’s. First,

   Brian Scully’s testimony, unlike Chan’s, did not dispute or quibble with any aspect of Roth’s near-

   contemporaneous account of these conversations—Scully merely contended that he could not

   remember. Scully Dep. 247:18-248:2.

          902.    Second, Roth’s account directly matches the less detailed but even more

   contemporaneous account provided by Mark Zuckerberg in his testimony before Congress on

   October 28, 2020. Zuckerberg’s testimony confirms that, as Yoel Roth recounted, the FBI

   conveyed a strong risk or expectation of a foreign hack-and-leak operation shortly before the 2020

   election: “So you had both the public testimony from the FBI and in private meetings alerts that

   were given to at least our company … that suggested that we be on high alert and sensitivity that

   if a trove of documents appeared that we should view that with suspicion, that it might be part of

   a foreign manipulation attempt.” Chan Ex. 9, at 56 (emphasis added). Indeed, Chan did not dispute

   Zuckerberg’s account: “I don’t remember the exact framing of our discussions with them [i.e.,

   Facebook].” Chan Dep. 247:14-15. And again, Chan did not dispute the fundamental details of

   Zuckerberg’s account; he admitted that he “hosted several private meetings with Facebook where

   the concern about a hack-and-leak operation was raised” in 2020. Chan Dep. 246:17-20. Though

   Chan did state that “I would not have framed it like Mr. Zuckerberg did,” Chan essentially

   concedes the accuracy of Zuckerberg’s account. Chan Dep. 255:14-15.

          903.    After the Hunter Biden story broke on October 14, 2020, Laura Dehmlow of the

   FBI refused to comment on the status of the Hunter Biden laptop in response to a direct inquiry




                                                  228
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 231 of 364 PageID #:
                                    16667



   from Facebook, even though the FBI had the laptop in its possession since late 2019 and knew that

   its contents were not hacked. Chan Dep. 213:11-215:5.

           904.   When the Hunter Biden laptop story broke on October 14, 2020, it was widely

   censored on social media, including by Twitter and Facebook, pursuant to their hacked-materials

   policies. For example, Twitter’s Site Integrity Team “blocked Twitter users from sharing links

   over Twitter to the applicable New York Post articles and prevented users who had previously sent

   Tweets sharing those articles from sending new Tweets until they deleted the Tweets” sharing the

   Hunter Biden laptop story. Chan Ex. 8, at 3. “Facebook, according to its policy communications

   manager began ‘reducing its distribution on the platform,’ pending … a third-party fact check.

   Twitter went beyond that, blocking all users, including the House Judiciary Committee, from

   sharing the article on feeds and through direct messages. Twitter even locked the New York Post

   account entirely, claiming the story included hacked materials and was potentially harmful.” Chan

   Ex. 9, at 2.

           D.     The FBI Routinely Flags Speakers and Content for Censorship.

           905.   According to Chan, during the 2020 election cycle, “the U.S. government and social

   media companies effectively impeded [foreign] influence campaigns primarily through

   information sharing and account takedowns, respectively.” Chan Ex. 1, at i (emphasis added).

           906.   According to Chan, the FBI’s “information sharing” includes both “strategic

   information,” which “discusses the tools, tactics or processes” used by foreign-influence

   campaigns, and “tactical information," which means identifying specific “indicators or selectors,”

   which are both “a term of art” that refers to “IP addresses, email accounts, social media accounts,

   … website domain names, and … file hash values.” Chan Dep. 29:15-30:7.




                                                  229
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 232 of 364 PageID #:
                                    16668



          907.    In other words, according to Chan, the FBI “shares information” with social-media

   platforms that includes information about specific IP addresses, email accounts, social-media

   accounts, and website domain names that the FBI believes should be censored, and this sharing of

   information leads social-media platforms to engage in “account takedowns” based on the FBI’s

   information. See id. According to Chan, this combination of “information sharing” and “account

   takedowns” “effectively impeded [foreign] influence campaigns” during the 2020 election cycle.

   Chan Ex. 1, at i.

          908.    Chan testified that the FBI shares this information with social-media platforms so

   that they can “protect their platforms”—indeed, “protect their platforms” was a stock phrase in

   Chan’s testimony. Chan Dep. 32:19, 34:7-12, 35:8-10, 36:25, 87:22-23, 274:14. As Chan’s

   testimony makes clear, however, the phrase “protecting their platforms” is a euphemism for

   “censoring speech that federal officials disfavor.” For example, Chan admits that “protect their

   platforms” means “knocking down accounts or knocking down misinformation content.” Chan

   Dep. 273:12-17. Chan’s thesis and testimony make clear that the FBI’s purpose in “information

   sharing” with social-media platforms is to induce them to censor speech that the FBI dislikes and

   wants to see censored. For example, Chan testified that “my purpose is to share the information

   with them so they can protect their platforms as they deem appropriate,” but he immediately

   admitted that “one way to protect their platforms is to take down these accounts.” Id. 35:9-14.

   Thus, Chan admits that the FBI’s “purpose” in “information-sharing” includes “to take down these

   accounts” that the FBI believes are Russian-influenced. Id.

          909.    Chan admits that the purpose and predictable effect of “tactical” information-

   sharing—i.e., the FBI flagging specific accounts, websites, URLs, IP addresses, web domain

   names, etc., to social-media platforms for censorship—is that the platforms will take action against




                                                   230
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 233 of 364 PageID #:
                                    16669



   such specific content and accounts under their content-moderation policies: “from what I have

   observed and what they have told me when we have provided them with high confidence of

   Russian selectors, that they have been able to discover fake Russian accounts and take them down.”

   Id. 32:20-24.

          910.     According to Chan, the social-media platforms “take the information that we share,

   they validate it through their own means. And then if they determine that these are accounts being

   operated by Russian state-sponsored actors, then they have taken them down.” Id. 33: 12-17.

          911.     Chan admits that, during the 2020 election cycle, the U.S. Government engaged in

   “information sharing with the social media companies to expose Russia’s different operations and

   shut down its accounts.” Chan Ex. 1, at xvii. In other words, Chan admits that the purpose of

   federal officials’ “information sharing” was to “shut down … accounts” on social media that the

   Government disfavored. Id.; see also Chan Dep. 37:17-38:2.

          912.     In addition to social-media platforms, Chan and the FBI also “share indicators”

   with state and local government election officials, such as “county registrars or county clerk’s

   offices”—who are also state actors subject to the First Amendment. Chan “would share indicators

   with them,” and “share the same type of information that I shared with social media companies,”

   including “IP addresses and domain names, so that they could see if they were popping up

   anywhere on their networks.” Id. 50:11-51:6. In other words, the FBI feeds information to state

   and local election officials so that they can make their own reports of supposed “misinformation”

   and “disinformation” to social-media platforms, creating a First Amendment feedback loop. The

   FBI seeds concerns with the state and local election officials, who then identify supposed

   “disinformation” and “misinformation” based on the FBI’s information, and then report it to the

   social-media platforms through CISA and the FBI.




                                                  231
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 234 of 364 PageID #:
                                    16670



          913.    Chan contends that Russian “state-sponsored actors … have created fake social

   media accounts,” which “have either generated disinformation themselves or they have amplified

   existing content from current users of social media platforms.” Id. 60:1-7.

          914.    These supposedly Russian-controlled accounts “make their own content,” such as

   “mak[ing] their own Facebook postings,” and they “try to find what are the hot-button or current

   issues in the news … and then they will try to either generate content themselves related to that or

   they will amplify existing content.” Id. 60:13-22. This is supposedly done with the goal to “sow

   discord in the American online environment.” Id. 61:12-13.

          915.    Chan agrees that “the goal there is … they post messages that they anticipate will

   be divisive and try and get Americans to engage with them.” Id. 61:14-18.

          916.    As Chan agrees, “engagement” with a social-media posting includes viewing the

   content, liking or disliking it, reposting it, commenting on it, and/or reposting it with commentary.

   Id. 61:19-63:13. All of these are First Amendment-protected activities. In this way, according to

   Chan, “the Russians are trying to get people to engage on their divisive content.” Id. 63:19-64:1.

          917.    According to Chan, over 126 million Americans “engaged” with Russian-

   originated content on Facebook, and 1.4 million Americans engaged with such content on Twitter,

   during the 2016 election cycle. Id. 66:2-25. All of this was First Amendment-protected activity.

   Chan credits federal government efforts during the 2020 election cycle with preventing the vast

   majority of such “engagement” by American citizens with Russian-originate content on social

   media during the 2020 election cycle. Chan Ex. 1, at v (“This thesis finds that the Russians shifted

   their tactics from 2016 to 2020. Still, the U.S. government and social media companies effectively

   impeded their influence campaigns primarily through information sharing and account takedowns,




                                                   232
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 235 of 364 PageID #:
                                    16671



   respectively.”).   Thus, the federal officials’ “information sharing” activities prevented an

   enormous amount of First Amendment-protected activity from occurring.

          918.    Chan’s thesis and testimony provide clear examples of how supposedly Russian-

   originated “disinformation” on social media becomes intertwined with, and inseparable from, First

   Amendment-protected forms of expression by American citizens. Chan identifies a supposedly

   Russian-originated political ad on Facebook that features a picture of Hillary Clinton with a black

   X painted over her face, advertising an event called “Down with Hillary!” and stating, “Hillary

   Clinton is the co-author of Obama’s anti-police and anti-Constitutional propaganda.” Chan Ex. 1,

   at 29. None of this is “disinformation” in any meaningful sense—it is actually expression of

   political opinions. The posting notes that it received 763 reactions and 78 comments on Facebook,

   which Chan agrees are “engagements by users.” See id.; see also Chan Dep. 67:1-68:20. Chan

   contends that the underlying ad was “Russian-originated content masquerading as something

   posted by an American,” id. 67:6-10—i.e., just the sort of content that the FBI would flag for

   censorship to social-media platforms through “tactical information-sharing.” But once the FBI

   induces Facebook to pull down the ad from the platform, the First Amendment-protected

   “engagements” by Americans—likes, dislikes, re-posts, comments, etc.—are all obliterated as

   well. This is the collateral damage to Americans’ freedom of speech in the FBI’s war on so-called

   Russian “disinformation.”

          919.    Chan’s thesis provides similar examples of supposedly Russian-originated content

   with heavy engagement by Americans. For example, it reproduces two supposedly Russian-

   originated political ads containing a secure-borders message (“Secured Borders: Every man should

   stand for our borders! Join!”) and a pro-Second Amendment message (“Defend the 2nd: The

   community of 2nd Amendment supporters, gun-lovers & patriots”). Chan Ex. 1, at 32. Again,




                                                  233
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 236 of 364 PageID #:
                                    16672



   these are expressions of political opinion, not “disinformation” in any meaningful sense. The

   former posting garnered 134,943 “likes,” and the latter posting garnered 96,678 “likes”—each of

   which is a First Amendment-protected expression of support for the underlying, supposedly

   Russian-originated, political message. See id. Another similar ad, targeting black voters, simply

   stated “Black Matters: Join us because we care. Black matters!” and it drew 223,799 “likes” from

   ordinary users. Id. at 32; Chan Dep. 80:12-20. Chan admits that these are “high” levels of

   “engagement” from ordinary users. Chan Dep. 83:21.

          920.    Chan also reports that “IRA employees used social media bots, i.e., computer

   programs which control social media accounts, to amplify existing content.” Chan Ex. 1, at 30.

   To “amplify existing content” means to do “things like liking it or reposting it.” Chan Dep. 71:20-

   24.

          921.    Based on research, Chan estimates that “over 100,000 real people had their postings

   amplified by [Russian]-controlled social media bots.” Id. 87:2-6.

          922.    In addition, the “indicators” that the FBI targeted for censorship included

   supposedly Russian-aligned websites that hosted First Amendment-protected content posted by

   Americans.    For example, Chan identified a supposedly Russia-generated website called

   “PeaceData,” which “hire[d] unwitting freelance journalists, including Americans, to write articles

   for the site.” Id. 141:24-142:3. “[A]t least 20 freelance journalists, which includes Americans,

   had been duped into writing articles for the site.” Id. 142:4-9. The FBI identified this site as

   Russia-generated to the social-media platforms, and as a result, the platforms “identified accounts

   that were foreign-associated … that were directing users to those platforms” and “t[ook] actions

   against those accounts.” Id. 143:10-20. The speech of the American freelance journalists was thus

   suppressed due to FBI inducement.




                                                  234
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 237 of 364 PageID #:
                                    16673



           923.   Similarly, Chan identified a website called “NAEBC” as a Russia-generated

   website. According to Chan, the Russians “used various social media accounts to engage with real

   users and convince them to post on the NAEBC site, which met with some success.” Id. 144:13-

   145:2. Thus, “the NAEBC site also included content drafted and written by real users that had

   posted on that site.” Id. 145:3-6. “The FBI flagged the NAEBC site to social-media platforms as

   a … Russian-originated source.” Id. 146:12-15. On that basis, “the companies were able to

   discover Russian-controlled accounts that were used to try to redirect users to those websites,” and

   the platforms “said they had taken down those accounts.” Id. 146:16-147:7. The FBI thus induced

   the platforms to censor the speech of “real users” on a supposedly fake Russian website.

           924.   Chan admits that “Russia’s influence operations” are deeply intertwined with First-

   Amendment-protected speech by ordinary social-media users, as he describes: “Many factors are

   at play when trying to measure the effects of Russia’s influence operations. First-order effects

   include real users interacting with inauthentic content, Russian-bot amplification of divisive

   organic content, and IRA-controlled accounts communicating directly with real users.” Chan Ex.

   1, at 94.

           925.   During the days surrounding the 2020 election, the FBI’s command post also routed

   reports of domestic “disinformation” to social-media platforms for censorship to social-media.

   “During FBI San Francisco's 2020 election command post, which I believe was held from the

   Friday before the election through election night, that Tuesday at midnight, information would be

   provided by other field offices and FBI headquarters about disinformation …. These were passed

   to FBI San Francisco's command post, which I mentioned to you before I was the daytime shift

   commander, and we would relay this information to the social media platforms where these

   accounts were detected.” Chan Dep. 162:12-24.




                                                   235
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 238 of 364 PageID #:
                                    16674



          926.    The FBI made no attempt to distinguish whether these reports of “election

   disinformation” “whether they were American or foreign.” Id. 163:1-3. “[M]any field offices” of

   the FBI “relayed this information to us.” Id. 163:7-11.

          927.    “[T]hose reports would come to FBI San Francisco … and then FBI San Francisco

   would relay them to the various social media platforms where the problematic posts had been

   made,” in order “to alert the social media companies to see if they violated their terms of service….

   which may include taking down accounts.” Id. 165:3-17.

          928.    The FBI has about a “50 percent success rate” in getting reported disinformation

   taken down or censored by the platforms, i.e., “that some action had been taken because it was a

   terms-of-service violation.” Id. 167:7-14.

          E.      The FBI Demands Information on Censorship from the Platforms.

          929.    Regarding the algorithms that platforms use to detect inauthentic activity and to

   censor content, the FBI has “probed them to ask for details” about those algorithms, “so that we

   could make sure we were sharing the most effective and actionable type of information with them,”

   id. 88:5-7, 20-22—in other words, to maximize the chances that disfavored speech would be

   censored as a result of the FBI’s “information sharing.”

          930.    The FBI “would … ask them what their terms of service or community standards

   were.” Id. 90:21-23. But Chan contends that “we never told the companies to modify their terms

   of service or community standards.” Id. 92:5-7.

          F.      The FBI Flags Accounts and URLs for Censorship on a Monthly Basis

          931.    The FBI gives “tactical information” to social-media platforms, where “tactical

   information includes identifying specific social media accounts and URLs” to be evaluated for

   censorship. Id. 96:24-97:2. Chan estimates that this occurs “one to five times per month.” Id.




                                                   236
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 239 of 364 PageID #:
                                    16675



   97:17-18. This includes such “tactical” information-sharing at most quarterly meetings. Id. 98:18-

   19.

          932.    To flag such specific accounts, URLs, and content to the platforms, Chan “would

   typically … send an email to the recipients at the companies” notifying them that he would be

   using “a secure file transfer application within the FBI that is called Teleporter,” and “the

   Teleporter email contains a link for them to securely download the files from the FBI.” Id. 98:20-

   11. The Teleporter files contain “different types of indicators,” i.e., specific social-media accounts,

   web sites, URLs, email accounts, etc. that the FBI wants the platforms to evaluate under their

   content-moderation policies. Id. 99:15.

          933.    Each such communication may contain any number of such “indicators,” ranging

   “from one account or one selector to many, like a whole spreadsheet full of them.” Id. 100:16-17.

          934.    Chan “estimate[s] that during 2020 [he] shared information with the companies

   between one to five or one to six times per month.” Id. 100:21-24. Each such incident of

   information-sharing included flagging a number of specific “indicators” that ranged anywhere

   from one to “hundreds” of specific accounts, web sites, URLs, etc... Id. 101:4-7.

          935.    During the 2022 election cycle, Chan shared such information with the platforms

   “one to four times per month.” Id. 101:13-14. Each such incident involved flagging a number of

   specific “indicators” that ranged anywhere from one to “in the tens, in the dozens” of specific

   accounts, web sites, URLs, etc. Id. 101:17-19.

          936.    “[I]n general” these flagging communications would go to all seven social-media

   platforms identified above, but sometimes there would be “company-specific information” that

   would go to a particular company. Id. 102:3-9. “[M]ost of the time we would share with that list

   of [seven] companies.” Id. 102:14-15.




                                                    237
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 240 of 364 PageID #:
                                    16676



          937.    When it made such communications, the FBI would request that the platforms

   report back to the FBI their specific actions taken toward the accounts that the FBI specifically

   flagged for possible censorship. Id. 102:18-25. “[A]t every quarterly meeting we try to follow up

   to ask if information we shared has been relevant if we have not received a response yet.” Id.

   103:5-9. Sometimes, but not always, the platforms report back to the FBI on what accounts they

   have removed based on the FBI’s information, in which case the FBI documents the report to

   “help[] us fine-tune the information we’re sharing.” Id. 103:14-22.

          938.    Including Chan, at least eight FBI agents in the San Francisco field office are

   involved in reporting disinformation to social-media platforms—Chan himself, two GS-14

   supervisors who report to Chan, and roughly five FBI field agents in two different squads within

   the office. Id. 105:19-108:18. All these agents share both “strategic” and “tactical” information

   with social-media platforms about supposed malign-foreign-influence content on platforms, and

   they are “involved in following up to find out if their tactical information was acted on.” Id. 108:8-

   10.

          939.    In addition, a significant number of FBI officials from FBI’s Foreign Influence

   Task Force (FITF) also participate in regular meetings with social-media platforms about supposed

   disinformation. Id. 108:19-110:14. These include “three to ten” FITF officials at bilateral

   meetings with social-media platforms. Id. 110:7-8.

          940.    The FBI uses both its criminal-investigation authority and its national-security

   authority to gather information about supposed malign-foreign-influence activities and content on

   social-media platforms. This specifically includes using “the Foreign Intelligence Surveillance

   Act … the PATRIOT Act, [and] Executive Order 12333 that allows us to gather national security

   intelligence” to investigate content on social media. Id. 111:13-112:8.




                                                    238
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 241 of 364 PageID #:
                                    16677



          941.    In one case in 2020, for example, a single “Teleporter message was sent” to

   platform(s) “with a spreadsheet with hundreds of accounts,” all of which the FBI was flagging for

   the platforms as supposed malign-foreign-influence accounts. Id. 112:9-14.

          942.    Chan expressed a high degree of confidence that the FBI’s identification of “tactical

   information” (i.e., specific accounts, URLs, sites, etc.) to social-media platforms was always

   accurate, and that the FBI never misidentified accounts, content, web sites etc. as operated by

   malign foreign actors when in fact they were operated by American citizens. He testified that “we

   only share information that we have a high confidence that is attributed to a foreign-state actor,”

   and that “[i]n my experience, it has always been correct.” Id. 112:15-113:16.

          943.    But there are substantial reasons to think that Chan is wrong. For example, Chan

   reports that the FBI induced Twitter to remove accounts and Tweets related to the

   #ReleaseTheMemo hashtag in 2019, which supported Congressman Devin Nunes’ investigation

   regarding Russia collusion. Id. 149:13-21; Chan Ex. 1, at 71 (noting that 929,000 Tweets removed

   by Twitter as supposedly Russian disinformation included thousands of Tweets amplifying the

   #ReleaseTheMemo hashtag). In fact, recent reporting indicates that Twitter was aware that the

   accounts pushing #ReleaseTheMemo were not Russian-controlled inauthentic accounts, but core

   political speech by ordinary American citizens that the FBI conspired to suppress.

          944.    The FBI’s flagging accounts for censorship often leads to the censorship of

   additional accounts. According to Chan, the FBI “may share, for example, one account with them,

   but then they may find ten connected accounts and take all of them down.” Id. 113:23-114:1.

          G.      Pressure from Congress Induces Platforms to Increase Censorship.




                                                  239
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 242 of 364 PageID #:
                                    16678



          945.    According to Chan, the social-media platforms were far more aggressive in taking

   down disfavored accounts and content in the 2018 and 2020 election cycles than they were in the

   2016 cycle. Id. 115:18-116:6.

          946.    Based on his personal observation, experience, and research, Chan concludes that

   “pressure from Congress, specifically HPSCI and SSCI,” induced the social-media platforms to

   adopt more aggressive censorship policies in 2018 and 2020. Id. 116:1-3. “HPSCI” stands for the

   House Permanent Select Committee on Intelligence, and “SSCI” stands for the Senate Select

   Committee on Intelligence. Id. 116:11-14.

          947.    This “pressure from Congress” took multiple forms. First, those Congressional

   committees called “the CEOs for the companies … to testify in front of their committees,”

   including “Mark Zuckerberg and Jack Dorsey and Sundar Pichai.” Id. 116:20-117:2. These CEOs

   were called to testify about disinformation on their platforms “more than once.” Id. 117:5-6. Chan

   believes that “that kind of scrutiny and public pressure from Congress … motivated them to be

   more aggressive in the account takedowns.”         Id. 117:7-14.   Chan believes this based on

   conversations with social-media platform employees. Id. 117:15-118:2.

          948.    Chan identifies specific congressional hearings that placed such pressure on social-

   media platforms to adopt more restrictive censorship policies: “On April 10–11, 2018, the Senate

   Commerce Committee and Senate Judiciary Committee held hearings on consecutive days with

   Mark Zuckerberg to discuss Russia’s influence campaigns on Facebook and its countermeasures

   to combat them…. The Senate committees also used this as an opportunity to hold Facebook

   accountable for its actions and exert pressure for positive change.” Chan Ex. 1, at 50 (emphasis

   added). “On July 17, 2018, the House Judiciary Committee held a hearing with senior executives

   from Facebook, Google, and Twitter so they could provide updates on their companies’ efforts for




                                                  240
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 243 of 364 PageID #:
                                    16679



   content filtering to stop foreign influence campaigns on their platforms.” Id. On September 5,

   2018, the Senate Intelligence Committee held a hearing with senior executives from Facebook and

   Twitter to discuss their companies’ efforts to stop foreign influence campaigns and illegal

   transactions on their platforms.” Id.

           949.     Chan links these Congressional hearings to “constructive change,” i.e., more

   aggressive censorship policies by the platforms: “On October 31, 2017, the Senate Judiciary

   Committee held a hearing with senior executives from Facebook, Google, and Twitter to discuss

   the extent of the Russian disinformation campaigns on their respective platforms.” Chan Ex. 1, at

   48. “This public hearing … provided politicians with the occasion to exert pressure on the

   companies to make constructive changes to their platforms.” Id. at 48-49. According to Chan,

   this “constructive change” means the adoption of more restrictive censorship policies. Chan Dep.

   133:9-23.

           950.     In addition, Congress put pressure on the platforms to adopt and enforce more

   aggressive censorship policies and practices by sending high-level congressional staff from HPSCI

   and SSCI to meet with the social-media platforms directly and threaten them with adverse

   legislation.    According to Chan, “staffers from both of those committees have visited with …

   those [social-media] companies,” and after these meetings with congressional staffers, employees

   of the social-media platforms “would indicate that they had to prepare very thoroughly for these

   types of meetings … and they indicated that it felt like a lot of pressure.” Id. 117:19-119:2.

           951.     The Congressional staffers had such meetings with “Facebook, Google, and

   Twitter.”      Employees from those three companies “experienced these visits from congressional

   staffers as exercising a lot of pressure on them.” Id. 118:12-16.




                                                   241
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 244 of 364 PageID #:
                                    16680



          952.    In those meetings, the Congressional staffers discussed potential legislation with

   the social-media platforms, and before or after they met with those three companies, the

   Congressional staffers “discussed with [Chan] … legislation that they were thinking about doing.”

   Id. 118:17-120:3.

          953.    It is Chan’s opinion that the social-media platforms’ “changes in takedown

   policies” to make them more restrictive “resulted from that kind of pressure from Congress.” Id.

   118:17-20.

          954.    Chan’s opinion is the result of discussing these meetings with participants on both

   sides—both the Congressional staffers and employees of Facebook, Twitter, and Google. Chan

   “and FBI San Francisco personnel would meet with the congressional staffers, typically before

   they met or after they met with the social media companies,” because “they wanted an FBI opinion

   about what they had heard from the social media companies.” Id. 119:23-120:3.

          955.    To the best of Chan’s recollection, these meetings between Congressional staffers

   and social-media platforms were an “annual occurrence” that began in 2017 and recurred annually

   after 2017. Id. 120:7-8. “The staffers had separate meetings with each of the companies.” Id.

   121:4-5. “[A]fter those meetings, the staffers would come to [Chan] and ask [his] opinion of

   potential legislation.” Id. 121:6-9.

          956.    Chan also discussed these meetings with the social-media platform employees who

   participated, as he “talk[s] with the social media platform personnel regularly,” and he understood

   from them that “the congressional staffers put a lot of pressure on them” in the meetings. Id.

   122:18-25. He spoke directly to the personnel who participated in the meetings. Id. 123:21-24.

   Senior officials from the social-media platforms, including Yoel Roth of Twitter, Steven Siegel of




                                                  242
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 245 of 364 PageID #:
                                    16681



   Facebook, and Richard Salgado of Google, participated in the meetings with Congressional

   staffers. Id. 123:25-125:7.

          957.    The Congressional staffers involved in the meetings were “senior-level staffers,”

   including “a director-level” staffer, “the committee counsel or a senior counsel for the committee,”

   and “one or two other … line-level staffers.” Id. 123:6-13.

          958.    According to Chan, “intense pressure from U.S. lawmakers and the media …

   eventually force[d] the social media companies to examine what had taken place on their platforms

   [in 2016] and strive to ensure that it did not happen in the future.” Id. 127:3-23; Chan Ex. 1, at 42.

          959.    These steps included actions by the social-media platforms to take more aggressive

   enforcement against violations of their terms of service, but also policy changes to the terms of

   service themselves to make their policies more restrictive: “the policy changes specifically to their

   terms of service or community standards.” Chan Dep. 129:17-19. These involved “more robust or

   more aggressive content-modulation policies,” that “clarify that certain things actually violate their

   policies and can be taken down.” Id. 130:4-18.

          960.    Chan notes that “Facebook and Twitter faced more Congressional scrutiny … as

   their senior executives testified before Congress on three separate occasions before the midterm

   elections,” Chan Ex. 1, at 46, and he concludes that “political pressure from Congress was a

   contributing factor” leading social-media platforms to adopt more restrictive content-moderation

   policies. Chan Dep. 132:7-9. Chan believes that these more restrictive censorship policies that

   include “account takedowns” are “constructive change,” id. 133:2-23.

          961.    These policy changes, induced by “political pressure from Congress,” resulted in a

   dramatic increase in censorship on social-media platforms, including for example that “zero

   [Twitter] accounts were taken down during the 2016 cycle but 3,613 Twitter accounts were taken




                                                    243
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 246 of 364 PageID #:
                                    16682



   down during the 2018 cycle.” Id. 133:24-134:5. Likewise, 825 accounts were removed from

   Facebook and Instagram based on publicly available reports, but according to Chan, the actual

   number was much higher. Id. 147:8-148:18. In 2019, Twitter announced the takedown of “422

   accounts which made 929,000 tweets.” Id. 149:9-12. “[S]ome subset of that amount was due to

   information [the FBI] provided.” Id. 150:12-14.

          962.    When meeting with social-media platforms, Chan “typically meet[s] with the trust

   and safety individuals and then their associated attorneys.” Id. 135:16-18.

          963.    Samaruddin K. Stewart (“Sam”) of the State Department’s Global Engagement

   Center “would meet with social media companies … primarily with policy individuals.” Id. 135:2-

   15.

          964.    Sam Stewart would offer “different types of software made by vendors that they

   would pilot to see if they could detect malign foreign influence on social media platforms.” Id.

   135:25-136:3. Chan believed that the Global Engagement Center’s products “might accidently

   pick up U.S. people information.” Id. 138:10-12.

          965.    Elvis Chan knows and has worked with Peter Strzok and Lisa Page. Id. 234:19-

   240:5. He also knows and has worked with James Baker, the former general counsel of the FBI

   who went on to become deputy general counsel of Twitter and encouraged Twitter to keep

   censoring the Hunter Biden laptop story. Id. 239:13-16.

          H.      The FBI’s Censorship Activities Are Ongoing.

          966.    Chan urges the public to report supposed misinformation on social media directly

   to the platforms, or else report it to the FBI or DOJ so that they can report it to the platforms, and

   boasts that the platforms are “very aggressive” in taking down misinformation. As he stated in a

   public podcast just before the 2020 election: “If you're also seeing something related to the election




                                                    244
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 247 of 364 PageID #:
                                    16683



   on your social media platform, all of them have portals where you can report that sort of

   information. They're being very aggressive in trying to take down any disinformation or

   misinformation, and then, lastly, if they see anything on election day or before election day, you

   can always report it to FBI.gov or justice.gov … We take all of these very seriously.” Chan Ex.

   13, at 3, 9:9-19. FBI San Francisco, when it receives such reports, “would then relay those to

   social media platforms,” so that “the social media platforms will assess those in connection with

   their terms of service.” Chan Dep. 267:13-23. Chan characterizes the platforms as “very

   aggressive” in taking down disinformation because they “[adjusted] their policies to be able to

   handle foreign-malign-influence operations.” Id. 270:23-25.

          967.    The FBI continues the same efforts in 2022 and later election cycles that it pursued

   in 2020. As Chan publicly stated, “post 2020, we've never stopped … as soon as November 3rd

   happened in 2020, we just pretty much rolled into preparing for 2022.” Chan Ex. 15, at 2, 8:2-4.

   Chan stated: “[W]e are also really engaged with the technology companies that are out here …

   We're also working with the social media companies to make sure that any foreign disinformation

   that's coming out … if we can identify them, we can share that information with them so they can

   knock down accounts, knock down disinformation content,” and he noted that they are “having

   conversations with all of those organizations as they're building up to November of [2022].” Chan

   Ex. 15, at 2-3, 8:15-9:4.

   VII.   CISA’s Censorship: Pressure, “Switchboarding,” and Working Through Nonprofits.

          968.    CISA, the Cybersecurity and Infrastructure Security Agency within the Department

   of Homeland Security, serves as a “nerve center” for federal censorship efforts. CISA meets

   routinely with social-media platforms about censorship in at least five different sets of standing

   meetings, CISA pressures platforms to increase censorship of speech that federal officials disfavor,




                                                   245
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 248 of 364 PageID #:
                                    16684



   and CISA serves as a “switchboard” by “routing disinformation concerns to social-media

   platforms” for censorship. CISA also seeks to evade the First Amendment by outsourcing many

   of its censorship activities to nonprofit agencies that it collaborates closely with, including the

   CISA-funded Center for Internet Security and its “EI-ISAC” (“Election Infrastructure –

   Information Sharing & Analysis Center”) for state officials, and the massive censorship cartel

   calling itself the “Election Integrity Partnership.”

          969.    Brian Scully is the chief of the so-called “Mis, Dis, and Malinformation Team” or

   “MDM Team” within the Cybersecurity and Infrastructure Security Agency (CISA) in the

   Department of Homeland Security (DHS).                 Scully Depo. 15:14-20.   Before the Biden

   Administration, the MDM Team was known as the “Countering Foreign Influence Task Force,”

   or CFITF.

          970.    Lauren Protentis is the “Engagements Lead” for the MDM Team, and she is in

   charge of “outreach and engagement to key stakeholders, interagency partners, [and] private sector

   partners,” including “social media platforms.” Scully Depo. 18:2-18. During relevant periods in

   both 2020 and 2022, however, Protentis was on maternity leave, and during those times, Scully

   performs her role as chief engagement officer for communicating with other federal agencies,

   private-sector entities, and social-media platforms about misinformation and disinformation.

   Scully Depo. 18:19-20:10.

          971.    Both Scully and Protentis have done or are doing extended details at the National

   Security Council where they work on misinformation and disinformation issues. Protentis began

   a one-year detail at the NSC in January 2023, as soon as she came back from maternity leave, and

   she will deal with mis- and disinformation issues for the NSC as part of her detail. Scully Depo.

   19:15:20:5.




                                                    246
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 249 of 364 PageID #:
                                    16685



             A.     CISA “Switchboards” by Flagging Government-Reported “Misinformation.”

             972.   Scully admits that, during 2020, the MDM team “did some switchboard work on

   behalf of election officials.” Scully Depo. 16:23-25. “Switchboard work” or “switchboarding” is

   a disinformation-reporting system that CISA provides that allows state and local election officials

   (who are government officials subject to the First Amendment) “to identify something on social

   media they deemed to be disinformation aimed at their jurisdiction. They could forward that to

   CISA and CISA would share that with the appropriate social media companies.” Scully Depo.

   17:3-8.

             973.   In reporting perceived misinformation to the platforms, CISA and the state and

   local officials have “an understanding that if the social media platforms were aware of

   disinformation that they might apply their content moderation policies to it,” and “the idea was

   that they would make decisions on the content that was forwarded to them based on their policies.”

   Scully Depo. 17:15-21.

             974.   CISA’s “switchboarding” activity causes social-media speech to be censored that

   otherwise would not have been censored: Scully agrees that “if it hadn't been brought to their

   attention then they obviously wouldn’t have moderated it.” Scully Depo. 17:22-18:1.

             975.   Scully contends that “we didn’t do switchboarding in 2022.” Scully Depo. 21:24-

   25. But he admits that this decision was made in late April or early May 2022. Scully Depo.

   22:15-23. This lawsuit was filed, specifically challenging CISA’s “switchboarding” activity, on

   May 5, 2022. Doc. 1.

             976.   Throughout the 2022 election cycle and through the present date, CISA continues

   to publicly state on its website that the MDM Team “serves as a switchboard for routing

   disinformation concerns to appropriate social media platforms”: “The MDM team serves as a




                                                  247
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 250 of 364 PageID #:
                                    16686



   switchboard for routing disinformation concerns to appropriate social media platforms and law

   enforcement. This activity began in 2018, supporting state and local election officials to mitigate

   disinformation about the time, place, and manner of voting. For the 2020 election, CISA expanded

   the breadth of reporting to include other state and local officials and more social media platforms.”

   Scully Ex. 24, at 3; see also Cybersecurity and Infrastructure Security Agency, “Mis, Dis,

   Malinformation,” https://www.cisa.gov/mdm (visited Feb. 4, 2023).

          977.    According to Scully, “switchboarding is CISA’s role in forwarding reporting

   received from election officials, state/local election officials, to social media platforms.” Scully

   Depo. 23:24-24:2.

          B.      CISA Organizes the “USG-Industry Meetings” on Misinformation.

          978.    The MDM Team continues to communicate regularly and extensively with social-

   media platforms about misinformation and disinformation, including during the 2022 election

   cycle. These communications include at least “two general types of communications, one, we did

   regular sync meetings between government and industry, so federal partners and different social

   media platforms.” Scully Depo. 21:2-6. This is “a coordinated meeting. Facebook was the

   industry lead, so [Scully] would have coordination calls with them prior to the meetings, just to

   set the agenda for meetings…” Scully Depo. 21:6-10. These meetings are described in CISA’s

   interrogatory responses as “USG-Industry” meetings. Scully Ex. 12, at 38-40.

          979.    In addition, the MDM Team received regular reports from social-media platforms

   about any changes to their censorship policies or their enforcement actions on censorship: “if a

   platform was putting out a … public report on policies or activities” relating to disinformation and

   censorship,” CISA would “get a briefing on that or at least get an awareness that it was going out.”

   Scully Depo. 21:11-16.




                                                   248
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 251 of 364 PageID #:
                                    16687



           980.    The USG-Industry meetings increase in frequency as each election nears. In 2022,

   they were “monthly” as the election approached, and then in October, they became “biweekly,” so

   that there were two “biweekly meetings … prior to the [2022] election.” Scully Depo. 24:16-21.

           981.    “DOJ, FBI, ODNI, and … DHS” participate in these meetings on the federal

   government’s side. Scully Depo. 25:23. DHS’s participation includes at least two components:

   CISA, typically represented by Scully and Geoff Hale, Scully’s supervisor; and the Office of

   Intelligence and Analysis (“I&A”). Scully Depo. 25:11-26:13. Scully’s role is to “oversee” and

   “facilitate the meetings.” Scully Depo. 25:14-16. On behalf of CISA, Kim Wyman, Allison Snell,

   and Lauren Protentis also participate in the meetings. Scully Depo. 28:4-13.

           982.    On behalf of FBI, FITF Chief Laura Dehmlow and Elvis Chan participate in these

   “USG-Industry” meetings, and “periodically other people would be on from different parts of

   FBI,” while “Laura [Dehmlow] was usually who [CISA] coordinated through.” Scully Depo.

   29:14-30:12.

           983.    These “USG-Industry” meetings have been occurring “for years,” and “the first

   meeting we had … between federal and … industry was in 2018.” Scully Depo. 31:10-16.

           984.    In addition, prior to each “USG-Industry” meeting, CISA hosts at least two

   planning meetings before the main meeting: a bilateral planning meeting between CISA and

   Facebook, and an interagency meeting with the federal agencies that participate. Scully Depo.

   36:21-37:13.

           985.    Even though the 2022 meetings were still quite recent at the time of his deposition,

   Scully professed that “I don’t recall specifics, so I’ll just say that upfront” about the discussions at

   these meetings. Scully Depo. 37:19-20; see also Scully Depo. 39:23-25.




                                                     249
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 252 of 364 PageID #:
                                    16688



          986.    The social-media platforms attending these meetings include “Facebook, Twitter,

   Microsoft, Google, Reddit, … [and] LinkedIn,” as well as “others.” Scully Depo. 38:15-20. For

   example, Wikimedia Foundation participated in “some.” Scully Depo. 39:2-6.

          987.    Scully agrees that “concerns about misinformation and disinformation on social

   media platforms [were] discussed in these meetings in the 2022 timeframe.” Scully Depo. 39:7-

   11. This includes federal officials reporting on disinformation concerns that they believe will

   affect speech on social media; for example, the “intelligence community” would report on

   “information operations”: “the intelligence community, if their reporting included foreign actors

   who were potentially going to use information operations, they might mention that in their

   briefings.” Scully Depo. 39:19-23.

          988.    The social-media platforms, likewise, would report back to federal officials about

   disinformation “trends” on their platforms, and provide additional information to the federal

   government not included in their public reports about such trends: “the platforms, they might share

   some high-level trend information from public reporting that they put out. So a lot of the platforms

   do their own regular reports on what they’re seeing on their platforms and … what actions they're

   taking. And so the platforms, themselves, would share that type of information…. they would share

   essentially what they were getting ready to make public or what they had already made public…

   and then potentially provide some additional context around that.” Scully Depo. 40:4-22. The

   government would ask for additional information about their observations of disinformation trends

   on social media, and the platforms would provide it: “they would share that, and if the government

   had questions or was looking for additional context they would often talk about that, they would

   generally talk about any new tactics that they were seeing.” Scully Depo. 41:1-5.




                                                   250
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 253 of 364 PageID #:
                                    16689



          989.    Scully admits that the discussion of foreign-originated misinformation is ultimately

   targeted at preventing domestic actors’ from engaging in certain government-disfavored speech.

   He states that “my recollections for the time period we're talking about here, from September 2022

   to the election in 2022, I recall most of it was foreign based. But … often what you see overseas

   essentially makes its way to the United States.” Scully Depo. 41:6-12.

          990.    At the various meetings, the platforms discuss misinformation and disinformation

   as “coordinated inauthentic behavior,” which is subject to removal under their terms of service,

   but Scully admits that “coordinated inauthentic behavior” concerns CISA because it “could lead

   to mis and disinformation, for sure.” Scully Depo. 42:12-14.

          C.      CISA Is Deeply Embedded in the Election Integrity Partnership.

          991.    Scully admits that CISA has established relationships with researchers at

   “Stanford” and the “University of Washington,” as well as “Graphika.” Scully Depo. 46:23, 48:1-

   4. CISA’s coordination with these researchers has continued since before the 2020 election cycle.

   Scully Depo. 47:22-25. Detailed additional information about these entities and their collaboration

   with CISA in the “Election Integrity Partnership” (or “EIP”) is provided below. See infra.

          992.    Stanford Internet Observatory, University of Washington, the Atlantic Council, and

   Graphika are all involved in the EIP. Scully Depo. 48:1-22.

          993.    When EIP was starting up, Scully admits that CISA’s “involvement” with the EIP

   included at least the following collaborations: (1) “a couple of our [CISA] interns came up with

   the idea and … [CISA] had some communications with” the EIP. Scully Depo. 49:8-10. (2) CISA

   “received some briefings on the work that they were doing.” Scully Depo. 49:13-14. (3) CISA

   “had some communications early on in the process, when they were making decisions, when

   Stanford was trying to figure out what the gap was.” Scully Depo. 49:18-21. (4) CISA “connected




                                                  251
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 254 of 364 PageID #:
                                    16690



   them [EIP] with the Center For Internet Security,” which is a CISA-funded nonprofit that channels

   reports of disinformation from state and local government officials to social-media platforms.

   Scully Depo. 50:5-6. (5) CISA also “connected them [EIP] with some of the election official

   groups,” i.e., “the National Association of Secretaries of State [NASS] and the National

   Association of State Election Directors [NASED],” both of which are groups of state and local

   government officials. Scully Depo. 50:6-10. (6) And CISA “facilitated some meetings between

   those three.” Scully Depo. 50:10-11.

          994.    The CISA interns who originated the idea of the EIP “worked for the Stanford

   Internet Observatory, as well … which was part of the [Election Integrity] Partnership.” Scully

   Depo. 51:7-8, 22-24.

          995.    According to Scully, the “gap” that the EIP was designed to fill, was that state and

   local election officials lack the resources to monitor and report on disinformation that affects their

   jurisdictions: “One of the gaps that we identified from 2018 is, as you know, most election officials

   their offices are fairly low staff, low resourced, and so there was no – they didn't have capabilities

   to try to identify disinformation targeting their jurisdictions, and so was essentially the gap is that

   most election offices throughout the country just didn't have that capacity or capability to be

   monitoring so that they could identify anything that would be potentially target their jurisdictions,

   so that was the gap.” Scully Depo. 57:6-17.

          996.    Scully and other CISA officials identified the “gap” as a problem to CISA interns

   who were simultaneously working for the Stanford Internet Observatory: “So we had a

   conversation with the interns, and they were asking questions about kind of needs that the election

   officials have, generally. One of the gaps that we identified from 2018 is, as you know, most




                                                    252
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 255 of 364 PageID #:
                                    16691



   election officials their offices are fairly low staff, low resourced, and so … they didn’t have the

   capabilities to try to identify disinformation targeting their jurisdictions.” Scully Depo. 57:2-11.

          997.    Thus, Scully and other CISA officials were involved in originating and

   brainstorming about the creation of the EIP in the first place, as they “had some initial conversation

   with the interns” about this “gap,” and then they also “had a conversation with the Stanford Internet

   Observatory folks about the gap.” Scully Depo. 52:3-6. Then, CISA “received a briefing from

   them [EIP], or two, on kind of what they were putting together.” Scully Depo. 52:7-9. Scully and

   other CISA officials then “facilitated some meetings between Stanford folks, the Center For

   Internet Security, and election officials, where they had discussions about how they would work

   together.” Scully Depo. 52:10-13. And CISA’s involvement did not end there, as Scully admits

   that “we had some conversations, kind of throughout, when they were -- particularly when they

   were putting out public reporting about what they were seeing.” Scully Depo. 52:14-17. In

   addition, Scully “wouldn't be surprised if there were some other kind of brief conversations in

   there.” Scully Depo. 52:18-20.

          998.    The EIP continued to operate during the 2022 election cycle. Scully Depo. 53:4-5.

   At the beginning of the 2022 election cycle, the EIP “gave us [CISA] a briefing, early on, about

   what they were thinking about,” which occurred in “May/June of 2022.” Scully Depo. 53:14-19.

   Scully and Geoff Hale of CISA received the briefing from Renee DiResta and another EIP official.

   Scully Depo. 53:22-54:7. In that briefing, the EIP officials “walked through what their plans were

   for 2022, [and] some of the lessons learned from 2020.” Scully Depo. 54:11-13. Their plans for

   2022 were that “they were going to do something similar to what they did in 2020 in terms of

   trying to support election officials.” Scully Depo. 54:16-18. They planned to “work with state

   and local election officials.” Scully Depo. 54:22-25.




                                                    253
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 256 of 364 PageID #:
                                    16692



          999.    CISA followed EIP’s public reporting during the 2022 election cycle, and in

   particular, Scully relied on “at least one public report … that I thought was pretty good,” which

   was “about specific disinformation” and “was basically how to think about whether or not a

   narrative poses risks.” Scully Depo. 56:12-17.

          1000. Scully admits that CISA has “an established relationship” with the EIP and the

   Stanford Internet Observatory personnel who lead it. Scully Depo. 55:24-25.

          1001. The Center for Internet Security is a “non-profit that oversees the multi-state ISAC

   and the election infrastructure subsector information sharing and analysis center, that's what ISAC

   stands for.” Scully Depo. 59:13-16. In other words, CIS oversees the “Multi-State Information

   Sharing and Analysis Center,” or “MS-ISAC,” and the “Election Infrastructure Information

   Sharing and Analysis Center,” or “EI-ISAC.”            Scully Depo. 60:9-20.   Both of these are

   organizations of state and/or local government officials, organized for information sharing. Scully

   Depo. 60:3-11, 60:25-61:6.

          1002. CISA funds the Center for Internet Security in its activity of overseeing the EI-

   ISAC, which is an organization for information-sharing among state and local government election

   officials. Scully Depo. 61:9-10, 62:1 (“CISA provides funding for the EI-ISAC”).

          1003. CISA directed election officials to the Center for Internet Security, which CISA

   funds, as an alternative route for reporting misinformation to social-media platforms, because

   CISA found the “switchboarding” role to be resource-intensive. Scully Depo. 62:16-24.

          1004. CISA connected the Center for Internet Security with the EIP because “the EIP was

   working on the same mission,” so “we wanted to make sure that they were all connected.” Scully

   Depo. 62:24-63:1. Thus, CISA originated and set up the collaborations between local government

   officials and the CIS, and between the EIP and the CIS. Id.




                                                    254
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 257 of 364 PageID #:
                                    16693



          1005. The Center for Internet Security worked closely with CISA in reporting

   misinformation to social-media platforms, as CISA served as a pass-through for reports from CIS

   to the platforms: CIS officials “were receiving reporting directly from election officials. In the

   early part of 2020, they would forward what they were receiving election officials to us at CISA,

   and then we would push that to the social media platform; as 2021 moved along, CIS more

   frequently provided that directly to the platforms, themselves. And so I would say early on in the

   process, the switchboarding generally came through CISA. Later on in the process, it was more of

   a mixed bag of how the switchboarding worked.” Scully Depo. 63:23-64:10.

          1006. In addition to CIS and CISA, EIP also reported supposed misinformation to social-

   media platforms. Scully Depo. 64:13-14. CISA and CIS coordinated directly with each other on

   reporting misinformation. Scully Depo. 64:18-20.

          1007. CISA served a mediating role between CIS and the EIP, and the platforms, to

   coordinate their efforts in reporting misinformation to the platforms: “There was a point where

   one of the platforms was concerned about too much kind of duplicate reporting coming in, and so

   we did have some conversations with EIP and CIS on how to kind of better manage that activity

   to make sure we weren't overwhelming the platforms.” Scully Depo. 64:21-65:1.

          1008. There was also direct email communication between EIP and CISA about

   misinformation reporting. Scully Depo. 66:9-12.

          1009. When CISA reported misinformation to platforms, CISA would “generally copy

   the Center for Internet Security,” which was coordinating with EIP. Scully Depo. 67:20-68:6.

          1010. Alex Stamos and Renee DiResta of the Stanford Internet Observatory briefed

   Scully about the EIP’s report, “The Long Fuse,” in “late spring, early summer 2021.” Scully Depo.

   70:1-10. Scully also reviewed portions of the report. See id.; Scully Ex. 1 (EIP Report).




                                                  255
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 258 of 364 PageID #:
                                    16694



          1011. Dr. Kate Starbird of the University of Washington, who works with the EIP, is also

   on the MDM Subcommittee for CISA. Scully Depo. 72:19-73:4. Kate Starbird of the University

   of Washington serves on CISA’s CSAC MDM Subcommittee, as well as working with the EIP.

   Scully Ex. 59, at 1.

          1012. Alex Stamos and Renee DiResta, who quarterback the EIP, also have roles in CISA.

   Renee DiResta of the Stanford Internet Observatory—a key player in the EIP—also serves as a

   “Subject Matter Expert (SME)” for the CISA’s Cybersecurity Advisory Committee’s MDM

   Subcommittee. Id.; Scully Depo. 361:19-362:6. Alex Stamos, the director of the Stanford Internet

   Observatory who launched the EIP, serves on the CISA Cybersecurity Advisory Committee, along

   with Kate Starbird. Jones Decl., Ex. FF, at 3, 12-13.

          1013. CISA had extensive communications to coordinate with the EIP when it was

   starting up during the 2020 election cycle: “we had conversations with Stanford about the gap.

   They gave us some briefings on what they were doing, how they were doing it. Prior to the

   election, we had some conversations with them to facilitate and coordinate meetings, as I

   mentioned. And then when they put public reporting out, if we had questions about it, we would

   probably have conversations with them around that, as well.” Scully Depo. 74:17-75:1.

          1014. In addition to Scully, Matt Masterson was involved in communicating with the EIP.

   Scully Depo. 75:6-11. In addition, Scully “wouldn’t be surprised” if Geoff Hale participated in

   some conversations with EIP. Scully Depo. 76:1-2.

          1015. The then-Director of CISA, Director Krebs, “had a relationship with Alex Stamos,”

   the head of the Stanford Internet Observatory, while CISA was coordinating with the EIP, and

   Director Krebs “may have had conversations in that context” about the EIP. Scully Depo. 76:8-




                                                  256
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 259 of 364 PageID #:
                                    16695



   10. In fact, when he left CISA in late 2020, Director Krebs “joined Alex Stamos,” and “they

   started a business together,” called the “Krebs/Stamos Group.” Scully Depo. 76:5-23.

          1016. Scully believes that “Director Krebs may have participated in a couple of meetings

   that I'm aware of, that Stamos was also in.” Scully Depo. 77:20-22, 78:3-11.

          1017. According to Scully, “generally speaking, the reporting that CISA received came

   through the Center for Internet Security.” Scully Depo. 79:19-21.

          1018. Matt Masterson and Scully presented questions to the EIP about their “public

   reporting,” which consisted of “regular blog posts on what they were seeing” about supposed

   election-related misinformation. Scully Depo. 81:19-82:16. Masterson was also involved in at

   least one of the initial discussions with the Stanford Internet Observatory about starting up the EIP.

   Scully Depo. 81:24-82:4. Masterson spoke to Stanford about “clarifying the gap that election

   officials faced for the folks at the Stanford Internet Observatory early on in the process.” Scully

   Depo. 83:22-25.

          1019. The idea of the “gap” came from Scully and CISA, which he “shared with the

   interns.” Scully Depo. 84:8-22.

          1020. Matt Masterson “was in the meeting where we talked about the gap with [Alex]

   Stamos, in particular. And I believe Stamos mentioned that [i.e., the collaboration that became the

   Election Integrity Partnership] as an option during that call.” Scully Depo. 85:21-24.

          1021. Matt Masterson left CISA in January 2021. He started at Microsoft in early 2022.

   In the intervening year, immediately after leaving CISA, Masterson “was a fellow at the Stanford

   Internet Observatory.” Scully Depo. 88:21-89:8. Thus, both the CISA Director (Krebs) and the

   political appointee directly involved in the establishment of the EIP (Masterson) went to work with

   Alex Stamos of Stanford Internet Observatory immediately after the 2020 election cycle.




                                                    257
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 260 of 364 PageID #:
                                    16696



          1022. Alex Stamos consulted with CISA in part because “he knew he would need us

   helping him connect with election officials.” Scully Depo. 100:17-18.

          1023. Scully believes that there was at least “a fifth call” between CISA and Alex Stamos

   in 2020. Scully Depo. 101:4.

          1024. Scully put Stamos in touch with NASED and NASS, and “facilitated some meetings

   between … them [EIP] and election officials.” Scully Depo. 101:15-102:10. Scully “facilitated

   meetings … some meetings between EIP and CIS” because “they didn't have relationship” and

   “didn't know each other. So [CISA] just facilitated getting them together to talk and figure out

   how they were going to work together.” Scully Depo. 102:14-20. The purpose of these meetings

   was “to set up a direct line of communication between CIS and EIP.” Scully Depo. 103:7-10.

          1025. Scully also put EIP in contact and facilitated meetings between EIP (i.e., folks at

   the Stanford Internet Observatory, which organized EIP) and representatives of NASED and

   NASS, the organizations of state and local election officials. Scully Depo. 103:11-104:19. These

   occurred in July or August 2020. Scully Depo. 104:24-25.

          1026. Scully believes that the Center for Internet Security, which CISA funds,

   “forward[ed] messages that election officials sent them” reporting misinformation “to EIP.”

   Scully Depo. 106:10-16.

          1027. Scully agrees that “EI-ISAC is a part of CIS and we do fund the EI-ISAC.” Scully

   Depo. 110:20-23.

          1028. Scully agrees that CISA collaborated with the EIP. Scully Depo. 111:15-18.

          1029. CISA probably had “between two and four” conversations with the EIP about its

   public reports on disinformation trends on social media. Scully Depo. 113:20-24. “[I]f we had a

   question about jurisdiction[s] being targeted or a new [disinformation] tactic or things like that,




                                                  258
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 261 of 364 PageID #:
                                    16697



   we would just ask them … questions about that sort of thing.” Scully Depo. 114:17-21. Scully

   “was following the public reports” from the EIP during 2020. Scully Depo. 115:16-17.

          1030. CISA received misinformation reports principally from three sources: first, from

   the Center for Internet Security; and second, “sometimes election officials would send them in to

   CISA central, which is CISA's kind of ops center block room type setup. And then the third way

   was they would just send direct to a CISA employee, … often Matt Masterson, who had

   relationships with many of the election officials.” Scully Depo 119:7-11, 119:22-120:5.

          1031. CISA coordinated with the Center for Internet Security on reporting misinformation

   to platforms: “we would let them know when we reported something to a platform … to avoid

   duplication,” and “most of the reporting that I recall in 2020 came through CIS. And so we just

   wanted to let them know that we were acting on what they sent us. For reporting that didn't come

   through CIS, we would often let them know after we had shared it with the platforms that we had

   shared something with the platforms for their arrangement.” Scully Depo. 120:23-121:9.

          1032. CIS and EIP also “had a relationship. They shared information.” Scully Depo.

   121:20-21.

          1033. According to Scully, “CISA does not do attribution. We didn’t do analysis of what

   we received from election officials. So we would not know what percentage” of misinformation

   reports “were foreign derived.” Scully Depo. 122:25-123:3. CISA thus forwards reports of

   “misinformation” to social-media platforms “without assessing whether they were originated from

   foreign or domestics sources.” CISA would not “take steps to see whether this came from foreign

   or domestic sources,” but “would just pass it along to the social-media platforms.” Scully Depo.

   123:4-18.




                                                 259
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 262 of 364 PageID #:
                                    16698



          1034. Scully was aware that social-media platforms changed their content-moderation

   policies to be more restrictive of election-related “misinformation” during the 2020 election cycle,

   because the platforms reported on those changes to federal officials “in our regular sync meetings,”

   i.e., the “USG-Industry” meetings. Scully Depo. 127:18-19. In those meetings, “that would be

   one of their briefing points, that they were making significant changes” to policies for censoring

   election-related speech. Scully Depo. 128:4-6.

          1035. During 2020, Matt Masterson was “a senior election security person at CISA,” and

   he was a “political appointee.” Scully Depo. 129:23-130:4. Masterson was “familiar with the

   switchboarding work that we were doing.” Scully Depo. 131:8-10. And “when he would receive

   emails” reporting misinformation, “he forwarded them to us.” Scully Depo. 131:13-14.

          1036. Scully understands that the Virality Project was “Stanford’s attempt to mimic the

   EIP for COVID.” Scully Depo. 134:10-11.

          1037. The Virality Project “sent [Scully] some of their public reports.” Scully Depo.

   134:13-14.

          1038. Scully was aware that Alex Stamos and Renee DiResta of the Stanford Internet

   Observatory were involved in the Virality Project. Scully Depo. 134:21-22.

          1039. Scully “did have some conversations where they were … asking me … for any

   connections I had with HHS or CDC.” Scully Depo. 135:10-12.

          1040. In addition, Scully recalls “some informal … conversations that I may have had

   with Alex, in particular, and maybe Renée, as well,” about the Virality Project. Scully Depo. 136:3-

   6.

          1041. Alex Stamos gave Scully an “overview what they planned to do in the Virality

   Project” that “was similar to what they did … with the EIP.” Scully Depo. 136:19-22.




                                                    260
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 263 of 364 PageID #:
                                    16699



          1042. Scully also had conversations with Renee DiResta about commencing the Virality

   Project. Scully Depo. 139:5-14.

          1043. With respect to the EIP, Alex Stamos and Renee DiResta “shared … lessons

   learned,” and “what some of their big takeaways were” with Scully. Scully Depo. 141:6-8.

          1044. CrowdTangle is a “Facebook-owned social media monitoring service.” Scully

   Depo. 144:23-24.

          1045. According to the Virality Project report, “as voting-related mis-and disinformation

   arose in the 2020 presidential election, the Election Infrastructure Information Sharing and

   Analysis Center (EI-ISAC) served a critical role in sharing information with the Election Integrity

   Partnership and pushing its rapid response analysis back out to election stakeholders across all

   states.” Scully Ex. 2, at 150. Scully understands that this refers to the Center for Internet Security,

   which operates the EI-ISAC through CISA-provided funding, and that “it was Center for Internet

   Security” that engaged in direct communications with the EIP and played a critical role in sharing

   information with the EIP. Scully Depo. 147:17-25.

          1046. During the summer of 2020, CISA was “piloting a capability that would allow us

   to monitor narratives online,” Scully Depo. 151:13-15—i.e., the work that the EIP eventually did

   and does.

          1047. In his public statements, Alex Stamos has identified the EIP’s “partners in

   government” as “most particularly those in CISA and DHS, but also in all of the local and state

   governments with whom we operated with.” Scully Ex. 6, at 4. Scully agrees that “CISA and

   DHS were partners of the EIP.” Scully Depo. 369:1-11.

          1048. According to Stamos, “[t]he Election Integrity Partnership started with our team in

   Stanford sending a group of interns to go work with the cyber security and infrastructure security




                                                    261
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 264 of 364 PageID #:
                                    16700



   agency at the DHS to work election security. And what these interns found is, there's a lot of

   opportunity for them to contribute to the technical components of election security. They also

   found that there was a lack of capability around election disinformation. This is not because CISA

   didn't care about disinformation, but at the time they lacked both kind of the funding and the legal

   authorizations to go do the kinds of work that would be necessary to truly understand how election

   disinformation was operated.” Scully Ex. 6, at 4.

           1049. Stamos says that the EIP is “a project between four different institutions to try to

   fill the gap of the things that the government cannot do themselves.” Scully Ex. 6, at 4.

           1050. Stamos states that CISA was one of “four major stakeholders” in the EIP: “There

   are kind of four major stakeholders that we operated with that we worked beside at EIP. Our

   partners in government, most particularly those in CISA and DHS, but also in all of the local and

   state governments with whom we operated with.” Scully Ex. 6, at 4.

           1051. EIP had access to data for monitoring social-media speech that the federal

   government does not have: The EIP “also worked with the major platforms, Facebook, Twitter,

   YouTube, TikTok, Reddit, NextDoor and the like. … [S]ome of those cases we had agreements

   for access of data. In other cases, we had to have individual analysts go work with them.” Scully

   Ex. 6, at 5.

           1052. According to Stamos, there was very little foreign disinformation in 2020: “We find

   very little evidence that there's any foreign involvement at all. In fact, the vast majority of election

   disinformation in 2020 came from Americans who had verified accounts and very large follower

   accounts.” Scully Ex. 6, at 6.

           1053. According to Stamos, its founder, the EIP targeted “large follower account political

   partisans who are spreading misinformation intentionally, doing so in a multi-media context. So




                                                     262
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 265 of 364 PageID #:
                                    16701



   they're doing so online, on social media, but they're also doing so on cable news, doing so on the

   radio, through a variety of different outlets and are able to amplify their message and to motivate

   their followers to go try find evidence of the incorrect claims that they're making.” Scully Ex. 6,

   at 7.

           1054. According to Renee DiResta, “in August 2020, students from the Stanford Internet

   Observatory were doing an internship with CISA and they identified a massive gap in the

   capability of federal, state, and local governments to become aware of, to analyze, and to rapidly

   respond to mis and disinformation, both foreign and domestic, targeting the 2020 election.” Scully

   Ex. 7, at 4. The EIP was designed to fill that “gap” in the governments’ capability to “rapidly

   respond to mis- and disinformation … targeting the 2020 election.” Id.

           1055. As DiResta notes, the EIP was designed to get around “unclear legal authorities,

   including very real First Amendment questions,” that would arise if CISA or other government

   agencies were to monitor and flag misinformation for censorship on social media. Scully Ex. 7,

   at 4. As she states, “that gap had several components. The federal government wasn't prepared to

   identify and analyze election mis- and disinfo. …There were unclear legal authorities, including

   very real First Amendment questions.” Id.

           1056. DiResta agrees that “the vast majority of voting related misinformation in the 2020

   election was domestic.” Scully Ex. 7, at 6.

           1057. The Virality Project was immediately established on the heels of the EIP:

   “Following the success of EIP and the certification of the 2020 election, SIO [Stanford Internet

   Observatory] … almost immediately we recognized the need to ramp back up. This time to support

   government health officials' efforts to combat misinformation and targeting the COVID-19

   vaccines. In February 2021, we formally established the Virality Project drawing on the same




                                                  263
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 266 of 364 PageID #:
                                    16702



   partners from EIP and adding a few more, and much like EIP, it focused on realtime observation,

   analysis, and understanding of cross platform vaccine-related misinformation.” Scully Ex. 7, at 7.

          1058. The CISA-funded Center for Internet Security coordinated with EIP regarding

   online misinformation and reported it to CISA. For example, on October 1, 2020, CIS emailed

   Scully about alleged misinformation, noting that “the impact seems to be escalating. Our hope is

   the platforms can do more to take down the misinformation. The EIP has been tracking this spread

   under ticket EIP-243 and has more examples.” Scully Ex. 9, at 1. Scully forwarded this report to

   social media platforms. Id.

          1059. EIP had advised Scully that it was using a ticketing system to track misinformation

   narratives. Scully Depo. 159:1-5.

          1060. Scully forwarded this report tracked under EIP-243 to Twitter, as well as Facebook

   and YouTube, because “people generate traffic … by posting it across platforms,” and he “would

   sometimes share across other platforms that we thought there might be … relevant content showing

   up on their platforms.” Scully Depo. 160:2-5; Scully Ex. 9, at 1, 7, 12.

          1061. Scully asked social-media platforms to report back how they were handling reports

   of misinformation and disinformation received from CISA. See Scully Ex. 9, at 11 (asking Twitter

   “to see if there’s anything you can share about how you’re approaching” misinformation reported

   by CISA). According to Scully, “periodically … we would ask if the decision was made and if

   we can share back.” Scully Depo. 164:15-17.

          1062. CISA maintained a “tracking spreadsheet” of its misinformation reports to social-

   media platforms during the 2020 election cycle. Scully Depo. 165:14-166:13. After Scully’s

   deposition, CISA produced this “tracking spreadsheet” in response to Plaintiffs’ Motion to

   Compel. Jones Decl., Ex. GG.




                                                  264
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 267 of 364 PageID #:
                                    16703



          1063. At least six members of the MDM team “took shifts” in reporting supposed

   misinformation to social-media platforms, including Scully, Chad Josiah, Rob Schaul, Alex

   Zaheer, John Stafford, and Pierce Lowary. Scully Depo. 166:9-168:11, 183:14-16.

          1064. At the time, Pierce Lowary and Alex Zaheer were simultaneously serving as interns

   for CISA and working for the Stanford Internet Observatory, which was then operating the

   Election Integrity Partnership. Scully Depo. 168:22-171:16, 183:20-22. Thus, Zaheer and Lowary

   were simultaneously engaged in reporting misinformation to social-media platforms on behalf of

   CISA, and in reporting misinformation to social-media platforms on behalf of the EIP. Id.

          1065. Zaheer and Lowary were also two of the four Stanford interns who originated the

   idea of the EIP. Scully Depo. 171:14-16, 184:22-24, 185:12-14.

          1066. Zaheer “was one of the people that were working the ticketing system” for EIP.

   Scully Depo. 181:21-23. Likewise, Lowary “did both SIO and CISA push forwarding” at the same

   time during the fall of 2020. Scully Depo. 183:14-16.

          1067. CISA’s misinformation reporting to platforms “ramped up as we got closer to the

   election.” Scully Depo. 174:1-2. On election night, they “were up until at least midnight,” and “if

   we received anything we would push it forward.” Scully Depo. 175:12-14. Close to the election,

   they would “monitor their phones” for disinformation reports even during “off hours.” Scully

   Depo. 175:16-17. “[T]he expectation [was] … that they would be responsible for forwarding

   something” to the platforms. Scully Depo. 175:19-21.

          1068. Alex Zaheer, when switchboarding for CISA, forwarded detailed a report of

   supposed “misinformation” from the Election Integrity Partnership (EIP) to CISA’s reporting

   system, which called for “swift removal of … posts and continued monitoring of the user’s

   account” because that user had “claimed (1) that mail-in voting is insecure, [and] (2) conspiracy




                                                  265
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 268 of 364 PageID #:
                                    16704



   theories about election fraud are hard to discount.” Scully Ex. 9, at 62. Scully forwarded this

   report to Twitter, which reported back that it had taken action pursuant to its civic integrity policy.

   Id. at 61; see also Scully Depo. 199:6-200:17.

          1069. According to Scully, forwarding such reports of misinformation from the EIP to

   social-media platforms “was our standard practice.” Scully Depo. 200:25. In fact, CISA’s

   tracking spreadsheet contains at least eleven entries of “switchboarded” reports of misinformation

   that CISA received directly from “EIP” and forwarded to social-media platforms for review under

   their policies. Jones Decl., Ex. GG, at 4-5, Column C (“From”), Lines 86-96, 115, 123 (all listing

   “EIP”). CISA also used EIP tracking numbers for those reports. See id. Column D. One of these

   notes that content was reported to Twitter for censorship because “EIP … saw article on The

   Gateway Pundit.” Id. at 4 (Column F, Line 94).

          1070. CIS routinely reported misinformation by sending the notice simultaneously to both

   CISA     and     to    the    EIP,     using     the    EIP’s     misinformation-reporting       email

   “tips@2020partnership.atlassian.net.” Scully Ex. 9, at 33, 52, 58; Scully Ex. 10, at 1. Scully Ex.

   11, at 1-2 (indicating that “tips@2020partnership.atlassian.net” is the reporting email for the EIP);

   Scully Depo. 229:18-230:25 (Scully admitting that this email is the EIP reporting email).

          1071. State officials, likewise, simultaneously reported supposed “misinformation” to

   CISA, CIS, and the EIP.        See, e.g., Scully Ex. 9, at 59 (Colorado state official reporting

   misinformation to “EI-ISAC, CISA and Stanford Partners”).

          1072. State officials sometimes indicated that they were reporting misinformation to

   platforms for censorship precisely because federal officials at FBI and CISA had warned them

   about it. See, e.g., Scully Ex. 9, at 59 (noting that Colorado was reporting two Twitter accounts,

   one with 14 followers and one with 2 followers, because “[t]hese are concerning to us here in




                                                    266
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 269 of 364 PageID #:
                                    16705



   Colorado because of recent FBI/CISA warnings about impersonation accounts spreading false

   information about the election”).

          1073. One platform complained to Scully that it was receiving duplicate reports of

   misinformation from the EIP and Center for Internet Security, and asked if CISA could be

   designated reporter for the group: “Hey Brian, can we talk about CIS Misinformation reporting

   duplicate reports to EIP? Possible to have just you escalate?” Scully Ex. 9, at 63. Scully

   coordinated with CIS and EIP to set forth a coordinated reporting process involving agreed roles

   for all three of them—CISA, CIS, and EIP. Id.; Scully Depo. 209:14-212:12. Scully admits that

   there was “an agreement for EIP and CIS and CISA to coordinate and let each other know what

   they were reporting to platforms like Twitter.” Scully Depo. 212:7-12.

          1074. State and local officials reported misinformation to the FBI in parallel with their

   reports to CIS and CISA. See, e.g., Scully Ex. 10, at 10. This is because CISA “tell[s] election

   officials to report what they saw to either DHS or the FBI, and it would end up where it needed to

   be.” Scully Depo. 215:8-14.

          1075. The Center for Internet Security, likewise, sometimes used EIP ticket numbers on

   the misinformation reports it sent to CISA for forwarding to platforms. See, e.g., Scully Ex. 10, at

   27 (reporting supposed misinformation in Pennsylvania under ticket number “EIP-664”); Scully

   Depo. 217:16-218:19. As noted, CISA’s “tracking spreadsheet” used similar EIP ticket numbers

   at least 13 times for misinformation reports sent to platforms. Jones Decl., Ex. GG, at 4-5.

          D.      CISA Uses Switchboarding to Pressure Platforms to Censor Speech.

          1076. CISA and Scully did not just forward misinformation reports to platforms; in

   addition, they also engaged in fact-checking for the platforms. For example, regarding a report

   about election security in Pennsylvania, Facebook asked Scully if he could please “confirm” two




                                                   267
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 270 of 364 PageID #:
                                    16706



   factual aspects of the report, and Scully responded with an explanation of why the government

   believed that the report was misinformation violating Facebook’s terms of service. Scully Depo.

   218:22-219:24; Scully Ex. 10, at 25-27; Scully Depo. 222:20-224:20; Scully Ex. 10, at 35-37

   (Scully engaging in his own research to debunk an election-integrity claim on Twitter and

   reporting to Twitter, which relied on his research to label the Tweet).

          1077. Scully admits that CISA commonly engaged in such informal fact-checking for the

   platforms: “if social media platforms needed additional information from an election official we

   would try to support that. … “[G]enerally speaking, we would do what we did here, which is if the

   -- if the jurisdiction made a public statement or if there was additional information the jurisdiction

   could provide, and the platforms asked for it, that we would try to facilitate getting the information

   they asked for.” Scully Depo. 220:6-20. CISA would do its own research as well as relaying

   statements from public officials to help debunk postings for social-media platforms. Scully Depo.

   221:1-4 (“If it was a public statement, I'm sure we pulled it ourselves. If there was not a public

   statement, I would imagine we would go back to the election official.”); Scully Depo. 221:23-

   222:19.

          1078. In presenting such “debunking” information to platforms to urge them to remove

   content, CISA always assumed—without any independent research—that the government official

   was a reliable source, and that the social-media user was unreliable, even for first-hand accounts:

   “if there was a public statement that was put out by the jurisdiction, we would … defer to that.”

   Scully Depo. 221:9-12. CISA would not “take any steps to find out” if the private citizen’s account

   might actually be truthful, and CISA would not “do further research to figure out who was telling

   the truth,” but would simply “relay … the official statement from the jurisdiction” to the platforms

   for censorship. Scully Depo. 221:13-22.




                                                    268
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 271 of 364 PageID #:
                                    16707



          1079. CISA’s fact-checking activity included both relaying “debunking” information

   from state and local officials—always assuming without question that the state and local officials

   were truthful, not the social-media speakers—and performing its own fact-checking when the

   claim related to federal activities. For example, “[t]here was also one time when I believe it was

   Facebook had a question about DHS immigration and customs enforcement having agents going

   places where we also provided a response back on a specific piece.” Scully Depo. 220:8-13.

          1080. CIS and CISA’s “switchboarding” activities reached, not just public postings, but

   private postings on social-media platforms. See, e.g., Scully Ex. 10, at 45-46 (reporting a “post on

   a private FB page,” i.e., a “(private) Facebook post that Trump already won AZ”).

          1081. Social-media platforms treated CISA as a privileged reporter of misinformation,

   frequently responding with great promptness to CISA’s reports of misinformation, immediately

   “escalating” the content for moderation, and reporting back the censorship action taken. For

   example, on November 10, 2020, at 7:23 pm, Scully reported offending Tweets, and Twitter

   responded within two minutes, “Thanks Brian. We will escalate.” Shortly after midnight the same

   night, at 12:11 a.m., Twitter followed up with a report on censoring the Tweets. Scully Ex. 10, at

   59. On November 13, 2020, Scully reported an offending tweet at 11:20 pm, and Twitter

   responded at 11:21 pm, “Thanks Brian. We will escalate.” Scully Ex. 18, at 26; Scully Depo.

   291:15-294:3.

          1082. CISA’s censorship partners also originated their own reports for censorship. CIS

   and the EIP sometimes reached out to state and local officials to invite them to debunk and report

   speech that CIS and EIP had observed on social media. For example, on December 1, 2020, the

   Center for Internet Security emailed local government officials stating, “The EI-ISAC, and our

   partners at the Election Integrity Partnership (EIP), are tracking a social-media post that is gaining




                                                    269
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 272 of 364 PageID #:
                                    16708



   traction very quickly.” Scully Ex. 11, at 4. The CIS asked the local officials to debunk the post so

   that “we can work with the social media platforms to have the posts removed as misinformation.

   Please let us know as soon as possible.” Id. The local officials responded with information

   disputing the posts, and CIS promptly forwarded the dispute to CISA and EIP: “Brian [Scully] and

   EIP, misinformation tweet … a [local official] confirmed the misinformation.” Id. at 2. Scully

   then forwarded the report to Twitter, which responded within three hours, “We have labeled the

   tweet and are taking steps to limit trending on this.” Id. at 1; Scully Depo. 228:5-231:7.

          E.      CISA’s Many Misinformation Meetings with Platforms.

          1083. In its interrogatory responses, CISA disclosed five sets of recurring meetings with

   social-media platforms that involve discussions of misinformation, disinformation, and/or

   censorship of speech on social media. Scully Ex. 12, at 38-40.

          1084. Scully provided the information in the interrogatory responses regarding CISA’s

   meetings with social-media platforms regarding misinformation and censorship. Scully Depo.

   232:24-233:3. In doing so, Scully failed to disclose a long series of bilateral meetings between

   CISA and social-media platforms. See, e.g., Scully Depo. 238:11-13 (“we had some Twitter-only

   calls, as well, that [Yoel Roth] participated in”); Scully Depo. 238:21-22 (“we had some briefings

   from [Twitter] on some of their public reports” about misinformation); Scully Depo. 239:8-12

   (agreeing that there were “briefings in those bilateral meetings with Twitter as relating to

   misinformation and disinformation on social media”); Scully Depo. 239:20-240:3 (admitting that

   CISA conducted “bilateral meetings with other social media platforms, like this, where

   misinformation was discussed”); Scully Depo. 241:4-22 (admitting to a series of bilateral meetings

   with social-media platforms beginning in 2018 and continuing through 2020); Scully Depo. 241:7-

   14 (testifying that “in 2018 … in our initial stages of trying to build those relationships, we would




                                                   270
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 273 of 364 PageID #:
                                    16709



   go meet with each platform one-on-one”); Scully Depo. 241:20-22 (admitting that, “prior to

   starting the switchboarding work, in 2020, we had conversations with each platform individually”).

          1085. None of these many bilateral meetings with social-media platforms about

   misinformation was disclosed in CISA’s interrogatory responses. Scully Ex. 12, at 38-40; Scully

   Depo. 243:6-21.

          1086. In its interrogatory responses, CISA describes the “USG-Industry” meetings as

   follows: “A recurring meeting usually entitled USG – Industry meeting, which has generally had

   a monthly cadence, and is between government agencies and private industry. Government

   participants have included CISA’s Election Security and Resilience subdivision, DHS’s Office of

   Intelligence and Analysis, the FBI’s foreign influence task force, the Justice Department’s national

   security division, and the Office of the Director of National Intelligence. Industry participants

   generally include Google, Facebook, Twitter, Reddit, [and] Microsoft but, have also included

   Verizon Media, Pinterest, LinkedIn, and the Wikimedia Foundation as well. The topics discussed

   include, but are not limited to: information sharing around elections risk, briefs from industry,

   threat updates, and highlights and upcoming watch outs.” Scully Ex. 12, at 38-39.

          1087. In fact, the CISA’s description of the “USG-Industry” meeting as having “a

   monthly cadence” is misleading. The meetings became biweekly and weekly close to elections,

   when they were most needed: “from summer of 2018 … to early 2020 they were quarterly.

   Sometime in 2020 they became monthly and then as we got closer to the election in 2020 they

   became weekly.” Scully Depo. 234:7-11.

          F.      CISA Worked with FBI to Suppress the Hunter Biden Laptop Story.

          1088. Scully claims that he does not recall whether or not “hack and leak” or “hack and

   dump” operations were raised at the USG-Industry meetings, but he does not dispute that they may




                                                   271
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 274 of 364 PageID #:
                                    16710



   have been raised: “I don't recall a specific incident of that [i.e., discussions of “hack and dump” or

   “hack and leak” operations], but it's definitely possible. It's a tactic that had been used in the past.”

   Scully Depo. 236:6-12. Scully does not dispute that he may have raised it: “Me, personally, I don't

   recall myself raising that, but it's possible.” Scully Depo. 236:15-16. He does not dispute that

   Laura Dehmlow of FBI’s FITF may have raised the concern: “Again, I don't know. It was a tactic

   that had been used globally, previously. So it wouldn't surprise me if there was some discussion

   of that somewhere in these meetings.” Scully Depo. 236:20-23. He does not dispute that Elvis

   Chan and/or Matt Masterson may have raised the concern. Scully Depo. 237:10-22.

           1089. Scully also does not dispute Yoel Roth’s account of the communications to social-

   media platforms from federal officials about hack-and-leak operations and the possibility of a

   hack-and-leak operation involving Hunter Biden in Paragraphs 10-11 of Yoel Roth’s Declaration

   dated December 17, 2020. Scully Ex. 13, at 2-3; Scully Depo. 245:23-248:11. Scully does not

   dispute that federal officials repeatedly raised the concern that they “expected hack and leak

   operations by state actors” in the USG-Industry meetings, Scully Depo. 245:23-247:17 (“it’s

   certainly possible, because it was a common tactic … I would definitely not be surprised if these

   were included in the conversations”); and Scully does not dispute Roth’s statement that Roth

   learned in these meetings that “there were rumors that a hack and leak operation would involve

   Hunter Biden,” Scully Depo. 247:18-248:7.

           1090. Contemporaneous emails confirm that CISA officials were warning of “hack and

   leak” operations during the USG-Industry and other meetings with social-media platforms during

   2020. For example, on September 16, 2020, Facebook employees emailed Scully and other CISA

   officials a draft of a joint industry statement, which stated: “For several years, tech companies have

   worked together with … U.S. government agencies … to counter election threats across our




                                                     272
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 275 of 364 PageID #:
                                    16711



   platforms…. At today’s meeting, we specifically discussed: … (2) Ways to counter targeted

   attempts to undermine the election conversation before, during, and after the election. This

   includes preparing for so-called ‘hack and leak’ operations attempting to use platforms and

   traditional media for unauthorized information drops.” Scully Ex. 16, at 1 (emphasis added). This

   email confirms that “preparing for so-called ‘hack and leak’ operations” was discussed at the USG-

   Industry meeting on Sept. 16, 2020, which included CISA, FBI’s FITF, DOJ’s National Security

   Division, ODNI, and Google, Microsoft, Facebook, Twitter, Reddit, Verizon Media, Pinterest,

   LinkedIn, and Wikimedia Foundation. Scully Ex. 16, at 1; see also Scully Depo. 253:14-255:13.

          1091. Likewise, the agenda for the July 15, 2020 USG-Industry meeting included, as a

   “Deep Dive Topic,” a 40-minute discussion of “Hack/Leak and USG Attribution Speed/Process.”

   Scully Ex. 17, at 16. According to Scully, “attribution” in this context means identifying the hacker

   and leaker, and “USG” means “United States Government.” Scully Depo. 274:4-275:10.

          1092. Like Elvis Chan, Scully was not aware of any “pending investigations, at that time,

   into possible hack and leak operations.” Scully Depo. 255:9-13.

          1093. At the USG-Industry meeting, CISA asked platforms to report back on “Themes /

   narratives / approaches you anticipate for races you think will be targeted.” Scully Ex. 15, at 1.

          G.      CISA’s Ongoing and Expanding Censorship Efforts.

          1094. In the spring and summer of 2022, Lauren Protentis requested the social-media

   platforms to prepare “one-pagers” for state and local election officials to address their content

   moderation rules. See Scully Ex. 17, at 1 (including “One-Pager Reminder” on the agenda for the

   April 2020 USG-Industry meeting); Scully Depo. 260:3-261:11 (“we had asked industry to provide

   a one-page summary of their content moderation rules that we could share with election officials”).




                                                   273
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 276 of 364 PageID #:
                                    16712



          1095. The purpose of these “one-pagers” was to provide a summary of the platforms’

   content moderation rules to state and local government officials who would be reporting

   misinformation to the platforms. Scully Depo. 260:3-261:11.

          1096. Lauren Protentis of CISA repeatedly lobbied the social-media platforms to include

   in their “one-pagers” for state and local officials a description of how to report perceived

   misinformation to the platform for censorship. See, e.g., Scully Ex. 18, at 41 (Protentis requesting

   that Facebook update its one-pager to include its “steps for flagging or escalating MDM content”

   to “make this a comprehensive product on both the critical needs for officials—account security

   and MDM concerns”); id. at 44 (Protentis asking Microsoft to create a one-pager for election

   officials to “provide steps to … report MDM”); id. at 45 (Protentis requesting that Twitter update

   its one-pager for government officials to include information about “how to report

   disinformation”). Scully agrees that Protentis was “trying to make sure that election officials have

   the information they need if they want to report” disinformation. Scully Depo. 300:23-25.

          1097. CISA also set up an “operation center” on and around Election Day that engaged

   in “switchboarding” reports of election-day misinformation to platforms: “CISA regularly set up

   an operation center on election day, around the election. And the platforms and some of the other

   agencies do the same.” Scully Depo. 262:16-19. This “operation center” received “switchboard

   reporting” in 2018 and 2020. Scully Depo. 263:15-18. It was also communicating with platforms

   and other federal agencies, including “connectivity with FBI, DOJ, NEI, I&A.” Scully Depo.

   264:18. When these reports came in, CISA would “perform the same misinformation routing

   function and pass that along to the platforms.” Scully Depo. 265:1-7.

          1098. The CISA-funded Center for Internet Security continued to report misinformation

   and disinformation to platforms for censorship in 2022: “CIS was up and running [in 2022].”




                                                   274
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 277 of 364 PageID #:
                                    16713



   Scully     Depo.    266:2.    Scully    understands      that   “CIS   continued   to    receive

   disinformation/misinformation reports from state and local election officials during the 2022

   election cycle, and relay them directly to social media platforms.” Scully Depo. 266:5-13.

            1099. Scully also believes that NASS and NASED routed disinformation concerns

   directly to social-media platforms in 2022. Scully Depo. 268:25-269:3.

            1100. Scully agrees that foreign-originated social-media content typically becomes

   repeated from domestic sources: “We often see what happens overseas send up showing up

   domestically.” Scully Depo. 279:9-11.

            1101. CISA has also teamed up directly with the State Department’s Global Engagement

   Center (GEC) to seek removal of social-media content; for example, on one occasion, the GEC

   enlisted CISA’s aid to seek the removal of “a YouTube channel run by Americans falsely

   claiming” that a certain State Department special envoy was “Patient Zero” for COVID-19. Scully

   Ex. 18, at 2. Scully forwarded the report to Facebook, which reported within minutes that it had

   “flagged for our internal teams.” Scully Ex. 18, at 1.

            1102. CISA flagged obvious parody and joke accounts for censorship, including a

   Colorado parody account with 56 followers whose handle stated, “dm us your weed store location

   (hoes be mad, but this is a parody account),” and one with 27 followers whose handle stated,

   “Smoke weed erry day.” Scully Ex. 18, at 11-12. The government official who reported these

   stated that “these are concerning to us … because of recent FBI/CISA warnings about

   impersonation accounts spreading false information about the election.” Scully Ex. 18, at 11. In

   other words, the government official sought to censor these accounts before they posted any

   election-related speech, because (according to “FBI/CISA”), they might engage in misleading




                                                  275
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 278 of 364 PageID #:
                                    16714



   election-related speech. See id. Scully forwarded these reports to Twitter for censorship. Scully

   Ex. 18, at 10.

          1103. Platforms report to CISA when they update their content-moderation policies to

   make them more restrictive. On September 10, 2020, for example, Twitter reported to Masterson

   and Scully that it was “updating our Civic Integrity Policy” to “label or remove false or misleading

   information intended to undermine public confidence in an election or other civic process.” Scully

   Ex. 18, at 9. This includes censorship of “Disputed claims that could undermine faith in the process

   itself, e.g. unverified information about election rigging, ballot tampering, vote tallying, or

   certification of election results.” Scully Ex. 18, at 9. The EIP had successfully lobbied platforms

   to adopt such changes ahead of the 2020 election. See infra.

          1104. CISA pushed for the censorship of content that CISA’s Director particularly

   disfavored, including supposed disinformation about CISA itself, and about the so-called

   “Hammer and Scorecard” narrative that attributed election interference to federal intelligence

   agencies. For example, Scully requested censorship of a “disinfo report about CISA and Director

   Krebs.” Scully Ex. 18, at 19. And on November 10, 2022, Scully reported to platforms that

   “Director Krebs is particularly concerned about the hammer and scorecard narrative that is making

   the rounds,” and asked for information about their tracking and “amplification” of the narrative.

   Scully Ex. 18, at 22, 24. Twitter and Facebook promptly reported back on their efforts to censor

   the narrative.   Scully Ex. 18, at 21 (Facebook reporting that “our teams are labelling and

   downranking the content as identified”); id. at 24 (Yoel Roth of Twitter explaining Twitter’s

   attempts to censor the narrative, and asking CISA “Let us know if there are especially high-profile

   examples of tweets sharing the conspiracy that haven’t been labeled” so Twitter can censor them).

   See also Scully Depo. 286:3-289:25.




                                                   276
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 279 of 364 PageID #:
                                    16715



          1105. CISA also purposely debunks online narratives, knowing that the social-media

   platforms will use its debunks as censorship. For example, Yoel Roth emailed CISA about the

   Hammer and Scorecard narrative stating: “We’ve tracking the Hammer/Scorecard issue closely,

   particularly since Director Krebs’ tweet on the subject (which was pretty unambiguous as far as

   debunks go).” Scully Ex. 18, at 24. Scully admits that CISA was aware that “social-media

   platforms were following the rumor page posted by CISA and using that as a debunking method

   for content on their platforms.” Scully Depo. 290:13-17 (“We had a sense they were doing that,

   yeah.”).

          1106. CISA publicly states that it is expanding its efforts to fight disinformation heading

   into the 2024 election cycle. Scully Ex. 27, at 1. On August 12, 2022, Director Easterly was

   reported to be “beef[ing] up [CISA’s] efforts to fight falsehoods,” and “has taken several specific

   steps to fight the problem.” Id.

          1107. In January 2022, Director Easterly asked Facebook for a “briefing from us on 2022

   election approach.” Scully Ex. 28, at 2. Easterly responded to an email by Facebook and directed

   her staff to set up the meeting. Id. Scully does not know what was discussed at the meeting.

   Scully Depo. 309:12-19.

          1108. Director Easterly also exchanged text messages with Matt Masterson on February

   26, 2022, when he was recently employed by Microsoft. Scully Ex. 29, at 2-3. In those texts,

   referring to a previous unidentified group call, Easterly told Masterson that she is “Just trying to

   get us in a place where Fed can work with platforms to better understand the mis/dis trends so

   relevant agencies can try to prebunk/debunk as useful.” Scully Ex. 29, at 2. She stated that CISA

   is “looking to play a coord role so not every D/A [i.e., department and agency] is independently

   reaching out to platforms which could cause a lot of chaos.” Scully Ex. 29, at 2. Masterson




                                                   277
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 280 of 364 PageID #:
                                    16716



   responded, agreeing with Easterly, and stating, “Platforms have got to get comfortable with gov’t.

   It’s really interesting how hesitant they remain.” Scully Ex. 29, at 3. (Scully notes that “D/A” is

   “one of our common abbreviations for department and agency.” Scully Depo. 316:23-24.)

          1109. Scully agrees with Director Easterly that, when multiple federal agencies contact

   platforms independently, “it does create challenges and provides the platforms opportunities to

   play departments off each other.” Scully Depo. 317:6-9. For CISA to play a “coordinating” role

   among the agencies, therefore, allows federal officials to keep better influence and control over

   the platforms.

          1110. According to a September 2022 leaked draft copy of DHS’s “Quadrennial

   Homeland Security Review, DHS’s capstone report outlining the department’s strategy and

   priorities in the coming years, the department plans to target ‘inaccurate information’ on a wide

   range of topics, including “the origins of the COVID-19 pandemic and the efficacy of COVID-19

   vaccines, racial justice, U.S. withdrawal from Afghanistan, and the nature of U.S. support to

   Ukraine.” Scully Ex. 30, at 4.

          1111. Scully agrees that DHS has discussions about targeting misinformation regarding

   the efficacy of COVID-19 vaccines, Scully Depo. 322:9-21 (“our building critical infrastructure

   help in public health is one of the sectors of critical infrastructure, so we engage with CDC and

   HHS to help them”); about the origins of the COVID-19 pandemic, Scully Depo. 323:16-17 (“We

   did some work on the … bio-lab narratives”); and regarding Ukraine, Scully Depo. 324:5-10 (“We

   saw this with COVID. … We saw this around Ukraine. And so, again, just helping people

   understand … these disinformation narratives….”). In particular, CISA participated in a “Unified

   Coordination Group” regarding Russia’s invasion of Ukraine, which addressed misinformation:

   “there was a … Unified Coordination Group, when Russia invaded Ukraine, to coordinate DHS




                                                  278
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 281 of 364 PageID #:
                                    16717



   activities related to the crisis. As a part of that there was an MDM component, and a member of

   the MDM team was detailed to lead the MDM component of the Russian/Ukraine work.” Scully

   Depo. 325:5-12. Scully believes that this group communicated with social-media platforms as

   well (again, not disclosed in CISA’s interrogatory responses). Scully Depo. 327:1-18.

          1112. As of August 12, 2022, DHS’s Office of Inspector General continued to call for a

   more aggressive, not less aggressive, approach to combating disinformation. Scully Ex. 31, at 1

   (OIG calling for DHS to adopt a “Unified Strategy to Counter Disinformation Campaigns”).

          1113. DHS’s OIG reports that CISA is expanding, not contracting, its efforts to fight

   disinformation. OIG reports that CISA’s “MDM team focuses on disinformation activities

   targeting elections and critical infrastructure. According to a CISA official, the MDM team

   counters all types of disinformation, to be responsive to current events.” Scully Ex. 31, at 9. “An

   official from the MDM team stated that, through this work, CISA is building national resilience to

   MDM, such as COVID-19 vaccine hesitancy and foreign influence activities.” Id. at 10. OIG

   further reports that, “[a]ccording to selected Intelligence Community officials, the Office of the

   Director of National Intelligence and the U.S. Department of Justice worked with CISA and I&A

   to counter disinformation related to the November 2020 elections. For example, according to an

   Office of the Director of National Intelligence official, prior to the November 2020 elections, CISA

   and I&A joined in weekly teleconferences to coordinate Intelligence Community activities to

   counter election-related disinformation. The Office of the Director of National Intelligence official

   stated the teleconferences continued to occur every 2 weeks after the 2020 elections and were still

   taking place as of the time of this audit.” Id. at 11. Further, OIG reports that “CISA and I&A also

   work with the U.S. Department of State’s (State Department) Global Engagement Center on

   countering disinformation.” Id. at 11.




                                                   279
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 282 of 364 PageID #:
                                    16718



          1114. On November 21, 2021, Director Easterly reported that CISA is “beefing up its

   misinformation and disinformation team in the wake of a divisive presidential election that saw a

   proliferation of misleading information online.” Scully Ex. 23, at 1. “I am actually going to grow

   and strengthen my misinformation and disinformation team,” Easterly stated publicly. Id. She

   stated that she “had a meeting with ‘six of the nation’s experts’ in the misinformation and

   disinformation space.” Id. And she “stressed her concerns around this being a top threat for CISA

   … to confront.”     Id.   “One could argue that we’re in the business of protecting critical

   infrastructure, and the most critical infrastructure is our cognitive infrastructure,” Easterly said.

   Id. “We now live in a world where people talk about alternative facts, post-truth, which I think is

   really, really dangerous if people get to pick their own facts,” Easterly said. Id. at 2. Evidently,

   Easterly thinks that government officials should help Americans “pick their own facts” for them.

   Id.

          1115. According to Scully, CISA has an expansive mandate to address all kinds of

   misinformation that may affect “critical infrastructure” indirectly: “mis, mal-information threatens

   critical infrastructure in a number of ways, it could be operational impact, so in the case of the

   elections, disrupting election operations …. So a multitude of ways that disinformation could

   impact critical infrastructure, like I said … there's financial, there's reputational, there's just a

   multitude of ways that this disinformation could affect critical infrastructure.” Scully Depo.

   340:10-341:1. This could include, for example, “misinformation” that undermines confidence in

   any kind of national institution, including banks and financial services industry: “from mis, dis

   and mal-information, a reputational risk could come about if the integrity or the public confidence

   in a particular sector was critical to that sector's functioning. So I think the financial services

   would probably be a good example. So if there's a loss of confidence by the American public in




                                                   280
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 283 of 364 PageID #:
                                    16719



   financial services, financial systems of the United States, that could create national security

   concerns.”   Scully Depo. 341:17-342:2.        This is a breathtakingly broad—even limitless—

   interpretation of CISA’s mandate to protect “critical infrastructure,” which would allow CISA to

   target virtually any kind of core political speech as “mis, dis and mal-information” that “create

   national security concerns” by undermining “public confidence in a particular sector.” Id.

          1116. In fact, CISA is “working with Treasury to develop a product to help the financial

   services sector understand MDM risks to the sector.” Scully Depo. 355:22-24.

          1117. Scully has publicly stated that CISA is “trying to reduce the amount that Americans

   engage with disinformation,” where “engaging with disinformation” means “amplifying it, re-

   tweeting it, resending it, things like that.” Scully Depo. 346:7-24; Scully Ex. 49.

          1118. On June 22, 2022, CISA’s Cybersecurity Advisory Committee issued a “Draft

   Report to the Director” calling for an extremely broad view of CISA’s mandate. The report states

   that “[t]he spread of false and misleading information poses a significant risk to critical functions

   like elections, public health, financial services, and emergency response.” Scully Ex. 46, at 1.

   “Pervasive MDM diminishes trust in information, in government, and in democratic processes

   more generally.” Id. The report states that “CISA should consider MD across the information

   ecosystem,” including “social media platforms of all sizes, mainstream media, cable news, hyper

   partisan media, talk radio, and other online resources.” Id. at 2. Scully agrees with this report that

   CISA is trying to make its “resilience activity … as broad as possible so it’s applicable anywhere

   that someone may come across MDM.” Scully Depo. 358:7-11.

          1119. In September 2022, the Center for Internet Security is still working on a “portal”

   for government officials to report election-related misinformation to social-media platforms.

   Scully Ex. 19, 21. “[W]ork on the online ‘portal’ for election officials to flag misinformation to




                                                    281
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 284 of 364 PageID #:
                                    16720



   social-media platforms … continues today.”           Scully Ex. 21, at 4.   Scully states that “my

   understanding is that [CIS] did do something along those lines, I just don’t know the extent of it.”

   Scully Depo. 365: 3-6.

          1120. As of January 2023 and today, CISA’s website continues to proclaim, “[t]he MDM

   team serves as a switchboard for routing disinformation concerns to appropriate social media

   platforms and law enforcement. This activity began in 2018, supporting state and local election

   officials to mitigate disinformation about the time, place, and manner of voting. For the 2020

   election, CISA expanded the breadth of reporting to include other state and local officials and more

   social media platforms. This activity leverages the rapport the MDM team has with the social

   media platforms to enable shared situational awareness.”           Scully Ex. 24, at 3; see also

   www.cisa.gov/mdm (visited Feb. 10, 2023). CISA thus proclaims that it is “expand[ing] the

   breadth of reporting,” not retreating from it. Id.

          1121. Regarding misinformation reports, CISA “would generally share whatever we

   received from the election officials with the FBI, in case there was an ongoing investigation related

   to whatever it was that we forwarded to them.” Scully Depo. 366:17-20.

          1122. CISA engaged in switchboarding and colluding with social-media platforms to

   promote censorship in other ways as well.

   VIII. The State Department’s Global Engagement Center’s Censorship Efforts.

          1123. The State Department’s Global Engagement Center (“GEC”) also conducts

   numerous meetings with social-media platforms about disinformation.

          1124. The GEC’s “front office and senior leadership engage with social media

   companies.” Kimmage Dep. 29:12-13. These senior leadership meet with social-media platforms

   “[e]very few months, can be quarterly, but sometimes less than quarterly.” Id. at 32:9-10.




                                                    282
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 285 of 364 PageID #:
                                    16721



   According to Daniel Kimmage, Principal Deputy Coordinator of the GEC, these meetings focus

   on the “tools and techniques” of spreading disinformation on social media, and it “would be rare”

   for them to discuss specific “content that’s posted on social media that might be of concern to the

   GEC.” Id. at 30:9-31:3.

          1125. In addition, the GEC’s “Technology Engagement Team does engage with social

   media companies” as well. Id. at 29:11-12. The Technology Engagement Team meets with social

   media companies “[m]ore frequently” than the senior leadership, which meets with them “every

   few months.” Id. at 37:9-15.

          1126. Kimmage recalls at least two meetings with Twitter. Id. at 129:22-25. At such

   meetings, the GEC would bring “between five and ten” people, including “the acting coordinator,

   me, in that capacity, then one or more of the deputy coordinators, team chiefs from the Global

   Engagement Center, and working-level staff with relevant subject matter expertise.” Id. 130:24-

   131:13. These GEC staff meet with the platforms’ content-moderation teams, i.e., the people

   responsible for censorship on the platforms. Id. at 133:1-20, 135:1-11.

          1127. In such a meeting, “the GEC would provide an overview of what it was seeing in

   terms of foreign propaganda and disinformation. And Twitter would, to the extent that they felt

   comfortable sharing information, would discuss similar topics.” 136:8-13.

          1128. In addition to meeting with Twitter, the GEC’s senior leadership had similar

   meetings with Facebook and Google as well during the same time frames. Id. at 139:22-140:6.

   These meetings were also with Facebook and Google’s content-moderation or trust and safety

   teams, i.e., the people responsible for censoring content on their platforms. Id. at 141:17-143:3.

          1129. The GEC brought similar numbers of people to the meetings with Facebook and

   Google. Id. at 143:16-17 (“I believe the lineup would have been similar.”).




                                                  283
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 286 of 364 PageID #:
                                    16722



          1130. In addition to the senior-leadership and TET meetings, the GEC also maintained a

   Senior Advisor as a permanent liaison in Silicon Valley, Samaruddin K. Stewart, for the purpose

   of meeting with social-media platforms about disinformation. Id. at 159:24-160:13; Kimmage Ex.

   9, at 2. Stewart set up a series of meetings with LinkedIn to discuss “countering disinformation”

   and to “explore shared interests and alignment of mutual goals regarding the challenge.” Kimmage

   Ex. 9, at 2. Like the senior-leadership meetings, Stewart scheduled these meetings with the head

   of the trust and safety team, i.e., the person responsible for censorship on the platform. See id. at

   7 (meeting with the “Head of Threat Prevention, Trust & Safety” at LinkedIn). Kimmage confirms

   that Stewart set up similar meetings with other social-media platforms. Kimmage Dep. 160:12-

   13.

          1131. On March 25, 2021, the GEC set an email to Rob Schaul of CISA flagging “a

   disinfo campaign on YouTube targeting a [diplomatic security] officer” on a “Youtube channel

   run by Americans.” Kimmage Ex. 11, at 2. Brian Scully of CISA forwarded the disinformation

   report to Twitter, Facebook, and YouTube. Id. at 1, 3, 7. Facebook responded, “Thank you so

   much for this! Have flagged for our internal teams.” Id. at 1.

          1132. The GEC also coordinated with the Election Integrity Partnership. George Beebe

   of the GEC was in contact with the EIP. Kimmage Dep. 202:10-24. Kimmage admits that the

   GEC had “a general engagement with the EIP. … the GEC was engaging with the partnership.”

   Id. at 214:11-19. In addition to Mr. Beebe, Adele Ruppe, who “liaised on election-related issues,”

   may have engaged with the EIP. Id. 214:23-215:5.

          1133. Kimmage states that the GEC’s work against disinformation “equips … technology

   companies to better understand” disinformation “so that they can take whatever actions they would

   take to stop the spread.” Id. 280:24-281:3.




                                                   284
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 287 of 364 PageID #:
                                    16723



          1134. On October 17, 2022, at an event at Stanford University, Secretary of State Blinken

   was asked, “Stanford is one of the leading institutions to combat misinformation research and

   pointing out propaganda narratives and how they spread. How do you envision the cooperation

   between the State Department and institutions like Stanford in combatting the spread of

   propaganda?” Kimmage Ex. 16, at 5. Secretary Blinken responded, mentioning the GEC and

   noting that State is engaging in “collaborations” and “build[ing] out … partnerships” with

   Stanford: “Stanford is doing remarkable work on that, and it's one of the things that we want to

   make sure that we're benefitting from, because this is a day-in, day-out battle for us, combating

   misinformation and disinformation around the world. We have at the State Department itself a big

   focus on this. We have something called the Global Engagement Center that's working on this

   every single day. But that work is both inspired by work that's being done in academia, including

   here at Stanford, as well as where appropriate collaborations. …So we're trying to build out these

   kinds of partnerships to make sure that we're looking at every place that is actually developing

   answers, including Stanford, and then integrating that into what we do.” Id.

   IX.    The Election Integrity Partnership and Virality Project – Federal Collaborators.

          1135. Federal officials also work through nonprofit organizations to achieve their

   censorship goals. Most notably, federal officials at CISA and the GEC, and state officials through

   the CISA-funded EI-ISAC, work in close collaboration with the Stanford Internet Observatory and

   other nonprofit organizations to achieve censorship and attempt to evade the First Amendment.

   Moreover, the Surgeon General’s Office and other federal officials collaborate closely with the

   Stanford Internet Observatory and the same entities under the aegis of the “Virality Project.”

          A.      The Election Integrity Project Is a Formidable Censorship Cartel.




                                                  285
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 288 of 364 PageID #:
                                    16724



             1136. According to its website, “[t]he Election Integrity Partnership (EIP) was formed in

   July 2020 as a coalition of research entities focused on supporting real-time information exchange

   between the research community, election officials, government agencies, civil society

   organizations, and social media platforms.” The 2020 Election Integrity Partnership, Election

   Integrity       Partnership       (last   visited      Feb.   22,      2023)      (emphasis     added),

   https://www.eipartnership.net/2020. The EIP’s “objective was to detect and mitigate the impact

   of attempts to prevent or deter people from voting or to delegitimize election results.” Id.

   (emphasis added). As discussed further herein, “mitigate[ing] the impact” means pushing social-

   media platforms to censor supposed “misinformation.”

             1137. “In March 2021 [the EIP] published [its] final report. This page displays an archive

   of the work carried out by the EIP and its partners during the 2020 U.S. election.” Id. The EIP

   report is publicly available, it provides a detailed account of the EIP’s activities in the 2020

   election, and it is Exhibit 1 to the deposition of Brian Scully. Scully Ex. 1 (containing Stanford

   Internet Observatory et al., Election Integrity P’Ship, The Long Fuse: Misinformation and the 2020

   Election                (v1.3.0               2021),                https://www.eipartnership.net/report

   [https://purl.stanford.edu/tr171zs0069]).

             1138. The EIP was created “in consultation with CISA [the Cybersecurity and

   Infrastructure Security Agency at the Department of Homeland Security] and other stakeholders.”

   Id. at 20 (2).1 After “consultation with CISA,” the EIP “assembled” a “coalition … with like-

   minded partner institutions.” Id.

             1139. CISA interns originated the EIP: “The initial idea for the Partnership came from

   four students that the Stanford Internet Observatory (SIO) funded to complete volunteer


   1
       Citations of this exhibit are formatted “Scully Ex. 1, at [page of exhibit] ([page of report]).”


                                                       286
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 289 of 364 PageID #:
                                    16725



   internships at the Cybersecurity and Infrastructure Security Agency (CISA) at the Department of

   Homeland Security.” Id.

          1140. The EIP agrees with Scully that the EIP was formed to fill in a perceived “gap” in

   the ability of the government to “monitor and correct” misinformation: “Responsibility for election

   information security is divided across government offices: CISA has authority to coordinate on

   cybersecurity issues related to the election, the FBI to investigate cyber incidents and enforce

   election laws, and intelligence agencies to monitor for foreign interference. Yet, no government

   agency in the United States has the explicit mandate to monitor and correct election mis- and

   disinformation.” Id.

          1141. The EIP acknowledges that the federal government directly targeting

   misinformation posted Americans would “likely” violate the First Amendment and exceed

   agencies’ lawful authority: “This is especially true for election disinformation that originates from

   within the United States, which would likely be excluded from law enforcement action under the

   First Amendment and not appropriate for study by intelligence agencies restricted from operating

   inside the United States.” Id. As noted below, the EIP’s founders publicly admit that virtually all

   the misinformation targeted by the EIP was domestic in origin, not foreign, and thus subject to the

   First Amendment.

          1142. The EIP specifically notes CISA and the FBI in discussing the need to fill this “gap”

   in their ability to police “election misinformation originating from domestic sources”: “none of

   these federal agencies has a focus on, or authority regarding, election misinformation originating

   from domestic sources within the United States. This limited federal role reveals a critical gap for

   non-governmental entities to fill. Increasingly pervasive mis- and disinformation, both foreign and




                                                   287
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 290 of 364 PageID #:
                                    16726



   domestic, creates an urgent need for collaboration across government, civil society, media, and

   social media platforms.” Id. at 9 (v).

          1143. “As a result” of the First Amendment and lack of legal authority, according to the

   EIP, “during the 2020 election, local and state election officials, who had a strong partner on

   election-system and overall cybersecurity efforts in CISA, were without a clearinghouse for

   assessing mis- and disinformation targeting their voting operations.” Id. at 20 (2). The EIP was

   deliberately formed to fill this “gap.”

          1144. The EIP “was formed between four of the nation’s leading institutions focused on

   understanding misinformation and disinformation in the social media landscape: the Stanford

   Internet Observatory, the University of Washington’s Center for an Informed Public, Graphika,

   and the Atlantic Council’s Digital Forensic Research Lab.” Id.

          1145. The EIP makes clear that its “aim” was not just to observe but to “defend[]” the

   public from misinformation: “With the narrow aim of defending the 2020 election against voting-

   related mis- and disinformation, it bridged the gap between government and civil society, helped

   to strengthen platform standards for combating election-related misinformation, and shared its

   findings with its stakeholders, media, and the American public.” Id. at 9 (v).

          1146. The EIP’s statement that it “helped to strengthen platform standards for combating

   election-related misinformation” refers to the fact that the EIP successfully pushed virtually all

   major social-media platforms to adopt or increase censorship policies targeted at election-related

   “misinformation” during the 2020 election cycle. See id.

          1147. The EIP notes that its efforts to push social-media platforms to adopt more

   restrictive censorship policies were highly effective, both in procuring changes in policies and

   censoring speech: “Many platforms expanded their election-related policies during the 2020




                                                  288
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 291 of 364 PageID #:
                                    16727



   election cycle. … Platforms took action against policy violations by suspending users or removing

   content, downranking or preventing content sharing, and applying informational labels.” Id. at 12

   (viii).

             1148. Alex Stamos, the director of the Stanford Internet Observatory who founded the

   EIP, has publicly stated that the EIP successfully pushed social-media platforms to adopt more

   restrictive policies about election-related speech in 2020: “My suggestion, if people want to get

   the platforms to do stuff is, first, you've got to push for written policies that are specific and that

   give you predictability; right? And so this is something we started in the summer, in August, is as

   Kate [Starbird] talked about Carly Miller led a team from all four institutions to look at the detailed

   policies of the big platforms and to measure them against situations that we expected to happen.

   Now we're not going to take credit for all of the changes they made, but there -- we had to update

   this thing, like, eight or nine times; right? And so like putting these people in a grid to say, you're

   not handling this, you're not handling this, you're not handling this, creates a lot of pressure inside

   of the companies and forces them to kind of grapple with these issues, because you want specific

   policies that you can hold them accountable for.” Scully Ex. 4, at 7 (Audio Tr. 4).

             1149. Alex Stamos notes that the EIP then pressured the platforms to aggressively enforce

   the new policies that the EIP had pushed them to adopt: “The second is, when you report stuff to

   them, report how it's violating those written policies; right? So there's two steps here. Get good

   policies, and then say, this is how it's violated it.” Id.

             1150. Other EIP participants have also publicly stated that the EIP induced social-media

   platforms to adopt much more aggressive censorship policies on election-related speech. On

   March 3, 2021, at an EIP-hosted conference on the release of the EIP report, Emerson Brooking

   of the Atlantic Council’s DRFLab, an EIP participant, stated: “I think the EIP really helped push




                                                     289
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 292 of 364 PageID #:
                                    16728



   the envelope with things like just the notion that … this delegitimization of electoral processes that

   we were seeing in the summer and early fall that this should be against content moderation policies

   on these platforms, and begin to take proactive steps there….” Scully Ex. 5, at 6 (Audio Tr. 2).

   He also stated, “after November 3rd, we saw that market shift where content moderation actions

   that … we could hardly contemplate a few weeks before began to be taken. There was a much

   stronger emphasis on cracking down on the sort of content we've been tracking from the

   beginning.” Id.

          1151. The EIP treats “Government” and Social-Media “Platforms” as two of its “Four

   Major Stakeholders,” providing input to the EIP and receiving feedback from the EIP. Scully

   Ex. 1, at 26 (8) & fig.1.2 (graphic showing “Government” as the EIP’s first “Major Stakeholder,”

   submitting information to EIP’s “Intake Queue” and receiving feedback on the EIP’s

   “Mitigation”—i.e., censorship—efforts).

          1152. The EIP organizes its misinformation reports under groups called “tickets,” and it

   notes that “[t]ickets were submitted by … trusted external stakeholders…” Id. at 26 (8). “Trusted

   external stakeholders” include “government”: “External stakeholders included government, civil

   society, social media companies, and news media entities.” Id. at 30 (12). Thus, it is clear that

   “government” submitted “tickets,” i.e., reports of misinformation to be processed for censorship

   on social media, to the EIP. See id. at 26, 30 (8, 12).

          1153. And it is clear that the “government” partners who submit tips to the EIP are CISA,

   the State Department’s Global Engagement Center (GEC), and the Elections Infrastructure

   Information Sharing & Analysis Center (EI-ISAC), an organization of state and local government

   officials coordinated by the Center for Internet Security (CIS) pursuant to funding from CISA, see

   EI-SAC,      Center     for     Internet     Security     (last    visited     Fed.     22,    2023)




                                                    290
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 293 of 364 PageID #:
                                    16729



   (“The EI-ISAC is federally funded by CISA.”), https://www.cisecurity.org/ei-isac. Specifically,

   the “Government” “stakeholders” listed under the EIP’s “Four Major Stakeholder Groups” are

   CISA, GEC, and the EI-ISAC. Scully Ex. 1, at 30 (12).

           1154. These “Government” stakeholders report misinformation to the EIP: “Government

   and civil society partners could create tickets or send notes to EIP analysts, and they used these

   procedures to flag incidents or emerging narratives to be assessed by EIP analysts.” Id.

           1155. The CISA-funded EI-ISAC and CISA itself worked in collaboration with the EIP

   to report misinformation to social-media platforms: “[T]he EI-ISAC served as a singular conduit

   for election officials to report false or misleading information to platforms. By serving as a one-

   stop reporting interface, the EI-ISAC allowed election officials to focus on detecting and

   countering election misinformation while CIS and its partners reported content to the proper social

   media platforms. Additionally, the Countering Foreign Influence Task Force (CFITF), a

   subcomponent of CISA, aided in the reporting process and in implementing resilience efforts to

   counter election misinformation.” Id. at 31 (13).

           1156. The EIP report mentions The Gateway Pundit, the website operated by Plaintiff Jim

   Hoft, 47 times. See id. at 51, 74, 76, 101, 103, 110, 112, 145, 150-51, 153, 155-56, 172, 175, 183,

   194-95, 206-09, 211-12, 214-16, 226-27. 2

           1157. The EIP boasts that it “used an innovative internal research structure that leveraged

   the capabilities of the partner organizations through a tiered analysis model based on ‘tickets’

   collected internally and from our external stakeholders. Of the tickets we processed, 72% were

   related to delegitimization of the election,” i.e., core political speech. Id. at 10 (vi).



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    Report pages 33, 56, 58, 83, 85, 92, 94, 127, 132-33, 135, 137-38, 154, 157, 165, 176-77, 188-
   91, 193-94, 196-98, 208-09.


                                                     291
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 294 of 364 PageID #:
                                    16730



             1158. The EIP admits that the speech it targets for censorship is domestic, grassroots

   speech by American citizens: “The production and spread of misinformation was multidirectional

   and participatory. Individuals participated in the creation and spread of narratives. Bottom-up false

   and misleading narratives started with individuals identifying real-world or one-off incidents and

   posting them to social media. Influencers and hyperpartisan media leveraged this grassroots

   content, assembling it into overarching narratives about fraud, and disseminating it across

   platforms to their large audiences. Mass media often picked up these stories after they had reached

   a critical mass of engagement. Top-down mis- and disinformation moved in the opposite direction,

   with claims first made by prominent political operatives and influencers, often on mass media,

   which were then discussed and shared by people across social media properties.” Id. at 11 (vii).

   In other words, virtually everything it targets is quintessential First Amendment-protected political

   speech.

             1159. This included censorship of highly visible political figures: “The primary repeat

   spreaders of false and misleading narratives were verified, blue-check accounts belonging to

   partisan media outlets, social media influencers, and political figures, including President Trump

   and his family.” Id. at 12 (viii).

             1160. One key point that the EIP emphasizes is that it wants greater “access” to platforms’

   internal data to achieve greater monitoring of Americans’ speech on social media. The EIP

   complains that “Lack of transparency and access to platform APIs hindered external research

   into the effectiveness of platform policies and interventions.” Id. (emphasis added). “API” stands

   for “Application Programming Interface,” so the EIP wants greater direct access to platforms’

   internal data about so-called “misinformation” on their platforms. See id. This directly echoes the

   repeated demands from the White House and the Surgeon General that social-media platforms




                                                    292
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 295 of 364 PageID #:
                                    16731



   provide access to their internal data about misinformation on their platforms, both to government

   and “researchers.” The relevant “researchers” include Stanford Internet Observatory and the other

   constituents of the EIP and the Virality Project, who are working hand-in-glove with federal

   officials.

           1161.   The EIP contends that not enough censorship was achieved during 2020 as a result

   of their lack of direct access to platforms’ APIs: “Many platforms expanded their election-related

   policies during the 2020 election cycle. However, application of moderation policies was

   inconsistent or unclear.” Id.

           1162. The EIP recommends that platforms increase enforcement of censorship policies:

   “Impose clear consequences for accounts that repeatedly violate platform policies. These accounts

   could be placed on explicit probationary status, facing a mixture of monitoring and sanctions.” Id.

   at 14 (x).

           1163. The EIP report acknowledges the contributions of Alex Stamos, Renee DiResta,

   Kate Starbird, Matt Masterson, Pierce Lowary, and Alex Zaheer. Id. at 16 (xii). All of these

   individuals have or had formal roles in CISA.

           1164. The EIP is partially funded by the federal government: “Researchers who

   contributed to the EIP … receive partial support from the U.S. National Science Foundation (grants

   1749815 and 1616720).” Id. at 17 (xiii).

           1165. In addition, the Atlantic Council, one of the four nonprofit organizations in the EIP,

   is partially government-funded. Kimmage Dep. 294:8-18.

           1166. “The initial idea for the Partnership came from four students that the Stanford

   Internet Observatory (SIO) funded to complete volunteer internships at the Cybersecurity and




                                                   293
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 296 of 364 PageID #:
                                    16732



   Infrastructure Security Agency (CISA) at the Department of Homeland Security.” Scully Ex. 1,

   at 20 (2).

           1167.   “The students approached SIO leadership in the early summer, and, in consultation

   with CISA and other stakeholders, a coalition was assembled with like-minded partner

   institutions.” Id.

           1168. “The Election Integrity Partnership (EIP) was officially formed on July 26, 2020—

   100 days before the November election—as a coalition of research entities who would focus on

   supporting real-time information exchange between the research community, election officials,

   government agencies, civil society organizations, and social media platforms.” Id.

           1169. As a key point in its “Operational Timeline,” the EIP lists a July 9, 2020, “Meeting

   with CISA to present EIP concept.” Id. at 21 (3). In other words, the Stanford Internet Observatory

   “present[ed]” the “EIP concept” to CISA two weeks before the EIP was formed. Id.

           1170. The SIO’s EIP team was “led by … Research Manager Renee DiResta … and

   Director Alex Stamos.” Id. at 22 (4). The University of Washington’s “contributing team” was

   “led by … Kate Starbird.” Id.

           1171. Alex Stamos and Kate Starbird are members of CISA’s Cybersecurity Advisory

   Committee. See CISA Cybersecurity Advisory Committee, Cybersecurity & Infrastructure Security

   Agency (last         visited Feb. 24, 2023), https://www.cisa.gov/resources-tools/groups/cisa-

   cybersecurity-advisory-committee. Starbird chairs CISA’s Subcommittee on “Protecting Critical

   Infrastructure from Misinformation and Disinformation.” See CISA Cybersecurity Advisory

   Committee,              Subcommittee         Factsheet 1         (April         13,         2022),

   https://www.cisa.gov/sites/default/files/publications/CSAC%20Subcommittee%20Factsheet_Apr

   il%2013%202022.pdf. Renee DiResta gives lectures on behalf of CISA. See CISA, Cybersecurity




                                                   294
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 297 of 364 PageID #:
                                    16733



   Summit 2021: Responding to Mis, Dis, and Malinformation, YouTube (Oct. 27, 2021),

   https://www.youtube.com/watch?v=yNe4MJ351wU.

             1172. One of the EIP’s goals was to “flag policy violations to platforms.” Scully Ex. 1,

   at 24 (6).

             1173. As noted above, the EIP describes “Government” as one of “four major

   stakeholders,” who both provided input into the “intake queue” for “tickets” (i.e., reporting

   misinformation) and received feedback on “mitigation” (i.e., censorship). Id. at 26 (8).

             1174. The EIP tracked misinformation using “tickets,” which tracked “informational

   event[s]” that could encompass many social-media postings: “The EIP tracked its analysis topics

   and engaged with outside stakeholder organizations using an internal ticketing workflow

   management system. Each identified informational event was filed as a unique ticket in the

   system.” Id.

             1175. “Tickets were submitted by both trusted external stakeholders (detailed in Section

   1.4 on page 11) and internal EIP analysts.” Id. “Section 1.4” on pages 11-12 of the report identifies

   government as a trusted external stakeholder: “Trusted external stakeholders” include

   “government, civil society, social media companies, and news media entities.” Id. at 29-30 (11-

   12). Page 12 specifically identifies CISA, the EI-ISAC, and the State Department’s GEC as the

   EIP’s “Government” stakeholders. Id. at 30 (12) fig.1.3.

             1176. A “ticket” could encompass many individual postings: “A single ticket could map

   to one piece of content, an idea or narrative, or hundreds of URLs pulled in a data dump.” Id. at

   27 (9).

             1177. The EIP’s managers both report misinformation to platforms and communicate

   with government partners about their misinformation reports: “The manager had the ability to tag




                                                   295
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 298 of 364 PageID #:
                                    16734



   platform partners on a ticket for action. They also communicated with the EIP’s partners in

   government, and could request further information from election officials if necessary,” thus

   serving as a conduit for a back-and-forth about misinformation reports between government

   officials and platforms. Id. at 27-28 (9-10).

          1178. The scope of the EIP’s monitoring of Americans’ speech on social media is

   enormous: “Team members from each of these tiers were divided into on-call shifts. Each shift

   was four hours long and led by one on-call manager. It was staffed by a mix of Tier 1 and Tier 2

   analysts in a 3:1 ratio, ranging from five to 20 people. Analysts were expected to complete between

   two to five shifts per week. The scheduled shifts ran from 8:00 am to 8:00 pm PT for most of the

   nine weeks of the partnership, ramping up only in the last week before the election from 12-hour

   to 16- to 20-hour days with all 120 analysts on deck.” Id. at 28 (10).

          1179. The “Government” stakeholders flag misinformation to the EIP for censorship:

   “Government and civil society partners could create tickets or send notes to EIP analysts, and they

   used these procedures to flag incidents or emerging narratives to be assessed by EIP analysts.” Id.

   at 30 (12).

          1180. Of the “Four Major Stakeholder Groups” who participated in the EIP, the first listed

   is “Government,” which includes three government entities: the Elections Infrastructure ISAC,

   CISA, and the State Department’s GEC. Id.

          1181. The EIP reports that CISA, CIS, and the EI-ISAC collaborated with the EIP in

   reporting misinformation: “In this election cycle, the EI-ISAC served as a singular conduit for

   election officials to report false or misleading information to platforms. By serving as a one-stop

   reporting interface, the EI-ISAC allowed election officials to focus on detecting and countering

   election misinformation while CIS and its partners reported content to the proper social media




                                                   296
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 299 of 364 PageID #:
                                    16735



   platforms. Additionally, the Countering Foreign Influence Task Force (CFITF), a subcomponent

   of CISA, aided in the reporting process and in implementing resilience efforts to counter election

   misinformation.” Id. at 31 (13).

           1182. The EI-ISAC jointly reports misinformation flagged by state and local election

   officials to CISA and to the EIP: “Content reported by election officials to the EI-ISAC was also

   routed to the EIP ticketing system. This allowed analysts to find similar content, ascribe individual

   content pieces to broader narratives, and determine virality and cross-platform spread if applicable.

   This analysis was then passed back to election officials via the EI-ISAC for their situational

   awareness, as well as to inform potential counter-narratives. Additionally, if an internally

   generated EIP ticket targeted a particular region, analysts sent a short write-up to the EI-ISAC to

   share with the relevant election official. This allowed the state or local official to verify or refute

   the claim, and enabled analysts to properly assess whether or not the content violated a platform’s

   civic integrity policies. In this way, the EIP demonstrated the upside of using the EI-ISAC

   coordinating body to connect platforms with authoritative voices to determine truth on the ground

   and help election officials effectively counter viral falsehoods about election infrastructure.” Id.

           1183. The EIP created established channels for reporting misinformation to platforms for

   censorship: “The EIP established relationships with social media platforms to facilitate flagging

   of incidents for evaluation when content or behavior appeared to violate platform policies.” Id. at

   35 (17).

           1184. The EIP receives real-time reports on censorship actions from the platforms, who

   communicate directly with EIP managers about censorship through the EIP’s system: “Analysts

   conducted their initial assessment on all tickets, and, if content in a ticket appeared to be a violation

   of a platform’s published content policies, an analyst or manager added the platform representative




                                                     297
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 300 of 364 PageID #:
                                    16736



   to the ticket. If questions arose, a manager communicated with the platform representative in the

   ticket comments. Analysts put the ticket back in the queue and updated the ticket to note if the

   content in question received a moderation action.” Id.

           1185. Virtually all major social-media platforms participate directly in the EIP: “The EIP

   onboarded the following social media companies: Facebook and Instagram, Google and YouTube,

   Twitter, TikTok, Reddit, Nextdoor, Discord, and Pinterest.” Id.

           1186. In the 2020 election cycle, the EIP “processed 639 in-scope tickets. 72% of these

   tickets were related to delegitimizing the election results.” Id. at 45 (27).

           1187. The EIP had a high level of success in pushing the platforms to censor speech:

   “35% of the URLs we shared with Facebook, Instagram, Twitter, TikTok, and YouTube were

   either labeled, removed, or soft blocked.” Id. “In total, we believe the four major platforms we

   worked with all had high response rates to our tickets.” Id. at 55 (37). “We find, overall, that

   platforms took action on 35% of URLs that we reported to them.” Id. at 58 (40).

           1188. The Center for Internet Security, which runs the EI-ISAC using funding from

   CISA, is a major reporter of misinformation to the EIP: “16% of tickets were filed by the Center

   for Internet Security (CIS), an election official community partner, in the form of tips.” Id. at 46

   (28); see also Center for Internet Security, EI-ISAC (last visited Feb. 24, 2023),

   https://www.cisecurity.org/ei-isac.

           1189. The EIP “prioritize[es] … swing states over non-swing states.” Scully Ex. 1, at 46

   (28).

           1190. The EIP’s “dataset included 639 distinct, in-scope tickets.” Id. A “ticket” could be

   extremely broad, “map[ping] to” and entire “idea or narrative.” Id. at 27 (9). For example, the

   “SHARPIEGATE” ticket was submitted on November 4, 2020, to “try and consolidate all the




                                                    298
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 301 of 364 PageID #:
                                    16737



   content” regarding the Sharpiegate story from “a variety of different states across Twitter, FB,

   TikTok, and Youtube.” Id. at 47 (29) fig.2.1.

           1191. The EIP includes extensive collaboration with a “government partner” in its

   Sharpiegate ticket. Id. at 48 (30). Its internal ticket-management software (“Jira”) simultaneously

   allowed the “government partner” to communicate directly with the “platform partner” to debunk

   the online claim. Id. at 48 (30) fig.2.2.

           1192. The EIP reports that it repeatedly flagged The Gateway Pundit, Plaintiff Jim Hoft’s

   website, as a purveyor of social-media misinformation: “The top misinformation-spreading

   websites in our dataset were … thegatewaypundit[.]com, a far-right news website. 65% of these

   tickets involved an exaggeration of the impact of an issue within the election process.” Id. at 51

   (33) (alteration in original).

           1193. The EIP does not claim that most of The Gateway Pundit’s content was false, only

   that it involved the “exaggeration of the impact of an issue within the election process.” Id.

           1194. As noted above, the EIP Report cites The Gateway Pundit 47 times. See supra

   paragraph 1156 and accompanying citation.

           1195. The EIP “coded tickets based on whether they … had an element of foreign

   interference. Interestingly … less than 1% related to foreign interference.” Scully Ex. 1, at 53

   (35). Thus, virtually all the speech targeted for censorship comes from American speakers.

           1196. The EIP targeted speech for censorship or debunking in most tickets: “Of our 639

   tickets, 363 tickets tagged an external partner organization to either report the content, provide

   situational awareness, or suggest a possible need for fact-checking or a counter-narrative.” Id. at

   55 (37).




                                                   299
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 302 of 364 PageID #:
                                    16738



           1197. “[G]roups that reported tickets include the State Department’s Global Engagement

   Center…” Id. at 60 (42). Daniel Kimmage testified that George Beebe of the GEC was in contact

   with the EIP.        Kimmage Dep. 202:10-24.    Kimmage attests that the GEC had “a general

   engagement with the EIP. … the GEC was engaging with the partnership.” Id. at 214:11-19. In

   addition to Mr. Beebe, Adele Ruppe, who “liaised on election-related issues,” may have engaged

   with the EIP. Id. 214:23-215:5.

           1198. In addition, left-wing advocacy groups like “MITRE, Common Cause, the DNC,

   the Defending Digital Democracy Project, and the NAACP” submitted tickets to the EIP. Scully

   Ex. 1, at 60 (42).

           1199. The EIP indicates that the “misinformation” it targeted during the 2020 election

   cycle was core political speech of American citizens protected by the First Amendment: “Our

   analysis demonstrates that the production and spread of misinformation and disinformation about

   Election 2020 … was participatory. In other words, these dynamics were not simply top-down

   from elites to their audiences, but were bottom-up as well, with members of the ‘crowd’

   contributing in diverse ways—from posting raw content, to providing frames for that content, to

   amplifying aligned messages from both everyday members of the crowd and media (including

   social media) elites. Repeatedly, our data reveal politically motivated people sincerely introducing

   content they mistakenly believed demonstrated real issues with election integrity…” Id. at 181

   (163). “Well-meaning, though often politically motivated, individuals repeatedly introduced this

   content into the broader information sphere, often via social media…” Id. at 182 (164).

           1200. EIP analysts collected data from Twitter “contemporaneously,” and they also have

   access to “CrowdTangle and Facebook search functionality.” Id. at 199-200 (181-82).




                                                   300
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 303 of 364 PageID #:
                                    16739



          1201. The EIP’s tickets encompassed almost 5,000 URLs: “Through our live ticketing

   process, analysts identified social media posts and other web-based content related to each ticket,

   capturing original URLs (as well as screenshots and URLs to archived content). In total, the EIP

   processed 639 unique tickets and recorded 4,784 unique original URLs.” Id. at 200 (182).

          1202. These tickets and URLs encompass millions of social media posts, including almost

   22 million posts on Twitter alone: “In total, our incident-related tweet data included 5,888,771

   tweets and retweets from ticket status IDs directly, 1,094,115 tweets and retweets collected first

   from ticket URLs, and 14,914,478 from keyword searches, for a total of 21,897,364 tweets.” Id.

   at 201 (183).

          1203. The EIP “collected data from Twitter in real time from August 15 through

   December 12, 2020,” and did so “[u]sing the Twitter Streaming API” to “track[] a variety of

   election-related terms …. The collection resulted in 859 million total tweets.” Id. at 200-01

   (182-83). Thus, the EIP had privileged access to Twitter’s internal data about speech on its own

   platform.

          1204. The EIP did not have privileged access to Facebook’s internal data, however: “To

   understand how the information ecosystem looks from the perspective of Facebook and Instagram,

   we collected public posts through the CrowdTangle API from Facebook Groups, Facebook Pages,

   Facebook verified profiles and public Instagram accounts.” Id. at 201 (183). This explains the

   White House’s and Surgeon General’s insistence in 2021 that Facebook grant “researchers” such

   as Renee Diresta access to Facebook’s internal data.

          1205. The EIP treats as “misinformation” truthful reports that the EIP believes “lack[]

   broader context.” Id. at 203 (185).




                                                  301
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 304 of 364 PageID #:
                                    16740



          1206. The EIP admits that it focuses on speech from the “political right” because it

   believes that the right spreads misinformation: “Influential accounts on the political right … were

   responsible for the most widely spread of false or misleading information in our dataset. Right-

   leaning accounts also more frequently augmented their misinformation posts with narrative-related

   hashtags … which persisted across multiple incidents and were shared millions of times in our

   dataset.” Id. at 204-05 (186-87).

          B.      The EIP Targets Plaintiff Jim Hoft and The Gateway Pundit.

          1207. According to the EIP, “[t]he 21 most prominent repeat spreaders on Twitter …

   include political figures and organizations, partisan media outlets, and social media all-stars. …

   [A]ll 21 of the repeat spreaders were associated with conservative or right-wing political views

   and support of President Trump.” Id. at 205 (187).

          1208. The EIP lists The Gateway Pundit as the second-ranked “Repeat Spreader[] of

   Election Misinformation” on Twitter, ranking it above Donald Trump, Eric Trump, Breitbart

   News, and Sean Hannity. Id. at 206 (188) tbl.5.2. In the 2020 election cycle, the EIP flagged The

   Gateway Pundit’s speech in 25 incidents with over 200,000 retweets. Id.

          1209. The EIP claims that “[f]ar-right hyperpartisan media outlets also participated in a

   wide range of [Twitter] incidents, including The Gateway Pundit, which ranked #2 in the dataset.”

   Id. at 206 (188).

          1210. In addition, the EIP lists The Gateway Pundit’s website as the domain cited in the

   most “incidents”—its website content was tweeted by others in 29,207 original tweets and 840,740

   retweets. Id. at 207 (189) tbl.5.3. The Gateway Pundit ranks above Fox News, the New York

   Post, the New York Times, and the Washington Post on this list. Id.




                                                  302
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 305 of 364 PageID #:
                                    16741



          1211. In fact, the EIP dedicates an entire subsection of its report to The Gateway Pundit.

   Id. at 214-16 (196-98). The EIP reports that “The Gateway Pundit was among the most active

   spreaders of election-related misinformation in our analyses. … It appeared as a top repeat spreader

   through its website, its Twitter account, its YouTube channel, and its Instagram account.” Id. at

   214 (196).

          1212. The EIP report notes that “Twitter suspended [The Gateway Pundit’s] account on

   February 6, 2021,” indicating that The Gateway Pundit’s deplatforming on Twitter was the result

   of the EIP’s efforts. Id.

          1213. The EIP states that “The Gateway Pundit was highly active throughout the election

   lifecycle, including during the weeks leading up to the election, when it repeatedly spread

   content—in distinct information incidents—that sought to undermine trust in mail-in voting

   specifically and the eventual election results more generally.” Id.

          1214. According to the EIP, “[o]n Twitter, The Gateway Pundit’s account was highly

   retweeted across 26 different incidents (#2 among repeat spreaders). Evidence from our data

   suggest that its prominence was due both to production of its own material and to amplification

   (via original and quote tweets) of other partisan content.” Id. at 215 (197).

          1215. According to the EIP, “[o]f all the domains linked to in our Twitter data, The

   Gateway Pundit’s website was connected to the largest number of incidents (46) while also

   garnering the most related original tweets (29,207) and retweets (840,750). Their YouTube

   channel appeared in five incidents, and their 13 incident-related videos had more than 4 million

   views on YouTube.” Id. at 215-16 (197-98).




                                                   303
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 306 of 364 PageID #:
                                    16742



          1216. According to the EIP, “[t]he Gateway Pundit[’s] … Instagram account was tied for

   #2 among repeat spreaders, appearing in 10 incidents for 20 posts that received more than 132,000

   engagements.” Id. at 216 (198).

          C.      The EIP Induces Major Changes in Platform Censorship Policies.

          1217. The EIP notes that “during the 2020 election, all of the major platforms made

   significant changes to election integrity policies, both as the campaigns kicked off and through the

   weeks after Election Day—policies that attempted to slow the spread of specific narratives and

   tactics that could potentially mislead or deceive the public….” Id. at 229 (211).

          1218. The EIP notes that “[m]ajor social media platforms such as Facebook, Twitter,

   YouTube, Pinterest, and TikTok introduced changes to their community standards in the months

   leading up to the election and in the aftermath.” Id. at 230 (212).

          1219. In particular, starting just over a month after the EIP launched, in “September

   2020,” “[a] number of platforms announced the first updates to election-specific policies: making

   large additions; adding more clarity and specificity; or stating clearly that they will label or remove

   content that delegitimizes the integrity of the election.” Id.

          1220. The policy changes reflected that the EIP and the platforms anticipated that they

   would have to target speech by domestic speakers, not supposed “foreign disinformation,” during

   the 2020 election: “[M]uch of the misinformation in the 2020 election was pushed by authentic,

   domestic actors, and platforms shifted their focus to address downstream harms related to the

   content itself. As a result, most subsequent updates introduced policies related to specific content

   categories.” Id. at 231 (213).

          1221. The EIP lobbies platforms to “remove” so-called “repeat spreaders” like The

   Gateway Pundit, and complains that they are not removed often enough: “Despite what appeared




                                                    304
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 307 of 364 PageID #:
                                    16743



   to be clear policy to penalize or remove repeat spreaders and high-profile disinformation actors,

   platforms appeared to shy away from using this particular intervention. In some cases, this was a

   result of a variety of ‘newsworthiness’ exceptions, which allowed some high-profile repeat

   spreaders, including politicians, to evade bans. Yet many of the repeat spreaders we saw were not

   politicians”—including The Gateway Pundit, among many others. Id. at 233 (215).

          1222. The EIP indicates that it will continue its censorship activities in future elections:

   “The next election will have its own unique set of misinformation narratives, yet many of the

   tactics, dynamics, and basic structures of these narratives will likely remain the same.” Id. at 243-

   44 (225-26).

          1223. The EIP reinforces this intention by calling for even more aggressive, more

   expansive censorship of social-media speech, including into other areas such as “public health”:

   “Doing nothing is not an option. … Not pursuing structural policy change will accelerate our

   country’s slide toward extremism, erode our shared national and inclusive identity, and propel yet

   more individuals toward radicalization via mis- and disinformation. The problem is larger than

   elections: it spans politics, self-governance, and critical policy areas, including public health.” Id.

   at 251 (233). The EIP acted on this statement promptly by forming the “Virality Project” in 2021.

   See infra.

          1224. The EIP proclaims that the “EIP’s novel structure, enabling rapid-response analysis

   and a multistakeholder reporting infrastructure, could prove effective to many information spaces

   blighted by pervasive misinformation,” in addition to election-related speech. Id. at 259 (241).

          1225. The EIP calls for more aggressive penalties to enforce censorship on social media,

   in language that was copied and parroted by the demands of Jen Psaki and the Surgeon General:

   “Establish clear consequences for accounts that repeatedly violate platform policies.” Id. at 256




                                                    305
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 308 of 364 PageID #:
                                    16744



   (238). “Prioritize quicker action on verified or influential accounts if they have already violated

   platform policies in the past.” Id. at 257 (239).

          1226. The EIP even advocates for an express system of pre-publication approval for

   disfavored speakers—the ultimate prior restraint: “Consider implementing holding areas for

   content from high-visibility repeat spreaders, where content can be evaluated against policy before

   posting.” Id.

          1227. The EIP proclaims that it offers “a whole-of-society response,” in words parroted

   by the Surgeon General’s Health Advisory. Id. at 259 (241).

          1228. The EIP boasts that “[t]he EIP, in its structure and its operations … united

   government, academia, civil society, and industry, analyzing across platforms, to address

   misinformation in real time.” Id. (emphasis added).

          1229. The EIP states that “[t]he lessons from EIP should be both learned and applied. The

   fight against misinformation is only beginning. The collective effort must continue.” Id. at 259-60

   (241-42).

          1230. The EIP specifically advocates for a broader role for CISA in federal efforts to

   combat election-related “misinformation.” Id. at 252-53 (234-35).

          1231. Alex Stamos, the director of the Stanford Internet Observatory who launched the

   EIP, publicly states that virtually all the speech targeted by the EIP is by domestic speakers

   engaging in core political speech. He has publicly stated: “almost all of this is domestic: right? …

   It is all domestic, and the second point on the domestic, a huge part of the problem is well-known

   influencers …. you have … a relatively small number of people with very large followings who

   have the ability to go and find a narrative somewhere, pick it out of obscurity and … harden it into

   these narratives.” Scully Ex. 4, at 5 (Audio Tr. 2).




                                                   306
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 309 of 364 PageID #:
                                    16745



             1232. Likewise, on October 3, 2020, at a CISA-hosted cybersecurity conference, Clint

   Watts of the EIP stated that election misinformation “is overwhelmingly more domestic than

   foreign this time around in 2020.” Scully Ex. 3, at 4 (Audio Tr. 2).

             1233. At the same conference, Alex Stamos stated: “The bigger issue in 2020, is going to

   be domestic … we have set up this thing called the [E]lection [I]ntegrity [P]artnership, so we went

   and hired a bunch of students. We're working with the University of Washington, Graphika, and

   DFRLab, and the vast, vast majority of the contact we see we believe is domestic. You know, some

   of it you can't tell, but a lot of it is coming from domestic blue checkmark verified elites; right?

   And so I think a much bigger issue for the platforms is elite disinformation. The stuff that is being

   driven by people who are verified that are Americans who are using their real identities.” Id. at 5

   (Audio Tr. 3). He also stated, “the truth is, that the vast majority of these problems or the kind of

   problems in the information environment are domestic problems.” Id. at 6 (Audio Tr. 4).

             1234. Alex Stamos has noted that the fear of government regulation pushes the platforms

   to respond to government pressure and increase censorship. On November 10, 2020, at a

   conference hosted by the Atlantic Council, Alex Stamos stated: “So, you know, on effectively

   pushing the platforms to do stuff … they will always be more responsive in the places that are both

   economically highly important and that have huge potential regulatory impact, most notably right

   now that would be the United States and Europe.” Scully Ex. 4, at 6 (Audio Tr. 3) (emphasis

   added).

             1235. On November 17, 2021, at a conference hosted by the Digital Publics Symposium,

   Kate Starbird of CISA’s Subcommittee and the University of Washington’s Center for an Informed

   Public, an EIP participant, stated: “Now fast forward to 2020, we saw a very different story around

   disinformation in the U.S. election. It was largely domestic coming from inside the United States.




                                                   307
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 310 of 364 PageID #:
                                    16746



   … Most of the accounts perpetrating this … they're authentic accounts. They were often blue

   check and verified accounts. They were pundits on cable television shows that were who they said

   they were … a lot of the major spreaders were blue check accounts, and it wasn't entirely

   coordinated, but instead, it was largely sort of cultivated and even organic in places with everyday

   people creating and spreading disinformation about the election.” Scully Ex. 8, at 4 (Audio Tr. 2).

   She also stated: “So we see this – the disinformation campaign was top down … but this campaign

   was also bottom up with everyday people sharing their own experiences, their own misperceptions

   of being disenfranchised or finding what they thought to be evidence of voter fraud.” Id. at 5

   (Audio Tr. 3). These are the voices that the EIP silenced.

             D.      The Virality Project Expands EIP’s Censorship Work with Federal Officials.

             1236. Soon after the 2020 election cycle, beginning in early 2021, the same four entities

   that launched the Election Integrity Partnership established a similar program to address COVID-

   19-vaccine-related “misinformation” on social media, which they called the “Virality Project.”

   See Scully Ex. 2 (containing Stanford Internet Observatory, et al., The Virality Project, Memes,

   Magnets, and Microchips: Narrative Dynamics Around COVID-19 Vaccines (v.1.0.1 2022),

   https://purl.stanford.edu/mx395xj8490).

             1237. The Virality Project’s final report, dated April 26, 2022, lists Renee DiResta as the

   principal Executive Editor, and lists Renee DiResta, Kate Starbird, and Matt Masterson as

   contributors. Scully Ex. 2, at 4 (i). 3 Current and former CISA interns Jack Cable, Isabella Garcia-

   Camargo, Pierce Lowary, and Alex Zaheer are listed as “researchers and analysts” who

   participated in social-media “monitoring” for the project. Id.




   3
       Citations of this exhibit are formatted “Scully Ex. 2, at [page of exhibit] ([page of report]).


                                                      308
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 311 of 364 PageID #:
                                    16747



          1238. The same four entities that operated the EIP launched the Virality Project (“VP”)

   in 2021: Stanford Internet Observatory, University of Washington’s Center for an Informed Public,

   Graphika, and the Atlantic Council’s Digital Forensics Research lab. Id. at 8-9 (1-2). Three new

   nonprofit entities were added as well. Id.

          1239. According to its report, “[t]he VP team developed technology to identify emerging

   narratives, to understand what communities they appeared within, and to gauge their scope, speed,

   and spread. In addition, the analysts assessed social media platforms’ published policies to

   understand how (if at all) platforms might limit or action the spread of misleading vaccine-related

   content.” Id. at 9 (2). As discussed below, like the EIP, the VP took action to push “platforms [to]

   limit or action the spread of misleading vaccine-related content.” Id.

          1240. According to the VP, “[v]accine mis- and disinformation was largely driven by a

   cast of recurring actors,” including “long-standing anti-vaccine influencers and activists, wellness

   and lifestyle influencers, pseudomedical influencers, conspiracy theory influencers, right-leaning

   political influencers, and medical freedom influencers.” Id.

          1241. Like the EIP, the VP admits that the speech it targets is heavily speech by “domestic

   actors,” i.e., American citizens: “Foreign … actors’ reach appeared to be far less than that of

   domestic actors.” Id.

          1242. Like the EIP, the VP indicates that it pushes platforms to adopt more aggressive

   censorship policies on COVID vaccine-related content: “While online platforms have made

   progress in creating and enforcing vaccine related policies, gaps still exist.” Id. at 10 (3).

          1243. Like the EIP, the VP notes that it did not only observe and report on misinformation

   but took action to stop the spread of misinformation: “Detection, however, was only part of the




                                                    309
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 312 of 364 PageID #:
                                    16748



   work. The Virality Project also sought to relate its findings to the public and to stakeholders in

   public health, government, and civil society.” Id.

           1244. The VP indicates that it should increase the efficiency of having “government

   partners” share “tips” of misinformation with entities like the VP, stating that “[r]esearch

   institutions” should “[s]treamline a tip line process to make it easy for civil society and government

   partners to share observations. Establish a feedback loop to discuss what types of analysis or tips

   are most relevant.” Id.

           1245. The VP strives to “[d]evelop and maintain clear channels of communication that

   enable federal, state, and local agencies to understand and learn from what might be happening in

   other regions. Federal Information Sharing and Analysis Centers (ISAC) are one path forward.”

   Id. at 11 (4).

           1246. The VP recommends that the federal government “[i]mplement a Misinformation

   and Disinformation Center of Excellence housed within the Cybersecurity and Infrastructure

   Security Agency.” Id.

           1247. The VP states that social-media “[p]latforms owe the public transparency and

   accountability as they face the challenges of deciding what to surface, what to curate, and how to

   minimize the virality of harmful false claims. Tech platform policies against public health

   misinformation should be clear and precise, and their enforcement should be consistently applied.”

   Id. (emphasis added). The Surgeon General copied this messaging verbatim in his Health

   Advisory, which he launched at the VP.

           1248. The VP calls for more aggressive censorship of COVID-19 “misinformation,”

   stating: “To these ends, platforms should: Consistently enforce policies, particularly against

   recurring actors,” and “Continue to improve data sharing relationships with researchers.” Id. The




                                                    310
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 313 of 364 PageID #:
                                    16749



   emphasis on “data sharing relationships” is directly echoed in the White House’s and the Surgeon

   General’s demands that platforms share their internal data with researchers.

          1249. The VP boasts that the “Office of the Surgeon General incorporated VP’s research

   and perspectives into its own vaccine misinformation strategy,” and specifically cites the Surgeon

   General’s Health Advisory on this point. Id. at 11 (4) & 13 (6) n.5 (citing Off. U.S. Surgeon Gen.,

   Confronting Health Misinformation: The U.S. Surgeon General’s Advisory on Building a Healthy

   Information Environment (July 15, 2021), https://hhs.gov.sites.default.files.surgeon.general-

   misinformation-advisory.pdf).

          1250. “Over the course of its seven months of work, the Virality Project observed

   narratives that questioned the safety, distribution, and effectiveness of the vaccines.” Id. at 11 (4).

          1251. Like the EIP, the VP states that “[t]he enormity of the challenge demands a whole-

   of-society response,” id. at 12 (5) (emphasis added), and calls for more federal agencies to be

   involved through “cross-agency collaboration,” id. The Surgeon General adopted and echoed the

   VP’s call for a “whole-of-society” response.

          1252. The VP admits that “it was not always clear what was misinformation; in the case

   of the novel coronavirus, it was often simply not yet clear what was true or where scientific

   consensus lay,” id. at 14 (7), and that “[g]round truth about COVID-19 was rapidly evolving, and

   even institutional experts were not always aligned on the facts,” id. at 15 (8).

          1253. According to the VP, “[v]iral posts that claimed to have the answers to the public’s

   most pressing questions appeared online; fact-checkers struggled to evaluate them, and platforms

   wrestled with whether to leave them up or take them down. Social media influencers of varying

   backgrounds debated the merits and efficacy of masking, providing detailed breakdowns of their

   analyses in public posts.” Id.




                                                    311
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 314 of 364 PageID #:
                                    16750



          1254. The VP attributes opposition to mask mandates and lockdowns to right-wing

   political ideology: “In the months before vaccines or treatments emerged, governments worldwide

   turned to preventative measures such as masking requirements and lockdowns. In the US, these

   measures were quickly framed as affronts to liberty by facets of the US right-wing political

   spectrum, turning individual responses to the virus into a function of political identity.” Id.

          1255. The VP suggests that it flagged for censorship COVID-related posts with enormous

   engagement on social media, reporting for example that “[b]efore the major social media platforms

   began to take down [one] video—which was in violation of their COVID-19 misinformation

   policies—[it] amassed tens of millions of views and was shared into a wide variety of

   communities.” Id. at 16 (9).

          1256. The speech that the VP decries is all quintessential First Amendment–protected

   speech. See, e.g., id. (“Several prominent anti-vaccine activists began to post regularly about

   COVID-19; their followings began to increase, despite prior platform efforts to reduce the spread

   of false and misleading claims from anti-vaccine figures. As the possibility of a vaccine became

   more of a reality as 2020 progressed, anti-vaccine activists focused on preemptively undermining

   uptake. Several of the vaccines in development used relatively novel mRNA technology, which

   afforded an opportunity to present them as untested, unsafe, rushed, or risky, even to audiences

   who had taken all previously recommended vaccines.”).

          1257. “It was against this backdrop” of widespread First Amendment–protected speech

   on social media “that the Virality Project (VP) came together. A collection of research institutions

   had previously collaborated through the Election Integrity Partnership (EIP) to identify and

   understand the spread of election mis- and disinformation in the US during the 2020 presidential

   campaign. In December 2020, these partners jointly observed that the same tactics used to great




                                                   312
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 315 of 364 PageID #:
                                    16751



   effect during the 2020 election were already in use to expand the spread of COVID-19 vaccine

   mis- and disinformation.” Id.. The VP used the same tactics as the EIP to engage in “rapid

   response” to misinformation: “The Project’s broad array of institutions enabled information

   sharing and rapid response when false and misleading information percolated across social

   platforms.” Id. (emphasis added).

           1258. The VP was overtly biased against “anti-vaccine” viewpoints from the beginning:

   “The Project’s original framing document articulated the threat: A surge of anti-vaccine

   disinformation will pose significant challenges to the rollout and public adoption of COVID-

   19 vaccines in the United States.” Id. (bold in original).

           1259. Just like the EIP, the VP boasts that it is a “multistakeholder collaboration” that

   includes “government entities” among its key stakeholders: “The Virality Project adopted a

   multistakeholder collaboration with civil society organizations, social media platforms, and

   government entities to respond to misand disinformation around the novel vaccines.” Id. at 17

   (10) (emphasis added).

           1260. “The research institutions that comprised the Election Integrity Partnership—the

   Stanford Internet Observatory, the University of Washington’s Center for an Informed Public, the

   Atlantic Council’s Digital Forensic Research Lab, and Graphika—along with new partners the

   National Conference on Citizenship (NCoC)’s Algorithmic Transparency Institute and New York

   University’s Center for Social Media and Politics and Tandon School of Engineering—all elected

   to participate in this new initiative: the Virality Project.” Id.

           1261. The VP report complains that “the internet has no editorial gatekeepers.” Id. at 18

   (11).




                                                     313
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 316 of 364 PageID #:
                                    16752



          1262. The VP decries the influence of “social media influencers” such as “Doctors” and

   “Mommy Bloggers.” Id. at 19 (12).

          1263. According to the VP, “[t]hese influencers have adopted the best practices of

   communication in the internet age, and their effectiveness in drawing in online users is made

   evident by the mass followings they have acquired across social media sites: platforms as varied

   as Pinterest, Instagram, and YouTube…” Id.

          1264. The VP targets misinformation “tactics” that involve speech that the VP does not

   contend is false or even falsifiable. It states that speakers “use tactics that have persisted over

   time, many of which have been used in service of spreading mis- and disinformation in contexts

   beyond the vaccine conversation; for example, the Election Integrity Partnership observed several

   of these tactics during the lead-up to the 2020 US election.” Id.

          1265. These “tactics” include such things as “Hard-to-Verify Content: Using content

   that is difficult to fact-check or verify, such as personal anecdotes”; “Alleged Authoritative

   Sources: Using or pointing to information from an alleged public health official, doctor, or other

   authoritative source”; “Organized Outrage: Creating events or in-person gatherings, or using or

   co-opting hashtags”; and “Sensationalized/Misleading Headlines: Using exaggerated, attention-

   grabbing, or emotionally charged headlines or click-bait.” Id. (bold in original). Notably, none of

   these “tactics” involves false speech, and all are protected by the First Amendment.

          E.      The Virality Project Targets Plaintiff Jill Hines and Health-Freedom Groups.

          1266. According to the VP report’s taxonomy, Plaintiff Jill Hines, the founder of Health

   Freedom Louisiana, constitutes a “medical freedom influencer[]” who engages in the “tactic” of

   “Organized Outrage” simply because she “create[ed] events or in-person gatherings” to oppose




                                                  314
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 317 of 364 PageID #:
                                    16753



   mask and vaccine mandates in Louisiana. See id. at 9, 19 (2, 12) (bold in original). But this “tactic”

   is First Amendment–protected activity.

             1267. Another “tactic” decried by the VP is “Group super-spreader: An individual

   account sharing posts into multiple online groups.” Id. at 20 (13) (bold in original). This is also

   quintessential First Amendment expression.

             1268. The VP report repeatedly emphasizes the problem of “health freedom” or “medical

   freedom influencers” like Plaintiff Jill Hines. It identifies “Liberty” as a “trope” of social-media

   disinformation: “Liberty: Individuals have the right to ‘health freedom’; no government or

   employer should be able to tell people what to put in their bodies.” Id. (italics in original) (bold

   added).

             1269. The VP also identifies political and religious opinions—including well-established

   and widespread views—as “themes” and “tropes” of anti-vaccine “misinformation,” such as:

   “Distrust of industry: Vaccines are produced by profit-motivated pharmaceutical companies that

   have repeatedly concealed harm in pursuit of profit”; “Religiosity: Vaccines contain materials that

   are objectionable on religious grounds”; and “Conspiracy: … Governments have covered up

   information proving vaccines are dangerous, [and] Doctors and politicians who advocate for

   vaccines have been bought off by ‘Big Pharma.’” Id.

             1270. Like the EIP, the VP agrees that government pressure pushes social-media

   platforms to adopt more aggressive censorship policies: “Platforms had started adapting their

   policies to address vaccine misinformation in early 2019, spurred by public outcry, negative press

   coverage, and government inquiries…” Id. at 21 (14) (emphasis added).




                                                    315
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 318 of 364 PageID #:
                                    16754



          1271. The VP boasts that its “analysts had to develop a nuanced and nimble understanding

   of what content constituted policy violations”—evidently because it was flagging content to

   platforms for censorship in real time. Id. at 21-22 (14-15).

          1272. The VP extensively monitored and tracked Americans’ speech about COVID-19

   and vaccines on social media: “To surface in-scope content, VP’s team of analysts were divided

   into topical detection teams, referred to as pods…. These pods … enabled analysts to develop and

   ensure sustained familiarity with how the COVID-19 vaccine conversation was evolving within

   particular communities on public platforms.” Id. at 22 (15).

          1273. This monitoring involved VP analysts reading and searching Americans’ social-

   media accounts in real time: “Analysts in each pod assessed emerging narratives that were within

   scope … , surfacing content both via qualitative observation of the pages and accounts, and by

   using lists of common terms associated with vaccine hesitancy and long-standing anti-vaccine

   rhetoric.” Id.

          1274. The VP states that “Anti-vaccine activists and influencers, including those

   discussed in the Center for Countering Digital Hate’s ‘Disinformation Dozen’ Report … surfaced

   the greatest amount of content …” Id. at 23 (16).

          1275. This covert monitoring of Americans’ online speech about vaccine was extensive,

   sophisticated, and adaptive: “At the beginning of the project, analysts used broad search terms

   (“vaccine,” “jab”) to surface relevant content and incidents (specific events or stories), but

   gradually began to incorporate a combination of machine learning and hand coding to identify

   additional recurring narratives relevant to the four in-scope categories. This included terms related

   to medical freedom under “Vaccine Distribution,” or severe adverse effects and death under




                                                   316
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 319 of 364 PageID #:
                                    16755



   “Vaccine Safety,” among others. As narratives and new keywords emerged throughout the analysis

   period, analysts continually refined their searches.” Id.

           1276. This mass-social-media-surveillance project included federal agencies as key

   “stakeholders”: “The Virality Project established a nonpartisan, multi-stakeholder model

   consisting of health sector leaders, federal health agencies, state and local public health officials,

   social media platforms, and civil society organizations. These stakeholders provided tips,

   feedback, and requests to assess specific incidents and narratives, and each entity type brought

   specific expertise to bear on understanding COVID-19 vaccine hesitancy.” Id. at 24 (17).

           1277. Thus, the VP’s “multi-stakeholder model” included government agencies and

   officials, including “federal health agencies” and “state and local public health officials,” working

   alongside “social media platforms” to combat vaccine-related “misinformation.” Id.

           1278. The government “stakeholders” such as “federal health agencies” and “state and

   local public health officials” were among those who “provided tips” and “requests to assess

   specific incidents and narratives,” i.e., flagging content for social-media censorship. Id.

           1279. The VP emphasizes the role of “Federal government agencies” in the VP, including

   the CDC and the Office of Surgeon General: “Federal government agencies served as

   coordinators for national efforts. The Virality Project built strong ties with several federal

   government agencies, most notably the Office of the Surgeon General (OSG) and the CDC, to

   facilitate bidirectional situational awareness around emerging narratives. The CDC’s biweekly

   “COVID-19 State of Vaccine Confidence Insights” reports provided visibility into widespread

   anti-vaccine and vaccine hesitancy narratives observed by other research efforts.” Id. (bold in

   original).




                                                    317
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 320 of 364 PageID #:
                                    16756



          1280. Social media platforms served as stakeholders alongside federal and state officials:

   “Platforms were the final stakeholders in the VP effort. Six social media platforms engaged with

   VP tickets—Facebook (including Instagram), Twitter, Google (including YouTube), TikTok,

   Medium, and Pinterest—acknowledging content flagged for review and acting on it in accordance

   with their policies. On occasion, platforms also provided information on the reach of narratives

   previously flagged by VP, which provided a feedback loop leveraged to inform the Project’s

   understanding of policies and ongoing research.” Id. at 25 (18) (bold in original) (italics added).

          1281. Thus, the VP openly proclaims that it “flagged” “content … for review” to

   platforms to “act[] on it in accordance with their policies.” Id. Government officials provided

   “tips” to the VP about misinformation on social media, and the VP flagged it for platforms for

   censorship.

          1282. The VP emphasizes the importance of federal officials and social-media platforms

   in its collaboration on censorship: “As the effort progressed, input from these partners was crucial

   in defining the VP’s output formats and in surfacing where the impacts of vaccine mis- and

   disinformation were being felt offline.” Id.

          1283. The VP engaged in continuous, ongoing communication with federal officials,

   platforms, and other stakeholders: “The Virality Project delivered 31 weekly briefings focused on

   increasing situational awareness and enabling the stakeholders working on countering vaccine mis-

   and disinformation to develop the most effective possible response.” Id.

          1284. The VP boasts that it “provided strategic insights” to federal officials in combating

   misinformation: “Briefings directly informed counter-messaging efforts by public health

   stakeholders … and public health officials (for example, the CDPH), and provided strategic




                                                   318
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 321 of 364 PageID #:
                                    16757



   insights to government entities such as the OSG, CDC, and the Department of Health and Human

   Services.” Id. (emphasis added).

          1285. Further, the “Stanford Internet Observatory and the Virality Project also hosted

   Surgeon General Vivek Murthy for a seminar on vaccine mis- and disinformation, including the

   rollout of the Surgeon General’s advisory on health misinformation.” Id. at 27 (20).

          1286. Like the EIP, the VP used “tickets” to track social-media narratives, where each

   “ticket” could encompass many postings: “As part of the Virality Project, analysts created tickets

   documenting URLs of in-scope content. In total, 911 tickets were created, tracking both specific

   pieces of misinformation and broader narratives. At the end of the monitoring period, analysts had

   created 845 tickets tracking specific vaccine misinformation incidents (events or pieces of content)

   and 66 tickets tracking broad narratives.” Id. at 34 (27).

          1287. The VP aimed, not just to track, but to “respond to” misinformation: “The Virality

   Project operated with a team of analysts drawn from across the partner organizations. Workflows

   were designed to detect, analyze, and respond to incidents of COVID-19 vaccine-related

   disinformation in online ecosystems.” Id. (emphasis added).

          1288. “From February to August 2021, VP analysts systematically monitored activity

   across social media platforms to document emerging narratives and trends in public discourse

   while also tracking the popularity and spread of older content.” Id. (emphasis added).

          1289. “The [VP] used the Jira Service Desk software to log mis- and disinformation

   incidents that were determined to be in scope for specific areas of the public COVID-19-related

   conversation. For each single incident of anti-vaccine mis- or disinformation surfaced during

   monitoring, an analyst filed a ticket that provided a brief description of the incident, including




                                                   319
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 322 of 364 PageID #:
                                    16758



   engagement numbers at the time of creation and links to relevant social media posts.” Id. at 35

   (28).

           1290. The VP boasts that it targeted online speech for censorship before it could go viral,

   thus imposing massive prior restraints on the amplification of targeted content: “Tickets also

   enabled analysts to quickly tag platform or health sector partners to ensure their situational

   awareness of high-engagement material that appeared to be going viral, so that these partners

   could determine whether something might merit a rapid public or on-platform response (such as

   a label).” Id. at 37 (30) (emphasis added).

           1291. The VP reported the content in 174 “tickets” to social-media platforms for

   censorship: “Managers gave all incident analyses a final review for quality-control purposes, to

   determine appropriate next steps and to make a final decision about whether tickets should be

   shared with external stakeholders. Of the 911 incidents monitored, 174 were referred to platforms

   for potential action.” Id. (emphasis added).

           1292. Like the EIP, the VP appears to have had direct access to Twitter’s and YouTube’s

   internal data about speech spreading on its platform, but not Facebook’s: “The engagement data

   or video view data for links associated with each ticket was collected differently depending on the

   social media platform in question: Facebook and Instagram: CrowdTangle API; Twitter: Twitter

   API…” Id. at 38 (31).

           1293. Like the Surgeon General and the White House, the VP complains that the

   platforms must make their internal data more available to VP: “Due to limited transparency from

   social media platforms, engagement is the closest proxy researchers can use to understand what

   content users are seeing on social media platforms. Metrics such as impression counts are generally

   unavailable to outside researchers.” Id.




                                                  320
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 323 of 364 PageID #:
                                    16759



            1294. The VP’s monitoring tracked content with about 6.7 million engagements on social

   media per week, or over 200 million over the seven months of the reported project: “Average

   weekly engagement with content tracked across all Virality Project tickets was 6.7 million.” Id.

   at 39 (32).

            1295. The vast majority of speech flagged and tracked by the VP was not false or incorrect

   speech: “The most commonly employed tactics were Hard-to-Verify Content and Alleged

   Authoritative Source.” Id. at 41 (34); see also id. at 42 (35) fig.2.6 (showing predominance of

   these two “tactics”).

            1296. According to the VP, “[o]f the engagement captured by tickets, more than a third

   came from content primarily spread by accounts that demonstrated recurring success making

   content go viral; we refer to them here as ‘recurring actors.’” Id. at 41 (34).

            1297. The VP boasts that it induced “platform action” against such “recurring actors” in

   2021: “Recurring actors drove a majority of engagement in the first half of the study period, but

   fell off in importance after that, most likely due to platform action against certain users beginning

   in the late spring of 2021.” Id. at 43 (36).

            1298. Like Jennifer Psaki at the White House, the VP repeatedly cites the Center for

   Countering Digital Hate’s report on the “Disinformation Dozen.” Id. at 23 & 32 n.43, 43 & 48

   n.7, 111 & 129 n.179.4

            1299. “Four distinct weeks during the monitoring period had incidents observed by

   Virality Project analysts that generated more than 10 million engagements.” Id. at 43 (36).

            1300.   One of these “Viral Incidents” tracked by the VP was: “In July, posts went viral

   expressing outrage at attempts by the Biden administration to engage in vaccine outreach.” Id. at


   4
       Report pages 16 & 25 n.43, 36 & 41 n.7, 104 & 122 n.179.


                                                   321
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 324 of 364 PageID #:
                                    16760



   45 (38). This incident did not involve any vaccine-related misinformation at all, but core political

   speech: “the Biden administration used the phrase ‘door-to-door’ to describe a push for on-the-

   ground community-led efforts to persuade more Americans to get vaccinated. Prominent

   Republican politicians miscast this as a forced vaccination campaign by ‘Needle Nazis’ and a

   prelude to the government knocking on the door to take away guns.” Id. at 46 (39).

          1301. The VP boasts that censorship enforcement was effective, especially in

   “deplatforming” key actors: “The decline of content from recurring actors midway through the

   monitoring period potentially reflects a policy impact, as deplatforming these actors led to an

   apparent reduction in false or misleading content.” Id. at 47 (40).

          1302. The VP tracked and flagged “Claims that [supposedly] misrepresent … vaccine

   mandates,” not just misinformation about the vaccines. Id. at 50 (43).

          1303. According to the VP, “content” that “leveraged decontextualized statistics from the

   US Department of Health and Human Services’ Vaccine Adverse Event Reporting System

   (VAERS) database” is misinformation. Id. at 51 (44).

          1304. According to VP, it was also misinformation when true adverse health events from

   vaccines were “shared absent context”: “Rare incidents documenting verified adverse health

   events, including blood clotting and heart inflammation, were shared absent context, often in an

   effort to present them as common and significant risks.” Id.

          1305. According to the VP, discussing “breakthrough” cases and “natural immunity” was

   also misinformation: “False and misleading narratives related to efficacy sought to undermine the

   perceived benefits of vaccines. These narratives included stories of people diagnosed with

   COVID-19 after being vaccinated—“breakthrough” cases, particularly in the time of the Delta

   variant—to promote the idea that the vaccines aren’t effective. Later, the idea that natural




                                                   322
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 325 of 364 PageID #:
                                    16761



   immunity from infection is superior to immunity from vaccination became a political talking point

   raised repeatedly by right-leaning political influencers, despite inconclusive scientific evidence.”

   Id.

          1306. According to VP, misinformation also included “discussions of vaccine passports

   and mandates (including months before any state or federal officials began advocating for them).”

   Id.

          1307. The VP also counts as misinformation “claims that the government was headed

   toward mandating an unsafe vaccine.” Id. The government did, of course, eventually mandate the

   vaccines for most Americans.

          1308. The VP also treated Americans’ “long-standing mistrust of pharmaceutical

   companies’ profit motives” as part of anti-vaccine misinformation. Id.

          1309. “Conspiracy Theories” that “assign blame to … government” are also

   misinformation to be tracked and censored, according to VP. Id.

          1310. According to VP, “personal anecdotes” about “vaccine injuries and severe side

   effects—ranging from rashes, to blood clots, to death” are also misinformation.” Id. at 52 (45).

          1311. “Personal anecdotes often made their way into mainstream media coverage after

   gaining traction online. Distortions of official government statistics—most often from VAERS,

   described in more depth later in this section—were used both to reinforce the personal anecdotes

   and for focused misinformation solely discussing the statistics.” Id.

          1312. According to VP, “stripp[ing] both individual stories and official statistics of

   important context” is misinformation. Id.

          1313. According to VP, “adverse event stories” were objectionable because they were

   “employed to push back against vaccine mandates.” Id. at 52-53 (45-46).




                                                   323
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 326 of 364 PageID #:
                                    16762



          1314. Like the White House and Dr. Fauci, the VP treats Alex Berenson as a major

   malefactor in spreading COVID-19 vaccine “misinformation.” See id. at 54, 57 (47, 50).

          1315. Like the White House and Rob Flaherty, the VP flagged and tracked Fox News host

   Tucker Carlson as a spreader of vaccine misinformation: “In May 2021, Tucker Carlson

   misrepresented VAERS data on his talk show, decontextualizing it while claiming that 3,362

   Americans had died following COVID-19 vaccinations between December 2020 and April 2021,

   equating to roughly 30 people every day.” Id. at 57 (50) (emphasis added).

          1316. Health Freedom groups, like Plaintiff Jill Hines’s group Health Freedom Louisiana,

   are particular targets of the VP’s tracking and censorship activities.

          1317. The VP report includes an entire section on such groups: “Section 3.2.2 –

   Government Overreach and Medical Freedom Narratives.” Id. at 59 (52).

          1318. According to the VP, “[o]ne of the primary long-standing themes of anti-vaccine

   distribution narratives is that mass vaccine distribution constitutes a government overreach. The

   movement sees vaccine mandates, including, historically, school vaccine requirements, as an

   assault on ‘health freedom’ or ‘medical freedom.’” Id.

          1319. According to the VP, “[i]n 2020, following the emergence of COVID-19, these

   same health freedom groups expanded their vaccine protests to social distancing, masks, and other

   prevention measures.” Id. This includes Plaintiff Jill Hines.

          1320. The VP describes the role of Facebook groups—also employed by Jill Hines—in

   organizing health freedom groups to oppose vaccine mandates: “groups emerged on platforms

   such as Facebook during the pandemic, with names specifically related to COVID-19 or mRNA

   vaccines, to assist in discoverability; some grew their numbers into the tens of thousands.” Id.




                                                   324
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 327 of 364 PageID #:
                                    16763



            1321. The VP focused, not just on misinformation about vaccines, but political speech

   and political organizing against “vaccine passports and vaccine mandates”: “During the VP’s

   period of analysis, narratives about government overreach and medical freedom focused on two

   areas of controversy: vaccine passports and vaccine mandates.” Id.

            1322. The VP treats as misinformation political speech and political opinions on these

   topics: “This amplification hinged upon misleading framing that suggested the implementation of

   any form of vaccine passport would be compulsory. In reality, the plans for many programs were

   entirely optional. Other framing from domestic right-leaning political actors created a portrait of

   governments as prying or snooping into citizens’ private matters.” Id. at (60) 53.

            1323. The VP views virtually all conservative speech opposing government-imposed

   COVID mandates as misinformation: “Activists pushed the idea that through a passport system,

   governments and ‘Big Tech’ were limiting the public’s freedoms—situating the conversation

   within a larger set of narratives surrounding pandemic public health regulations like mask

   mandates, lockdowns, and social distancing.” Id.

            1324. Like the EIP, the VP specifically flagged Jim Hoft’s The Gateway Pundit as a

   purveyor of misinformation and COVID “conspiracy theories: “Headlines sometimes hawked

   conspiracy theories: one Gateway Pundit headline, “The Great Reset: Big Tech and Big Pharma

   Join Forces to Build Digital COVID Vaccination Passport,” was a nod to groups such as QAnon….

   The article alleged collusion between Big Tech and Big Pharma that would threaten ‘individual

   rights.’” Id. at 60-61 (53-54) & 68 (75) n.49 (citing Joe Hoft, The Great Reset: Big Tech and Big

   Pharma Join Forces to Build Digital COVID Vaccination Passport, Gateway Pundit (January 17,

   2021),        https://thegatewaypundit.com/great-reset-big-tech-big-pharma-joining-forces-build-

   digital-covid-vaccination-passport).




                                                  325
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 328 of 364 PageID #:
                                    16764



            1325. Other right-leaning speakers flagged by the VP include One America News

   Network, Breitbart News, and others. Id. at 60 (53).

            1326. The VP attributes political successes such as state-level bans on vaccine passports

   to such supposed misinformation. Id. at 61 (54).

            1327. The VP attributes opposition to vaccine mandates by employers to such supposed

   misinformation: “The backlash to COVID-19 vaccine requirements for employment and other

   activities parallels the conversation about vaccine passports. It, too, relies on and attempts to

   exacerbate distrust in public health officials and government institutions.” Id.

            1328. According to VP, even truthful information about vaccine effects on health that are

   still being studied constitutes misinformation: “In early 2021, users on Twitter, Facebook, and

   Reddit reported unverified reproductive side effects, ranging from abnormal menstrual cycles to

   miscarriages and infertility. … At the time there was no medical consensus on the vaccine’s effect

   on reproductive health, yet anti-vaccine activists presented the theory as fact and evidence of harm.

   Research is ongoing….” Id. at 66-67 (59-60).

            1329. According to VP, even “videos that appeared to be created satirically” are

   misinformation when they “were taken seriously.” Id. at 68 (61).

            1330. Alex Berenson is mentioned 49 times in the Virality Project report. Id. at 54, 57,

   71, 73, 96-97, 122-23, 188-90, 195, 207-08. 5

            1331. “Health freedom” or “medical freedom” groups are discussed dozens of times in

   the VP report. The word “freedom” occurs 100 times, almost always in direct connection with a

   discussion of “health freedom” or “medical freedom” groups, influencers, or content. See id. at 6,




   5
       Report pages 47, 50, 64, 66, 89-90, 115-16, 181-83, 188, 200-01.


                                                   326
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 329 of 364 PageID #:
                                    16765



   9, 20, 23, 59-62, 66, 70, 74, 77, 82, 84-86, 93-96, 105, 117-18, 121-22, 130-31, 137-38, 141, 143,

   187, 197-98, 201, 204, 210, 220-22.6

            1332.    The VP defines “Medical freedom influencers” as actors who “are averse to

   government interference in individuals’ personal lives. While they explicitly advocate for “health

   freedom” or “vaccine choice,” these actors often propagate vaccine doubt by contextualizing the

   choice with misleading claims of vaccines’ adverse medical consequences.” Id. at 82 (75).

            1333. Fox News host Tucker Carlson, who has wide audiences in Missouri and Louisiana,

   is cited 42 times in the Virality Project report. See id. at 57, 73, 87, 91-92, 98, 115, 119-20, 122-

   23, 193, 201, 208, 215-16, 218.7

            1334. In fact, the VP report cites the entire Fox News channel as a source of vaccine

   misinformation: “Fox News has played a particularly pivotal role in spreading vaccine

   misinformation and anti-vaccine beliefs during the COVID-19 pandemic…. [B]etween June 28

   and July 11, 2021, Fox News ran 129 segments about the COVID-19 vaccine on its cable

   broadcast; more than half of those segments included unverified claims that undermined

   vaccination efforts.” Id. at 91 (84).

            1335. According to VP, “Fox News television host Tucker Carlson has been one of the

   most prominent and sensationalist spreaders of false or misleading information about vaccines

   throughout the COVID-19 pandemic.” Id.; see also id. at 91 (describing “Right-wing media

   personality Tucker Carlson” as part of a “cast of recurring characters” that influenced vaccine

   hesitancy in Spanish- and Chinese-speaking communities).




   6
    Report pages iii, 2, 13, 16, 52-55, 59, 63, 67, 70, 75, 77-79, 86-89, 98, 110-11, 114-115, 123-24,
   130-31, 134, 136, 180, 190-91, 194, 197, 203, 213-15.
   7
       Report pages 50, 66, 80, 84-85, 91, 108, 112-13, 115-16, 186, 194, 201, 208-09, 211.


                                                   327
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 330 of 364 PageID #:
                                    16766



          1336. The VP also cites Candace Owens and The Daily Wire as purveyors of vaccine

   misinformation. See, e.g., id. at 86, 92 (79, 85).

          1337. The VP cites Robert F. Kennedy, Jr., a well-known anti-vaccine activist with wide

   followings in Missouri and Louisiana, as one of the most influential purveyors of vaccine

   misinformation. Id. at 83 (76). The VP describes Kennedy as “especially pernicious” because he

   has a large audience: “RFK Jr.’s activism is especially pernicious because, like other long-standing

   influencers, he has a large and committed following and has become somewhat of a household

   name in the US.” Id.

          1338. The VP also cites America’s Frontline Doctors and its founder, Dr. Simone Gold,

   as a source of vaccine misinformation. Id. at 87-88 (80-81).

          1339. The VP notes that “Simone Gold, a licensed emergency room physician, was the

   second most prominent PMI across Virality Project’s tickets. Gold is the leader of America’s

   Frontline Doctors…. Gold has been influential since the summer of 2020, when the White Coat

   Summit, an event broadcast online in which members of America’s Frontline Doctors spoke on

   the steps of the Supreme Court. The White Coat Summit promoted hydroxychloroquine both as a

   preventative measure and as a cure for COVID-19.” Id.

          1340. The VP treats Dr. Joseph Mercola, another anti-vaccine speaker with wide

   audiences in Missouri and Louisiana, as a purveyor of vaccine misinformation. Id. at 87 (80).

   Again, the VP criticizes Mercola precisely because his speech reaches wide audiences. Id.

          1341. The VP asserts that Gold’s “false and misleading claims about the COVID-19

   vaccine” include core political speech like “encouraging her followers to boycott companies for

   their vaccine protocols” and “organizing a cross-country tour to fight back against ‘censorship,

   chaos, and the undeniable slide towards communism that lurks beneath the tyrannical lockdowns




                                                    328
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 331 of 364 PageID #:
                                    16767



   for governmental ‘public health’ policy’.” Id. at 88 (81). To the VP, political “organizing” to

   oppose vaccine mandates and lockdowns constitutes a “false and misleading claim[].” Id.

          1342. The VP asserts that “the right-leaning media ecosystem differs from the rest of the

   media environment in ways that make it especially vulnerable to the spread of mis- and

   disinformation.” Id. at 91 (84).

          1343. The VP states that “[t]he newest iteration of medical freedom, adapted for COVID-

   19, challenges the legitimacy of government or corporate vaccine mandates and public health

   interventions specific to COVID-19, including vaccine passport systems and masking

   requirements.” Id. at 93 (86).

          1344. The VP states that “medical freedom” groups spread misinformation “across all 50

   states”: “Medical freedom influencers (MFIs) active in the anti-COVID-19-vaccine movement

   were fairly distinct from other categories of influencer in that rather than hinging on a handful of

   key (and often celebrity-status) individuals, they spread their narratives via a franchise model

   across all 50 states.” Id. (emphasis added).

          1345. The VP indicates that it tracked and flagged “medical freedom” groups “at a

   messaging and organizing level,” i.e., the level where Jill Hines was targeted: “As medical freedom

   activists have fought requirements imposed by states, cities, or private employers, they have

   learned from each others’ successes and failures—at a messaging and an organizing level—and

   have brought those lessons to their local communities. What one state does, another state will often

   echo.” Id. at 94 (87).

          1346. Like Andrew Slavitt, the VP treats Alex Berenson as one of the “most significant

   influencer[s]” who opposes vaccines: “Alex Berenson is perhaps the most significant influencer

   who defies categorization. A former New York Times reporter and a bestselling novelist with no




                                                   329
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 332 of 364 PageID #:
                                    16768



   specific anti-vaccine background …, Berenson … over time evolved into a key player in repeatedly

   spreading false and misleading information about the COVID-19 pandemic and vaccines. He

   underplayed the danger of the virus and challenged the efficacy of vaccines and masks, even as

   evidence supported their value as life-saving public health measures.” Id. at 96 (89) (providing an

   image of Berenson’s tweets).

          1347. The VP disfavors Berenson because he reaches wide audiences and criticizes the

   government: “Berenson’s popular posts on Twitter notably claimed to be “digging up” or

   “uncovering” information that was hidden from the public about vaccine safety or effectiveness.

   In one incident in July 2021, Berenson amplified a conspiracy theory from a statement filed with

   a lawsuit from America’s Frontline Doctors stating that the government was covering up more

   than 45,000 vaccine-related deaths. Berenson’s 17-tweet thread, which received over 16,000

   interactions on July 21, 2021, claimed that the CDC had “quietly more than DOUBLED” the

   number of deaths reported in VAERS, suggesting the CDC had misled the public.” Id. at 96-97

   (89-90).

          1348. The VP notes that Berenson had wide audiences nationwide when he was censored:

   “Twitter permanently deplatformed Berenson in August 2021 for repeated violations of Twitter’s

   COVID-19 falsehoods policy. At the time he lost his account, he had more than 200,000

   followers.” Id. at 97 (90).

          1349. The VP states that the government pushed for “accountability” from platforms in

   successfully pressuring them to adopt vaccine-related censorship policies in the years leading up

   to COVID-19: “During and after the [2018-19 measles] outbreaks, scientists and congressional

   leaders sought accountability from the platforms, inquiring about the extent to which vaccine




                                                  330
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 333 of 364 PageID #:
                                    16769



   hesitancy among impacted communities had been exacerbated by misinformation on their

   products.” Id. at 131 (124).

          1350. The VP provides a timeline of policy changes becoming more restrictive of

   vaccine-related misinformation that shows repeated tightening of policies by Facebook, Twitter,

   and YouTube once President Biden had been elected. Id. at 133 (126) fig.5.1.

          1351. The VP calls for more aggressive censorship policies to target speech that is not

   false or incorrect and that constitutes core political speech: “While progress has been made since

   platforms first developed vaccine-related policies in 2019, clear gaps in platform policy exist with

   respect to moderating vaccine-related content, including posts that employ personalized stories,

   medical freedom claims, and misleading headlines and statistics.” Id. at 143 (136).

          1352. The VP also calls for more aggressive action to “suppress content” and “deplatform

   accounts”: “In addition, policies about the actions platforms can take to suppress content, promote

   trusted voices, and deplatform accounts vary widely from platform to platform and are still not

   enforced consistently, both within and across platforms.” Id.

          1353. Just like the Surgeon General, the VP demands “more transparency” for “external

   researchers” (like those at the VP, working closely with government) to oversee the platforms’

   censorship efforts: “It should be noted that understanding the impact of platform policy is limited

   by what information is publicly available. It is crucial that platforms provide more transparency

   on each moderation approach and allow external researchers the ability to independently verify the

   success and impacts of these interventions.” Id.

          1354. Like the Surgeon General, the VP argues that “a whole-of-society effort is needed”

   to stop the spread of so-called misinformation: “[A] whole-of-society effort is needed in which




                                                   331
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 334 of 364 PageID #:
                                    16770



   stakeholders build robust and persistent partnerships to ensure that significant high-harm claims

   can be addressed as they arise.” Id. 147 (140).

          1355. This “whole-of-society” effort includes an active role for the government in

   censoring disfavored speech: “The Virality Project sought to do just that by bringing together four

   types of stakeholders: (1) research institutions, (2) public health partners, (3) government partners,

   and (4) platforms. Our recommendations recognize the collective responsibility that all

   stakeholders have in mitigating the spread of mis- and disinformation…” Id.

          1356. According to the VP, “The Virality Project offers an early template for structuring

   interaction between research institutions and nonacademic stakeholders (including government

   entities, health practitioners, and private companies).” Id.

          1357. According to the VP, it used “ingenuity” to facilitate “the intake of tips from …

   government partners”: “An area that required ingenuity was creating a framework for facilitating

   the intake of tips from civil society and government partners…. However, their tips are often

   highly valuable, so overcoming this challenge is a priority for future efforts.” Id. at 148 (141)

   (emphasis added).

          1358. The VP recommends an even more “streamlined” process for “government

   partners” to provide “tips” of misinformation to be reported for censorship, and it notes that it

   received tips through “informal exchanges, such as Zoom meetings or calls with our partners”:

   “Streamline tip line processes for civil society and government partners. Set up an efficient channel

   for intaking external tips…. The Virality Project often had to leverage informal exchanges, such

   as Zoom meetings or calls with our partners, to receive the tips verbally or encourage additional

   reporting. In future projects, external reporting channels should be strengthened via an easier




                                                     332
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 335 of 364 PageID #:
                                    16771



   means of reporting and increased access to the reporting channels, especially for partners on the

   ground (such as health practitioners or government health officials).” Id.

          1359. The VP repeatedly cites the work of Surgeon General Murthy, noting that “[d]uring

   a July 15, 2021, panel with the Virality Project, US Surgeon General Vivek Murthy discussed the

   importance of vaccination by sharing his own story about COVID-19 … alongside data around the

   effectiveness of the vaccines.” Id. at 149 (142). “In the context of vaccine misinformation

   specifically, some examples of engagement best practices can be found in the Virality Project’s

   July 15, 2021, hosted discussion with Surgeon General Vivek Murthy…” Id. at 150 (143).

          1360. According to VP, “While the federal government (through DHHS, the CDC, and

   the Surgeon General) has ramped up its engagement and communications, more can be done

   moving forward. There are several areas where government officials can focus to improve their

   ongoing response to mis- and disinformation surrounding the COVID-19 vaccines.” Id. at 149-50

   (142-43).

          1361. These include “real-time response” to misinformation on the model provided by

   CIS and the EI-ISAC for election speech: “Federal, state, and local government officials should

   coordinate real-time response to emerging mis- and disinformation. … For example, as voting-

   related mis- and disinformation arose in the 2020 presidential election, the Election Infrastructure

   Information Sharing and Analysis Center (EI-ISAC) served a critical role in sharing information

   with the Election Integrity Partnership and pushing its rapid response analysis back out to election

   stakeholders across all states… Moving forward, the government should support the establishment

   of such an information-sharing mechanism.” Id. at 150 (143).

          1362. The VP recommends that the federal government “[i]mplement a Misinformation

   and Disinformation Center of Excellence (CoE) housed within the federal government,” which




                                                   333
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 336 of 364 PageID #:
                                    16772



   “would centralize expertise on mis- and disinformation within the federal government at the

   Cybersecurity & Infrastructure Security Agency (CISA) with its existing mis- and disinformation

   team,” i.e., Brian Scully’s group. Id.

          1363. The VP’s “Recommendations to Platforms” reflect near-verbatim language used by

   the Surgeon General’s Health Advisory: “Consistently enforce policies against recurrent actors.

   … While many platforms have improved transparency around content moderation, there is still

   inconsistent enforcement of policies, notably in the case of recurring actors. More consistency and

   transparency is needed around enforcement practices, particularly when prominent or verified

   accounts are involved. While past policy environments have been slower to enforce policies

   against prominent accounts, these are the accounts with the greatest potential for impact. If

   anything, they may merit closer scrutiny.” Id. at 152 (145).

          1364. Likewise, the VP recommends that platforms “[c]ontinue to prioritize and improve

   data sharing. The Virality Project’s research would not have been possible without access to public

   platform data. For privacy reasons, some data understandably may be limited, but in general,

   establishing standardized guidelines about how platforms can share data with research institutions

   is needed.” Id. at 153 (146).

          1365. “Notably, engagement numbers are the closest proxy that researchers have to

   understand what content users see on social media platforms. However, engagement is not the

   same thing as impressions, or user views—how many times a piece of content is seen by users.

   Ideally, access to user impression data would be available, allowing researchers to directly measure

   when and how content is surfaced to users by social media platforms. Unfortunately, social media

   platforms often do not make impression data available to researchers; as a result of this chronic




                                                   334
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 337 of 364 PageID #:
                                    16773



   gap, assessing impact and reach, or the dynamics of platform curation, remains a significant

   challenge.” Id.

   X.     Federal Censorship Inflicts Grave, Imminent, and Ongoing Injuries on Plaintiffs.

          1366. The foregoing conduct has inflicted and continues to inflict ongoing and imminent

   injuries on both the private Plaintiffs and the States of Louisiana and Missouri.

          A.      Defendants Gravely Injure the Individual Plaintiffs.

          1367. The individual Plaintiffs provide undisputed evidence of how they have suffered

   from federally-induced censorship. Docs. 10-3 (Declaration of Dr. Jayanta Bhattacharya), 10-4

   (Declaration of Dr. Martin Kulldorff), 10-5 (Declaration of Jim Hoft), 10-7 (Declaration of Dr.

   Aaron Kheriaty), 10-12 (Declaration of Jill Hines). The Government does not dispute this

   evidence.

          1368. Dr. Bhattacharya attests that, “Because of my views on COVID-19 restrictions, I

   have been specifically targeted for censorship by federal government officials.” Doc. 10-3, ¶ 5.

   He notes that “[t]he Great Barrington Declaration received an immediate backlash from senior

   government officials who were the architects of the lockdown policies, such as Dr. Anthony

   Fauci…” Id. ¶ 13. “Because it contradicted the government’s preferred response to COVID-19,

   the Great Barrington Declaration was immediately targeted for suppression by federal officials.”

   Id. ¶ 14. “Instead, what followed was a relentless covert campaign of social-media censorship of

   our dissenting view from the government’s preferred message.” Id. ¶ 15.

          1369. As a result of this “covert campaign,” Dr. Bhattacharya experiences ongoing

   injuries, including the de-boosting of search results in Google, id. ¶16; the removal of links to the

   Great Barrington Declaration in Reddit discussions, id.; the ongoing removal of a YouTube video

   discussing the Great Barrington Declaration and related issues with Governor DeSantis, id. ¶¶ 17-




                                                   335
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 338 of 364 PageID #:
                                    16774



   18; the removal of personal Tweets, id. ¶¶ 25-26; the removal of LinkedIn posts, id. ¶¶ 28-29; and

   account termination by LinkedIn, id. ¶ 30.

           1370. Dr. Bhattacharya observes that he lacks access to his colleagues’ speech and

   viewpoints as well, because “social-media censorship has not focused solely on the co-authors of

   the Great Barrington Declaration, but has swept in many other scientists as well: Twitter, LinkedIn,

   YouTube, Facebook, they have permanently suspended many accounts—including scientists.” Id.

   ¶ 31.

           1371. As Dr. Bhattacharya observers, “[t]hese censorship policies have driven scientists

   and others to self-censorship, as scientists … restrict what they say on social-media platforms to

   avoid suspension and other penalties.” Id. ¶ 31.

           1372. Dr. Bhattacharya attests based on personal experience: “Having observed and lived

   through the government-driven censorship of the Great Barrington Declaration and its co-authors,

   it is clear to me that these attacks were politically driven by government actors. … One of the

   motivations for that was a motivation to create … an illusion of consensus within the public that

   there was no scientific dissent against lockdowns. [T]he Great Barrington Declaration … posed a

   political problem for them because they wanted to tell the public that there was no dissent. And

   so, they had to destroy us. They had to do a devastating takedown.” Id. ¶ 32.

           1373. Dr. Kulldorff likewise attests that there is “an organized campaign against the Great

   Barrington Declaration,” Doc. 10-4, ¶ 14. He notes that the GBD “was censored on social media

   in an apparent attempt to prevent it from … ‘getting a lot of attention,’” id. ¶ 15; including Google

   deboosting search results, id., and Facebook removing content related to it, id. ¶ 16.

           1374. Dr. Kulldorff also identifies an ongoing campaign of censorship against his

   personal social-media accounts, including censored personal Tweets on Twitter, id. ¶¶ 17-18;




                                                   336
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 339 of 364 PageID #:
                                    16775



   censored posts criticizing mask mandates, id. ¶ 19; ongoing self-censorship to avoid further

   censorship penalties, id. ¶¶ 20, 27; removal of YouTube content, id. ¶ 21; removal of LinkedIn

   posts, id. ¶¶ 22-25; and the ongoing permanent suspension of his LinkedIn account, id. ¶ 26.

          1375. Dr. Kulldorff has experienced direct censorship of his social-media speech in

   addition to the Great Barrington Declaration. For example, his Tweets questioning the efficacy of

   masking and criticizing government mask mandates have been censored and caused him to be

   suspended from Twitter. Id. ¶¶ 18-19.

          1376. Dr. Kulldorff has also engaged in self-censorship to avoid being suspended or

   removed from social media: “Twitter is an important venue for communicating accurate public

   health information to the public. Because of the censoring, and the suspension of other scientists,

   I have had to self-censor myself on the platform.” Id. ¶ 20.

          1377. Dr. Bhattacharya and Dr. Kulldorff’s roundtable discussion with Governor Ron

   DeSantis—which featured all three co-authors of the Great Barrington Declaration—was removed

   from YouTube. The roundtable discussion addressed the Great Barrington Declaration and its

   premises in detail. As Dr. Kulldorff recounts, “On March 18, 2021, I participated in a two-hour

   roundtable discussion with Governor Ron DeSantis in Florida, along with Dr. Sunetra Gupta at

   Oxford, Dr. Jay Bhattacharya at Stanford and Dr. Scott Atlas at Stanford. In this discussion, we

   made remarks critical of COVID-19 restrictions, including mask mandates on children. I stated

   that ‘children should not wear face masks, no. They don’t need it for their own protection, and

   they don’t need it for protecting other people either.’ … Dr. Gupta stated that “to force [children]

   to wear masks and distance socially, all of that to me is in direct violation of our social contract.’

   In the same roundtable, we also argued against vaccine passports. ‘Let’s try to argue against that




                                                    337
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 340 of 364 PageID #:
                                    16776



   from the very beginning before it sort of takes off.’ Unfortunately, the video of the roundtable was

   removed by YouTube, which is owned by Google.” Id. ¶ 21.

          1378. Dr. Kulldorff also experiences ongoing censorship on “LinkedIn, which is a popular

   communications platform among scientists and other professionals.” Id. ¶ 22-26. LinkedIn has

   blocked and removed his posts opposing vaccine mandates and promoting the benefits of natural

   immunity. Id. These included posts in which he and Dr. Bhattacharya “criticized the official

   Covid-19 response as formulated by Dr. Anthony Fauci.” Id. ¶ 25.

          1379. Dr. Kulldorff states that he and other scientists engage in self-censorship to avoid

   being terminated from social-media platforms: “Twitter and LinkedIn are important venues for

   communicating accurate public health information to other scientists and to the public. Because of

   the censoring, and the suspension of other scientists, I have had to self-censor myself on both

   platforms. Sometimes by not posting important public health information.” Id. ¶ 27.

          1380. Dr. Kulldorff notes that social-media censorship directly affects him as a reader of

   other scientists’ speech on social media, on an ongoing basis, by reducing his access to the thoughts

   and views of scientists who dissent from the government-mandated orthodoxy: “Social-media

   censorship has not focused solely on the co-authors of the Great Barrington Declaration but has

   swept in many other scientists as well. These censorship policies have driven scientists and others

   to self-censor, as scientists like me restrict what we say on social-media platforms to avoid

   suspension and other penalties. In fact, the most devastating consequence of censoring is not the

   actual posts or accounts that are censored or suspended, but the reluctance of scientists to openly

   express and debate scientific questions using their varied scientific expertise. Without scientific

   debate, science cannot survive.” Id. ¶ 28.




                                                   338
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 341 of 364 PageID #:
                                    16777



          1381. Dr. Kheriaty, also, describes ongoing injuries from social-media censorship of

   views dissenting from the government-preferred narratives about COVID-19. He experiences an

   ongoing pattern of censorship and removals lasting over years: “I have always shared peer-

   reviewed research findings as well as my own opinions and perspectives on Twitter and LinkedIn.

   It was not until I began posting information about covid and our covid response policies, however,

   that I encountered censorship on the Twitter platform. This began in 2020 when I published an

   article on the adverse mental health consequences of lockdowns. The problem became more

   pronounced in 2021 when I shared my Wall Street Journal article and other information on ethical

   issues related to vaccine mandates.” Doc. 10-7, ¶ 11.

          1382. As Dr. Kheriaty notes, “[t]he Twitter censorship took several forms.” Id. He

   describes suffering artificial limitations on the number of followers on his social-media accounts,

   id. ¶¶ 12-13; “shadow banning” of social-media posts that “challenge[] the federal government’s

   preferred covid policies,” id. ¶¶ 14-15; self-censorship to avoid further adverse consequences or

   permanent bans, id. ¶ 16; and removal of content from YouTube, id. ¶ 17. Dr. Kheriaty specifically

   notes that the problem of “shadow banning” his social-media posts is ongoing and increasing, as

   it “intensified in 2022.” Id. ¶ 15. Further, he notes that “[t]he pattern of content censored on these

   social media platforms mirrors closely the CDC and Biden administration policies.” Id. ¶ 18.

          1383. Dr. Kheriaty describes the ongoing experience of shadow-banning: “I encountered

   evidence of this shadow-banning in 2021 before I was let go from the University after I started

   posting on covid topics, and the problem intensified in 2022 following my dismissal, as I continued

   to post frequently on the ethics of vaccine mandates for competent adults.” Id. ¶ 15.

          1384. Dr. Kheriaty also experiences ongoing injury as a reader of other speakers’ content

   on social media, as government policies cause censorship and self-censorship of their content as




                                                    339
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 342 of 364 PageID #:
                                    16778



   well: “I have several of my friends and colleagues—including Dr. Peter McCollough and Dr.

   Robert Malone—who were temporarily (McCollough) or permanently (Malone) banned from

   Twitter for posing peer-reviewed scientific findings regarding the covid vaccines.” Id. ¶ 16.

          1385. Dr. Kheriaty also engages in self-censorship to avoid more severe penalties from

   the platforms: “Even though the ethics of vaccine mandates is among my areas of expertise, and

   an area that has impacted me personally and professionally, I am extremely careful when posting

   any information on Twitter related to the vaccines, to avoid getting banned. This self-censorship

   has limited what I can say publicly on topics where I have specific scientific and ethical expertise

   and professional experience.” Id. ¶ 16.

          1386. Dr. Kheriaty observes a close link between this ongoing pattern of social-media

   censorship and speech that criticizes government policies: “The pattern of content censored on

   these social media platforms mirrors closely the CDC and Biden administration policies. In my

   experience using these platforms to discuss covid topics, any content that challenges those federal

   policies is subject to severe censorship, without explanation, on Twitter and YouTube—even when

   the information shared is taken straight from peer-reviewed scientific literature.” Id. ¶ 18.

          1387. Plaintiff Jim Hoft attests both ongoing injuries and the imminent expectation of

   future injuries. Doc. 10-5. Hoft is the “founder, owner, and operator of the popular news website

   The Gateway Pundit (‘GP’), gatewaypundit.com. … Since its founding in 2004, the Gateway

   Pundit has grown from a one-man blog to one of the internet’s largest destinations for conservative

   news and commentary. In 2021, The Gateway Pundit was ranked fourth on a list of top ten

   conservative news websites, ranked by monthly web searches, with over 2 million searches per

   month.” Id. ¶ 2. The Gateway Pundit has large social-media followings on multiple platforms:

   “In particular, GP’s Twitter account had over 400,000 followers before it was suspended. GP’s




                                                   340
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 343 of 364 PageID #:
                                    16779



   Facebook account has over 650,000 followers. GP’s Instagram account has over 205,000

   followers. GP’s YouTube account has over 98,000 followers.” Id. ¶ 3.

          1388. Hoft notes that The Gateway Pundit’s “social media accounts have experienced

   censorship on all major social-media platforms,” which “has followed and reflected the calls for

   censorship from federal government officials, including in the Biden Administration.” Id. ¶ 4.

   These acts of censorship include suspensions from his Twitter account and another personal

   Twitter account, id. ¶¶ 6-7, 10; a permanent ban from his Twitter account, id. ¶ 8; labels applied

   to Twitter posts on personal accounts, id. ¶ 9; warning labels imposed on Facebook posts and other

   restrictions on his Facebook account, id. ¶ 12; permanent removal of content posted on Facebook,

   id. ¶ 13; prevention of sharing of Facebook-posted content, id.; removal of content from YouTube,

   id. ¶ 14; imposition of sanctions on Mr. Hoft’s followers for re-posting or amplifying his speech,

   id. ¶ 15; engaging in self-censorship to avoid permanent bans or other more serious sanctions from

   the social-media platforms, id. ¶ 16; and demonetization by Google, id. ¶ 19; see also id. ¶¶ 18-

   20.

          1389. Hoft observers that “GP’s social media accounts have experienced censorship on

   all major social-media platforms, including its speech regarding COVID-19 issues and election

   security. In many instances, we have noticed that this censorship has followed and reflected the

   calls for censorship from federal government officials, including in the Biden Administration.” Id.

   ¶ 4. “For example, the current Administration has repeatedly called for censorship of social media

   speech regarding election integrity and so-called ‘COVID-19 misinformation.’ GP has

   experienced significant social-media censorship regarding its speech on both of those issues,

   including on Twitter, Facebook, and YouTube.” Id. ¶ 5.




                                                  341
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 344 of 364 PageID #:
                                    16780



          1390. Hoft has experienced censorship for COVID speech that is now widely

   acknowledged to be true, such as a suspension from Twitter for claiming that the vaccines do not

   prevent infection, and the claim that COVID deaths are overcounted by including deaths from

   other causes: “On or about January 2, 2021, Twitter suspended GP’s Twitter account

   (@gatewaypundit) after it posted a tweet that stated, “Then It’s Not a Vaccine: Crazy Dr. Fauci

   Says Early COVID Vaccines Will Only Prevent Symptoms and NOT Block the Infection

   …What?” Id. ¶ 6; see also id. ¶ 9.

          1391. The Gateway Pundit also experienced censorship under Twitter’s “hacked

   materials” policy by retweeting the contents of Hunter Biden’s laptop. After a GP blogger

   “tweeted content related to Hunter Biden’s laptop,” “Twitter suspended the account on the ground

   that he ‘Violat[ed] our rules against posting or sharing privately produced/ distributed intimate

   media of someone without their express consent.’” Id. ¶ 10.

          1392. Hoft also experiences a long list of acts of censorship from Facebook: “Facebook

   frequently imposed warning labels and other restrictions on our content, particularly content

   related to election integrity and COVID-19. Facebook’s censorship was so aggressive that I was

   forced to hire an assistant to monitor and address censorship on Facebook.” Id. ¶ 11; see also id.

   ¶ 12. Facebook imposes labels on Hoft’s content that require the reader, before viewing Hoft’s

   content, to click-through a Facebook-imposed screen that states: “The Gateway Pundit is an

   American far-right news and opinion website. The website is known for publishing falsehoods,

   hoaxes, and conspiracy theories.” Id. at 12. It also labels Hoft’s postings as “Missing Context”

   even when their truth is undisputed. Id. at 20-23. And it labels expressions of core political

   opinion as “Partly False.” Id. at 28; see also id. 29-58 (many other examples of such labeling and

   blocking from reposting on Facebook and Twitter).




                                                  342
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 345 of 364 PageID #:
                                    16781



           1393. As Hoft notes, Facebook also prevents Hoft’s audiences from reposting or

   amplifying his content: “Facebook also [dis]courages (or otherwise outright prohibits) the public

   from sharing our content with their social networks.” Id. ¶ 13. Hoft describes this second-order

   censorship in detail: “The social-media platforms have extended their censorship policies to our

   followers as well. We have received numerous reports from followers that they have received

   temporary suspensions or other adverse actions from social-media platforms (such as seven-day

   suspensions of their Facebook accounts) for re-posting or amplifying our content. This chills our

   followers from re-posting, re-tweeting, or otherwise amplifying our content. The risk of being

   locked out of Facebook for seven days, or suffering other forms of censorship, deters our followers

   from amplifying our content on social media platforms, which reduces the reach of our message.”

   Id. ¶ 15.

           1394. Hoft also describes ongoing self-censorship to avoid more severe penalties on

   social media: “These social-media censorship policies chill GP’s freedom of expression on social

   media platforms as well. To avoid suspension and other forms of censorship, we frequently avoid

   posting content that we would otherwise post on social-media platforms, and we frequently alter

   content to make it less likely to trigger censorship policies.” Id. ¶ 16.

           1395. Hoft observes that the censorship of his content on social media closely tracks the

   censorship preferences of federal officials: “Based on my close observation of the patterns of

   censorship of GP’s social-media accounts and related accounts in recent years, I have strong reason

   to infer that federal government officials are directly involved in the censorship of our speech and

   content.” Id. ¶ 17. Hoft’s posts that have faced censorship include posts criticizing the FBI, id. at

   9; and criticizing the administration of the 2020 election, id. at 11;




                                                    343
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 346 of 364 PageID #:
                                    16782



              1396. Hoft continues to experience censorship, including up to the date he executed his

   declaration. For example, he received a strike on YouTube on May 14, 2022, and YouTube

   removed the video he had posted, for speech regarding election integrity that discussed the problem

   of election fraud and raised questions about the outcome of the 2020 Presidential election,

   including money Idaho illegally received from Mark Zuckerberg and other problems relating to

   voter fraud. Id. ¶ 14.

              1397. Plaintiff Jill Hines is the “Co-Director of Health Freedom Louisiana, a consumer

   and human rights advocacy organization.” Doc. 10-12, ¶ 2. Hines’s “organization engages in

   public advocacy on behalf of Louisiana citizens on issues of health freedom and fundamental

   human rights. [Hines] ha[s] testified before the Louisiana legislature approximately 20 times on

   such issues.” Id. ¶ 3. Hines attests that, “Because our organization recognizes the need to educate

   and inform the public of their rights regarding state and federal laws concerning vaccinations, we

   have experienced social media censorship of our speech regarding vaccine information.” Id.¶ 2.

   Hines has “approximately 13,000 followers each on Health Freedom Louisiana and Reopen

   Louisiana.” Id. ¶ 2. Among other things, Hines’ organization “advocate[s] against the imposition

   of mask mandates on children, especially during prolonged periods, as in schools.” Id.¶ 4. Hines

   also “launched a grassroots effort called Reopen Louisiana on April 16, 2020 to help expand our

   reach on social media and take on the issues surrounding the continued government shutdown.”

   Id. ¶ 6.

              1398. Hines describes continuous and ongoing censorship on social media from pressure

   wielded by federal officials: “In the last two years, any information that was not positive in nature

   or conveyed adverse events associated with shutdown or mitigation efforts was deemed

   ‘misinformation.’ Dr. Anthony Fauci has used the term repeatedly and it has been adopted by the




                                                    344
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 347 of 364 PageID #:
                                    16783



   press and media.” Id. ¶ 5. Hines continues to suffer ongoing social-media censorship, and the acts

   of censorship include application of warnings on Facebook content, id. ¶ 8; the reduction of her

   reach to audiences on Facebook, id.; removal of content and sanctions, including 30-day

   suspensions, from Facebook, id. ¶ 9; 24-hour suspensions that prevented her from organizing

   people to advocate to the Louisiana legislature, id. ¶ 10; shadow-banning and dramatically

   restricting the reach of her speech to its audiences, id. ¶ 10; and the complete de-platforming of

   Facebook groups intended to organize Louisianans to petition their government, id. ¶¶ 13-14. Ms.

   Hines states that “[r]emoving our closed group at such a crucial time effectively stopped our ability

   to communicate with our representatives in the state legislature.” Id. ¶ 14. “To say the cards are

   stacked against me is an understatement.” Id. ¶ 16.

          1399. Hines attests that the censorship campaign against her social-media speech is

   ongoing, noting that “[p]osts pointing to lack of safety of masking were and are targeted, as well

   as articles that mention adverse events of vaccinations, including VAERS data.” Id. ¶ 9. She

   continues to suffer specific, new acts of censorship, including right up to the time when she

   executed her Declaration on June 9, 2022: “The most recent restriction [was] in late May 2022.”

   Id. Ms. Hines notes that “[m]y personal Facebook page, and the Facebook pages of both Health

   Freedom Louisiana and Reopen Louisiana, are all under constant threat of being completely

   deplatformed. My personal account is currently restricted for 90 days.” Id. ¶ 12.

          1400. Hines reports that acts of censorship of her COVID-19-related speech have

   occurred continuously up to the present: “Over the last year and a half since we noticed social-

   media censorship beginning in October 2020, my pages have been hit with numerous ‘fact checks’

   and ‘community standards’ violations.” Id. ¶ 11.




                                                   345
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 348 of 364 PageID #:
                                    16784



          1401. Hines has observed a link between the censorship that her groups have experienced

   and the public demands for censorship from federal officials: “Many similar threats from federal

   officials followed … especially as covid became a public concern. In the last two years, any

   information that was not positive in nature or conveyed adverse events associated with shutdown

   or mitigation efforts was deemed ‘misinformation.’ Dr. Anthony Fauci has used the term

   repeatedly and it has been adopted by the press and media.” Id. ¶ 5.

          1402. Social-media censorship dramatically reduces the reach of Hines’s speech: “our

   analytics showed that we were reaching approximately 1.4 million people in a month’s time on

   one of our Facebook pages, but after sharing photos of the mouths of children suffering from

   impetigo from long-term mask use, our page received a warning and our reach was reduced to

   thousands.” Id. ¶ 8.

          1403. Hines experiences an ongoing campaign of social-media censorship that extends to

   the present, the date she executed her declaration: “This began a long series of attempts to censor

   our posts on Facebook and other social-media platforms. Posts pointing to lack of safety of

   masking were and are targeted, as well as articles that mention adverse events of vaccinations,

   including VAERS data. I was completely restricted from Facebook for 30 days starting in January

   2022 for sharing the image of a display board used in a legislative hearing that had Pfizer’s

   preclinical trial data on it. The most recent restriction, in late May 2022, was for re-posting an

   Epoch Times article that discussed a pre-print study detailing increased emergency calls for teens

   with myocarditis following covid vaccination.” Id. ¶ 9.

          1404. Censorship of Hines’s social-media speech directly impairs her efforts to engage in

   political organization to petition her government to change its policies: “One post in particular that

   was hit with a ‘community standards’ warning on October 6, 2020, was a ‘call to action’ asking




                                                    346
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 349 of 364 PageID #:
                                    16785



   people to contact their legislators to end the governor’s mask mandate. On the same day, we were

   asking people to testify during the Legislature’s Second Extraordinary Session regarding a bill …

   that would prohibit a covid vaccine employee mandate. I was prohibited from posting for 24 hours

   on all pages, including my own. When I was finally able to post again, our reach was significantly

   diminished, compared with our 1.4 million per month rate beforehand. Our page engagement was

   almost non-existent for months. It felt like I was posting in a black hole. Each time you build

   viewership up, it is knocked back down with each violation. Our current analytics show Reopen

   Louisiana is reaching around 98,000 in the last month and Health Freedom Louisiana is only

   reaching 19,000. There are warnings when you search for Health Freedom Louisiana. People that

   regularly interacted with our page were never heard from again. Some people who did find the

   page later on, asked us where we went.” Id. ¶ 10.

          1405. Hines suffers repeated censorship on individual posts as well, including

   undisputedly truthful information: “Over the last year and a half since we noticed social-media

   censorship beginning in October 2020, my pages have been hit with numerous ‘fact checks’ and

   ‘community standards’ violations. Articles with health concerns related to mask wearing have been

   targeted … as well as articles relating to pregnant women being vaccinated. … Data taken directly

   from VAERS was flagged as misinformation and we received ‘fact checks’ for that as well, even

   if it contained a disclaimer about causation.” Id. ¶ 11.

          1406. Hines attests that she is under current and constant threat of more severe censorship

   penalties, including deplatforming: “My personal Facebook page, and the Facebook pages of both

   Health Freedom Louisiana and Reopen Louisiana, are all under constant threat of being completely

   deplatformed. My personal account is currently restricted for 90 days.” Id. ¶12.




                                                   347
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 350 of 364 PageID #:
                                    16786



           1407. Hines engages in self-censorship to avoid more severe penalties: “On many

   occasions, I have altered the spelling of words, used emoji’s, or placed links in comments to avoid

   censorship.” Id. ¶ 12.

           1408. Hines’s health-freedom groups were completely deplatformed, inflicting a severe

   and direct injury on her ability to engage in political organization to amplify her message and

   petition the government: “two of our Facebook groups were completely deplatformed, effectively

   disbanding a group of more than two thousand people who were organized to engage in direct

   advocacy to our state legislature, on two separate occasions. There were two groups that were

   deplatformed: HFL Group and North Shore HFL. … HFL Group had almost 2,000 people, and

   North Shore HFL had less than 500 before it was taken down.” Id. ¶ 13.

           1409. This censorship directly interfered with the core political speech and advocacy of

   Hines and thousands of Louisianans: “The last post I made in our HFL Group on July 13, 2021,

   was a ‘call to action’ for the upcoming Veto Session, asking people to contact legislators regarding

   health freedom legislation. During the regular legislative session, we had two bills that were passed

   successfully, but both were vetoed by the governor, including a hugely popular bill that prohibited

   the addition of vaccine information on a state issued driver’s license. The other bill provided

   immunity from liability for businesses that did not impose a covid vaccine mandate. Removing

   our closed group at such a crucial time effectively stopped our ability to communicate with our

   representatives in the state legislature.” Id. ¶ 14.

           1410. To this day, Hines’s political message, and those of thousands of Louisianans, is

   greatly diminished from this censorship: “After North Shore was deplatformed, we looked for

   alternatives for daily communication. We were to the point of speaking in code on Facebook, so




                                                     348
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 351 of 364 PageID #:
                                    16787



   moving away from traditional social media was the only option. We currently have 80 members

   in a chat app called GroupMe. We have no statewide reach with that tool.” Id. ¶ 15.

          1411. Censorship undercuts Hines’s ability to “effectively communicate with people,”

   including Louisiana state officials, about her political views: “It has been incredibly frustrating

   knowing that the government’s narrative is going unchallenged and that we have not been able to

   effectively communicate with people. Knowing that government agencies colluded with Facebook

   to suppress the messaging of groups like mine while paying exorbitant amounts to promote

   vaccinations and covid policies has been especially disheartening. To say the cards are stacked

   against me is an understatement.” Id.¶ 16.

          B.      Defendants Gravely Injure Similarly Situated Speakers and Listeners.

          1412. Plaintiffs’ unrebutted evidence demonstrates that other similarly situated speakers

   have suffered and are suffering similar, ongoing, and imminent injuries from government-induced

   censorship on social media.

          1413. For example, Michael Senger had over 112,000 followers on Twitter, including in

   Missouri and Louisiana; he attests that he was twice suspended from Twitter and then permanently

   banned for posting Tweets critical of government policies for responding to COVID-19. Doc. 10-

   2, ¶¶ 4-8. He was temporarily suspended twice for tweets criticizing the FDA’s emergency

   approval of COVID vaccines and for posting a video document public officials’ statements on

   vaccine effectiveness. Id.¶ 4-6. On March 8, 2022, he was permanently suspended from Twitter

   for posting a statement of core political opinion criticizing government policy, stating that “every

   COVID policy—from the lockdowns and masks to the tests, death coding, and vaccine passes—

   has been one, giant fraud.” Id.¶ 7-8. This permanent suspension was inconsistent with Twitter’s

   own policies. Id.¶ 10. Senger attests that the censorship inflicts ongoing harm on him, both




                                                   349
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 352 of 364 PageID #:
                                    16788



   “personally and professionally”: “I discovered a gift that I had for writing and developed a network

   of thousands of intelligent people from all over the world with whom I had a close relationship

   discussing these and other issues. Now I have been silenced and cut off from all of them, with no

   viable way of getting that network back or promoting my work, seemingly for the sole crime of

   being too articulate in vocalizing my beliefs.” Id. ¶ 13.

          1414. Jeff Allen is the proprietor of “NewsTalkSTL, a popular news talk radio station in

   the St. Louis, Missouri region,” which “enjoys a substantial Missouri audience.” Doc. 10-8, ¶¶ 2-

   3. His station posts content on YouTube, and he describes how the station “has been targeted by

   YouTube from the moment of its launch in July 2021” through the present, including flagging the

   station’s first promotional video, and issuing “strikes” for “COVID-related and election-related

   ‘misinformation.’” Id. ¶¶ 4-6. These include removing a video of a show that “featured discussion

   of timely COVID issues, including testing and vaccines and treatments,” and issuing a strike for

   that posting. Id. ¶¶ 9-10. His station “continued to receive strikes” from YouTube “in the first

   week of January and into February, 2022” for COVID-related content, id. ¶ 12. On March 14,

   2022, Allen’s station aired a show on “election integrity” that did not claim any election was stolen,

   but discussed polling data indicating that many Americans have grave concerns about election

   integrity. Id. ¶¶ 13-14. On March 21, 2022, YouTube permanently removed the station’s channel

   as a result of that posting. Id.¶ 15. “In so doing, YouTube deleted all of our content and prevented

   any more posts, silencing our voice and our expression from the platform entirely.” Id.¶ 16.

          1415. Allen has also experienced significant and ongoing censorship from Facebook:

   “Facebook has also targeted our content, pulling advertisements and issuing temporary

   suspensions, also for COVID and election-related ‘misinformation.’” Id. ¶ 18.




                                                    350
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 353 of 364 PageID #:
                                    16789



          1416. Mark Changizi is a commentator on Twitter with 37,000 followers, including many

   in Missouri and Louisiana. Doc. 10-9, ¶ 7, 38. Changizi experiences longstanding and ongoing

   censorship on Twitter, including a first suspension on April 20, 2021 “for linking to an article on

   the safety and efficacy of face masks,” id. ¶ 18; additional suspension on June 25, 2021, id.¶ 19;

   having his account secretly “heavily censored and deboosted,” meaning that “the user’s tweets are

   de-platformed—they appear in Twitter feeds much less frequently and replies to other posts may

   be hidden,” id. ¶ 20; covert loss of followers, much like Dr. Kheriaty, ¶ 21; and a permanent Twitter

   suspension on December 18, 2021, for tweets comparing the danger of COVID-19 to the flu and

   promoting the benefits of natural immunity, id. ¶ 23. He experiences similar shadow-banning by

   YouTube, as his “follower-ships at YouTube also plateaued and reversed despite the fact that [he]

   was very active,” id. ¶ 31. He observes that Twitter is also censoring his private direct messages

   to other Twitter users, id. ¶¶ 32-35. And two of his YouTube videos are also censored with their

   content removed from YouTube. Id. ¶ 36.

          1417.    Changizi engages in self-censorship on social media to avoid more severe

   penalties, id. ¶¶ 39-42, and he has “become very careful about what I say on Twitter and YouTube

   (and Facebook and Instagram) to avoid suspension.” Id. ¶ 39.

          1418. Changizi perceives a link between the censorship he experiences and pressure from

   federal officials, id.¶¶ 43-47. He observes: “Twitter notoriously suspends only those who question

   the wisdom and efficacy of government restrictions, or who cast doubt on the safety or efficacy of

   the vaccines.” Id.¶ 50. He also observes the pro-government bias in social-media censorship

   decisions: “there are no examples of Twitter suspending individuals who have spread

   misinformation from the other side—by, for example, exaggerating the efficacy of masks or the

   threat the virus poses to children.” Id.¶ 51.




                                                   351
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 354 of 364 PageID #:
                                    16790



          1419. Daniel Kotzin observes that his censorship at Twitter began in September 2021,

   after which he was suspended by Twitter four times, including a 24-hour suspension, two seven-

   day suspensions, and a permanent ban. Doc. 10-10, ¶¶ 11-12. He received these penalties for

   tweets questioning whether COVID vaccines reduce infection and transmission, referring to

   natural immunity, and criticizing government policies on lockdowns and mask mandates. Id. ¶¶

   13, 15, 17. He was permanently suspended on April 29, 2022, for a truthful tweet stating:

   “Myocarditis, pericarditis, blood clots, and strokes are known potential side effects of covid

   vaccination. That is not my idea of safe.” Id. ¶ 19.

          1420. Kotzin attests that “[p]ermanent expulsion from Twitter has been devastating for

   me. I had spent 2 years building my Twitter following. Two years ago, I had fewer than 100

   followers, and at the time of my permanent suspension I had nearly 32,000. When my account is

   suspended, I am unable to communicate with my followers.” Id. ¶¶ 21-23.

          1421. Kotzin observes an increase in censorship on Twitter after the Surgeon General’s

   Request for Information issued on March 3, 2022. “Based on my observations and extensive

   Twitter use, many more accounts than usual have been suspended since the Surgeon General’s RFI

   on March 3.” Id. ¶ 25. This increase in censorship affected Kotzin directly: “Since the Surgeon

   General’s Request for “health misinformation” in March [2022] I have been suspended four times

   by Twitter, and have now been permanently banned.” Id. ¶ 35.

          1422. Kotzin notes that suspension results in loss of one’s own prior expression: “When

   an account is permanently suspended, everything the person ever wrote is erased and cannot be

   accessed by anyone.” Id. ¶ 27.

          1423. Kotzin describes that he “methodically self-censored” to avoid permanent

   suspension: “Since the [Surgeon General’s] RFI, many of us who are critical of government covid




                                                  352
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 355 of 364 PageID #:
                                    16791



   policies have been regulating our speech more carefully than ever, because we have noticed that

   more of us are getting suspended than ever before, and we don’t want to risk losing our audience.

   I considered the possibility of ‘permanent suspension’ to be such a devastating prospect that I

   methodically self-censored.” Id. ¶¶ 28-29; see also id. ¶¶ 31-32.

          1424. Kotzin observes a close link between social-media censorship and the federal

   government’s policies and preferred narratives: “Twitter suspends only those who question the

   wisdom and efficacy of government restrictions, or those who cast doubt on the necessity, safety

   or efficacy of the vaccines. If all or almost all suspensions are targeted at critics of the government

   and government policies, and no or almost no suspensions are targeted at purveyors of factually

   incorrect information, then it is not ‘misinformation’ that is being censored, but criticism of the

   government.” Id. ¶¶ 34-35.

          1425. Joshua McCollum is a concerned parent in a school district in Missouri. Doc. 10-

   14, ¶¶ 1-4. Like Hines, he has experienced censorship that directly interferes with his ability to

   organize, associate with like-minded people, and petition his local government: “On or about July

   28, 2021, in the midst of discussing with others a recent school board meeting related to masks,

   and whether FHSD would keep its policy of optional masking versus change their policy to

   mandatory masking, [McCollum] decided to launch an online petition to encourage the board

   members to keep their optional masking policy and not change to mandatory masking.” Id. ¶ 9.

   Through his account on Nextdoor (a Meta/Facebook platform), he posted this petition on

   change.org, and “[t]he posting of this petition on change.org was the beginning of the shadow-

   banning and blocking of my Nextdoor account.” Id. ¶ 11. Comments were blocked from his

   Nextdoor account, and then his Nextdoor account was suspended for one month for “spreading

   misinformation.” Id.¶¶ 12-14. This censorship prevented him from organizing, associating with




                                                    353
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 356 of 364 PageID #:
                                    16792



   others, and petitioning his local government, when those on the other side of the issue were allowed

   to do so: “Subsequently, on August 12, 2021, FHSD decided to reinstate their mandatory masking

   policy, shortly after the voice of myself and the 280 fellow petition signers was suppressed. There

   were petitions encouraging reinstatement of mandatory masking, but our contrary petition was

   suppressed by Nextdoor. I am a parent simply trying to have a voice in my local school district

   and its policies regarding my own children, but social media has stooped down to censor even my

   voice within my local community.” Id.¶¶ 15-17.

           1426. Jessica Marie Gulmire is a freelance journalist for the Epoch Times who resides in

   Missouri, and has readership in Missouri and Louisiana. Doc. 10-15, ¶¶ 1-3. Gulmire has “been

   censored numerous times by Facebook and Twitter even before I joined The Epoch Times in the

   summer of 2021,” as her “personal posts regarding excessive COVID-19 measures and regarding

   the election were repeatedly flagged and taken down by Facebook and Twitter.” Id. ¶¶ 7-8. Her

   journalism for the Epoch Times has also been censored by Facebook, including an article

   questioning the evidence for vaccinating pregnant women with COVID-19 vaccines that was later

   validated by Pfizer documents, id. ¶¶ 10-13; and an article in March 2022 for The Federalist about

   the People’s Convoy of truckers in the United States supporting their Canadian counterparts, id.

   18-19. She has also had eleven articles about “mask mandates, vaccines, lockdowns and mental

   health” censored on Pinterest, id. ¶ 17.

           C.      Defendants Gravely Injure the State Plaintiffs, Louisiana and Missouri.

                   1.     Fundamental policies favoring freedom of speech for their citizens.

           1427. Both Louisiana and Missouri have adopted fundamental policies favoring freedom

   of speech, without government-induced censorship, for their citizens. L A. CONST. art. I, § 7; MO.

   CONST. art. I, § 8.




                                                   354
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 357 of 364 PageID #:
                                    16793



                  2.     Direct censorship of the States and their political subdivisions.

          1428. Both Louisiana and Missouri, and their political subdivisions, have experienced

   direct social-media censorship on COVID and related issues.            For example, Louisiana’s

   Department of Justice—the office of its Attorney General—was directly censored on YouTube for

   posting video footage of Louisianans criticizing mask mandates and COVID-19 lockdown

   measures on August 18, 2021—on August 18, 2021, just after the federal Defendants’ most

   vociferous calls for censorship of COVID “misinformation.” Bosch Decl., Doc. 10-13, ¶ 7.

          1429. In addition, a Louisiana state legislator was censored by Facebook when he posted

   content addressing vaccinating children against COVID-19. Bosch Decl., Doc. 10-13, ¶ 9.

          1430. St. Louis County, a political subdivision of Missouri, conducted public meetings

   regarding proposed county-wide mask mandates, at which some citizens made public comments

   opposing mask mandates. Flesh Decl., Doc. 10-6, ¶ 7. Missouri’s open-meetings law required St.

   Louis County to post publicly the videos of those meetings, but YouTube censored the entire

   videos of four public meetings, removing the content, because some citizens publicly expressed

   views that masks are ineffective. Id.

                  3. The States’ interest in following the uncensored discourse of their citizens.

          1431. Patrick Flesch, Director of Constituent Services for the Missouri Attorney

   General’s Office, explains that he is “personally involved in, receiving, reviewing, and responding

   to thousands of communications from Missouri constituents per year.” Doc. 10-6, ¶ 3. He explains

   that being able to follow Missourians’ uncensored speech on social media is essential for him to

   do his job effectively, as understanding Missourians’ true thoughts and concerns on policy matters

   like election integrity and COVID-19 is necessary to craft policies and messages that are

   responsive to constituents’ actual concerns. Doc. 10-6, ¶ 3-4. This “includes monitoring activity




                                                  355
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 358 of 364 PageID #:
                                    16794



   and mentions on multiple social media platforms, including Facebook, Twitter, and YouTube.”

   Id. “I monitor these sorts of trends on a daily or even hourly basis when needed on behalf of the

   Office.” Id. (emphasis added). For example, regarding the censorship of St. Louis County’s video

   of its public meeting where citizens opposed mask mandates, Flesch notes: “This video is just the

   sort of information that is important for me to review, and yet it was unavailable for a critical

   period of time due to online censorship of speech questioning the efficacy of mask mandates.”

   Id.¶ 7. Likewise, regarding YouTube censoring Jeff Allen’s radio station NewsTalkSTL, and

   Nextdoor censoring Joshua McCollum’s online petition, Flesch observes: “These examples are

   just the sort of online speech by Missourians that it is important for me and the Missouri Attorney

   General’s Office to be aware of.” Id. ¶¶ 9.

          1432. As Flesch attests, “The kinds of speech discussed above and in the Complaint in

   this case—such as speech about the efficacy of COVID-19 restrictions, and speech about issues of

   election security and election integrity—are matters of core interest and high importance to me in

   my work on behalf of the AGO. When such speech is censored on social media, it makes it much

   harder for me to do my job and to understand what Missourians really are concerned about.” Id.¶

   10.

          1433. As Mr. Flesch explains in detail: “Issues regarding COVID-19 responses (such as

   mask mandates imposed by municipalities and school districts on schoolchildren) and election

   security and integrity have been of critical importance to Missourians in recent months and years.

   … It is very important for me to have access to free public discourse on social media on these

   issues so I can understand what Missourians are actually thinking, feeling, and expressing about

   such issues, and so I can communicate effectively with them.” Id. ¶ 5. “[O]nline censorship of




                                                  356
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 359 of 364 PageID #:
                                    16795



   free public discourse on social-media companies has hampered my ability to follow Missourians’

   speech on these issues.” Id. ¶ 6.

          1434. Ashley Bosch, Communications Officer for the Louisiana Department of Justice,

   attests on behalf of the State of Louisiana: “Part of my job is to gather and synthesize topical

   subject matters that are important to Louisiana citizens, on behalf of the Department.” Doc. 10-

   13, ¶ 4. “Understanding what subject matters and issues are important to Louisianans is critical

   for the Department to formulate policies and messaging that will address the concerns expressed

   by our constituents.” Id. This “includes monitoring activity and mentions on social media

   platforms, including Facebook, Instagram, Twitter, and YouTube.” Id. Doc. 10-13, ¶ 4. “It is

   very important for me to have access to free public discourse on social media on these issues so I

   can understand what our constituents are actually thinking, feeling, and expressing about such

   issues, and so I can communicate properly with them.” Id. ¶ 5. “Online censorship of Louisiana

   citizens by social media companies interferes with my ability to follow Louisianans’ speech on

   these issues.” Id. ¶ 6. Bosch notes that it is particularly important for her to follow Louisianan’s

   speech on topics of federally-induced censorship: “For example, mask and vaccine mandates for

   students have been a very important source of concern and public discussion by Louisiana citizens

   over the last year.” Doc. 10-13, ¶ 5. “Louisianans’ speech about the efficacy of COVID-19

   restrictions, and speech about issues of election security and election integrity are matters of great

   interest and importance to me in my work on behalf of the Louisiana Department of Justice.” Doc.

   10-13, ¶ 10.

          1435. As noted above, Defendants’ witness from the CDC, Carol Crawford, attests to

   exactly the same government interest in being able to read and follow the true, uncensored opinions

   of the government’s constituents.




                                                    357
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 360 of 364 PageID #:
                                    16796



          1436. Crawford admits that government communicators have a strong interest in tracking

   what their constituents are saying on social media: “It's helpful for communicators to know what

   is being discussed because it helps improve our communication materials.” Crawford Dep. 53:10-

   12. Crawford emphasized this point multiple times: “as I mentioned before, it does help … for

   communicators to know what conversations occurs on social media because it helps us identify

   gaps in knowledge, or confusion, or things that we're not communicating effectively that we need

   to adjust.” Id. 54:15-20.

          1437. Crawford said that CrowdTangle reports “would help us understand what was being

   discussed on social media about COVID, which helps us look for gaps in information, confusion

   about facts, things that we might need to adjust our communication materials for.” Id. 57:24-58:3.

   Crawford specifically expressed the concern that, if content was censored or removed from social-

   media platforms, government communicators would not know what the citizens’ true concerns

   were: She “was wondering if they delete the info will we know those myths or information so we

   could update communication activity. So if they were deleting content would we know what the

   themes were.” Id. 75:14-18. Accordingly, Crawford wanted to know, “would [CDC] be able to

   see in CrowdTangle or other reports … what kind of themes were removed so we would still have

   the full picture of areas of confusion.” Id. 75:23-76:1.

          4.      States’ interest in fair, unbiased, open processes to petition state government.

          1438. Social-media censorship directly interferes with the States’ interest maintaining

   fair, even-handed, and open processes for petitioning their own governments and political

   subdivisions. When one side of a debate can organize on Facebook or Nextdoor and petition the

   government, and the other side cannot because of social-media censorship, that means that state

   officials never receive a fair, unbiased presentation of their constituents’ views.




                                                    358
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 361 of 364 PageID #:
                                    16797



          1439. As noted above, social-media censorship has perverted state and local political

   processes by artificially restricting access to the channels of advocacy to one side of various issues.

   For example, social-media censorship prevented Louisiana advocacy groups from organizing

   effectively to advocate in favor of legislative action on issues of great public import. Hines Decl.,

   Doc. 10-12, ¶¶ 13-14. Likewise, social-media censorship prevented a Missouri parent from

   circulating an online petition to advocate against mandatory masking at his local school district, a

   political subdivision of the State. McCollum Decl., Doc. 10-14, ¶¶ 9-17; see also Doc. 10-12, ¶¶

   13-14; Doc. 10-14, ¶¶ 9-17; Doc. 10-15, ¶¶ 11-16, 18-19.

          1440. Plaintiff Jill Hines explains that “two of our Facebook groups were completely

   deplatformed, effectively disbanding a group of more than two thousand people who were

   organized to engage in direct advocacy to our state legislature, on two separate occasions.” Doc.

   10-12, ¶ 13. She attests that “[t]he last post I made in our HFL Group on July 13, 2021, was a ‘call

   to action’ for the upcoming Veto Session, asking people to contact legislators regarding health

   freedom legislation..” Id. ¶ 14. Suppressing these Facebook groups directly interfered with state

   officials’ ability to receive free and fair communications of their constituents’ concerns:

   “Removing our closed group at such crucial time effectively stopped our ability to communicate

   with our representatives in the state legislature.” Id.

          5. State quasi-sovereign interests.

          1441. The States also assert quasi-sovereign interests in protecting the freedom of speech

   of a substantial segment of their population—i.e., their citizens who are both speakers and

   audiences of speech on social media; and in ensuring that their citizens receive the full benefit of

   participation in the federal system—which includes, among other benefits, the full protection of

   the First Amendment.




                                                    359
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 362 of 364 PageID #:
                                    16798



          1442. Based on the foregoing evidence, social-media censorship afflicts a substantial

   segment of the populations of both Missouri and Louisiana.




                                                360
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 363 of 364 PageID #:
                                    16799



    Dated: March 6, 2023                        Respectfully submitted,

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                                              361
Case 3:22-cv-01213-TAD-KDM Document 214-1 Filed 03/07/23 Page 364 of 364 PageID #:
                                    16800



                                    CERTIFICATE OF SERVICE

          I hereby certify that, on March 6, 2023, I caused a true and correct copy of the foregoing

   to be filed by the Court’s electronic filing system, to be served by operation of the Court’s

   electronic filing system on counsel for all parties who have entered in the case.

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                                                   362
